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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 STEPHEN McCOLLUM, and SANDRA                  §
 McCOLLUM, individually, and STEPHANIE         §
 KINGREY, individually and as independent      §
 administrator of the Estate of LARRY GENE     §
 McCOLLUM,                                     §
                      PLAINTIFFS               §
                                               §
 v.                                            §   CIVIL ACTION NO.
                                               §   4:14-cv-3253
                                               §   JURY DEMAND
 BRAD LIVINGSTON, JEFF PRINGLE,                §
 RICHARD    CLARK,    KAREN   TATE,            §
 SANDREA SANDERS, ROBERT EASON, the            §
 UNIVERSITY    OF   TEXAS   MEDICAL            §
 BRANCH and the TEXAS DEPARTMENT OF            §
 CRIMINAL JUSTICE.                             §
                  DEFENDANTS                   §



           Plaintiffs’ Consolidated Summary Judgment Response Appendix


                          EXHIBIT 130
                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  



                            Plaintiffs' MSJ Appx. 1971
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                                 CHAPTER 10
                          HOUSING QUALITY STANDARDS


10.1    CHAPTER OVERVIEW

The goal of the housing choice voucher program is to provide “decent, safe and sanitary” housing
at an affordable cost to low-income families. To accomplish this, program regulations set forth
basic housing quality standards (HQS) which all units must meet before assistance can be paid on
behalf of a family and at least annually throughout the term of the assisted tenancy. HQS defines
“standard housing” and establishes the minimum criteria necessary for the health and safety of
program participants.

HQS regulations provide performance requirements and acceptability criteria to meet each
performance requirement. HQS includes requirements for all housing types, including single and
multi-family dwelling units, as well as specific requirements for special housing types such as
manufactured homes, congregate housing, single room occupancy (SROs), shared housing and
group residences (GRs). Requirements for Special Housing Types are discussed in Chapter 17.

The HUD Housing Inspection Manual for Section 8 Housing, available through the HUD user at
800-245-2691, and the HUD Inspection Form, form HUD-52580 (3/01) and Inspection
Checklist, form HUD 52580-A (9/00), available through HUDCLIPS website: www.hudclips.org,
provide guidance to PHAs in interpreting the standards, as well as HUD regulations.

10.2    HOUSING QUALITY STANDARDS GENERAL REQUIREMENTS

At least annually, it is the responsibility of the PHA to conduct inspections of units to determine
compliance with HQS prior to the execution of the entire term of the assisted lease. Inspections
may be completed by PHA staff or by contract personnel. HQS consists of the following thirteen
(13) performance requirements:

•    Sanitary facilities;
•    Food preparation and refuse disposal;
•    Space and security;
•    Thermal environment;
•    Illumination and electricity;
•    Structure and materials;
•    Interior air quality;
•    Water supply;
•    Lead-based paint;
•    Access;
•    Site and neighborhood;
•    Sanitary condition; and
•    Smoke Detectors.



Housing Choice Voucher Program Guidebook           10-1
                                    Plaintiffs' MSJ Appx. 1974
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Acceptability criteria for each performance requirement help PHAs determine if the unit meets
mandatory minimum standards. For some standard, specific guidance is provided to PHAs, but
PHA’s must rely upon inspector judgement in the areas. In some instances, family preference
should be considered in the determination of acceptability.

HUD may grant approval for a PHA to use acceptability criteria variations which apply standards
contained in local housing codes or other codes adopted by the PHA or because of local climatic
or geographic conditions.

Acceptability criteria variations may only be approved by HUD, if the variation meets or exceeds
the performance requirement and does not unduly limit the amount and type of rental, housing
available at or below the fair market rent . HUD will not approve variations if the change is
likely to adversely affect the health or safety of participant families or severely restrict housing
choice.

PHAs should strive to ensure consistency among staff in areas requiring judgment. Not all areas
of HQS are exactly defined while acceptability criteria specifically state the minimum standards
necessary to meet HQS, inspector judgment or tenant preference may also need to be considered
in determining whether the unit meets minimum standards or desirable. Staff can receive the
tools to make sound decisions through training, access to written policy and procedures, and
consistent written and oral instruction.

Potential safety hazards that are not specifically addressed in the acceptability criteria, such as
damaged kitchen cabinet hardware, may present a cutting hazard to small children is an example
of an area that requires judgement. Less than optimal conditions, such as a water heater with a
small capacity, is another example. A good practice is to assess potential hazards based on the
family residing in the unit. Some potential hazards may only apply when small children are in
occupancy. Some less than perfect conditions, such as a water heater that appears too small for
optimal use by the tenant, should be discussed with the tenant, but should not lead to denial of
program assistance if the family is willing to accept the existing condition.

In order to keep assisted units from having to meet higher standard than units in the unassisted
market, PHAs should be cautious and thoughtful when requesting HUD approval of a standard
higher standard than HQS. Though adopted into local law, local codes, are often not consistently
enforced among all units, or are enforced only when complaints are made. Sometimes, certain
aspects of a local code are not enforced at all. If the PHA adopts local code requirements,
housing choice may be restricted in these instances.

The PHA administrative plan should include any HUD-approved variations to HQS acceptability
criteria that will be used to judge the condition of the unit. This practice formalizes the PHA’s
inspection standards for inspection staff, as well as for owners and tenants. For example, if the
PHA has received HUD approval to require that assisted units must have deadbolt locks on all
doors leading from the unit to the exterior or public areas, the requirement should be included in
the PHA administrative plan as an addition to HQS standards.




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10.3    PERFORMANCE REQUIREMENTS AND ACCEPTABILITY STANDARDS

Each of the 13 HQS performance requirements and acceptability criteria is identified below. A
discussion of how PHAs should interpret the requirements and tenant preference options follows.
Refer to the inspection checklists contained in Form HUD-52580 and Form HUD-52580-A and
the Housing Inspection Manual for the Section 8 Existing Housing Program for more detailed
explanation and guidance.

Sanitary Facilities

Performance Requirement

•    The dwelling unit must include sanitary facilities within the unit.

•    The sanitary facilities must be in proper operating condition and adequate for personal
     cleanliness and disposal of human waste.

•    The sanitary facilities must be usable in privacy.

Acceptability Criteria

•    The bathroom must be located in a separate room and have a flush toilet in proper operating
     condition.

•    The unit must have a fixed basin (lavatory) with a sink trap and hot and cold running water in
     proper operating condition.

•    The unit must have a shower or tub with hot and cold running water in proper operating
     condition.

•    The facilities must utilize an approved public or private disposal system, including a locally
     approved septic system.

The bathroom must be contained within the dwelling unit, afford privacy (usually meaning a
door, although no lock is required), and be for the exclusive use of the occupants.

All public or private waste disposal systems servicing the unit or facilities must be either state or
local agency approved.

The tub/shower, toilet, and basin/lavatory must have a proper sewer trap, drain, and vents to
prevent the escape of sewer gases or severe leakage of water. Drains must not be clogged and the
toilet must flush. Hot and cold water must be available at the tub, shower, and lavatory taps.
The definition of hot water (temperature) required at the lavatory, tub, or shower should be
determined from local health standards or applicable local code.




Housing Choice Voucher Program Guidebook             10-3
                                     Plaintiffs' MSJ Appx. 1976
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The PHA must determine if the bathroom facilities are free of hazards which may endanger the
occupants such as damaged or broken fixtures and plumbing leaks. Conditions which do not
affect the acceptability of the bathroom include tenant preference items (listed below) and minor
faucets drips.


                                               EXAMPLE:

       What are bathroom hazards that may endanger occupants?

        •   Broken ceramic, metal, or glass fixtures that may pose a hazard. This includes towel
            racks, soap dishes, medicine cabinets, and mirrors as well

        •   A leaking hot water faucet may pose a scalding threat.


Only one bathroom is required to meet HQS. Additional bathrooms do not have to contain all
plumbing fixtures (tub/shower, toilet or lavatory), but if present, they must not create any
unsanitary conditions, be properly plumbed, and be free of sewer gases.

Other room standards that apply to bathroom facilities, such as illumination and electricity, are
discussed under those performance requirements.

Tenant Preference

The tenant may determine acceptability of the cosmetic condition and quality of the sanitary
facilities, including the size of the lavatory, tub, or shower, condition of faucets, minor leaks,
scratches, or worn enamel on fixtures, and the location of the sanitary facilities within the
dwelling unit.

Food Preparation and Refuse Disposal

Performance Requirement

•    The dwelling unit must have suitable space and equipment to store, prepare, and serve food
     in a sanitary manner.

Acceptability Criteria

•    The dwelling unit must have an oven and a stove or range. A microwave oven may be
     substituted for a tenant-supplied oven and stove or range. A microwave may be substituted
     for an owner-supplied oven and stove or range if the tenant agrees and microwave ovens are
     furnished to both subsidized and unsubsidized tenants in the same building or premises.

•    The dwelling unit must have a refrigerator of appropriate size for the family.




Housing Choice Voucher Program Guidebook              10-4
                                     Plaintiffs' MSJ Appx. 1977
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•    All required equipment must be in proper operating condition. According to the lease,
     equipment may be supplied by either the owner or the family.

•    The dwelling unit must have a kitchen sink in proper operating condition, with a sink trap
     and hot and cold running water. The sink must drain into an approved public or private
     system.

•    The dwelling unit must have space for storage, preparation, and serving of food.

•    Facilities and services for the sanitary disposal of food waste and refuse, including temporary
     storage facilities where necessary, are required.

Hot plates are not acceptable substitutes for stoves or ranges. The oven must heat and all burners
on the stove or range must work. All stove or range knobs must be present.
The stove or range must be free of hazardous gas hook-ups, gas leaks, or electrical hazards.

The refrigerator must be of adequate size for the family and capable of maintaining a temperature
low enough to keep food from spoiling. The PHA may reject the size of the refrigerator only if it
clearly cannot serve the needs of the family. For example, a counter-top or compact type would
not meet the needs of a family of four. The freezer space must be present and working, and the
equipment must present an electrical hazard.


                                               EXAMPLE:

        What temperature must a refrigerator maintain to keep food from spoiling?

        •   Above 32° F, but generally below 40° F.

        •   Consider how often the refrigerator will be opened. Proper temperatures are difficult
            to maintain if the refrigerator is frequently opened during warm weather, door seals
            are removed or broken, or the door sits open.


The sink must have hot and cold running water from the faucets and a proper working sink drain
with gas trap. It must also be hooked to an approved water and sewer system. The definition of
hot water should be determined by the local health department or applicable local code.

Space for storage, preparation, and serving of food must be present. Built-in space, equipment,
table(s), or portable storage facilities are acceptable.

Waste and refuse storage facilities are determined by local practice and may include trash cans or
dumpster facilities.

Other room standards apply to the food preparation area and are discussed under those specific
requirements below.


Housing Choice Voucher Program Guidebook              10-5
                                     Plaintiffs' MSJ Appx. 1978
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Tenant Preference

The family selects a unit with the size and type of equipment it finds acceptable and may choose
to accept a microwave oven in place of a conventional oven, stove, or range if the
oven/stove/range are tenant supplied or if microwaves are furnished in both subsidized and
unsubsidized units in the building or premises. The amount and type of storage space, the
cosmetic conditions of all equipment, and the size and location of the kitchen are all determined
by the family.

Space and Security

Performance Requirement

•    The dwelling unit must provide adequate space and security for the family.

Acceptability Criteria

•    At a minimum, the dwelling unit must have a living room, a kitchen and a bathroom.

•    The dwelling unit must have a least one bedroom or living/sleeping room for every two
     persons. Other than very young children, children of opposite sex, may not be required to
     occupy the same bedroom or living/sleeping room.

•    Dwelling unit windows that are accessible from the outside must be lockable.

•    Exterior doors to the unit must be lockable.

A living room may be used as sleeping (bedroom) space, but no more than two persons may
occupy the space.

Unit windows located on the first floor, at the basement level, on a fire escape, porch, or other
outside space that can be reached from the ground and that are designed to be opened must have
a locking device. (Windows with sills less than six feet off the ground are considered
accessible.) Traditional window locks, those provided by storm/screen combination windows,
window pins, and nails are acceptable. Windows leading to a fire escape or required to meet
ventilation requirements may not be permanently nailed shut.

Doors leading to the outside and common hallways, fire escapes, and porches or otherwise
accessible from the ground must have locks. No specific type of lock is required.

Window and door surfaces (including the door frame) must be in sufficient condition to support
the installation and proper operation of window and door locks.




Housing Choice Voucher Program Guidebook            10-6
                                    Plaintiffs' MSJ Appx. 1979
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Tenant Preference

The family may determine the adequacy of room sizes and room locations. The family is also
responsible for deciding the acceptability of the type of door and window locks.

Thermal Environment

Performance Requirement

•    The dwelling unit must be able to provide a thermal environment that is healthy for the
     human body.

Acceptability Criteria

•    There must be a safe system for heating the dwelling unit, such as electric baseboard,
     radiator, or forced air systems. In order to ensure a healthy living environment appropriate
     for the climate the system must be able to provide adequate heat either directly or indirectly
     to each room.

•    If present, the air conditioning system or evaporative cooler, must safely provide adequate
     cooling to each room.

•    The heating and/or air conditioning system must be in proper operating condition.

•    The dwelling unit must not contain unvented room heaters that burn gas, oil, or kerosene.
     Electric heaters are acceptable.

The PHA must define “a healthy living environment” for the local climate. Local or state codes
will help the PHA determine when and how much heat is adequate. For example, a PHA may
define a heating system capable of maintaining an interior temperature of 65º between October 1
and May 1 as adequate.

Adequate heat is required in all rooms used for living; the heat source does not have to be located
in each room as long as the heat can pass to the appropriate space and meet the definition of
adequate. Portable electric room heaters or kitchen stoves with built-in heating units are not
acceptable as a primary source of heat for units located in climatic areas where permanent heat
systems are required.

Improper operating conditions, including all conditions that may be unsafe, such as broken or
damaged source vents, flues, exhausts, gas or oil lines that create a potential fire hazard or threats
to health and safety are not permitted. Heating unit safety devices must be present, and the
heating equipment must have proper clearance from combustible materials and location of oil
storage tanks. There must be proper gas and oil connections. Local plumbing, fire, or
mechanical codes are instructive in providing details about acceptable materials for furnace and
water heater hookups and required clearances appropriate to the jurisdiction where units are


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located. Seek assistance from local code enforcement offices to determine health and safety
standards for equipment hook-up and clearance requirements.

Heating system inspections are often required by local or state authorities especially for large
multi-family buildings. If the heating system has passed inspection from the inspecting authority
within the past two years, the PHA may accept this as proof of heating equipment safety.

Working cooling equipment refers to a central ventilation system, evaporative cooling system,
room or central air conditioning. These systems are not required by HQS, but if present, must be
operating safely so as not to create a potential fire hazard or other threat to health and safety.

Tenant Preference

The PHA has no control over energy conservation measures, such as dwelling insulation or
installation of storm windows and doors. The family must assess whether a dwelling without
these items is acceptable; the family must take into account the cost of utilities billed to the
family and personal feelings about adequate heat. Dwellings that are poorly insulated or lack
storm windows are generally drafty and more difficult to heat and cool.

Illumination and Electricity

•    Each room must have adequate natural or artificial illumination to permit normal indoor
     activities and to support the health and safety of occupants.

•    The dwelling unit must have sufficient electrical sources so occupants can use essential
     electrical appliances.

•    Electrical fixtures and wiring must not pose a fire hazard.

Acceptability Criteria

•    There must be at least one window in both the living room and each sleeping room.

•    The kitchen area and the bathroom must have a permanent ceiling or wall-mounted fixture in
     proper operating condition.

•    The kitchen must have at least one electrical outlet in proper operating condition.

•    The living room and each sleeping space must have at least two electrical outlets in proper
     operating condition. Permanent overhead or wall-mounted light fixtures may count as one of
     the required electrical outlets.

The PHA must be satisfied that the electrical system is free of hazardous conditions, including:
exposed, uninsulated, or frayed wires, improper connections, improper insulation or grounding of




Housing Choice Voucher Program Guidebook             10-8
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any component of the system, overloading of capacity, or wires lying in or located near standing
water or other unsafe places.

Outlets must be properly installed in the baseboard, wall, or floor. Hanging light fixtures or
outlets from electric wiring, missing cover plates on switches and outlets, badly cracked outlets
or cover plates, exposed fuse box connections and, overloaded circuits are unacceptable.

Tenant Preference

The family may determine whether the location and the number of outlets and fixtures (over and
above those required for acceptability standards) are acceptable or if the amount of electrical
service is adequate for the use of appliances, computers, or stereo equipment.

Structure and Materials

Performance Requirement

•    The dwelling unit must be structurally sound.

•    The structure must not present any threat to the health and safety of the occupants and must
     protect the occupants from the environment.

Acceptability Criteria

•    Ceilings, walls, and floors must not have any serious defects such as severe bulging or
     leaning, large holes, loose surface materials, severe buckling, missing parts, or other serious
     damage.

•    The roof must be structurally sound and weather-proof.

•    The foundation and exterior wall structure and surface must not have any serious defects such
     as serious leaning, buckling, sagging, large holes, or defects that may result in air infiltration
     or vermin infestation.

•    The condition and equipment of interior and exterior stairs, halls, porches, and walkways
     must not present the danger of tripping and falling.

•    Elevators must be working safely.

The PHA must examine each of the elements listed in the acceptability criteria to determine that
each is structurally sound, will not collapse, and does not present a danger to residents through
falling or missing parts, or tripping hazards. The PHA must determine that the unit is free from
water, excessive air, and vermin infiltration.




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Handrails are required when four or more steps (risers) are present, and protective railings are
required when porches, balconies, and stoops are thirty inches off the ground.

The elevator servicing the unit must be working. A current city or state inspection certificate
suffices to determine working condition of the elevator.

Manufactured homes must have proper tie-down devices capable of surviving wind loads
common to the area.

Tenant Preference

Families may determine whether minor defects, such as lack of paint, or worn flooring or
carpeting will affect the livability of the unit.

Interior Air Quality

Performance Requirement

•    The dwelling unit must be free of air pollutant levels that threaten the occupants’ health.

Acceptability Criteria

•    The dwelling unit must be free from dangerous air pollution levels from carbon monoxide,
     sewer gas, fuel gas, dust, and other harmful pollutants.

•    There must be adequate air circulation in the dwelling unit.

•    Bathroom areas must have one openable window or other adequate ventilation.

•    Any sleeping room must have at least one window. If the window was designed to be
     opened, it must be in proper working order.

The PHA must be satisfied that air pollutants such as gas leaks, industrial outputs, and heavy
traffic would not present a health hazard.

Air circulation should be checked to determine adequate ventilation. Air conditioning (A/C)
provides adequate circulation as do ceiling and vent fans.

The windows must adequately protect the unit’s interior from the weather. Windows designed to
open must not be painted or nailed shut. The ventilating bathroom fan in the bathroom must
operate as intended.




Housing Choice Voucher Program Guidebook            10-10
                                     Plaintiffs' MSJ Appx. 1983
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Tenant Preference

Tenants may determine whether window and door screens, filters, fans, or other devices for
proper ventilation are adequate to meet personal needs.

Water Supply

Performance Requirement

•    The water supply must be free of contamination.

Acceptability Criteria

•    The dwelling unit must be served by an approved public or private water supply that is
     sanitary and free from contamination.

The PHA should be satisfied that the water supply is approved by the State or local jurisdiction.

Clean water must be distributed to all unit fixtures and waste water must leave the unit to an
approved area without presence of sewer gas and backups.

Plumbing fixtures and pipes must be free of leaks and threats to health and safety.

Water-heating equipment must be installed safely and must not any present safety hazards to
families. All water heaters must be free of leaks, have temperature/pressure relief valves, and a
discharge line. Unless safety dividers or shields are installed water heaters must not be located in
bedrooms or living areas where safety hazards may exist. Fuel burning equipment must have
proper clearance from combustible materials and be properly vented.

Tenant Preference

The family may decide if the water heater has a large enough capacity for personal family use.

Lead-Based Paint

•    The Lead-Based Paint Poisoning Prevention Act as amended (42 U.S.C. 4821 - 4846) and the
     Residential Lead-Based Paint Hazard Reduction Act of 1992 and implementing regulations
     24 CFR Part 35 Subparts A, B, M, and R apply to the housing choice voucher program.

Acceptability Criteria

•    The requirements apply to dwelling units built prior to 1978 that are occupied or can be
     occupied by families with children under six years of age, excluding zero bedroom dwellings.




Housing Choice Voucher Program Guidebook           10-11
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•    During initial and annual inspections of pre-1978 units that are occupied or will be occupied
     by families with children under 6 years of age, the inspector must conduct a visual
     assessment for deteriorated paint surfaces and the owner must stabilize deteriorated surfaces.
     Applicable areas include painted surfaces within the dwelling unit, exterior painted surfaces
     associated with the dwelling unit, and common areas of the building through which residents
     must pass to gain access to the unit and areas frequented by resident children under six years
     of age, including play areas and child care facilities.

•    For units occupied by environmental intervention blood lead level (lead poisoned) children
     under six years of age, a risk assessment must be conducted (paid for by the PHA), and the
     owner must complete hazard reduction activities if lead hazards are identified during the risk
     assessment.

Section 10.4 of this Chapter discusses all PHA responsibilities.

Tenant Preference

Families with children under 6 years of age have no decision-making authority related to the
presence of lead-based paint.

Access

•    Use and maintenance of the unit must be possible without unauthorized use of other private
     properties.

•    The building must provide an alternate means of exit in case of fire.

Acceptability Criteria

•    The unit must have private access.

•    In case of fire, the building must contain an alternate means of exit such as fire stairs, or
     windows, including use of a ladder for windows above the second floor.

The PHA must determine that the unit has private access without unauthorized passage through
another dwelling unit or private property.

The emergency (alternate) exit from the building (not the unit) may consist of fire stairs, a second
door, fire ladders, or exit through windows. The emergency exit must not be blocked. It must
be appropriate for the family and considered adequate by local officials. Guidance from the local
fire agency is advisable.




Housing Choice Voucher Program Guidebook             10-12
                                      Plaintiffs' MSJ Appx. 1985
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Tenant Preference

The tenant should assist the PHA in determining if the type of emergency exit is acceptable.

Site and Neighborhood

Performance Requirement

•    The site and neighborhood must be reasonably free from disturbing noises and reverberations
     or other dangers to the health, safety, and general welfare of the occupants.

Acceptability Criteria

•    The site and neighborhood may not be subject to serious adverse natural or manmade
     environmental conditions, such as dangerous walks or steps, instability, flooding, poor
     drainage, septic tank back-ups or sewer hazards, mudslides, abnormal air pollution, smoke or
     dust, excessive noise, vibration, or vehicular traffic, excessive accumulations of trash,
     vermin, or rodent infestation, or fire hazards.

The PHA determines whether any of the above conditions seriously and continually affect the
health or safety of the residents. PHAs should be careful not to restrict housing choice in
deciding acceptability. Failing a unit because the neighborhood is considered “bad” is not
appropriate. Take into account whether private unassisted residents are living in the same
neighborhood.

Tenant Preference

Taking into consideration the type of neighborhood, presence of drug activity, commercial
enterprises, and convenience to shopping and other facilities, the family selects a unit.

Sanitary Condition

Performance Requirement

•    The dwelling unit and its equipment must be in sanitary condition.

Acceptability Criteria

•    The dwelling unit and its equipment must be free of vermin and rodent infestation.

The PHA must ensure that the unit is free of rodents and heavy accumulations of trash, garbage,
or other debris that may harbor vermin. Infestation by mice, roaches, or other vermin particular
to the climate must also be considered. The unit must have adequate barriers to prevent
infestation.




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                                               EXAMPLE:

        What is infestation of rodents or vermin?

        •   By definition infestation means more than one bug or mouse. It is easily identified
            by observing mouse and/or rodent droppings or gnaw marks. If no visible evidence
            exists, there is probably no infestation. Based on the type of pest, PHAs must decide
            for themselves what the limits are for determining infestation and be consistent. Is
            one rat or roach too much?


Tenant Preference

Provided the minimum standards required by the acceptability criteria have been met, the tenant
must determine whether the unit is in an adequate sanitary condition. Occasional mice and
roaches may be acceptable to the tenant.

Smoke Detectors

•    On each level of the dwelling unit including basements, but excluding spaces and unfinished
     attics at least one battery-operated or hard-wired smoke detector in proper operating
     condition must be present.

•    Smoke detectors must be installed in accordance with and meet the requirements of the
     National Fire Protection Association Standards (NFPA) 74 or its successor standards.

•    If a hearing-impaired person is occupying the dwelling unit, the smoke detectors must have
     an alarm system designed for hearing-impaired persons as specified in NFPA 74.

Acceptability Criteria

The PHA must insure that the location of smoke detectors conforms with local and/or State Fire
Marshall’s requirements.

The PHA must determine that smoke detectors are located and installed in accordance with
NFPA Standards. All smoke detectors must be in operating condition.

Local codes, such as housing or fire codes, often address responsibilities between owners and
tenants for installation and maintenance of smoke detector batteries. At initial, inspection smoke
detectors must have good batteries and be operable. PHAs may follow local codes to determine
if missing or dead smoke detector batteries constitute a tenant or owner-caused failure in
occupied units.

Consultation with the local fire officials is recommended regarding acceptable types and location
of smoke detectors.


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Tenant Preference

The family is not permitted to exercise any tenant preference regarding smoke detector
requirements.

10.4    LEAD-BASED PAINT REQUIREMENTS AND RESPONSIBILITIES

Regulation Background

Lead-based paint requirements were originally written to implement Section 302 of the Lead-
based Paint Poisoning and Prevention Act. In the late 1970s, Code of Federal Regulations, Title
24, Part 35 was promulgated, setting forth the general procedures for inspection and treatment of
defective paint surfaces in HUD assisted housing.

Under Part 35, Assistant Secretaries were given authority to develop regulations pertaining to
their specific areas of responsibility, and varying program regulations were issued. The
regulations have been amended several times. A major change that occurred in 1995 amended
housing quality standards that applied to tenant-based programs.

New lead-based paint regulations effective September 15, 2000 have been implemented to
incorporate Title X of the Housing and Community Development Act of 1992. These regulations
consolidate all lead-based paint requirements under one section of the Code of Federal
Regulations (24 CFR Part 35), stress identification of lead-paint hazards, notification to
occupants of the existence of these hazards, and control of lead-based paint hazards to reduce
lead poisoning among young children.

Housing choice voucher program units are subject to the following subparts of 24 CFR Part 35:

•    Subpart A, Disclosure;

•    Subpart B, General Lead-Based Paint Requirements and Definitions for All Programs;

•    Subpart M, Tenant-Based Rental Assistance; and

•    Subpart R, Methods and Standards for Performing Lead Hazard Evaluation and Reduction
     Activities.

The Section 8 moderate rehabilitation program and the project-based housing choice voucher or
certificate program units are subject to requirements under 24 CFR Subparts A, B, H, and R.
Those requirements are not discussed in this Guidebook.




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Exempt Units

Exempt housing includes:

•    Units built after December 31, 1977;

•    Zero (0) bedroom and SRO units;

•    Housing built for the elderly or persons with disabilities, unless a child of under age six (6)
     resides or is expected to reside in such housing;

•    Property for which a paint inspection was completed in accordance with the new regulations
     and certified to have no lead-based paint;

•    Property in which all lead-based paint was identified, was removed, and received clearance in
     accordance with the new regulations.

For dwellings built before January 1, 1978, and occupied or to be occupied by assisted families
with one or more children under age six, lead-based paint requirements apply to:

•    The unit interior and exterior paint surfaces associated with the assisted unit; and

•    The common areas servicing the unit, including those areas through which residents must
     pass to gain access to the unit, and other areas frequented by resident children less than six
     such as play areas, and child care facilities. Common areas also include garages and fences
     on the assisted property.

Basic Lead-Based Paint Requirements

The PHA is the responsible party for the following activities:

•    Visual assessment for deteriorated paint (i.e., peeling, chipping, flaking) surfaces at initial
     and annual inspections;

•    Assuring that clearance examination is conducted when required;

•    Carrying out special requirements for children under age six who have environmental
     intervention blood lead levels as verified by a medical health care provider;

•    Collecting data from the local health department on program participants under age six who
     have identified environmental intervention blood lead levels; and

•    Record keeping.




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Unit owners have responsibilities to:

•    Disclose known lead-based paint hazards to all potential residents prior to execution of a
     lease;

•    The owner must also provide all prospective families with a copy of Protect Your Family
     From Lead in Your Home or other EPA approved document;

•    When necessary, perform paint stabilization to correct deteriorated paint;

•    Each time such an activity is performed, notify tenants about the conduct of lead hazard
     reduction activities and clearance (if required);

•    Conduct lead hazard reduction activities when required by the PHA;

•    Perform all work in accordance with HUD prescribed safe work practices and conduct
     clearance activities when required; and

•    Perform ongoing maintenance. As part of ongoing maintenance, the owner must provide
     written notice to each assisted family asking occupants to report deteriorated paint. The
     notice must include the name, address, and phone number of the person responsible for
     accepting the occupant’s complaint.

10.5    NOTIFICATION AND DISCLOSURE OF LEAD-BASED PAINT HAZARDS PRIOR TO
        OCCUPANCY

Before the execution of the lease the owner or owner’s agent is required to disclose any
knowledge of lead-based paint or lead-based paint hazards in housing built prior to 1978, to all
prospective residents (See Exhibit 10-1, Sample Disclosure Notice.) The PHA must keep a copy
of the disclosure notice executed by the owner and tenant in the tenant file. The owner should
not send the PHA the original disclosure notice executed by the owner and tenant.

Visual Assessment for Deteriorated Paint

During the conduct of initial and annual inspections of pre-1978 units that are occupied or will be
occupied by families with children under 6 years of age, the PHA must conduct a visual
inspection for deteriorated paint surfaces at these locations:

•    All unit interior and exterior painted surfaces associated with the assisted unit; and

•    Common areas such as common hallways, access and egress areas, playgrounds, child-care
     facilities, or other areas including fences and garages frequented by children under age six.




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Deteriorated paint surfaces are defined as interior or exterior paint or other coating that is
peeling, chipping, flaking, cracking, is otherwise damaged or has separated from the substrate of
the surface or fixture.

The inspection may be conducted by an HQS inspector or other party designated by the PHA, but
all inspectors must be trained in visual assessment in accordance with procedures established by
HUD. A visual assessment training course is available on the Office of Healthy Homes and Lead
Hazard Control’s website.

Stabilization of Deteriorated Paint Surfaces

When the visual inspector identifies deteriorated paint surfaces, the PHA must notify and require
the owner to perform stabilization of the surfaces within thirty (30) days of notification in
occupied units and before commencement of an assisted tenancy. When weather conditions
prevent stabilization of deteriorated paint surfaces on exterior surfaces within 30-day period,
stabilization may be delayed for a reasonable time.

Owner requirements for compliance with a PHA’s paint stabilization notice differ, depending
upon the amount of deteriorated paint surface to be corrected. The use of lead-safe work
practices during paint stabilization activities are characterized as above or below de minimis
levels. De minimis deteriorated paint surfaces are as follows:

•    20 square feet on exterior surfaces;

•    2 square feet on an interior surface in a single room or interior space; or

•    10 percent of individual small components (e.g., window skills) on the interior or exterior.

Owners must perform paint stabilization on all deteriorated paint surfaces regardless of the size
of the deteriorated surface. Paint stabilization is defined as:

•    Repair of any physical defect in the substrate of the painted surface or building component.
     Examples of defective substrate conditions include dry-rot, rust, moisture-related defects,
     crumbling plaster, missing siding, or other components not securely fastened;

•    Removal of all loose paint and other loose material from the surface being treated; and

•    Application of a new protective coat of paint to the stabilized surface.

If the amount of deteriorated paint is below the de minimis level, the owner must perform paint
stabilization. Owners are not required to perform lead-safe work practices and clearance.

Correction of deteriorated paint above de minimis levels requires owners to perform additional
activities to gain compliance with HUD lead-based paint requirements, including:




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•    Conducting the stabilization activities with trained staff;

•    Employing acceptable methods for preparing the surface to be treated, including wet
     scraping, wet sanding, and power sanding performed in conjunction with a HEPA filtered
     local exhaust attachment operated according to manufacturer’s instruction;

•    Dry sanding and dry scraping is not permitted except within one (1) square foot of electrical
     outlets.

•    Protecting the occupants and their belongings from contamination;

•    Notifying the occupants within fifteen (15) calendar days of the stabilization activity and
     providing the results of the clearance examination (See Exhibit 10-3, Summary Notice of
     Completion of Lead-Based Paint Hazard Reduction Activity); and

•    HUD has provided funds to PHAs to cover the cost of the first clearance examination. The
     owner covers funds for the cost of subsequent tests.

•    The PHA is responsible for clearance activities. Clearance examinations must be performed
     by persons who have EPA or state-approved training and are licensed or certified to perform
     clearance examinations.

In no instance may an owner employ any paint stabilization methods that are strictly prohibited
by federal, state, or local law such as:

•    Open flame burning and torching;

•    Machine-sanding or grinding without a high-efficiency particulate air (HEPA) local exhaust
     control;

•    Heat guns operating above 1,100 degrees Fahrenheit;

•    Abrasive blasting or sandblasting without HEPA exhaust control;

•    Dry sanding and scraping except limited conditions stated above for limited areas; and

•    Paint stripping in poorly ventilated space using a volatile stripper or a hazardous chemical as
     defined by Occupational Safety and Health Administration (OSHA).

Failure to comply with paint stabilization requirements, regardless of the amount of deteriorated
surface, results in disapproval of the tenancy, abatement of payment to the owner, and/or
termination of the HAP contract. The HQS violation for paint stabilization is considered closed
when the PHA receives an executed copy of the Lead Based Paint Owner’s Certification. (See
Exhibit 10-2, Sample Certification.)




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Requirements for Children with Environmental Intervention Blood Lead Level

HUD has defined environmental intervention blood lead level as a confirmed concentration of
lead in whole blood equal or greater than 20 ug/dL (micrograms of lead per deciliter) for a single
test or 15-19 ug/dL in two tests taken at least three (3) months apart in children under age six.

Notification

A medical health care provider, public health department, the family, owner, or outside source
may notify the PHA of an environmental intervention blood lead level child living in a program
unit.

When information regarding an environmental intervention blood lead level child under age six
is received from the family, owner, or other sources not associated with the medical health
community, the PHA must immediately verify the information with a public health department or
other medical health care provider.

If either the public health department or a private medical health agency provides verification
that the child has an environmental intervention blood lead level, the PHA must proceed to
complete a risk assessment of the unit, common areas and exterior surfaces. This requirement
does not apply if the public health department has already conducted an evaluation between the
date the child’s blood was last sampled and the receipt of notification of the child’s condition.

When a PHA receives a report of an environmental intervention blood lead level child from any
source other than the public health department, the PHA must notify the health department
within five (5) working days.

Risk Assessment

Within 15 days of notification by a public health department or medical health care provider, the
PHA must complete a risk assessment of the dwelling unit, including common areas servicing
the dwelling unit, if the child lived in the unit at the time the child’s blood was sampled. In most
areas of the country, the local health department will complete the risk assessment free of charge
to the PHA. In areas where this is not possible, the PHA must hire and pay for a certified risk
assessor and, upon completion of the risk assessment, the PHA must provide the report to the
owner.

Persons trained and certified by an EPA or state-approved agency must complete risk
assessments.

Risk assessments involve on-site investigations to determine the existence, nature, severity, and
location of lead-based paint hazards. The investigation includes dust and soil sampling, and
visual evaluation, and may include paint inspections (tests for lead in paint). The assessor issues
a report explaining the results of the investigation, as well as options and requirements for
reducing lead-based paint hazards.


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The owner must notify the building residents of the results of the risk assessment within 15 days
of receipt from the PHA. (See Exhibit 10-4, Summary Notice of Lead-Based Paint Risk
Assessment.)

Hazard Reduction

The owner must complete reduction of identified lead-based paint hazards as identified in the
risk assessment within 30 days (or date specified by PHA if an extension is granted for exterior
surfaces).

Hazard reduction activities may include paint stabilization, abatement, interim controls, or dust
and soil contamination control. The appropriate method of correction should be identified in the
risk assessment.

Hazard reduction is considered complete when a clearance examination has been completed and
the report indicates that all identified hazards have been treated and clearance has been achieved,
or when the public health department certifies that the hazard reduction is complete.

The owner must notify all building residents of any hazard reduction activities within 15 days of
completion of activities. (See Exhibit 10-3, Summary Notice of Completion of Lead-Based Paint
Hazard Reduction Activities.)

Like paint stabilization compliance, PHA receipt of the owner’s certification signals compliance
with lead hazard reduction activities. (See Exhibit 10-2, Owner’s Certification.)

Failure to complete hazard reduction activities (including clearance) within 30 days (or later if
PHA grants an extension for exterior surfaces) of notification constitutes a violation of HQS, and
appropriate action against the owner must be taken if a program family occupies the unit. If the
unit is vacant when the PHA notifies the owner, the unit may not be reoccupied by another
assisted family, regardless of the ages of children in the family, until compliance with the lead-
based paint requirement.

Ongoing Maintenance

In addition to the visual assessment completed by the HQS inspector, the owner is required to
conduct a visual assessment for deteriorated paint and failure of any hazard reduction measures at
unit turnover and every 12 months of continued occupancy.

The owner is required to make corrections of deteriorated paint and any failed lead hazard
reduction measures. Correction methods are the same as those for paint stabilization activities
discussed earlier.

The owner must provide written notice to each assisted family asking occupants to report
deteriorated paint. The notice must include the name, address, and phone number of the person
responsible for accepting the occupant’s complaint.



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The owner certifies that this requirement is being met by presenting the owner’s certification to
the PHA before the execution of the lease and at annual inspection. (See Exhibit 10-2, Owner’s
Certification.)

PHA Data Collection and Record Keeping

Quarterly, the PHA must attempt to obtain from the public health department having jurisdiction
in the same area as the PHA, the names and addresses of children under age six with an identified
environmental intervention blood lead level.

The PHA must match information received from the health department with information about
program families. If a match occurs, the PHA must follow all procedures for notifying owners
and conducting risk assessments as stated above.

Quarterly, the PHA must report a list of addresses of units occupied by children under age six,
receiving assistance to the public health department, unless the health department indicates that
such a report is not necessary.

Staff should be thoroughly trained about the requirements for lead-based paint so inspection
activities are properly done and questions from owners about processes and requirements can be
adequately addressed.

The PHA is responsible to inform owners of lead-based paint regulations especially those related
to prohibited and safe work practices, tenant protection during lead-based paint activities, and
notification requirements. Many owners do not know about the new regulations and
requirements that were effective September 15, 2000. The PHA may wish to include information
about these requirements in HQS notices and other mailings to owners. If the PHA routinely
conducts owner workshops or owner meetings, lead-based paint is a good topic to place on the
agenda.

Risk assessors and public health departments conducting risk assessments involving
environmental intervention blood lead level children will issue a report on any needed
corrections and appropriate methods to correct lead hazards. The PHA must notify the owner of
the deadline for completing the corrections.

To carry out its responsibilities for matching PHA and public health records, PHA staff may need
to develop a closer working relationship with staff at the public health department.

PHAs should also develop a tracking report to track known environmental intervention blood
lead level children until the child reaches age six. This will assure that all PHA required
activities are addressed in a timely manner and that inspections conducted on behalf of the family
will include the inspection for deteriorated paint. If the PHA is using a computerized inspection
system with hand-held units, information about the child’s condition should be entered into the
system.




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Units that have been certified to be clear of lead paint hazards may be placed on a list and
affirmatively marketed to families with children under six.

10.6   HQS INSPECTION PROCESSES AND PROCEDURES

Overview

The purpose of HQS inspections is to ensure that housing is decent, safe and sanitary. This
section discusses types of HQS program inspections PHAs are required to conduct, methods for
conducting inspections, inspection scheduling, and HQS enforcement. Sample letters and notices
are provided to help PHAs carry out inspections. (See Exhibit 10-4a, Annual Inspection
Appointment Letter, and Exhibit 10-4b, Second Notice of Inspection Appointment.)

PHAs are required to conduct three types of inspections: initial, annual, and special inspections,
including quality control inspections. Inspections result in pass, fail, or inconclusive reports.
Pass inspections require no further action by the PHA. Fail or inconclusive inspections require
follow-up reinspections or PHA verification to confirm the correction of the HQS infractions.

Depending upon the nature of the item responsibility for correction of fail or inconclusive items
may be the responsibility of the owner or tenant. Failure to comply with correction notices
results in owner or tenant sanctions.

Scheduling Inspections

Program Requirements

The PHA must schedule initial inspections in accordance with program requirements. Annual
inspections, quality control inspections, and all resulting reinspections must be scheduled to
comply with SEMAP requirements as discussed in Section 10.7 of this Chapter. Other special
inspections, such as complaint inspections, should be scheduled as quickly as possible after
receipt of request.

Efficiently scheduling inspections that comply with SEMAP requirements can be challenging
and complex, especially for PHAs with large programs. PHAs are allowed to determine their
own procedures for scheduling inspections and may choose to complete the task manually or use
of computer programs.

PHAs should plan efficient and cost effective inspection procedures that produce the best results,
as well as good customer service for both families and owners. The size of the PHA’s program
plays a big part in determining scheduling details.

Annual inspections must be scheduled so that all units are inspected every 12 months. Annual
inspections are likely to be the largest part of the PHA’s inspection workload, followed by
reinspections of units that fail HQS. Since many PHAs coordinate the scheduling of annual
inspections with annual reexaminations, the number of inspections is not constant from month to


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month, with more inspections required in the heavy leasing months (e.g., the summer months).
This may also be the period with the greatest number of initial inspections.

The PHA should consider the following factors to determine how many total inspections will
need to be scheduled and completed each year:

•    Number of units under contract;

•    Anticipated number of requests for expected tenancy approvals (new families and transfers)
     in the coming year;

•    Unit fail rates for initial and annual inspections;

•    Reinspection fail rates for annual inspections;

•    Number of complaint inspections anticipated annually; and

•    Number of quality control inspections required.

After estimating the number of required unit inspections, the PHA should determine the number
of staff needed to complete required inspections. The PHA should take into account the
following factors:

•    Number of days employees actually conduct inspections each year (exclude time in office,
     training days, vacation, sick days, and approximate number of days lost to weather conditions
     for the area); and

•    Number of inspections each employee completes per day.

This analysis will indicate the number of inspections each inspector must have scheduled and
completed each day. The PHA should determine the amount of time required for an inspector to
complete thorough inspections, taking into account the type of unit and the number of bedrooms.
The PHA should also consider travel time.

Automated Inspection Systems

In order to meet all HQS requirements, inspections must be conducted and recorded using form
HUD 52580-A or 52580. If the PHA has received HUD approval to include additional
requirements, these changes must be reflected on the inspection instrument.

PHAs may conduct inspections using paper forms, checklists, or computer devices. Several
automated HQS products are available on the private market. The PHA’s program size will
dictate the most cost effective and efficient method.




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Computer inspection hardware comes in many forms; most are Windows-based. The computer,
often referred to as a “hand-held,” is available in various sizes and weights, and is available with
printing devices that can be used in the field. Data entry can also take many forms, including use
of a stylus to enter comments on the computer screen, typing comments into the system, or using
programmed codes to describe fail items.

Most hand-held systems can be connected to the office computer system. Inspection results are
then uploaded to the office computer to produce required letters to owners and/or tenants. Some
systems will allow for the inspections data to be “tied” to other PHA computer mainframe
applications to fill in tenant data fields for date of inspection, record inspection results to track
and monitor SEMAP requirements, and perform other tasks.

PHAs considering the use of hand-held systems should consult several companies to determine
the best and most cost effective system. Careful planning and programming of the hand-held
system should occur.

Initial Inspection Process and Procedure

The PHA’s established tenancy approval process triggers an initial inspection. The PHA may
deny a request to inspect a unit of behalf of a tenant as discussed in Chapter 6. (See Exhibit 10-
5, Sample Notice Denying Request for Inspection.)

Program Requirements

•    The PHA is required to conduct an initial inspection for each unit as part of the tenancy
     approval process discussed in Chapter 6. The family and owner must be notified of the
     inspection results.

•    The unit must pass the HQS inspection before the execution of the assisted lease and housing
     assistance payments (HAP) contract and the initiation of payments.

•    PHAs with up to 1,250 budgeted units must conduct the inspection within 15 days after the
     family or owner submits a request for tenancy approval.

•    PHAs with more that 1,250 budgeted units must conduct the inspection within a reasonable
     time after the family submits a request for tenancy approval. If possible, the inspection
     should be completed within 15 days.

•    The 15-day period is suspended when the unit is not unavailable for inspection. For example,
     if a family and owner submit a request for tenancy approval on the 15th of month but the
     owner indicates that unit will not be available until 1st of next month, the 15-day clock starts
     on the 1st of the next month.

A thorough unit inspection is required for the PHA to determine compliance with HQS and to
determine the reasonableness of the rent. (Rent Reasonableness is discussed in Chapter 9.)


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Regardless of how inspection results are recorded the PHA must produce and retain a facsimile
that includes PHA-adopted standards. Form HUD-52580, Inspection Checklist.

The family and the owner must relieve inspection results. (See Exhibit 10-6, Sample Notice,
Initial Unit Inspection.) The owner must receive detailed information for all failed and
inconclusive inspection items so that he or she is fully aware of the work necessary to pass the
HQS inspection.

If the unit does not comply with HQS requirements within the PHA specified time frame, the
PHA may cancel the tenancy approval and instruct the family to search for another unit.

The PHA is responsible for establishing a tenancy approval procedure. The procedure should
clearly describe the process for the tenant and owner to request an inspection, keeping in mind:

•    The requirement to conduct inspections within 15 days or as quickly as possible.

•    The PHA may set a deadline for completion of repairs which, if not met, will result in
     cancellation of the tenancy approval.

•    If the time to complete repairs is expected to be lengthy, the tenant may wish to find another
     unit, or the PHA may decide that the unit is unacceptable for leasing because the owner is
     non-responsive or has failed to comply with HQS within a reasonable period of time.

The PHA should request that the owner disclose the date the unit will be ready for inspection, as
well as all phone numbers where the owner can be reached.

The PHA may either ask the owner to schedule unit inspection or may accept this responsibility
itself. In either instance, the PHA should determine its policy and procedure for cases where
owner requests are not timely, one or more appointments are cancelled, access is denied or the
unit does not pass inspection after a reasonable time.

PHAs with a large number of tenancy approval requests may monitor their processing through a
manual or computerized tracking system, which records actions from the time of the request
through the execution of the HAP contract. This lets the PHA know where each unit stands in
the scheduling and approval process, and provides management data on time frames from request
for tenancy approval to HAP execution.

Prior to inspection, PHAs can use several methods to inform owners about HQS requirements:
owner briefing materials, telephone discussion, inclusion of HQS requirements in tenancy
approval materials, monthly newsletters to owners in the program, owner workshops, and public
meetings with current and prospective owners. It is advantageous to the PHA and the prospective
tenant if the unit passes inspection on the first attempt. The PHA should have a system to track
units requiring reinspection to determine HQS compliance for all fail and inconclusive items.




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Annual Inspection Process and Procedure

The annual inspection process includes scheduling the unit for inspection, notifying owners and
tenants of the inspection date and time, conducting the inspection, enforcing HQS requirements,
and when necessary, taking action to abate payments and terminate HAP contracts and program
assistance.

•    The unit must be in compliance with HQS requirements throughout the assisted tenancy.

•    Each unit must be inspected annually during assisted tenancy to determine if the unit meets
     HQS. The inspection must be conducted within twelve months of the previous inspection to
     meet SEMAP requirements discussed in Section 10.7.

•    The PHA must notify owners and tenants of HQS deficiencies in writing, and indicate a time
     period in which to make HQS corrections of that the PHA complies with SEMAP
     requirements discussed in Section 10.7.

•    The PHA must abate housing assistance payments to the owner for failure to correct an HQS
     violation under the following circumstances:

     -   An emergency (life-threatening) violation is not corrected within 24 hours of inspection
         and the PHA did not extend the time for compliance;

     -   A routine violation is not corrected within 30 days of the inspection and the PHA did not
         extend the time for compliance.

•    Abatements must begin on the first of the month following the failure to comply.

•    The PHA must terminate the HAP contract if repairs are not made. The PHA must decide
     how long abatement will continue prior to contract termination. The PHA should not
     terminate the contract until the family finds another unit provided the family does so in a
     reasonable time.

•    The PHA must terminate program assistance to families who fail to correct HQS deficiencies
     that they caused. The PHA should notify the owner of its intent to terminate the family’s
     program assistance so the owner can begin eviction procedures. The PHA should continue to
     pay the owner until the eviction is completed.

The PHA may set policy regarding tenant and owner presence at the inspection.

The inspector conducts the unit inspection. Each item on the inspection checklist must receive a
rating of pass, fail, or inconclusive. The inspector should make clear notes about the nature of all
fail and inconclusive items. For the unit to receive a pass rating, no fail or inconclusive items
can be noted on the inspection checklist.




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Improvements which have occurred since the previous unit inspection, addition of amenities or
services, and changes in type of or responsibility for utilities should be noted and reported to
appropriate PHA staff.

The inspector may record recommended improvements or items that should be brought to the
attention of the owner or tenant, but are not HQS deficiencies.

Written notification to the owner and/or tenant is required for all items for which fail or are
inconclusive. The notice must include a list of HQS deficiencies and the correcting deadline.
(See Exhibit 10-7a and Exhibit 10-7b, Sample Notice, Owner and Tenant HQS Deficiencies.).
Reinspection or PHA verification that failed and/or inconclusive items are corrected is required.

Any time an inspector is present in an assisted unit, the inspector has the right to conduct a full
inspection. If new HQS items are discovered during the time of a reinspection, the new items
must be noted and the owner and/or tenant must be notified to correct the deficiencies.

Owners are responsible to the PHA for compliance with all HQS items except those specifically
assigned to tenants.

Tenants are responsible to correct HQS fail and inconclusive items resulting from:

•    Failure to pay for tenant-supplied utilities;

•    Failure to supply appliance(s) required by the lease; or

•    Damage to the unit.

10.7     COMPLAINT INSPECTIONS

The PHA must investigate complaints about HQS matters that are registered by tenants, owners
or the general public.

Violations resulting from complaint inspections are treated in the same manner as annual
inspection violations. Failure to comply with violation notices issued from complaint inspections
result in abatement of payment to owners and/or termination of program assistance for tenants.

PHAs should schedule complaint inspections based upon the nature of the complaint. Staff that
receive complaints should distinguish between emergency (life threatening) and routine matters
and act accordingly.

Abatement of Payments

The PHA must abate HAP payments to owners who do not comply with notifications to correct
HQS deficiencies within the specified time period: 24 hours or 30-days depending upon the




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nature of the deficiency. For valid reasons, the PHA may extend the time period. Placement of
abatement must occur by the first of the month following expiration of the notice.

Except in the case of life threatening violations requiring corrections within 24 hours, the owner
must receive 30-day written notification of the abatement. Therefore, it is important that PHAs
include the 30-day notice to abate in the original violations notice. (See sample notice, Sample
Notice of HQS Deficiency; Exhibit 10-7b.) If this does not occur, a separate Notice of
Abatement, Sample Notice Exhibit 10-8, which delays the placement of abatement and has
implications under SEMAP compliance, must be sent to the owner. (See Section 10.7.3.)

Following a failure to comply with a notice of deficiency owners are not entitled to HAP
payments from the first of the month until the day the unit passes HQS. Examples include:

•    The owner receives a notice of violation in May to correct deficiencies by June 20 or
     abatement of payment will occur on July 1. The owner does not comply on June 20th. An
     abatement is placed on July 1 unless the owner complies prior to July 1. (The PHA may
     allow the owner to request a reinspection of the unit for compliance with HQS before or after
     the abatement has been placed.) If the unit passes re-inspection, the PHA may reinstate HAP
     payments on the day the owner complies and reverse any notice of abatement or cancellation
     of HAP contract that may have been issued.

•    The owner receives a notice of violation in May to correct deficiencies by June 20, but the
     notice does not contain language that abatement of payment will occur on July 1. The owner
     must be given a 30-day notice before the abatement can occur. Abatement may not be placed
     before August 1.

•    In May, the owner receives a notice of violation requesting a correction of deficiencies by
     June 20 and the notice contains language that failure to comply will result in abatement of
     payment July 1. The owner does not comply and abatement is placed on July 1. The owner
     requests a re-inspection following abatement and passes the reinspection on July 10. HAP
     payments may be re-instated on July 10, resulting in a nine-day sanction. The PHA may not
     withhold HAP payments to recover the time the unit was out of compliance with HQS from
     June 20 through June 30.

Termination of HAP Contract

The PHA may terminate the HAP contract for an owner’s failure to comply with its terms and
conditions, including non-compliance with HQS. Both the owner and the tenant must be
notified of intent to terminate. (See Exhibit 15-1, Sample Notice of Termination.)

The PHA may issue a voucher to the family to move, provided the family is eligible (not in
violation of the terms of assistance, including HQS responsibilities). The family should be
reminded of its responsibility to the owner to give notice of intent to move, and must continue to
pay its portion of the rent as long as the family remains in the unit. Procedures for terminating




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the HAP contract should be stated in the PHA administrative plan. (See Guidebook Chapter 15,
Termination of Assistance and Housing Assistance Payment Contracts.)

Termination of Assistance

Termination of program assistance is discussed in Chapter 15. (See Exhibit 15-2, Sample Notice
of Termination of Program Assistance.)

Special Inspection Process and Procedure

Special inspections include inspections in response to complaints registered with the PHA by
families, owners or other sources regarding the unit’s condition, quality control inspections, or
any other inspection the PHA may deem appropriate to conduct.

PHAs are obligated to investigate complaints which may indicate non-compliance with HQS
requirements. When repeated complaints about an assisted property are received, the PHA may
wish to conduct regular or routine inspections more often than annually.

Quality control inspections are a second type of special inspection and are required by program
regulations. See the discussion on quality control inspections in Section 10.7 of this Chapter.

Special inspections resulting in a fail or inconclusive HQS determination require the same
notification actions and enforcement processes described above for annual inspections.

As discussed in Section 10.7 of this Chapter, the PHA should use tracking systems to monitor
compliance with deadlines for correction of HQS violations, abatements, and terminations
resulting from annual and special inspections.

The PHA should develop a procedure and tracking system to record, track, and schedule all unit
inspections to ensure that inspection-related SEMAP requirements are met. These methods will
assist staff to schedule and conduct the unit inspection within the required time frames. Frequent
monitoring is necessary to assure that rescheduling of unit inspection is pursued diligently.

10.8    PHA-OWNED UNITS

A unit that is owned by the PHA that administers the housing choice voucher program (including
a unit owned by an entity substantially controlled by the PHA) may not be inspected for HQS
compliance by PHA staff.

•    The PHA must obtain the services of an independent entity to perform HQS inspections and
     to communicate the results of these inspections to the family and the PHA.

•    The independent agency must be approved by HUD.




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•    Administrative fee income may be used to compensate the independent agency. Other
     program receipts may not be used.

•    Neither the PHA nor the inspecting agency may charge the family any fee for the inspection
     service.

The PHA may select a government, nonprofit, or private group to conduct the independent HQS
inspections. The independent agency may be a unit of general local government, but it may not
be the PHA. Other local government agencies such as the local code enforcement agency, the
Community Development Agency, or the Health Department may be acceptable. A neighboring
PHA or a consultant are also possibilities.

After the PHA receives HUD approval of an independent inspection entity, the PHA should
establish a system to report addresses and inspections schedules, receive information from the
inspection entity, and manage the information flow. PHA owned units are also subject to
SEMAP requirements.

10.9    SEMAP INDICATORS RELATED TO INSPECTIONS AND HQS

Introduction

The following five SEMAP Indicators, totaling 50 points, are directly or indirectly related to
PHA compliance with program inspection requirements:

•    Indicator 2, Rent reasonableness;
•    Indicator 5, HQS quality control inspections;
•    Indicator 6, HQS enforcement;
•    Indicator 11, Precontract HQS inspections; and
•    Indicator 12, Annual HQS inspections.

SEMAP Certifications and Scoring are discussed in Chapter 1, Introduction.

Certification of Indicators 2, 5, and 6 is audited by the PHA through quality control sampling.
Sample size varies depending upon the universe, as shown in Table 10-1, Minimum Size of the
PHA’s Quality Control Sample. The scores resulting from the PHA quality control process and
certified by the PHA to HUD will be verified by the PHA independent auditor.

                                                 TABLE 10-1
                             MINIMUM SIZE OF THE PHA’S QUALITY CONTROL SAMPLE

                     Universe              Minimum number of files or records to be sampled
                50 or less            5
                51-600                5 plus 1 for each 50 (or part of 50) over 50
                601-2000              16 plus 1 for each 100 (or part of 100) over 600
                Over 2000             30 plus 1 for each 200 (or part of 200) over 2000




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The universe is determined as follows:

•    SEMAP Indictor 2, Rent reasonableness: number of families assisted;

•    SEMAP Indicator 5, HQS quality control inspections: number of units under HAP contract
     during the last completed PHA fiscal year;

•    SEMAP Indicator 6, HQS enforcement: number of failed HQS inspections in the last year.

The scores for SEMAP Indicators 11 and 12 are determined by data submitted by the PHA to
HUD through MTCS.

Indicator 2, Rent Reasonableness

Program requirements for this indicator are discussed in detail in Chapter 9, Rent
Reasonableness.

When determining the rent to owner, data must be gathered on a variety of units in order to allow
the PHA to make a comparability determination. PHA staff conducting the initial pre-contract
inspection are the most likely candidates to gather or verify the data, using the nine factors in the
rent reasonableness procedure.

See Sample Data Collection Form for Program Unit provided in Chapter 9.

Indicator 5, HQS Quality Control Inspections

•    A PHA supervisor or other qualified person must reinspect a sample of units under contract
     during the last PHA fiscal year. The guidelines included in Table 10-1 determine the
     required sample size.

•    The universe referred to in Table 10-1 is the number of units under HAP contract at the end
     of the PHA’s previous fiscal year. Example: The PHA fiscal year ends December 31, 2000.
     The SEMAP 2000 rating year for this PHA is January 1- December 31, 2000. The universe
     for this indicator is the number of units under HAP contract on December 31, 1999.

•    Completed HQS inspections included in the sample must be no older than three months at the
     time of the reinspection. The sample must represent a cross section of neighborhoods where
     program units are located and inspections completed by all HQS inspectors. The sample
     should also include a cross-section of initial and annual inspections.

•     Quality control reinspections should be conducted by staff trained in the PHA’s inspection
     standards and should receive the same guidance as other PHA inspectors on inspection
     policies and procedures.




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In addition to monitoring SEMAP compliance, quality control inspections provide feedback on
inspectors’ work, which can be used to determine if individual performance or general HQS
training issues need to be addressed. For SEMAP purposes, an HQS deficiency found at the time
of the quality control reinspection represents a “fail” quality control inspection. When rating an
individual inspector’s performance, the quality control inspector should take into account
whether the failed item occurred since the previous inspector was on site. Often the tenant can
describe when the deficiency occurred and will be helpful in making this determination.
Deficiencies that occurred after the original inspection should not be held against the inspector’s
performance record.

The PHA should maintain a quality control tracking system for each SEMAP year, which
indicates, the address of the units, date of original inspection and inspector, date of the quality
control inspection, results of the quality control inspection, and location of the unit by
neighborhood, zip code, census tract, etc. (See Exhibit 10-9, Documenting Quality Control
Inspections.)

Indicator 6, HQS Enforcement

•    All life-threatening HQS deficiencies must be corrected within twenty-four (24) hours of
     inspection and all other cited HQS deficiencies must be corrected no more than 30 calendar
     days from the inspection unless the PHA approved an extension of time for correction.

•    For HQS deficiencies that are the owner’s responsibility and are not corrected within the
     prescribed time frames, the PHA must abate housing assistance payments beginning no later
     than the first of the month following expiration of the PHA violation notice. Violation
     notices should contain language regarding abatement of payment for owner failure to make
     corrections.

•    For HQS deficiencies that are the responsibility of the tenant and are not corrected within the
     prescribed time frames, the PHA must take prompt and vigorous action to enforce family
     obligations following program requirements.

•    Compliance with this indicator is determined through quality control of files and records, in
     accordance with Table 10-1. The number of failed units in the PHA’s past fiscal year
     establishes the universe.

The PHA should establish the definition of deficiencies that will be considered emergency fail
items and should put a procedure in place to record, track, and close violations within 24 hours of
inspection or take abatement action.

Promptly following inspection, PHAs should issue violations letters for emergency fails to the
responsible party. This may be done by fax, courier, overnight mail, or regular mail and should
be followed by personal contact. PHAs should have a system to cover these circumstances on
weekends and holidays when staff are not readily available to conduct reinspections. Potential
approaches include: phone calls to the tenant or owner within the 24 hour period to verbally


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determine compliance, followed by a site reinspection the next business day; rotation of
inspectors to cover holiday and Saturday reinspections; receipt by fax of owner/tenant
certifications that corrections are made within the required time frame, or telephone confirmation
to a voice mail system followed by a reinspection on the next business day.

Promptly following inspection, notices to correct routine violations should be issued and should
state a date for compliance that allows time for corrections to be made and a reinspection to be
conducted within the 30-day time frame. Letters of violation should clearly state that failure to
gain entry to the unit or failure to comply will result in abatement of assistance payments on the
first of the month following the correction period.

Inspectors must identify the party responsible for each HQS violation listed on the inspection
instrument so that proper notice can be sent to the owner and/or tenant for the appropriate items.
This precludes abatement of owner rent when the violation(s) is the responsibility of the tenant.
Housing assistance payments are never abated for tenant deficiencies.

The PHA must have a system to promptly identify units for which deficiencies have not been
corrected within the required timeframe, in order to indicate abatement of rent and/or termination
of assistance to the family. (See Exhibit 10-10, Sample Tracking Log for Emergency
Inspections.) Termination of assistance procedures should be stated in the PHA administrative
plan. In order to meet the SEMAP requirement to “take prompt and vigorous action” for tenant
violations the PHA should strictly follow these procedures when the family fails to correct HQS
violations.

PHAs should monitor HQS enforcement on a regular basis (daily, weekly, or monthly) to
guarantee that reinspections occur within the proper time frames. PHAs may not penalize
owners for PHA failure to conduct the reinspections on time. However, if owners fail to comply
or allow entry into the unit, the PHA should notify the owner that it will begin abatement in 30
days.

For fairness and consistency, PHAs should have an established policy and procedure for
receiving and processing requests for HQS compliance deadline, including the conditions under
which extensions will be granted. It is not advisable to grant extensions without just cause, or to
grant verbal extensions; this can be construed as circumvention of the SEMAP requirement.

The PHA must have a system to record the results of SEMAP quality control reviews of
inspections. At a minimum, the system should provide: the address of the unit, date of original
failed inspection, responsibility for the deficiency (tenant or owner), date of reinspection,
result(s) of the reinspection, date owner notified of abatement, actual date of abatement, any
extensions to that date, and initiation and status of termination of tenancy. The PHA should
regularly monitor the tracking system to assure compliance.




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Indicator 11, Pre-Contract Inspections

•    PHAs must conduct initial inspections to determine that a unit passes HQS requirements on
     or before the effective date of the assisted lease and HAP contract.

•    Scoring of this indicator is based upon the date of the passed inspection reported on the form
     HUD 50058 transmitted through MTCS.

The PHA should routinely ensure that all new units pass HQS inspection prior to lease and HAP
execution. The staff person responsible for signing the HAP contract should review the file to
determine whether the unit passed before the HAP contract effective date.

Monthly MTCS reports should be monitored by the PHA to ensure that the system accurately
reflects the PHA’s performance.

Indicator 12, Annual Inspections

•    Each unit under HAP contract must be inspected at least annually and no more than 12
     months following the most recent inspection.

•    Scoring for this indicator is determined by data submitted to HUD for reporting in MTCS.

Following procedures described earlier in this chapter, the PHA should carefully determine the
number of units to be scheduled for inspection in the upcoming SEMAP year.

Tracking systems and management reports should be in place to ensure that units are being
inspected within the required 12-month period.

For purposes of this indicator, MTCS monitors the date of the last inspection of the unit to
determine if it occurred within twelve months. PHAs should exercise caution that the correct
date is placed into the system. The unit does not have to pass inspection within the time frame,
but an inspection must occur.

Prompt scheduling is essential to getting all unit inspections conducted within required time
frames. PHAs should review their scheduling procedures to determine if other processes that
may result in inspections not being completed on time, are linked to annual inspection, such as
the recertification process or families that are searching for new units. PHAs are also encouraged
to streamline procedures and increase owner/tenant education to limit the number of units which
are ready for inspection when scheduled. This requires a rescheduled or follow-up inspection.

PHAs should consider decoupling inspection from recertifications to balance monthly inspector
workload. Annual inspections do not have to coincide with the recertification process.
Inspections may be de-coupled from the recertification process and conducted by other methods
such as by zip code, specific buildings or apartment complexes, census track or ownership.




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                                                     SAMPLE
                                                                                                    EXHIBIT 10-1
          Disclosure of Information on Lead-Based Paint and/or Lead-Based Paint Hazards

 Lead Warning Statement
 Housing built before 1978 may contain lead-based paint. Lead from paint, paint chips, and dust can pose health
 hazards if not managed properly. Lead exposure is especially harmful to young children and pregnant women.
 Before renting pre-1978 housing, lessors must disclose the presence of known lead-based paint and/or lead-
 based paint hazards in the dwelling. Lessees must also receive a federally approved pamphlet on lead poisoning
 prevention.
 Lessor’s Disclosure
 (a) Presence of lead-based paint and/or lead-based paint hazards (check (i) or (ii) below):
     (i) _____Known lead-based paint and/or lead-based paint hazards are present in the housing. (Explain.)
     ______________________________________________________________________________________

     ______________________________________________________________________________________
     (ii) _____Lessor has no knowledge of lead-based paint and/or lead-based paint hazards in the housing.
 (b) Records and reports available to the lessor (check (i) or (ii) below):
     (i) _____Lessor has provided the lessee with all available records and reports pertaining to lead-based paint
              and/or lead-based paint hazards in the housing (list documents below).
     _____________________________________________________________________________________
     _____________________________________________________________________________________

     (ii) _____Lessor has no reports or records pertaining to lead-based paint and/or lead-based paint
               hazards in the housing.

 Lessee’s Acknowledgement (initial)

 (c) __________Lessee has received copies of all information listed above.
 (d) __________Lessee has received the pamphlet Protect Your Family from Lead in Your Home.

 Agent’s Acknowledgement (initial)

 (e) __________Agent has informed the lessor of the lessee’s obligations under 42 U.S.C. 4852(d) and
               is aware of his/her responsibility to ensure compliance.

 Certification of Accuracy

 The following parties have reviewed the information above and certify, to the best of their knowledge, that the
 information they have provided is true and accurate.


 Lessor                                      Date         Lessor                                         Date


 Lessee                                     Date          Lessee                                         Date


 Agent                                       Date         Agent                                          Date




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                                                                                                     EXHIBIT 10-2

                                  Sample Lead Paint Owner’s Certification
                                     Housing Choice Voucher Program



The undersigned hereby certifies that the property located at: (give full address, include apartment number)




is in compliance with all housing quality standard (HQS) requirements related to lead-based paint as indicated
below.

(Mark ALL appropriate boxes)

      The described property, including dwelling units, common areas and exterior painted surfaces, has been found
      to be free of lead-based paint by a certified lead-based paint inspector. The lead-based paint inspector’s
      report is either attached or has already been provided to the PHA.
      The described property was inspected by a certified lead-based paint inspector and lead-based paint was
      identified. All identified lead-based paint has been removed from the property, and the reports of the lead-
      based paint inspector and the certified lead-based paint abatement supervisor are attached or have already
      been provided to the PHA.
      Ongoing lead-based paint maintenance activities have been incorporated into regular building operations in
      accordance with 24 CFR 35.1355(a).
      Corrective action to address lead-based paint hazards at the described property that were required by the PHA
      to meet HQS have been completed in accordance with all requirements established by 24 CFR Part 35,
      including:

The boxes below do not apply when paint stabilization is below de minimis levels.

      The work was completed by person(s) trained to conduct lead-based reduction activities or was supervised by
      a certified lead-based paint abatement supervisor.
      Occupants of the dwelling unit(s) and their belongings were protected during the course of the work.
      The lead hazard worksite was properly prepared and maintained during the course of their work.
      A person certified to conduct clearance examinations performed a clearance test and the results indicate that
      clearance was achieved.❏ Occupants have been properly notified of the results of any lead-based paint
      hazard evaluation and reduction, including the results of the clearance examination.

(Owner’s Signature):

(Type or Print Name):

(Date):




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                                                                                      EXHIBIT 10-3

                           SAMPLE HAZARD REDUCTION NOTICE
                             (From Federal Register dated 9/15/99)

Summary Notice of Completion of Lead-Based Paint Hazard Reduction Activity

Address/location of property or structure(s) this summary notice applies to:
_________________________________________________________________________________
___________________________________________________________________________

Summary of hazard reduction activity:
Start and completion dates(s):_____________________________________

Activity locations and types: List at least the housing unit numbers and common areas (for multi-
family housing), bare soil locations, dust-lead locations, and/or building components (including type
of room or space, and the material underneath the paint), and types of hazard reduction activities
performed at the locations listed:
_________________________________________________________________________________
_________________________________________________________________________________
________________________________________________________________________

Date(s) of clearance testing and/or soil analyses:______________________________

Locations of building components with lead-based paint remaining in the rooms, spaces or areas
where activities were conducted:
_________________________________________________________________________________
___________________________________________________________________________

Summary of results of clearance testing and soil analyses:
     (a)______No clearance testing was performed.
     (b)______Clearance testing showed clearance was achieved.
     (c)______Clearance testing showed clearance was not achieved.

Contact person for more information about the hazard reduction:
       Printed name:_________________________________________
       Organization:_________________________________________
       Street and city:________________________________________
       State:__________ZIP:_____________Phone number:__________

Person who prepared this summary notice:
       Printed name:_________________________________________
       Signature:_____________________________________________
       Date:_____________________
       Organization:_________________________________________
       Street and city:________________________________________
       State:__________ZIP:__________Phone number:____________



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                                                                                      EXHIBIT 10-4



          SUMMARY NOTICE OF LEAD-BASED PAINT RISK ASSESSMENT
                    (From Federal Register dated 9/15/99)


Address/location of property or structures(s) this summary notice applies:
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

Lead-based paint risk assessment description:
      Date(s) of risk assessment:_________________________
      Summary of risk assessment results: (Check all that apply)
              (a) ____No Lead-based hazards were found.
              (b) ____Lead-based paint hazards were found.
              (c) ____A brief summary of the findings of the assessment.

Summary of types and locations of lead-based paint hazards. List at least the housing unit
numbers and common areas (for multi-family housing), bare soil locations, dust-lead locations
and/or building components (including type of room or space, and the material underneath the
paint), and types of lead-based paint hazards found:

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

Contact person for more information about the risk assessment:

       Printed name:______________________________________
       Organization:______________________________________
       Street and City:_____________________________________
       State:_______________ZIP:__________Phone number:_____________

Person who prepared this Summary Notice:

       Printed name:_______________________________________
       Signature:__________________________________________
       Date:________________________
       Organization:_______________________________________
       Street and city:______________________________________
       State:_________ZIP:___________Phone number:____________



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                                                                                     EXHIBIT 10-4a


                                       SAMPLE LETTER


                    ANNUAL INSPECTION APPOINTMENT LETTER


Dear Owner:

In accordance with the housing choice voucher program requirements, the unit that you own at
_________________________________________, City and State, must be inspected annually to
continue participation in the program.

Name of PHA has scheduled this inspection for date and time. It is your responsibility to make
certain entry can be gained to the unit, common area spaces and heating facilities at the appointed
time. You or your tenant may be present for the inspection.

If you find it necessary to re-schedule this appointment, please do so number of days, in advance
of the appointed date and notify your tenant of the changed date. Please be advised that failure to
allow the inspection or to reschedule the unit within a reasonable time period may result in the
abatement of HAP payments and/or termination of the unit from the program.

It is very important that inspections be completed timely. We recommend that you inspect your
unit in advance of the scheduled inspection and correct any deficiencies which may cause the unit
to fail inspection.

If you have any questions, please telephone __________________at _______________ during
the hours of ______and _________ Monday through Friday.

Sincerely,


PHA Staff

cc: Tenant




Housing Choice Voucher Program Guidebook          10-40
                                    Plaintiffs' MSJ Appx. 2013
 Case 4:14-cv-03253 Document 301-13 Filed on 09/08/16 in TXSD Page 44 of 380
                                                                 Chapter 10: Housing Quality Standards


                                                                                     EXHIBIT 10-4b

                                           SAMPLE LETTER

                   SECOND NOTICE OF INSPECTION APPOINTMENT


Dear Owner:

By letter of _____________________we notified you that the unit you own at
______________________________was scheduled for the required annual inspection under the
terms of your housing assistance payments (HAP) contract for the housing choice voucher
program.

The inspection was not made for the following reasons:

______No one was present to allow entry by the inspector.

______You canceled the inspection, and have failed to re-schedule the unit.

You must contact ______________________at _______________to reschedule the inspection of
the unit by no later than ____________________________. Failure to re-schedule the unit or to
allow entry on the appointed date will result in abatement of your HAP payments effective
_______________________ and termination of the unit from the program on
____________________________.

If you have any questions, please
contact_________________________at______________during the hours of ______and
_______, Monday through Friday.


Sincerely,


PHA Staff

cc: Tenant
    Any other PHA staff needing this information




Housing Choice Voucher Program Guidebook          10-41
                                    Plaintiffs' MSJ Appx. 2014
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                                                                 Chapter 10: Housing Quality Standards


                                                                                      EXHIBIT 10-5

                                       SAMPLE LETTER

                          DENYING REQUEST FOR INSPECTION


Dear Owner:

Name of Authority has received a request to inspect the unit you own at
________________________________for participation in the housing choice voucher program.
This request is denied for the following reasons:

_____Records indicate you have a repeated history of violations of program rules and regulations
including repeated violations of HQS at properties you own.

_____Records indicate that you were notified to correct deficiencies related to lead-based paint at
this unit and they were not made. This unit may not be occupied by another assisted family until
the terms of the previous notice have been met.

If you have questions, you may contact ______________________at______________during the
hours of ______and ________Monday through Friday.

Sincerely,


PHA Staff

cc: Prospective tenant




Housing Choice Voucher Program Guidebook          10-42
                                    Plaintiffs' MSJ Appx. 2015
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                                                                 Chapter 10: Housing Quality Standards


                                                                                      EXHIBIT 10-6

                                       SAMPLE LETTER

                             NOTICE - INITIAL INSPECTIONS


Dear Owner:

Please be advised that an inspection was made at the property that you own located at
___________________________________. The unit has been proposed for participation in the
housing choice voucher program.

The result of the inspection was:

_____The unit meets HQS and has been approved for inclusion in the program. You will be
notified by _________________shortly of the procedures which must be followed in order to
execute the lease and housing assistance payments contract.

_____The unit needs repairs to meet HQS. A list of those repairs is attached. We are unable to
process this unit for lease under the program until all HQS requirements have been met.

Please contact this office at ____________________when the unit is ready for reinspection or if
you have questions about this letter.

If we have not heard from you by ________________________, we will assume you do not
intend to make the needed repairs and we will notify the prospective tenant to locate another
suitable dwelling unit.

Sincerely,



PHA Staff

cc: Prospective tenant




Housing Choice Voucher Program Guidebook          10-43
                                    Plaintiffs' MSJ Appx. 2016
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                                                                 Chapter 10: Housing Quality Standards


                                                                                     EXHIBIT 10-7a

                                       SAMPLE LETTER

                       NOTICE OF HQS DEFICIENCIES - TENANT
                            (Annual or Special Inspections)


Dear Tenant:

Please be advised that on ____________________________an HQS inspection was made at the
property where you reside.

The unit requires repairs to meet HQS. A list of required repairs is attached.

These repairs must be completed by ___________________________and you must telephone
_________________to schedule a re-inspection of the unit by ____________________. Failure
to make the corrections and/or schedule a re-inspection within the required time frames will
result in the termination of your program assistance effective ___________________.

NOTICE: The PHA reserves the right to cite additional violations upon re-inspection of the
unit should conditions at the time of re-inspection warrant this.

Thank you for your cooperation.

Sincerely,



PHA Staff

cc: Owner
    (Other PHA staff needing to have this information)




Housing Choice Voucher Program Guidebook          10-44
                                    Plaintiffs' MSJ Appx. 2017
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                                                                 Chapter 10: Housing Quality Standards


                                                                                     EXHIBIT 10-7b

                                       SAMPLE LETTER

                    SAMPLE NOTICE OF HQS DEFICIENCY - Owner
                           (Annual, or Special Inspections)

Dear Owner:

Please be advised that on ______________________an inspection was made at the property you
own located at _________________________.

The unit needs repairs to correct HQS deficiencies. A list of required repairs is attached.
These repairs must be completed by_____________. You must telephone _____________to
schedule a re-inspection of the unit by_______________________.

Please be advised that failure to complete these repairs and/or have a re-inspection conducted by
the specified time frames will result in abatement of your housing assistance payments on
______________________and termination of the HAP contract on ______________________.

NOTICE: The PHA reserves the right to cite additional HQS violations upon re-inspection of
the unit should conditions at the time of re-inspection warrant.

Thank you for your cooperation.

Sincerely,



PHA Staff

cc: Tenant




Housing Choice Voucher Program Guidebook          10-45
                                    Plaintiffs' MSJ Appx. 2018
 Case 4:14-cv-03253 Document 301-13 Filed on 09/08/16 in TXSD Page 49 of 380
                                                                 Chapter 10: Housing Quality Standards


                                                                                      EXHIBIT 10-8

                                       SAMPLE LETTER

                                  NOTICE OF ABATEMENT


Dear Owner:

On ________________________you received a notice to correct HQS deficiencies at the unit
you own located at ___________________________________.

To date, you have not complied with the terms of the notice of violation. Effective
__________________________your housing assistance payments for this unit will be abated.
Termination of the HAP contract will occur on ____________________________.

If you have made the repairs and wish to have a re-inspection of the unit, you must do so by
______________________________. Provided the unit passes inspection by the date
established in this paragraph, we will resume your payments on _____________________ and
cancel the termination of the HAP contract.
If you have any questions or we can be of assistance, please telephone
___________________between the hours of ___and _____ Monday through Friday.

Sincerely,



PHA Staff

cc: Tenant
    (PHA staff that need to know this).




Housing Choice Voucher Program Guidebook          10-46
                                    Plaintiffs' MSJ Appx. 2019
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                                                                                                                                                         EXHIBIT 10-9
Housing Choice Voucher Program Guidebook




                                                                      DOCUMENTING QUALITY CONTROL INSPECTIONS



                                           Address of Unit      Neighborhood   Date of Original   Original Inspector   Date of Quality   Inspections Result
                                                                 or Zip Code     Inspection                               Control
                                                                                                                         Inspection
10-47




                                                                                                                                                                        Chapter 10: Housing Quality Standards
                                                                                 Plaintiffs' MSJ Appx. 2020
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                                                                                                                                                                                    EXHIBIT 10-10
Housing Choice Voucher Program Guidebook




                                                                                                  EMERGENCY INSPECTION LOG

                                                                                                                                                                                      Date Tenant
                                             Unit           Date of      Inspection   Tenant or Owner    Date Written     Reinspection                                  Date of       Termination
                                            Address       Inspection       Result        Violation       Notice Sent          Date          Reinspection Result        Abatement       Processed
                                                                                        (These columns are necessary to track Emergency Inspection)




                                           Optional columns include:
                                               Unit or
                                                              Zip Code        Owner Name                 Owner Address                Owner Telephone             Tenant Name      Tenant Telephone
                                            Tenant ID #
10-48




                                                                                                                                                                                                      Chapter 10: Housing Quality Standards
                                                                                                    Plaintiffs' MSJ Appx. 2021
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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 STEPHEN McCOLLUM, and SANDRA                  §
 McCOLLUM, individually, and STEPHANIE         §
 KINGREY, individually and as independent      §
 administrator of the Estate of LARRY GENE     §
 McCOLLUM,                                     §
                      PLAINTIFFS               §
                                               §
 v.                                            §   CIVIL ACTION NO.
                                               §   4:14-cv-3253
                                               §   JURY DEMAND
 BRAD LIVINGSTON, JEFF PRINGLE,                §
 RICHARD    CLARK,    KAREN   TATE,            §
 SANDREA SANDERS, ROBERT EASON, the            §
 UNIVERSITY    OF   TEXAS   MEDICAL            §
 BRANCH and the TEXAS DEPARTMENT OF            §
 CRIMINAL JUSTICE.                             §
                  DEFENDANTS                   §



           Plaintiffs’ Consolidated Summary Judgment Response Appendix


                          EXHIBIT 131
                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  

                                        	  



                            Plaintiffs' MSJ Appx. 2022
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   Excessive Heat
Events Guidebook                       EPA 430-B-06-005 | June 2006




                                            United States Environmental Protection Agency
                                            Office of Atmospheric Programs (6207J)
                                            1200 Pennsylvania Avenue NW, Washington, DC 20460
                            Plaintiffs' MSJ Appx. 2023
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                                          How to obtain copies
                                          You can electronically download this
                                          document from EPA’s Heat Island Site at
                                          http://www.epa.gov/heatisland/about/
                                          heatresponseprograms.html. To request
                                          free copies of this report, call the National
                                          Service Center for Environmental
                                          Publications (NSCEP) at 1-800-490-9198.


                                          For further information
                                          For further information, contact Jason
                                          Samenow, 202-343-9327, samenow.jason@
                                          epa.gov, U.S. Environmental Protection
                                          Agency.




                          Plaintiffs' MSJ Appx. 2024
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   Excessive Heat
Events Guidebook                           EPA 430-B-06-005 | June 2006


                              United States Environmental Protection Agency
                                     Office of Atmospheric Programs (6207J)
                       1200 Pennsylvania Avenue NW, Washington, DC 20460




                              Plaintiffs' MSJ Appx. 2025
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    Acknowledgments

    The primary agencies that partnered to support this guidebook’s development are
    the U.S. Environmental Protection Agency (EPA), the Centers for Disease Control and
    Prevention (CDC), the National Oceanic and Atmospheric Administration’s (NOAA’s)
    National Weather Service (NWS), and the U.S. Department of Homeland Security (DHS).
    This guidebook reflects the commitment of individuals who contributed their time and
    expertise to guide its development while evaluating a wide range of information. The
    key contacts at each of the partnering agencies were instrumental in the guidebook’s
    development. Alan Perrin and Jason Samenow of EPA served as the guidebook’s
    day-to-day project managers from its conceptualization through production. Jannie
    Ferrell and Mark Tew of NOAA’s NWS, George Luber and Mike McGeehin of CDC,
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    those agencies. David Mills of Stratus Consulting managed the guidebook’s technical
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    Dr. Laurence Kalkstein of Applied Climatologists Inc. and the University of Delaware
    Center for Climatic Research. Dr. Kalkstein helped pioneer, and continues to lead, the
    development of integrated meteorological and human health models for forecasting
    excessive heat event (EHE) conditions. He also contributed a wealth of background
    information in the form of published articles about and insight into forecasting EHEs,
    quantifying their health impacts, and coordinating the development of EHE watch/
    warning systems.
    Ultimately, though, this guidebook could not have been developed without the
    involvement of the members of the Technical Working Group (TWG) that was assembled
    to help identify and summarize essential information and to comment on drafts of the
    guidebook. Their collective experience designing, implementing, supporting, operating,
    and evaluating EHE notification and response programs throughout the United States and
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        Christopher Payne, Cincinnati Health Commissioner’s Office

        Liz Robinson, Energy Coordinating Agency of Philadelphia.

    The TWG’s guidance and perspective make this guidebook such a potentially useful
    resource. The members’ enthusiasm and commitment of time to the guidebook’s
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    the guidebook’s technical development.




    Acknowledgments                                                                              1
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           Finally, extremely helpful comments were received on a final draft of the guidebook from
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           Los Angeles Center for Health Policy Research; and Scott Wright, University of Utah.




2                                                                    Excessive Heat Events Guidebook
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    List of Acronyms and Abbreviations

    CDC              Centers for Disease Control and Prevention
    CSA              Canadian Standards Approved
    DHS              U.S. Department of Homeland Security
    EHE              excessive heat event
    EMS              emergency medical service
    EPA              U.S. Environmental Protection Agency
    NOAA             National Oceanic and Atmospheric Administration
    NWS              National Weather Service
    PCA              Philadelphia Corporation for Aging
    SMSA             standard metropolitan statistical area
    SSC              spatial synoptic classification
    TWG              Technical Working Group
    UL               Underwriter Laboratories




    Acronyms and Abbreviations                                            3
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4                                                          Excessive Heat Events Guidebook
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    Summary

    Introduction
    Excessive heat events (EHEs) are and will continue to be a fact of life in the United States.
    These events are a public health threat because they often increase the number of daily
    deaths (mortality) and other nonfatal adverse health outcomes (morbidity) in affected
    populations. Distinct groups within the population, generally those who are older, very
    young, or poor, or have physical challenges or mental impairments, are at elevated risk for
    experiencing EHE-attributable health problems. However, because EHEs can be accurately
    forecasted and a number of low cost but effective responses are well understood, future
    health impacts of EHEs could be reduced. This guidebook provides critical information
    that local public health officials and others need to begin assessing their EHE vulnerability
    and developing and implementing EHE notification and response programs.

    Health impacts of EHEs
    EHE conditions are defined by summertime weather that is substantially hotter and/or
    more humid than average for a location at that time of year. EHE conditions can increase
    the incidence of mortality and morbidity in affected populations. Recent examples of
    EHE health impacts include:
        More than 15,000 deaths in France alone (all of western Europe was affected)
        attributed to EHE conditions in August 2003

        More than 700 deaths attributed to EHE conditions in Cook County, Illinois, in July
        1995

        Roughly 120 deaths attributed to EHE conditions in Philadelphia, Pennsylvania, in
        July 1993.

    Concern over the potential future health impacts of EHEs follows research conclusions
    that EHEs may become more frequent, more severe, or both in the United States.

    Responding to EHE conditions
    The potential for reducing future health impacts of EHEs in the United States is
    significant for several reasons.
    First, meteorologists can accurately forecast EHE development and the severity of the
    associated conditions with several days of lead time. This provides an opportunity to
    activate established EHE notification and response plans or to implement short-term
    emergency response actions absent an existing plan.
    Second, specific high-risk groups typically experience a disproportionate number of
    health impacts from EHE conditions. The populations that have physical, social, and
    economic factors and the specific actions that make them at high risk include:
        Older persons (age > 65)

        Infants (age < 1)

        The homeless

        The poor

        People who are socially isolated


    Summary                                                                                         5
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               People with mobility restrictions or mental impairments

               People taking certain medications (e.g., for high blood pressure, depression,
               insomnia)

               People engaged in vigorous outdoor exercise or work or those under the influence of
               drugs or alcohol.

           Identifying these high-risk groups in given locations allows public health officials to
           develop and implement targeted EHE notification and response actions that focus
           surveillance and relief efforts on those at greatest risk.
           Third, broad consensus exists on the types of actions that will provide relief to those at
           risk during EHEs and help minimize associated health impacts. These actions include:
               Establishing and facilitating access to air-conditioned public shelters

               Ensuring real-time public access to information on the risks of the EHE conditions
               and appropriate responses through broadcast media, web sites, toll-free phone lines,
               and other means

               Establishing systems to alert public health officials about high-risk individuals or
               those in distress during an EHE (e.g., phone hotlines, high-risk lists)

               Directly assessing and, if needed, intervening on behalf of those at greatest risk (e.g.,
               the homeless, older people, those with known medical conditions).


           Experience in several North American cities has demonstrated that comprehensive and
           effective EHE notification and response programs can be developed and implemented at
           relatively low cost. These programs generally use available resources instead of creating
           EHE-specific institutions. This approach recognizes that short-term resource reallocations
           for EHEs are justified by the severity of their public health risks, the limited duration and
           frequency of the events, and the cost-effectiveness of the reallocations.

           Guidebook goals and next steps
           This guidebook provides interested public health officials with enough background
           information on EHE risks and impacts to roughly assess potential local health risks from
           EHEs. In addition, it provides a menu of notification and response actions to consider
           when developing or enhancing a local EHE program.
           The 2005 U.S. hurricane season was a stark reminder that inadequate public and private
           preparation and response to well-forecasted and well-understood extreme meteorological
           phenomena can have severe public health consequences.
           The remaining public health challenge for EHEs is to develop and implement meaningful
           EHE notification and response programs that increase public awareness and lessen future
           adverse health impacts.




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     EHEs can increase the number of deaths (mortality) and nonfatal outcomes (morbidity)
     in vulnerable populations, including older people, the very young, the homeless, and




                                                                                                          Chapter 1
     people with cognitive and physical impairments (NOAA, 1995; American Medical
     Association Council on Scientific Affairs, 1997; Semenza et al., 1999). Climate research
     suggests that future health risks of EHEs could increase with an increase in EHE frequency
     and severity (Meehl and Tebaldi, 2004). At the same time, demographic patterns including
     increasing urbanization will increase the size and percentage of the vulnerable U.S.
     population. To develop appropriate EHE responses, local officials need to understand the
     risks that these events pose to their populations and their response options. The intent of
     this guidebook is to address both needs.

     1.1 Why Care about EHEs?
     Studies estimate that the combined EHE-attributable summertime mortality for several
     vulnerable U.S. metropolitan areas is well above 1,000 deaths per year (Kalkstein, 1997;
     Davis et al., 2003a). Although similar research to quantify EHE-attributable mortality in
     rural areas has not been completed, recent research (Sheridan and Dolney, 2003) found
     evidence of such an impact.
     Despite the history of adverse health impacts, there is consensus that most of these
     outcomes are preventable (CDC, 2004a). Lessening future adverse health outcomes from
     EHEs will require improving the awareness of public health officials and the general
     public about the health risks of EHEs while continuing to develop and implement
     effective EHE notification and response programs.

     1.2 Guidebook Goals
     This guidebook has two basic goals: first, to provide local health and public safety officials
     with the information they need to develop EHE criteria and evaluate the potential health
     impacts of EHEs, and second, to offer a menu of EHE notification and response actions to
     be considered.
     To meet these goals, this guidebook is organized as follows.
     Chapter 2 provides information on EHE-attributable health impacts and sources of risk
     that affect the vulnerability of individuals and communities to EHEs. Specific information
     provided in the chapter includes:
         A general EHE definition

         Guidance on criteria for EHE forecasting and identifying EHE conditions

         Estimates of the number and rate of EHE-attributable summertime deaths for select
         U.S. metropolitan areas

         A review of the meteorological, demographic, behavioral, and regional characteristics
         that increase health risks from EHEs.




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                       Chapter 3 gives the menu of notification and response options that local officials can use
                       as a starting point when considering whether to develop or enhance an EHE program.
Chapter 1




                       This menu consists of the following information:
                           The components of current EHE notification and response programs

                           Case studies of specific EHE response programs to understand their development and
                           lessons learned

                           A review of the efficacy of EHE response programs.

                       Chapter 4 provides recommendations that should be considered when developing an
                       EHE notification and response program. Specifically, this chapter contains:
                           Guidance on specific actions to consider when planning to develop or enhance an
                           EHE program

                           Recommendations for coordinating EHE programs with other public health
                           programs (e.g., ozone alert programs).

                       In addition, the guidebook includes a series of appendices with information that officials
                       may want to incorporate in other materials or make available independent of the
                       guidebook. This information includes:
                           A partial list of resources for additional information on EHE-attributable health risks
                           and impacts and details on EHE programs (Appendix A)

                           Guidance on the personal use of portable electric fans during EHEs (Appendix B)

                           A summary of specific actions people and communities can take in response to
                           forecast EHE conditions to reduce the risk of experiencing heat-attributable health
                           problems (Appendix C).

                       1.3 Guidebook Development
                       Other documents have summarized the health risks of EHEs, described the factors that
                       increase an individual’s health risk during these conditions, and recommended elements
                       for EHE notification and response programs (e.g., Basu and Samet, 2002; Bernard and
                       McGeehin, 2004; CDC, 2004a,c; FEMA, 2005b; U.S. EPA, 2005).
                       This guidebook, however, is unique because it was developed as a collaborative effort
                       among several of the principal federal agencies responsible for addressing EHEs: the
                       Centers for Disease Control and Prevention (CDC), the National Oceanic and Atmospheric
                       Administration’s (NOAA’s) National Weather Service (NWS), the U.S. Department of
                       Homeland Security (DHS), and the U.S. Environmental Protection Agency (EPA) along with
                       three other institutions with extensive experience developing and operating recognized
                       EHE programs in the United States and abroad: the Philadelphia Health Department,
                       Toronto Public Health, and the University of Delaware Center for Climatic Research.
                       Summarizing the collective insight and experience of the individuals from these
                       organizations was facilitated through the participation of their staff in a Technical
                       Working Group (TWG). The TWG helped shape the guidebook’s content through regular
                       group discussions and review of draft versions of the guidebook.


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     This chapter first defines an EHE and reviews possible criteria for identifying EHE
     conditions, followed by a discussion of the range of EHE-attributable medical conditions,
     adverse health outcomes, and mortality estimates for several U.S. metropolitan areas. It
     also reviews the characteristics that can affect an individual’s health risk and the incidence
     of adverse health outcomes in a population.

     2.1 Defining an EHE
     EHE conditions are defined by summertime weather that is substantially hotter and/or
     more humid than average for a location at that time of year. Because how hot it feels
     depends on the interaction of multiple meteorological variables (e.g., temperature,
     humidity, cloud cover), EHE criteria typically shift by location and time of year. In other




                                                                                                               Chapter 2
     words, Boston, Philadelphia, Miami, Dallas, Chicago, San Diego, and Seattle are likely to
     have different EHE criteria at any point in the summer to reflect different local standards
     for unusually hot summertime weather. In addition, these criteria are likely to change for
     each city over the summer. As a result, reliable fixed absolute criteria, e.g., a summer day
     with a maximum temperature of at least 90°f, are unlikely to be specified.
     There are different ways to identify EHE conditions. Some locations evaluate current and
     forecast weather to identify EHE conditions with site-specific, weather-based mortality
     algorithms. Other locations identify and forecast EHE conditions based on statistical
     comparisons to historical meteorological baselines. For example, the criterion for EHE
     conditions could be an actual or forecast daily high temperature that is equal to or exceeds
     the 95th percentile value from a historical distribution for a defined time period (e.g., the
     summer or a month-long window centered on the date).
     Figure 2.1 presents a hypothetical example that shows the difference in defining
     EHE conditions when using a seasonally adjusted relative temperature versus a fixed
     temperature criterion.

     Figure 2.1. An example illustrating the difference between a seasonally adjusted relative
     temperature threshold and a fixed absolute temperature threshold for defining EHE
     conditions. Source: Personal communication, B. Davis, New Hope Environmental Services, August 2005.




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                    Representations of actual EHEs can help illustrate these conditions. During the summer
                    of 2003, Western Europe experienced EHE conditions of unprecedented severity. Figure
                    2.2 presents the June through August 2003 daily maximum temperature readings in Paris
                    with the corresponding average daily maximum temperature from the historical record.
                    Although the June and July temperatures in Figure 2.2 may not seem exceptional,
                    the extent to which they generally exceeded the long-term average shows why Paris
                    experienced EHE conditions. The period from August 3 to August 17, however, is notable
                    for its absolute temperatures and its tremendous deviation from typical conditions.
                    Reflecting the significant health risks of EHE conditions, France experienced roughly
                    15,000 heat-related deaths during this period (Koppe et al., 2004).
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                    Figure 2.2.   Actual (red line) vs. average (black line) daily maximum temperatures




                    2.2 Health Risks Attributable to EHE Conditions
                    Maintaining a consistent internal body temperature, generally 98.6°f, is essential to
                    normal physical functioning (American Medical Association Council on Scientific Affairs,
                    1997). EHE conditions stress the body’s ability to maintain this ideal internal temperature.
                    If individuals fail or are unable to take steps to remain cool and begin to experience
                    increasing internal temperatures, they increase their risk of experiencing a range of
                    potential adverse health outcomes.
                    Table 2.1 lists some of the medical conditions directly attributable to excessive heat
                    exposure, along with recommended responses.
                    EHE conditions can result in increases in the number of cases of other health problems
                    as well. For example, EHEs can increase the number of patients experiencing circulatory
                    system conditions. These additional problems come from the added strain on the heart,
                    increasing circulation to regulate internal temperatures, or to overcome the effects of
                    dehydration, which thickens the blood, making it harder for the heart to pump.




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    Table 2.1.     Medical conditions directly attributable to excessive heat exposure
     Medical Condition              Symptoms                                 Responses

     Heat cramps            Painful muscle cramps and        Apply firm pressure on cramping muscles
                            spasms, usually in muscles       or gently massage to relieve spasm.
                            of legs and abdomen.             Give sips of water; if nausea occurs,
                            Heavy sweating.                  discontinue water intake. Consult with a
                                                             clinician or physician if individual has fluid
                                                             restrictions (e.g., dialysis patients).

     Heat exhaustion        Heavy sweating, weakness,        Move individual out of sun, lay him or her
                            cool skin, pale, and clammy.     down, and loosen clothing. Apply cool,




                                                                                                                   Chapter 2
                            Weak pulse. Normal               wet cloths. Fan or move individual to air-
                            temperature possible.            conditioned room. Give sips of water; if
                            Possible muscle cramps,          nausea occurs, discontinue water intake.
                            dizziness, fainting, nausea,     If vomiting continues, seek immediate
                            and vomiting.                    medical attention. Consult with a clinician
                                                             or physician if individual has fluid
                                                             restrictions (e.g., dialysis patients).

     Heat stroke            Altered mental state.            Heat stroke is a severe medical
     (sunstroke)            Possible throbbing               emergency. Summon emergency medical
                            headache, confusion,             assistance or get the individual to a
                            nausea, and dizziness.           hospital immediately. Delay can be fatal.
                            High body temperature            Move individual to a cooler, preferably
                            (106°F or higher). Rapid         air-conditioned, environment. Reduce
                            and strong pulse. Possible       body temperature with a water mister
                            unconsciousness. Skin            and fan or sponging. Use air conditioners.
                            may be hot and dry, or           Use fans if heat index temperatures are
                            patient may be sweating.         below the high 90s. Use extreme caution.
                            Sweating likely especially       Remove clothing. If temperature rises
                            if patient was previously        again, repeat process. Do not give fluids.
                            involved in vigorous activity.

    Sources: CDC, 2004a; Kunihiro and Foster, 2004; NWS, 2004.



    2.3 Quantifying the Health Impacts of EHEs
    Quantifying the health impacts of EHEs is complicated by the differences in
    quantification methods and a lack of accurate data.
    The most conservative quantification method counts only outcomes on EHE days where
    the attribution information (e.g., primary diagnosis, cause of death) lists excessive
    weather-related heat exposure or a condition unequivocally associated with excessive
    heat exposure, such as heat stroke. This approach underestimates the health impacts of
    EHEs because not all the heat-related cases will include an attribution that recognizes
    this impact. More inclusive methods quantify EHE health impacts based on increases in
    outcomes during EHE periods compared to long-term averages. But such approaches
    can be absolute and attribute all observed increases in outcomes to EHEs, overestimating
    the heat-related mortality. Alternatively, the approach can be partial and attribute only a
    portion of the observed increase in outcomes to EHEs based on professional judgment or
    the results of additional analyses such as regression.



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                    2.3.1 EHEs and U.S. mortality
                    There are a number of methods for estimating the public health threat and impact of
                    EHEs. Since these methods can have a significant impact on the resulting estimate, it
                    is important to recognize their differences when reviewing information describing the
                    public health burden of EHEs.
                    The most conservative estimate of EHE mortality counts only cases in which exposure to
                    excessive heat is reported on a death certificate as a primary or contributing factor. Using
                    this approach, it was estimated that extreme heat from weather conditions is, on average,
                    responsible annually for 182 deaths in the United States (CDC, 2002).
                    The conservative nature of this estimate due to the narrow criteria is recognized in the
Chapter 2




                    study itself (CDC, 2002). The accuracy of this estimate would improve with widespread
                    adoption of revised criteria for attributing a death to excessive heat exposure. Typically,
                    medical examiners list heat exposure as a primary or contributing cause of death only
                    if the core body temperature exceeds 105°f. In the revised criteria, a death also can be
                    classified as heat-related if the person is “found in an enclosed environment with a high
                    ambient temperature without adequate cooling devices and the individual had been
                    known to be alive at the onset of the heat wave” (Donoghue et al., 1997). Importantly, the
                    National Association of Medical Examiners supports using these broader criteria, and
                    medical examiners in several large cities (e.g., Philadelphia) have adopted them.
                    Alternative EHE mortality estimates come from analyses of daily urban summertime
                    mortality patterns in the United States (Kalkstein and Greene, 1997; Davis et al., 2003a).
                    These studies first defined EHE conditions and then calculated the number of EHE-
                    attributable deaths based on differences in daily deaths on EHE days compared to longer-
                    term averages. Although differences in the time series, definitions of urban populations,
                    and other analytical methods prevent an exact comparison of results from Kalkstein and
                    Greene (1997) and Davis et al. (2003a), their findings correspond closely [for details of the
                    studies’ methods and the comparison of results see accompanying background technical
                    report (Mills, 2005)]. Table 2.2 presents the estimates of heat-attributable excess deaths
                    and mortality rates from these studies.
                    The results in Table 2.2 are notable for several reasons. First, despite differences in
                    methods and the locations evaluated, the studies’ results fall in a narrow range of roughly
                    1,700-1,800 total heat-attributable deaths per summer. These estimates are roughly an
                    order of magnitude greater than the comprehensive national annual average of 182
                    deaths with a listed cause of death of “excessive heat due to weather conditions” (CDC,
                    2002). This difference highlights the importance of the method (i.e., excess incidence
                    or attributed outcomes) used to quantify EHEs’ health impacts. Although summing the
                    results across different groups of locations minimizes some of the initial distinctions
                    in the studies, some of the location-specific results in Table 2.2 show that significant
                    differences can result from applying different methods to essentially the same mortality
                    and meteorological data.
                    Second, both studies’ results show significant regional variation: EHEs have the greatest
                    impact in the Northeast and Midwest and the least impact in the South and Southwest.
                    This result is consistent with hypotheses that populations in the most vulnerable areas are
                    not as acclimatized to elevated temperatures and that structures in less susceptible areas



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    Table 2.2 Estimates of heat-attributable deaths per summer and mortality rates in
    select U.S. metropolitan areas
         Standard                  Deaths1                 Deaths2            Mortality Rate1       Mortality Rate2
       Metropolitan             (Estimated average      (Estimated average     (Estimated heat-      (Estimated heat-
                                 summertime heat-        summertime heat-     attributable deaths   attributable deaths
         Statistical            attributable deaths     attributable deaths      per 100,000,          per 100,000,
       Area (SMSA)            from 1990 population)   from 1990 population)    1990s baseline)       1990s baseline)
     Birmingham                      42                      N/A                    5.00                  N/A
     Providence                       47                     N/A                    4.14                  N/A
     Hartford                        38                      N/A                    3.28                  N/A
     St. Louis                        79                      0                     3.17                  0.00
     Kansas City                     49                       0                     3.10                  0.00
     Buffalo                         33                      19                     2.78                  1.63




                                                                                                                               Chapter 2
     Indianapolis                    36                      N/A                    2.61                  N/A
     Memphis                         25                      N/A                    2.48                  N/A
     Columbus                        33                      N/A                    2.45                  N/A
     Minneapolis                     59                       0                     2.32                  0.00
     Chicago                         191                     193                    2.32                  2.34
     Philadelphia                    129                      71                    2.19                  1.21
     Denver                           42                      22                    2.12                  1.09
     Detroit                         110                     124                    2.12                  2.39
     Greensboro                      22                       0                     2.10                  0.00
     Nassau, New
     York City, Newark               362                     552                    1.85                  2.82
     Louisville                       17                     N/A                    1.79                  N/A
     Boston                          96                       56                    1.76                  1.03
     Pittsburgh                      39                      40                     1.63                  1.69
     New Orleans                      20                     30                     1.56                  2.31
     Tampa                            28                      0                     1.35                  0.00
     Baltimore;
     Washington, D.C.                 84                      40                    1.25                  0.59
     Cleveland                        29                      23                    1.01                  0.80
     Dallas                           36                       0                    0.89                  0.00
     Atlanta                          25                      75                    0.84                  2.51
     Cincinnati                       14                       0                    0.77                  0.00
     Portland                          9                      32                    0.50                  1.76
     Los Angeles
     and Riverside                    72                     216                    0.50                  1.50
     San Francisco                    28                     138                    0.45                  2.21
     San Antonio                       4                     N/A                    0.30                  N/A
     Houston                           7                      0                     0.19                  0.00
     Seattle                           5                      96                    0.17                  3.27
     Jacksonville                      0                     N/A                    0.00                  N/A
     Miami, Fort
     Lauderdale                       0                       0                     0.00                  0.00
     Phoenix                          0                       6                     0.00                  0.30
     Salt Lake City                   0                     N/A                     0.00                  N/A
     San Diego                        0                     N/A                     0.00                  N/A
     Norfolk                         N/A                      0                     N/A                   0.00
     Charlotte                       N/A                      0                     N/A                   0.00
     Total                          1,810                   1,733

    Note: N/A, not applicable, refers to a metropolitan area not examined in one of the studies.
    1. Kalkstein and Greene, 1997.
    2. Davis et al., 2003a.



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                    are better designed to accommodate elevated temperatures. However, fewer locations were
                    evaluated in the South and Southwest because of the studies’ population selection criteria,
                    so support for these hypotheses remains qualified. This regional result is more evident in
                    Figure 2.3, which presents the Kalkstein and Greene (1997) results along with a similar
                    result for Toronto (N. Day, personal communication, Toronto Public Health, 2005).
                    EHE-attributable mortality estimates from specific EHEs are also available:
                        Chicago, 1995, mid-July EHE: The county coroner certified 465 heat-related deaths
                        in Chicago (Cook County, Illinois) from July 11 to July 27, 1995 (CDC, 1995). More
                        than 700 deaths in Chicago were eventually attributed to this EHE (e.g., Palecki et
                        al., 2001). The difference reflects deaths directly attributed to heat by the medical
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                        examiner (CDC, 1995) and estimates of the total excess mortality attributable to the
                        EHE based on studies of daily mortality patterns (Palecki et al., 2001).

                        Philadelphia, 1993, early-July EHE: The county coroner certified 118 heat-related
                        deaths in Philadelphia from July 6 to July 14, 1993 (CDC, 1994).

                    These estimates demonstrate that an EHE in the United States can easily be responsible
                    for hundreds of deaths in a large metropolitan area.

                    2.3.2 EHEs and U.S. morbidity
                    EHE morbidity studies are relatively rare because of a lack of suitable daily time-series
                    data. Further, when such studies are attempted, only the most severe morbidity outcomes
                    (emergency room visits and hospitalizations) tend to be evaluated because of the limited
                    number of locations where patients can be seen and be treated.
                    One of the few U.S. EHE morbidity studies examined Chicago hospital admissions during
                    the July 1995 EHE. Semenza et al. (1999) calculated that this EHE was responsible for
                    more than 1,000 hospital admissions, and anecdotal evidence strongly suggests that this
                    EHE increased the incidence of Chicago emergency room visits. Specifically, the Natural
                    Disaster Survey Report: July 1995 Heat Wave (NOAA, 1995) reported that on the second
                    day of the EHE, only a few Chicago emergency rooms were directing ambulances to other
                    facilities because of crowding (i.e., operating in bypass status), but by the fourth day, 18
                    city emergency rooms were doing so.




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                                                                                                                                                                                                                                              Figure 2.3.




                             EHE Health Impacts and Risk Sources
                                                                                                                                                                                                                                              Estimated EHE-attributable mortality rates.




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                                                                   Note: Locations shown with a value of 0 may have deaths that are attributed to excessive heat exposure. This result simply means that there has not been
                                                                   a measurable increase in mortality from any cause during EHEs compared to other summertime periods.
                                                                   Sources: Original mortality estimates from Kalkstein and Greene (1997). Converted to rates with the 1990 Census population estimates for the SMSAs. Toronto results from
                                                                                                                                                                                                                                                                                            Case 4:14-cv-03253 Document 301-13 Filed on 09/08/16 in TXSD Page 73 of 380




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                                                                   personal communication with N. Day, Toronto Public Health (2005).




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                    In summary, available evidence suggests that EHEs increase morbidity incidence.
                    More complete assessments of EHE impacts, including evaluations of EHE impacts on
                    less severe outcomes, may require carefully designed retrospective surveys in affected
                    populations.

                    2.4 Identifying Characteristics that Affect EHE Health Risks
                    Several factors can increase health risks during an EHE: the EHE’s meteorological
                    conditions, demographic characteristics, personal behavioral choices, and regional
                    characteristics.

                    2.4.1 Meteorological conditions
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                    When the weather gets hotter, the risk of losing control of one’s internal temperature
                    increases. Heat index tables such as the one in Table 2.3 are commonly used to capture
                    interactions among several meteorological variables to provide a measure of how hot it
                    feels. Even heat index table results are sensitive, however, to the particular meteorological
                    variables measured. For example, heat index results, including those in Table 2.3, often
                    assume measurements are taken in a shaded location with light wind. As a result, most
                    heat index tables also note that exposure to direct sunlight can increase heat index values
                    by up to 15°f. These table notes may also state that exposure to hot dry winds can further
                    increase health risks by promoting rapid dehydration, although a quantitative measure of
                    these conditions’ impact is not provided (NWS Forecast Office, Pueblo, Colorado, 2004).
                    Ultimately, a change in any meteorological variable that increases heat index values or
                    promotes dehydration will increase the individual’s health risk.
                    EHE conditions represent a “shock” that can overwhelm typical responses to elevated
                    temperatures. All else being equal, the shock value and the health risks increase the earlier
                    in the summer the EHE occurs (Kalkstein and Davis, 1989; Sheridan and Kalkstein, 1998)
                    because residents adapt, to some degree, to warmer summer conditions over the season.
                    Similarly, health risks increase with the duration of the EHE measured as the number of
                    consecutive EHE days (Greene and Kalkstein, 1996) and the amount of time spent above
                    minimum temperature thresholds (Kalkstein and Davis, 1989).

                    Table 2.3.    Heat index values (°F)3, 4
                     Temperature                                      Relative Humidity (%)
                        (°F)                90             80              70            60             50             40
                           80               85             84             82              81            80              79
                           85               101            96             92             90             86              84
                           90               121            113            105            99             94             90
                           95                              133            122            113            105            98
                           100                                            142            129            118            109
                           105                                                           148            133            121
                           110                                                                                         135
                    3. Heat index values were not given for the temperature and relative humidity combinations that have blank
                      cells.
                    4. Heat index values can be up to 15ºF higher with exposure to direct sunlight. Heat index values assume
                      calm wind conditions; hot dry winds can also increase heat index values.

                    Source: NWS Forecast Office, Pueblo, Colorado, 2004.



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    2.4.2 Demographic sensitivities
    Individuals possessing any combination of the following characteristics or conditions are
    at greater risk for experiencing an EHE-attributable adverse health outcome:
        Physical constraints: It is difficult for some people to increase their circulation
        and perspiration during an EHE to help them remain cool. This at-risk group
        includes infants, older people (age 65 and older, who may also be less likely to
        recognize symptoms of excessive heat exposure), the obese, the bedridden, those with
        underlying medical conditions (e.g., heart disease, diabetes), those taking certain
        medications (e.g., for high blood pressure, depression, insomnia), and individuals
        under the influence of drugs or alcohol.




                                                                                                       Chapter 2
        Mobility constraints: People with mobility constraints are at higher risk during EHEs
        if the constraints limit their ability to access appropriately cooled locations. This
        group includes the very young and the bedridden.

        Cognitive impairments: People with mental illnesses, with cognitive disorders, or
        under the influence of drugs or alcohol may be unable to make rational decisions
        that would help limit their exposure to excessive heat or to recognize symptoms of
        excessive heat exposure.

        Economic constraints: The poor may be disproportionately at risk during
        EHEs if their homes lack air conditioning or they are less likely to use available
        air conditioning because of the cost (NWS, 2004). In addition, if the poor
        disproportionately reside in high crime areas, fear of crime can increase their risks
        by hindering their willingness to take appropriate responses [e.g., opening doors
        and windows for circulation, visiting cooling shelters (American Medical Association
        Council on Scientific Affairs, 1997)].

        Social isolation: Socially isolated individuals are less likely to recognize symptoms
        of excessive heat exposure. This can delay or prevent treatment and result in more
        serious health outcomes. Members of this group, which include the homeless and
        those living alone, may also be less willing or able to reach out to others for help.

    2.4.3 Behavioral choices
    In addition to demographic characteristics, the choices individuals make during an EHE
    can have a profound effect on the health risks they face. Examples of personal choices that
    can increase an individual’s health risks during an EHE include the following (American
    Medical Association Council on Scientific Affairs, 1997; CDC 2004a,c; NWS, 2004):
        Wearing inappropriate clothing: Heavy, dark clothing can keep the body hot and
        limit cooling from evaporation of perspiration. Clothing that exposes skin to the sun
        increases the risk of sunburn, which limits the potential for evaporative cooling.

        Failing to stay adequately hydrated: During EHE conditions, we rely heavily on
        perspiration to regulate our body temperature. Without enough water consumption,
        perspiration will be inadequate or even cease and body temperature will rise.




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                        Consuming alcohol: Alcohol is a diuretic and thus limits perspiration. It can also
                        impair judgment and result in excessive exposure to the elevated temperatures.

                        Engaging in outdoor activities: Any activities that increase exposure to the sun or
                        generate additional body heat (e.g., attending outdoor events, exercising, outdoor
                        labor) increase the amount of body heat that must be dissipated.

                        Eating inappropriate meals: Eating hot and heavy (e.g., high-protein) foods will
                        increase the metabolic rate and increase the amount of body heat that must be
                        dissipated.
Chapter 2




                    2.4.4 Regional factors
                    Finally, regional characteristics can help determine an individual’s health risks during
                    EHEs. These characteristics include:
                        Geographic location: Climate variability is largely a function of location, and
                        increased variability has been associated with elevated heat-attributable mortality
                        rates (Chestnut et al., 1998).

                        Urbanization and urban design: As buildings, especially those with dark roofs, and
                        dark paving materials replace vegetation in urban areas, the heat absorbed during
                        the day increases and cooling from shade and evaporation of water from soil and
                        leaves is lost. Urban areas can also have reduced air flow because of tall buildings,
                        and increased amounts of waste heat generated from vehicles, factories, and air
                        conditioners. These factors can contribute to the development of an urban heat
                        island, which has higher daytime maximum temperatures and less nighttime cooling
                        than surrounding rural areas (see Figure 2.4). Urban heat islands can increase health
                        risks during EHEs by increasing the potential maximum temperature residents are
                        exposed to and the length of time that they are exposed to elevated temperatures.

                        Residential location: Residents on the upper floors of buildings will feel the effects
                        of rising heat. This can elevate room temperatures and make it more difficult to
                        maintain a consistent internal temperature if air conditioning is not available or is not
                        used, or if ventilation is restricted.

                                                                                             Figure 2.4. Impact
                                                                                             of the urban heat
                                                                                             island on ambient
                                                                                             temperatures.
                                                                                             Source: U.S. EPA,
                                                                                             2006.




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    Table 2.4 summarizes the factors that increase the risk of an individual getting sick or
    dying from an EHE.

    Table 2.4. Factors that increase an individual’s risk of experiencing an EHE-attributable
    adverse health outcome
                                   Meteorological Characteristics
         Increased temperature
         Increased relative humidity
         Dry, hot winds




                                                                                                     Chapter 2
                                    Demographic Characteristics
         Physical constraints (including underlying medical conditions)
         Mobility constraints
         Cognitive impairments
         Economic constraints
         Social isolation

                                          Behavioral Choices
         Wearing inappropriate clothing
         Failing to stay adequately hydrated
         Consuming alcohol
         Engaging in outdoor activities
         Eating heavy and/or hot foods

                                       Regional Characteristics
         Living in an area with a variable climate
         Living in an urban area
         Living on the upper floors of buildings




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    EHE Notification & Response Programs

    Effective EHE notification and response programs draw on available local resources and
    recognize local constraints to minimize increases in morbidity and mortality during
    EHEs. As a result, effective EHE notification and response programs can vary.
    This chapter summarizes the current range of observed response actions to EHE
    conditions. Not all of these actions will be feasible or appropriate for every location.
    This summary is intended to provide parties wanting to develop or enhance an EHE
    notification and response program with a “menu” of possible actions to consider.
    This summary has a number of caveats. First, the reviewed EHE programs were selected to
    provide an illustrative rather than all-inclusive set of notification and response actions. As
    a result, specific actions that are important components of other effective EHE programs
    may have been omitted. Second, our exclusion of specific actions in this summary is not
    a judgment on their potential benefit. In fact, developing and evaluating notification and
    response actions in response to local conditions is strongly encouraged.
    This chapter first summarizes actions incorporated in the EHE programs we reviewed.
    This is followed by narratives that offer insight into how and why the reviewed programs
    were developed, and summarize critical lessons their administrators have learned over
    time. The chapter also describes several short-term responses that the city of Phoenix,
    Arizona, implemented during the EHE in the southwestern and central United States




                                                                                                          Chapter 3
    in July 2005. These Phoenix responses are included to highlight actions that can be
    taken with relatively short notice to address exceptional EHEs even if a formal EHE
    program has not been developed. Finally, the chapter reviews evidence from studies
    that have attempted to quantify the impact of EHE notification and response programs.
    Although limited, such studies provide some perspective on the potential benefits of EHE
    notification and response programs.

    3.1 Elements in Select EHE Programs
    On the following page, Table 3.1 summarizes the actions Philadelphia and Toronto
    incorporated in their EHE notification and response programs. These programs were
    selected because they are widely recognized as benchmarks for those considering
    developing a comprehensive EHE program.
    Following Table 3.1, the individual elements are described in greater detail.




    Summary of Current EHE Notification and Response Programs                                        21
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                    Table 3.1. Summary of confirmed EHE program elements in Philadelphia and Toronto
                                            Program elements                                  Philadelphia5        Toronto6
                     Prediction see 3.1.1, p. 23
                        Ensure access to weather forecasts capable of predicting
                                                                                                     4                   4
                        EHE conditions 1-5 days in advance

                     Risk assessment see 3.1.2, p. 23
                       Coordinate transfer and evaluation of weather forecasts by
                                                                                                     4                   4
                       EHE program personnel
                        Develop quantitative estimates of the EHE’s potential
                                                                                                     4                   4
                        health impact
                        Use the broader criteria to identify heat-attributable deaths                4                   4
                        Develop information on high-risk individuals                                 4
                        Develop an accessible record on facilities and locations
                                                                                                     4                   4
                        with concentrations of high-risk individuals

                     Notification and response see 3.1.3, p. 24
                       Coordinate public broadcasts of information about the
                       anticipated timing, severity, and duration of EHE conditions                  4                   4
Chapter 3




                       and availability and hours of any public cooling centers
                        Coordinate public distribution and broadcast of heat
                        exposure symptoms and tips on how to stay cool during                        4                   4
                        an EHE
                        Operate informational phone lines that can be used to
                                                                                                     4                   4
                        report heat-related health concerns
                        Designate public buildings or specific private buildings
                        with air conditioning as public cooling shelters and                         4                   4
                        provide transportation
                        Extend hours of operation at community centers with air
                                                                                                     4
                        conditioning
                        Arrange for extra staffing of emergency support services                     4
                        Directly contact and evaluate the environmental conditions
                        and health status of known high-risk individuals and                         4                   4
                        locations likely to have concentrations of these individuals
                        Increase outreach efforts to the homeless and establish
                                                                                                     4                   4
                        provisions for their protective removal to cooling shelters
                        Suspend utility shutoffs                                                     4                   4
                        Reschedule public events to avoid large outdoor
                                                                                                     4
                        gatherings when possible

                     Mitigation see 3.1.4, p. 26
                       Develop and promote actions to reduce effects of urban
                                                                                                      Not evaluated
                       heat islands

                    5. NOAA, 1995; Kalkstein, 2002.
                    6. Kalkstein, 2002; personal communications, M. Vittiglio and N. Day, Toronto Public Health, 2005.




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    3.1.1 EHE prediction
      Ensure access to weather forecasts capable of predicting EHE conditions
      1-5 days in advance
      Forecasting the development and characteristics of an EHE is a critical element of
      both EHE risk assessment and notification and response activities. In the United
      States, NWS forecasts provide national coverage, so any location could incorporate
      this element into an EHE program. Toronto and Philadelphia both use a sophisticated,
      air mass-based heat health system developed by the Center for Climatic Research at
      the University of Delaware to evaluate meteorological forecast data in terms of the
      potential to increase the number of daily deaths above average levels (Sheridan and
      Kalkstein, 2004).

    3.1.2 EHE risk assessment
      Coordinate transfer and evaluation of weather forecasts by EHE program
      personnel
      In some locations, EHE program personnel may need to review forecast data to
      determine whether location-specific criteria for EHE conditions are satisfied and,
      potentially, how the forecast conditions match with any established EHE severity
      criteria. Establishing forecast transfer and evaluation protocols involves specifying




                                                                                                     Chapter 3
      under what conditions forecasters (e.g., the NWS) forward information to local
      officials (and confirm receipt) and identifying who within the EHE program reviews
      and evaluates the information. Alternatively, electronic systems can be established
      to retrieve and review forecast data from meteorologists and notify EHE program
      personnel if certain criteria are satisfied.

      Develop quantitative estimates of the EHE’s potential health impacts
      Several locations with EHE notification and response programs, including
      Philadelphia and Toronto, have integrated heat health watch/warning systems that use
      meteorological forecast data as inputs to health impact models, which identify when
      forecast conditions could result in excess mortality and then estimate the potential
      number or probability of heat-attributable deaths (Sheridan and Kalkstein, 2004).
      These quantitative health impact estimates are then used in both cities to determine if
      and what type of heat emergency is declared. These determinations affect the type and
      scope of notification and response activities that will be implemented.

      Use the broader criteria to identify heat-attributable deaths
      Medical examiners can use the criteria in Donoghue et al. (1997) to define heat-
      attributable deaths and to provide the public with more accurate reporting of an EHE’s
      health impacts. This information can increase public awareness and appreciation of
      the health risks of the conditions, which may improve compliance with recommended
      actions.

      Develop information on high-risk individuals
      Recognizing that some individuals have an elevated risk facilitates notifying and
      responding to these individuals (e.g., older individuals, the homeless) to achieve
      the greatest public health benefit for a given resource commitment. Easily accessible
      contact information for these individuals during an EHE can help the program


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                      prioritize assessment and intervention efforts. In some locations such as Chicago,
                      the development of information on high-risk individuals has been expanded beyond
                      persons known to public agencies. It includes people and organizations who can
                      identify high-risk individuals so they can be a part of any active assessment and
                      intervention program efforts.

                      Develop an accessible record of facilities and locations with concentrations
                      of high-risk individuals
                      A database or list of high-risk facilities and locations would complement a list of high-
                      risk individuals. This list could help prioritize active assessment efforts during an EHE
                      (e.g., visiting retirement homes) to coordinate EHE notification activities through
                      combinations of fax, email, or telephone contact trees. For example, in Toronto, more
                      than 800 community agencies are notified of EHE conditions through a fax/call-out
                      tree.

                    3.1.3 EHE notification and response
                    Coordinate public broadcasts of information about the anticipated timing, severity, and
                    duration of EHE conditions, and availability and hours of any public cooling centers
                    Effective public notification of forecast EHE conditions helps eliminate the risk of an
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                    EHE taking a population by surprise. More specifically, notifying the public of anticipated
                    EHE conditions will enable many residents to prepare and will enable public assessment
                    and intervention actions to concentrate on known high-risk individuals and locations.
                    Likewise, advance public notification about the availability of cooling centers will increase
                    the likelihood that at-risk individuals can take advantage of these services.

                      Coordinate public distribution and broadcast of heat exposure symptoms
                      and tips on how to stay cool during EHEs
                      Publicly broadcasting cooling tips and symptoms of excessive heat exposure will
                      complement similar broadcasts about forecast EHE conditions and help residents
                      develop appropriate EHE responses (e.g., seek air-conditioned locations, minimize
                      direct sun exposure, reschedule outdoor gatherings). When possible, this action would
                      include providing this information before and throughout the summer to public
                      meeting areas (e.g., churches, recreation centers, libraries, schools), arranging periodic
                      broadcasts through available media, and developing EHE Internet sites.

                      Operate informational phone lines that can be used to report heat-related
                      health concerns
                      Telephone help lines give real-time advice and information that can help people stay
                      safe and avoid serious outcomes. This phone system either can be activated when
                      an EHE is forecast (e.g., Philadelphia’s or Toronto’s Heat Lines), or can be a more
                      general, full-time system (e.g., a 311 line) staffed during EHEs by personnel with
                      the information and ability to access and direct other intervention resources (e.g.,
                      emergency medical staff) as needed.




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      Designate public buildings or specific private buildings with air conditioning
      (e.g., shopping malls, movie theaters) as public cooling shelters and provide
      transportation if necessary
      Spending time in an air-conditioned environment during an EHE is one of the most
      effective means of reducing one’s risk of overheating. By designating specific public
      buildings with air conditioning as cooling shelters, and by providing information on
      large private buildings with air conditioning where the public can freely congregate
      (e.g., shopping malls and movie theaters), local officials can increase the awareness
      and use of these resources to minimize an EHE’s health impacts. Providing free public
      transportation to those locations during an EHE also recognizes that many with the
      greatest need for the shelters may have limited access to personal transportation and
      limited financial resources.

      Extend hours of operation at community centers with air conditioning
      Many of those at greatest risk during an EHE may already frequently visit specific air-
      conditioned public locations (e.g., child care and senior centers). Extending the hours
      of operation at these and other public locations with air conditioning during EHEs
      increases the opportunity for high-risk individuals to spend time in an air-conditioned
      environment.




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      Arrange for extra staffing of emergency support services
      EHEs will place additional burdens on emergency medical and social support services
      through increased activity focused on preventing adverse health outcomes and
      increased need for medical services. Increasing the staffing of emergency medical and
      social support services in response to an EHE forecast increases the opportunity to
      avert some outcomes with intervention and assessment activities or at least have them
      addressed at an earlier and less severe stage by preventing the emergency medical
      system from becoming overwhelmed.

      Directly contact and evaluate the environmental conditions and health status
      of known high-risk individuals and locations likely to have concentrations of
      these individuals
      High-risk individuals need to be contacted directly and, preferably, observed several times
      a day during EHEs to ensure that cooling tips are being followed (e.g., fluids are being
      consumed, appropriate clothing is being worn) and that any symptoms of overexposure
      are recognized and alleviated as early as possible. This labor-intensive action is offset by
      a reduction in the number and severity of adverse health outcomes among the high-
      risk population. The individuals to be contacted and locations to be visited would be
      identified in the risk assessment component of the EHE program (see Section 3.1.2).

      Increase outreach efforts to the homeless and establish provisions for their
      protective removal to cooling shelters
      The homeless are vulnerable during EHEs, so additional effort must be devoted to
      homeless outreach and evaluation during an EHE, especially during the day. This
      increased outreach effort should be supported by authorization for officials to move
      individuals believed to be experiencing medical difficulties or at extreme risk to cooling
      shelters for observation and treatment.



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                      Suspend utility shutoffs
                      Suspending utility service during an EHE could significantly increase the risk of
                      exposure to elevated temperatures. As a result, many local governments require local
                      utilities to suspend shutoffs during EHEs if they do not already have their own shutoff
                      suspension guidelines. However, suspending utility shutoffs during an EHE does not
                      ensure that at-risk individuals with access to air conditioning will use it.

                      Reschedule public events to avoid large outdoor gatherings, when possible
                      When an EHE is forecast, there are likely to be previously scheduled outdoor activities
                      involving large gatherings of individuals (e.g., youth league games, outdoor camps,
                      concerts). If these activities take place as scheduled, many people may experience
                      significant heat exposure. To the extent that local officials have control over how these
                      events proceed (e.g., through permits or use of facilities), efforts should be made to
                      reschedule the event or, when rescheduling is not feasible, require more medical staff
                      and “cool zones” for attendees.

                    3.1.4 EHE mitigation
                      Develop and promote actions to reduce effects of urban heat islands
                      Urban heat islands can increase daytime temperatures and limit nighttime cooling.
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                      This can increase the severity and duration of urban residents’ exposure to high-heat
                      conditions and increase their risk for experiencing a heat-attributable adverse health
                      outcome. Programs and actions that increase urban vegetation and the reflectiveness of
                      urban surfaces help address this problem.

                    3.2 Case Studies in the Development and Implementation
                        of EHE Programs
                    This section uses case studies from Philadelphia, Toronto, and Phoenix to show how
                    different forces can drive the development and implementation of EHE notification and
                    response programs and summarizes the lessons learned over time in these locations. These
                    insights are especially useful because these programs cover a broad geographic spectrum
                    and reflect varying degrees of active program coordination.

                    3.2.1 Philadelphia
                    Overview
                    Philadelphia’s EHE notification and response program is often viewed as a benchmark for
                    integrated, urban EHE programs. Philadelphia has a long history of EHE impacts, with
                    references to heat-attributable deaths recorded since colonial times. The development
                    of this program demonstrates how an exceptional meteorological event can combine
                    with seemingly minor bureaucratic adjustments to create significant public interest and
                    support for an EHE notification and response program.
                    This EHE program’s development also demonstrates the importance of institutional
                    support and shows how response actions can be matched to program partners based on
                    their areas of expertise. Finally, the program highlights the benefits of incorporating a
                    system for active program review and adjustment to respond to needs, constraints, and
                    opportunities as they arise.




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    Development of Philadelphia’s EHE program
    Philadelphia’s EHE notification and response program is a direct response to observable
    public health impacts from specific EHEs combined with the public recognition of these
    risks and institutional support to develop an effective response to avoid similar outcomes
    in the future.
    In the summer of 1991, more than 20 deaths in Philadelphia were attributed to excessive
    heat exposure. In response, the city established and began to convene meetings of a Heat
    Task Force under the direction of Health Department staff. The Health Department
    identified original task force participants by informally assessing public and private
    organizations that served at-risk individuals during an EHE or provided Philadelphia with
    critical infrastructure and medical services (e.g., electric and water utilities and emergency
    medical service providers).
    The Heat Task Force continued to meet through the spring of 1993, but had made little
    progress in developing what would be recognized as an EHE notification and response
    program. Then, from July 4 to July 14, 1993, Philadelphia experienced EHE conditions
    characterized by minimum daily high temperatures of at least 90°f. By July 6, the risks
    were apparent and publicly recognized as the city health commissioner announced that
    people were dying because of EHE conditions.




                                                                                                          Chapter 3
    At the same time, informal discussions between Health Department staff and
    Southeastern Pennsylvania Red Cross board members led to the establishment of the
    Heatline, a telephone hotline, to handle calls from residents with heat-related questions
    and concerns. The Heatline, which represented the extent of the city’s direct response
    actions to the EHE, operated for five days, and its number was widely reported by local
    media.
    Perhaps the most critical aspect of the July EHE, in terms of its contribution to the
    development of the current EHE program, was that the city medical examiner broke from
    requiring a core body temperature in excess of 105°f for listing a death as heat related.
    Instead, deaths were listed as heat related if the core temperature criterion was satisfied
    or if a body was “found in an enclosed environment with a high ambient temperature
    without adequate cooling devices and the individual had been known to be alive at the
    onset of the heat wave” (Donoghue et al., 1997).
    This change resulted in the medical examiner classifying 105 deaths during the July 1993
    EHE as heat related. In contrast, for all of July, New York City and Washington, D.C.,
    which had experienced similar meteorological conditions, reported three and two heat-
    related deaths, respectively, using solely the core temperature criterion.
    This finding and its public reporting made the impact of excessive heat in Philadelphia
    a topic of considerable local and national media interest, including references to
    Philadelphia as the “Heat Death capital of the world.” In addition, the contrast between
    the number of heat-related deaths reported in Philadelphia and the totals from
    surrounding counties and other urban centers led to a request by state and other officials
    for a CDC investigation into the appropriateness of the coding criterion the Philadelphia
    medical examiner used. The resulting investigation ultimately concluded that the criterion
    was appropriate and the associated estimates of heat-attributable mortality were accurate.




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                    Following the CDC investigation, and with increased public attention on the health risks
                    of EHE conditions, staff at Philadelphia’s Health Department became aware of work
                    under the direction of Dr. Laurence Kalkstein of the University of Delaware to develop
                    a system that would identify weather conditions expected to increase daily mortality.
                    Ultimately, this interest led to the development by the summer of 1995 of a computerized
                    system capable of forecasting EHE conditions up to two days in advance.
                    Over this period, spurred by the events of 1993, the Philadelphia Heat Task Force began
                    preparing EHE response plans that identified lead agencies, secured formal commitments
                    of support from relevant departments, and worked on developing a system for integrated
                    communications between program participants.
                    As the July 1995 EHE developed in the Midwest and the scope of its health impact began
                    to emerge (eventually more than 700 deaths in Chicago would be classified as heat
                    related), the Philadelphia Hot Weather-Health Watch/Warning System was announced at a
                    meeting with EPA and Philadelphia Health Department officials. This system was initially
                    implemented as the EHE moved eastward into Philadelphia.

                    Philadelphia’s Hot Weather-Health Watch/Warning System response actions
                    Philadelphia’s initial EHE program implemented combinations of the following actions
                    depending on the predicted severity of the EHE (NOAA, 1995; Kalkstein et al., 1996):
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                        Media announcements: Local news media were notified of any EHE notification
                        made by the health commissioner. Media were also given background information on
                        how to minimize exposure to heat during the event and encouraged to broadcast it as
                        part of any heat-related stories.

                        Buddy system advocacy: Media messages included recommendations for friends,
                        relatives, neighbors, and block captains (see discussion below) to check on local high-
                        risk residents (e.g., sick and older individuals) throughout the day during the event.

                        Heatline activation: The same phone system staffed by the Red Cross that was
                        developed for the 1993 EHE was part of the formal program rollout.

                        Home visits by Health Department staff (currently a county sanitarian and nurse
                        make up each field team): Individuals were identified from calls received on the
                        Heatline.

                        Halt to service shutoffs: Agreements were reached with the respective utilities that
                        electrical and water service would not be shut off for nonpayment during periods for
                        which the Health Department issued a high heat warning.

                        Increased emergency medical service staffing: Increased numbers of staff with
                        the city’s Fire Department and Emergency Medical Services were on duty for the
                        duration of the high heat period.

                        Increased outreach to the homeless: Activities that involved identifying homeless
                        individuals and providing shelter were extended to daytime hours to minimize their
                        exposure to the most severe conditions.




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        Cooling shelters/senior refuge: Hours of operation at air-conditioned senior
        centers were extended to provide a refuge for those otherwise lacking access to air
        conditioning.

        Outreach: The Heatline phone number was displayed on the Crown Lights display in
        downtown Philadelphia (an electronic billboard on top of the Philadelphia Electric
        Company building that is visible over a large area).

    Two notable aspects of the Philadelphia Watch/Warning System that warrant additional
    discussion are its use of block captains and its use of field assessment teams from the
    Health Department to evaluate high-risk individuals during EHEs.
    Philadelphia’s block captains are a critical point of interaction between the public and
    the Health Department during EHEs. Block captains are volunteers elected by residents
    of their block to help coordinate neighborhood improvement projects with the city.
    Philadelphia currently has about 5,000 block captains. They can both identify and evaluate
    the health status of high-risk and hard-to-reach individuals in their residential area during
    an EHE. Although block captains are not required to contact specific individuals during a
    declared EHE, anecdotal evidence suggests that many do. Their actions most likely benefit
    others and, during declared heat events, news crews frequently record and broadcast
    block captains checking on the status of high-risk individuals in their area, spreading the




                                                                                                         Chapter 3
    message to check on those at risk.
    The second notable aspect of Philadelphia’s program is its coordinated use of field teams
    composed of city Health Department staff in follow-up visits to at-risk individuals
    identified from Heatline calls. Teams assembled during a declared heat event currently
    consist of a sanitarian and a nurse who have been temporarily reassigned from their
    typical duties. This reallocation of staff reflects a belief that a more immediate and more
    significant public health risk is being addressed.

    Adjustments and lessons learned
    Since 1995, a number of relatively minor changes have been made in the response elements
    of Philadelphia’s EHE program, including the following:
        Transferring the Heatline’s operation from the Red Cross to the Philadelphia
        Corporation for Aging (PCA) and using the PCA’s Senior Line number to double
        as the Heatline. When EHEs are announced, the hours of operation for the Senior
        Line/Heatline are expanded from between 8 a.m. and 5 p.m. to between 8 a.m. and
        midnight.

        Adding nurses to the on-call Heatline staff to handle calls with specific medical
        questions.

        Mailing heat information to block captains to distribute in their areas.

        Increasing the forecast period for the spatial synoptic classification (SSC)-based Heat
        Health Watch Warning System from 2.5 days (60 hours) to 5.0 days (120 hours).




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                    Philadelphia’s experience demonstrates the importance of public recognition of EHE
                    health risks and of continued support from upper levels of government for developing
                    an EHE notification and response program. The city’s program also shows that matching
                    responsibilities of program elements with program partners who already perform similar
                    tasks is critical for achieving a wide range of response actions. Specific examples of this
                    matching in the Philadelphia program include shifting the Heatline from the Red Cross to
                    the PCA, staffing field teams with temporarily reassigned Health Department personnel,
                    and incorporating the city’s existing block captain program to create a community-based
                    buddy system capable of evaluating the status of high-risk individuals.

                    3.2.2 Toronto
                    Overview
                    Toronto is one of several North American locations with an EHE notification and
                    response program that is driven by calculations of potential excess mortality or mortality
                    probability based on forecast meteorological conditions. Toronto Public Health’s EHE
                    program uses these results to determine when heat warnings should be issued and what
                    type of message to communicate.
                    Toronto’s EHE program is of special interest because it evolved primarily as a proactive,
                    precautionary response to a perceived public health risk by local politicians. This is in
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                    contrast to most of the other highly active and integrated programs, which typically
                    originated as responses to EHEs that triggered recognizable increases in daily mortality
                    and morbidity. In addition, Toronto’s program is an example of how an effective
                    program can be developed by drawing general lessons from other locations and tailoring
                    implementation to respond to local opportunities and challenges. Finally, the routine,
                    structured process of performance review, needs assessment, and adjustment of the
                    Toronto EHE program is noteworthy.

                    Development of the Toronto EHE program
                    The origins of Toronto’s EHE program can be traced to 1998 and the Mayor’s Task Force
                    on Homelessness. This effort established a lead role for Toronto Public Health to identify
                    and develop responses to the health issues faced by the city’s homeless. In the spring of
                    1999, the Task Group asked Toronto Public Health to establish temperature thresholds that
                    would be used to initiate health alerts and trigger additional homeless interventions (e.g.,
                    increasing daytime staff and efforts to get the homeless indoors).
                    To address this task, Toronto Public Health staff reviewed information from several
                    EHE programs in the United States, including those in Philadelphia and Chicago.
                    This review increased awareness of the demographic and physical characteristics that
                    increase EHE vulnerability and highlighted the potential for an effective EHE program.
                    Most importantly, this review increased awareness among officials that, although the
                    homeless were especially vulnerable to EHE conditions, the presence of other high-risk
                    subpopulations meant that EHEs should be recognized as a much larger threat to public
                    health.




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    Development of an EHE prediction system similar to the one used in Philadelphia and
    several other U.S. cities began in 2000. The Toronto prediction system was completed and
    became active on June 18, 2001, in time to assist in forecasting the EHE that occurred in
    August of that year. Initial program elements focused on issuing a media release any time
    EHE conditions were forecast that contained information about the health risks of the
    conditions and appropriate responses. These announcements were also used to trigger
    increased intervention activities directed at the homeless population.
    With the program’s development, Toronto Public Health also established a Hot Weather
    Response Committee to develop, monitor, and update its Hot Weather Response Plan. The
    committee is a partnership of representatives from various city departments and agencies
    working with potentially vulnerable populations. Every year, before the hot season, the
    committee discusses and finalizes the contributions and roles each agency will assume
    during the coming summer. Using a call-out tree, Toronto Public Health coordinates the
    plan and notifies the committee and a list of more than 800 agencies of an EHE. Each
    agency and city department implements its part of the plan.

    Adjustments and lessons learned
    In the fall of each year, the Hot Weather Response Committee meets to assess the
    performance of the system and program. The focus of this meeting is on identifying areas




                                                                                                         Chapter 3
    and items that could be added or improved to enhance the program’s performance. This
    active review process has resulted in these changes to the program:
        Having the Red Cross operate an informational heat-health telephone line during
        declared heat advisories

        Coordinating the city’s emergency medical service (EMS) with the health line to
        address specific medical questions, conduct follow-up visits with all callers to evaluate
        conditions in their residences, and to take individuals to cooling centers when needed

        Providing functional drinking water fountains in city parks

        Extending the hours of operation of city pools

        Providing transit tokens to those who have been evaluated by street patrol teams and
        are found to be in need of a cooling center.

    Less formal program adjustments over time have included coordinating with other
    city officials to evaluate and, when necessary, relax enforcement of certain ordinances
    to allow compliance with cooling tips provided during EHEs. For example, the city
    relaxes enforcement of late-night park closure rules, because many residents who lack air
    conditioning visit Toronto’s parks at night during EHE conditions.
    Finally, a critical component of the Toronto EHE program has involved working to
    increase public education and awareness of EHEs and their health risks. To this end,
    Toronto Public Health holds an annual media event in mid-May at which Health
    Department, Red Cross, and EMS staff members are available to answer EHE questions
    from the media.




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                    3.2.3 Phoenix
                    Summer in Phoenix is, by any measure, hot. Daily high temperatures above 100°f are
                    routine, temperatures up to 110°f are common, and temperatures above 120°f are possible.
                    Although residents over time physically adapt to some extent to Phoenix’s high heat,
                    summer conditions can still be quite variable. Despite Phoenix routinely experiencing
                    life-threatening summertime temperatures, studies of excess heat mortality there have
                    consistently found little evidence of any major heat-attributable excess mortality impacts
                    (e.g., Kalkstein and Greene, 1997; Davis et al., 2003a,b).7
                    Although definitive explanations for this result cannot yet be offered, it seems likely
                    that this can be attributed to significant local experience in responding to elevated
                    temperatures, relatively low humidity, extensive access to air conditioning, widespread
                    public recognition of the health risks during EHE conditions, and a willingness to
                    make appropriate adjustments to minimize heat exposure. These findings suggest the
                    importance of having a public that understands the health risks inherent in EHEs and
                    knows how to minimize their health impacts.
                    Still, in mid-July 2005, much of the southwestern and central United States experienced
                    consecutive days of hot weather that broke all-time high temperature records in many
                    locations. During this period, Phoenix was a focus of media attention because of the
                    duration of the conditions (all but 3 days in the 2-week period through July 21 reached
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                    110°f) and because several deaths were attributed to the heat (Associated Press, 2005).
                    Extreme high temperatures like those experienced in July 2005, however, create potentially
                    life-threatening conditions for anyone experiencing unmitigated exposure, regardless
                    of adaptation. As a result, it is not surprising that the majority of deaths in Phoenix
                    attributed to the heat were of homeless individuals. Phoenix’s sudden increase in heat-
                    attributable deaths in July 2005 should be viewed as a reflection of how an exceptionally
                    severe and long-lasting EHE can overwhelm even highly adapted populations.
                    Before the 2005 summer, Phoenix’s EHE program consisted mainly of relying on the local
                    NWS forecast office to predict dangerous conditions and the local media to broadcast
                    warnings and advice for limiting heat exposure. Although Phoenix is covered by an
                    operating SSC-based EHE prediction system, developed with funding by NOAA’s NWS
                    and the local electrical utility to help guide utility shutoff decisions, there was minimal
                    interest in incorporating this available information into a broader EHE notification and
                    response program.

                    Adjustments and lessons learned
                    Phoenix’s public response to the July 2005 EHE conditions largely focused on opening
                    homeless shelters during daytime hours, bringing homeless individuals to these and other
                    locations with air conditioning, and providing donated bottled water. Given the general
                    prevalence of air conditioning in Phoenix, this targeted action may be the most effective
                    approach for limiting the health risks and impacts of an especially severe EHE.

                    7 A lack of evidence of a heat-mortality relationship in these studies does not mean that excessive heat is
                      not reported as a contributing factor in deaths in Phoenix during the summer; in fact, heat-related deaths
                      are routinely reported. This finding simply means there has not previously been a measurable increase in
                      all-cause mortality rates in Phoenix when the heat reaches exceptional levels.




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    This action also demonstrates how a location that generally lacks a formal EHE program
    can take immediate steps to reduce the risks and health impacts of an especially severe
    EHE.
    In addition, the July 2005 EHE in Phoenix triggered a review of the county’s response
    plans to EHE warnings issued by the local NWS office. Although this review is ongoing,
    the revised plan is expected to clearly define a set of actions the county will take after an
    NWS announcement.

    3.3 Evidence on the Performance of EHE Programs
    Few studies have evaluated the efficacy of EHE notification and response programs.
    This reflects the difficulty of developing these studies (e.g., issues in identifying case and
    control locations and accounting for variation in populations and EHE conditions) and,
    in many cases, the brevity of existing operating EHE programs.
    One study in Philadelphia (Ebi et al., 2004) used regression analysis to quantify the impact
    of publicly announcing forecast EHE conditions on EHE-attributable excess mortality
    from 1995 to 1998. This study was possible largely because, at the time, the city and the
    regional NWS forecast office independently evaluated forecast data for anticipated EHE
    conditions. As a result, during this period there were days when the city’s criteria called
    for an EHE warning but the NWS would not issue one, days when the city’s system would




                                                                                                           Chapter 3
    suggest a warning be issued and the NWS would issue one, and days when the NWS
    would issue a warning when the city’s system did not call for a warning.
    Ebi et al. (2004) found that for each day Philadelphia issued an EHE warning based on the
    SSC system recommendation, expected mortality was reduced by roughly 2.6 lives per day
    and this mortality reduction was experienced for the 3 days following the last issued heat
    warning. This result was statistically significant at the 8% level, which the authors note is
    equivalent to saying there was a 92% chance that the system saved at least one life during
    this period. It is estimated that the system saved 117 lives during the study period. To place
    this result in a cost-benefit framework, the authors report an estimated cost, primarily
    for wages of extra emergency medical staff, of $10,000 for each day a heat advisory is
    issued. In contrast, EPA routinely assumed a value per avoided statistical life year lost of $6
    million in regulatory impact assessments at the time of the study.
    The other formal study that examined the effectiveness of EHE programs, Palecki et al.
    (2001), compared the health impacts of EHEs in 1995 and 1999 in Chicago and St. Louis.
    The basis for evaluating the effectiveness of EHE programs in this study is provided
    mainly by the contrast of the impacts of the events in Chicago, which lacked an EHE
    notification and response program in 1995 but then developed one, which became active
    in 1999. The authors take care to note that there were differences in the duration, intensity,
    and meteorological conditions preceding the two EHEs, but they focus primarily on the
    fact that 700 deaths were attributed to the 1995 EHE in Chicago compared to roughly 100
    deaths from the 1999 event. The authors then argue that much of this sharp reduction in
    mortality can be attributed to the effectiveness of Chicago’s EHE program, which, among
    other actions, included reminding the public of the toll the 1995 EHE had taken to convey
    the risks of the 1999 conditions.




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                    Additional anecdotal evidence from Philadelphia supports the contention that the city’s
                    EHE program has had a beneficial public health impact. Specifically, although more than
                    100 deaths in Philadelphia were attributed to the July 1993 EHE, the 1995 EHE experienced
                    in the city resulted in only 60-70 heat-attributable deaths after the city’s EHE program
                    was implemented that summer [personal communication, Jerry Libby, Philadelphia Health
                    Promotion Department (retired), September 27, 2005]. This reduced mortality is even more
                    notable given the higher temperatures and longer duration of the 1995 event.
                    These results provide limited quantitative evidence that EHE notification and response
                    programs can demonstrably improve public health.
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    EHE Notification & Response Programs

    A central theme of this guidebook is the importance of accounting for local conditions
    and populations when defining EHE conditions and developing and implementing EHE
    notification and response programs. Despite the recognized difficulty of addressing
    all combinations of program needs, opportunities, and constraints that users of this
    guidebook may encounter, general recommendations that draw on available data, research
    results, and experience with EHE programs can be made.
    The foundation for these recommendations is the recognition that EHEs are but one of
    a much larger group of extreme meteorological events (e.g., blizzards, floods, hurricanes,
    tornadoes) and anthropogenic conditions (i.e., urban smog) that can adversely affect
    public health. These recommendations are organized according to data needs and actions
    that we believe an EHE notification and response program must address to provide public
    health benefits. Specifically, the recommendations are organized into the following general
    areas: EHE definition and forecasting, public education and awareness of EHE risk factors
    and health impacts, EHE response preparation, EHE response actions, and EHE program
    review and evolution.
    Each area has two categories of recommendations. Strongly recommended actions address
    information or actions we believe an EHE notification and response program must
    address to help minimize heat-attributable public health impacts. The second category
    of recommendations offers guidance on additional actions or data development that
    could enhance the public health effectiveness of an EHE program once the program has
    addressed the strongly recommended actions.

    4.1 EHE Definition and Forecasting
    As with notification and response programs for other extreme meteorological events, the
    effectiveness of an EHE notification and response program will initially be constrained
    by its ability to define and accurately forecast the relevant meteorological conditions. The
    recommendations in this section are intended to ensure timely access to locally relevant
    EHE forecast information.




                                                                                                        Chapter 4
    4.1.1 EHE criteria must reflect local conditions
    Many established meteorological criteria are used to determine whether forecast or
    existing conditions can be labeled as a certain type of extreme meteorological event
    (e.g., using maximum sustained wind speeds to identify and categorize hurricane
    conditions). A distinguishing feature for most of these criteria is that they do not vary by
    location.
    In contrast, this guidebook’s Technical Working Group (TWG) strongly recommends
    that EHE criteria be defined based on a review of local meteorological data. For example,
    a criterion that defines anticipated EHE conditions on all days with a forecast maximum
    temperature of 100°f or greater would not be useful in locations where this temperature
    has never been observed or in areas where such temperatures are common. In contrast,
    a criterion that announces anticipated EHE conditions any time the forecast daily
    maximum temperature is greater than the 95th percentile value for that day from the past
    30 years would allow for variation by location.




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                    Incorporating evidence of heat-attributable adverse health impacts from analyses
                    of health outcomes and weather conditions can enhance EHE criteria development.
                    Thus analyses of historical meteorological conditions should incorporate available
                    health outcome data (e.g., regression-based analyses of daily mortality as a function of
                    meteorological variables or air masses). Adding additional control variables that have
                    been identified as affecting the number of heat-attributable health outcomes (e.g., time
                    of season, prior EHEs in the season) would enhance the results of these analyses. Further,
                    the results of any enhanced weather-health outcome analyses could be used in a predictive
                    fashion to calculate the potential health impact of forecast conditions. These predictive
                    models could then provide a basis for defining EHE conditions based on predicted
                    changes in health outcomes.

                    4.1.2 Ensure access to timely meteorological forecasts
                    An effective EHE notification and response program requires access to reliable
                    meteorological forecasts to provide lead time for implementing program elements.
                    To forecast EHEs, we strongly recommend that local officials in the United States use and
                    evaluate the meteorological data in the NWS’ 5-day regional forecasts.
                    To enhance EHE forecasting, we recommend developing systems that electronically
                    retrieve and evaluate revised NWS forecast data as they become available. For example,
                    the University of Delaware’s Center for Climatic Research has developed automated
                    computer systems for existing EHE notification and response programs that retrieve NWS
                    forecasts as they are updated, assess the forecast data against EHE criteria over the 5-day
                    forecast period, and notify EHE program managers when EHE criteria are satisfied.
                    The TWG also recommends that cities not use surveillance-based systems as the primary
                    means for identifying EHE conditions. Specifically, systems that rely on observable
                    increases in the demand for medical services such as ambulance calls or demand for
                    emergency room services to identify EHE conditions are not recommended. Although
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                    such systems may have a role in determining appropriate resource allocation during an
                    EHE, they are of little value as a forecast tool because they do not provide the necessary
                    lead time for implementing EHE responses.

                    4.2 Public Education and Awareness of EHE Risk Factors and
                        Health Impacts
                    A significant source of the public health impacts of EHEs is that individuals either
                    fail to adequately recognize the danger associated with EHE conditions or make poor
                    response choices during EHEs. This is tragically reflected by conclusions that most EHE-
                    attributable deaths are preventable (CDC, 2004a,c). This conclusion also suggests that
                    there is a significant need for continued and enhanced public education about the EHE-
                    attributable risks and health impacts.

                    4.2.1 Increase and improve EHE notification and public education
                    The TWG strongly recommends there be a formal system for notifying the public
                    when EHE conditions are forecast. At a minimum, announcements made using this
                    system should include information on the anticipated arrival, duration, and severity of
                    the forecast EHE. In addition, these announcements need to provide the public with
                    information about critical EHE risk factors (e.g., being very young or old, using certain


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    medications, having physical or mental impairments that restrict mobility, or lacking the
    ability to respond to environmental changes), the symptoms of excessive heat exposure,
    and recommended response actions (e.g., seek air-conditioned locations, stay hydrated).
    These announcements can be conveyed to the public through usual methods such as
    television, radio, and newspapers, and by using established health alert networks such
    as those operated by some state health departments (e.g., Minnesota). EHE information
    could also be periodically distributed through other avenues such as fliers in newspapers,
    local magazines, and church and civic group literature at the start of and periodically
    throughout the EHE season. Announcements should describe basic precautionary steps
    individuals can take to limit the health risks: stay hydrated; spend time in air-conditioned
    environments; wear loose-fitting, light-colored clothing; check on individuals with high-
    risk characteristics [see Rudnick (2002) and U.S. EPA Aging Initiative (2004) for more
    detailed information]. The announcements should also suggest appropriate responses
    when symptoms of excessive heat exposure are observed.
    One way to enhance the public education program for EHE risks, impacts, and personal
    response strategies is to repeatedly present a clear and consistent message to varied
    audiences. An example of such an effort is Toronto Public Health’s hosting of an EHE
    media day each May before the start of the summer heat season. During this event,
    Toronto Public Health provides the media with information about the city’s EHE
    notification and response program and answers questions about the health risks and
    impacts of EHEs. This event maintains media interest in the program and generally results
    in reporting that keeps EHEs in the public’s eye.
    An example of another broad-based educational activity that could be pursued is EHE
    education programs for schools. These programs would help inform a vulnerable
    segment of the population about risks and appropriate responses and could potentially
    provide an effective means of having central messages repeated and adopted by a range of
    households.




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    EHE education should also be specifically directed at first responders and local emergency
    management personnel as well as to those who care for older individuals, the very young,
    the homeless, and the physically and mentally challenged. This targeted education would
    inform critical response personnel and caregivers about the health risks EHEs pose to
    members of the vulnerable groups they look after and emphasize the need for active
    assessment and intervention to prevent adverse health outcomes.

    4.2.2 Provide information on proper use of portable electric fans during EHEs
    The TWG also strongly recommends that, as part of a public education program, cities
    emphasize that portable electric fans are not the simple cooling solution they appear to
    be. Because of the limits of conduction and convection, using a portable electric fan alone
    when heat index temperatures exceed 99°f actually increases the heat stress the body must
    respond to by blowing air that is warmer than the ideal body temperature over the skin
    surface (American Medical Association Council on Scientific Affairs, 1997; CDC, 2004c). In
    these conditions, portable electric fans provide a cooling effect by evaporating sweat. The
    increased circulation of hot air and increased sweat evaporation can, however, speed the
    onset of heat-attributable conditions (e.g., heat exhaustion).




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                    Thus, portable electric fans need to be used with caution and under specific circumstances
                    during an EHE, such as exhausting hot air from a room or drawing in cooler air through
                    an open window. Generally, portable electric fans may not be a practical and safe cooling
                    mechanism during an EHE in homes that are already hot and are not air-conditioned;
                    their use should be discouraged unless the fans are bringing in significantly cooler air
                    from outside the dwelling. If a resident must stay in these dwellings, and if they are unable
                    to access an air-conditioned environment, safer cooling approaches would include taking
                    frequent cool showers and drinking cool, nonalcoholic fluids (e.g., ice water). Because of
                    the importance of this issue, and the contradictory messages people may have received
                    about using portable electric fans during EHEs, Appendix B provides a series of guidelines
                    for fan use during EHEs.
                    Finally, public officials should review the various educational messages about EHEs
                    for consistency with other messages and information on other issues. For example,
                    recommendations against letting cars idle to control ozone concentrations would be
                    inconsistent with EHE recommendations to stay in air-conditioned environments
                    whenever possible. Public officials can recognize any potentially conflicting messages and
                    then make clear statements about which message should take precedence during an EHE.

                    4.3 EHE Response Preparation
                    Preparations for an EHE can be distinguished according to when they are initiated relative
                    to the development of the EHE. Long-term preparations address actions that need to be
                    initiated well before an EHE is forecast because of the time needed to reach necessary
                    agreements, develop systems, or secure supplies and personnel. Short-term preparations
                    are actions that need to be taken when a multiday forecast anticipates EHE conditions.
                    This section focuses on long-term preparations; Section 4.4 covers short-term preparation
                    actions.

                    4.3.1 Develop a clear plan of action identifying roles and responsibilities
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                    Defining the structure, relationships, and responsibilities for those supporting an EHE
                    notification and response program (e.g., health departments, utilities, homeless advocates)
                    is an essential long-term action. More generally, this action requires establishing a means
                    for planning and communication among the program supporters so that available
                    resources are used most efficiently and potentially conflicting messages from program
                    participants are clarified.
                    To achieve this coordination, the TWG strongly recommends establishing periodic
                    meetings among program participants, distributing materials electronically, and
                    designating points of contact for each participating group or agency. Variations across
                    locations in the structure and expertise of agencies and the presence of different
                    private organizations make it problematic to offer specific recommendations about
                    recommended organizational structures for an EHE program. However, because EHEs are
                    a threat to public health, relevant public health agencies can and should play a significant,
                    but not necessarily the lead, role in developing and managing an EHE program. In
                    addition, local emergency management agencies, street and sanitation departments,
                    and health code enforcement staff typically have significant contact with the public. As
                    a result, their information distribution networks and staffs could, depending on local
                    conditions, be a valuable resource to consider in EHE response planning.


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    Finally, nonprofits such as the Red Cross, homeless outreach programs, area agencies on
    aging, and senior centers should be actively recruited to become EHE program partners to
    incorporate their expertise in identifying, communicating with, and providing services to
    populations that are at high risk during EHEs.
    When developing a plan of action, we also strongly recommend EHE program partners
    pay particular attention to the potential for public recommendations that could
    conflict during an EHE and provide clear guidance regarding priorities. For example,
    environmental organizations may generally recommend against idling cars for extended
    periods of time to improve air quality. This message could be modified to note that
    if idling is necessary to stay in an air-conditioned environment during an EHE, it is
    acceptable and preferable to exposing the occupants to the heat.

    4.3.2 Develop long-term urban planning programs to minimize
          heat island formation
    Although not the focus of this guidebook, the TWG strongly recommends urban design
    and development programs be reviewed with a goal of promoting actions that will
    help control the development of urban heat islands. The longer timeframes envisioned
    for implementing any actions result in these actions being viewed as part of the EHE
    preparation actions. However, effective implementation of specific actions designed to
    mitigate urban heat islands, such as programs to increase the reflectiveness of urban
    surfaces, increase urban vegetation, and modify behavior, is likely to require a significant
    public education component.

    4.4 EHE Response Actions
    This section covers activities that should be initiated after meteorological forecasts
    identify an impending EHE or EHE conditions have been announced. Four essential
    recommendations involve these short-term EHE response actions:
        The public should be encouraged to spend time in available air-conditioned buildings




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        (e.g., shopping centers, movie theaters, senior centers, libraries). To the extent
        these types of buildings have air conditioning, they are also generally capable of
        accommodating sudden increases in public use for short periods of time (e.g., a few
        days) without significant difficulty.

        EHE program partners should reallocate resources to address critical short-term
        needs of the EHE that are likely to provide a significant public health benefit. For
        example, this could involve shifting some public health inspectors from inspecting
        dining facilities to visiting nursing homes or supporting home environment
        assessments for individuals who may call available non-911 help lines. Other examples
        could include having homeless agencies emphasize providing daytime services and
        interventions during the EHE instead of nighttime services when conditions will
        generally be cooler.

        Once a forecast for EHE conditions has been aired, the locality should prohibit the
        suspension of electric and water services. For this reason, all meetings related to the
        EHE program should include representatives from local utility companies who have
        been solicited as program partners.



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                        Local medical examiners should be directed to use the guidelines set forth by
                        Donoghue et al. (1997) for classifying heat-related deaths. Although statistical
                        analyses of total daily mortality can and should be used to identify and quantify
                        increases in mortality attributable to the EHE, using the Donoghue et al. guidelines
                        will improve the accuracy of estimates of heat-attributable deaths for those who base
                        these estimates solely on the information from death certificates.

                    Additional recommendations for response actions that could provide additional public
                    health benefits include:
                        Conducting direct assessments of high-risk individuals during EHEs to check for
                        signs of excessive heat exposure

                        Increasing the extent and duration of public access to air-conditioned settings

                        Increasing the capacity of the emergency medical system to respond to increased
                        surveillance and treatment demands.

                    Each of these additional recommendations for enhancing short-term responses is
                    discussed below.
                    EHE health risks are not equally distributed among the population. Therefore, the TWG
                    recommends that enhanced program responses include direct assessments of the health
                    and environments of those at greatest risk during the EHE. Increasing home visits, using
                    telephone check-in systems, and operating toll-free lines to provide advice or receive
                    reports of concerns can alert EHE program staff to individuals who may be at the greatest
                    risk or experiencing health problems during the EHE and help avoid more serious health
                    outcomes.
                    Spending time in an air-conditioned environment has long been recognized and
                    advocated as the most effective means of preventing heat-attributable health impacts
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                    during an EHE. To increase the potential time spent in air-conditioned locations, we also
                    recommend the hours of operation and number of air-conditioned locations (e.g., senior
                    centers, libraries) made publicly available be increased during an EHE. Providing free
                    transportation to these locations could also increase their use.
                    Finally, regardless of the extent of preparations and response implemented for an EHE,
                    it is likely that the onset of EHE conditions will result in an increase in the demand for
                    emergency medical services in the form of 911 calls, visits to emergency room facilities,
                    and increased volume and need for medical examiner staff and services. The TWG
                    therefore recommends additional staffing of emergency medical personnel to increase the
                    number of people who can receive treatment at any given time, reduce waiting times for
                    treatment, or both. Existing local and state mutual aid agreements and state emergency
                    medical assistance compacts as well as the resources of state and local emergency
                    management agencies, the Federal Emergency Management Agency, the Medical Reserve
                    Corps, and the National Disaster Medical System may be available to help meet some of
                    these needs. The applicability and availability of these resources need to be evaluated,
                    however, and contacts must be established before the onset of EHE conditions.




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    Appendix C provides one-page summaries of the critical actions individuals and EHE
    program partners can and should take once EHE conditions are forecast or are being
    experienced.

    4.5 Review EHE Programs to Address Changing Needs,
        Opportunities, and Constraints
    Over time, the constraints and opportunities faced by an EHE notification and response
    program will shift and experience will be gained in developing working relationships
    between program partners and in responding to different types of meteorological
    conditions. Finally, the relative importance of EHEs as a public health threat could change
    over time.
    As a result, the TWG strongly recommends establishing a regular and formal review of the
    program’s performance. For example, in the fall, when the risk of an EHE has diminished,
    program partners should evaluate past performance and make recommendations to
    improve the notification and response program. Alternatively, hypothetical “table-top”
    exercises could be conducted that allow program partners to work through how they
    would respond to alternative EHE scenarios in order to identify problems with current
    preparation and response activities and develop solutions.




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     Resources Available on the Internet

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     Extreme Heat Bibliography. http://www.bt.cdc.gov/disasters/extremeheat/bibliography.
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     Heat Index Summaries
     Heat Index. http://www.crh.noaa.gov/pub/heat.htm. (NWS Forecast Office, Pueblo,
     Colorado, 2004)

     Summaries of the Health Risks and Tips for Minimizing Risk
     from Exposure to Elevated Temperatures
     Extreme Heat: A Prevention Guide to Promote Your Personal Health and Safety. http://
     www.bt.cdc.gov/disasters/extremeheat/heat_guide.asp. (CDC, 2004a)

     Extreme Heat: Are You Ready? http://www.fema.gov/areyouready/heat.shtm. (FEMA,
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     hazard_heat.html. (New York City Office of Emergency Management, 2005)
                                                                                                     Appenidix A




     Appendix A: Excessive Heat Event Resources Available on the Internet                       47
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                      Heat Island Effect: Heat Wave Response Programs. http://epa.gov/heatisland/about/
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Appenidix A




              48                                                                  Excessive Heat Events Guidebook
                                                  Plaintiffs' MSJ Appx. 2076
     Appendix B: Use of Portable Electric
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     Fans During Excessive Heat Events

     The widespread availability and ease of using portable electric fans draw
     many people to use them for personal cooling during an EHE. Portable
     electric fans can, however, increase the circulation of hot air, which
     increases thermal stress and health risks during EHE conditions.
     As a result, portable electric fans need to be used with caution and under
     specific circumstances during an EHE. Here is a list of Do’s and Don’t’s
     for their use:

     Do
          Use a portable electric fan in or next to an open window so heat can
          exhaust to the outside (box fans are best).
          Use a portable electric fan to bring in cooler air from the outside.
          Plug your portable electric fan directly into a wall outlet. If you need
          an extension cord, check that it is UL (Underwriter Laboratories)
          approved in the United States or CSA (Canadian Standards
          Approved) approved in Canada.

     Don’t
          Use a portable electric fan in a closed room without windows or
          doors open to the outside.
          Believe that portable electric fans cool air. They don’t. They just move
          the air around and keep you cool by helping to evaporate your sweat.
          Use a portable electric fan to blow extremely hot air on yourself. This
          can accelerate the risk of heat exhaustion.
          Use a fan as a substitute for spending time in an air-conditioned
          facility during an EHE.

         If you are afraid to open your window to use a portable
          electric fan, choose other ways to keep cool (e.g., cool
           showers, spend time in an air-conditioned location).

     Sources: Philadelphia Office of Mental Health & Mental Retardation, 2002; Toronto Public Health, 2002.
                                                                                                                   Appenidix B




     Appendix B: Use of Portable Electric Fans during Excessive Heat Events                                   49
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                           Plaintiffs' MSJ Appx. 2078
     Appendix C: Excessive Heat Events
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     Guidebook in Brief

     Quick Tips for Responding to
     Excessive Heat Events
     For the Public

     Do
         Use air conditioners or spend time in air-conditioned locations
         such as malls and libraries
         Use portable electric fans to exhaust hot air from rooms or
         draw in cooler air
         Take a cool bath or shower
         Minimize direct exposure to the sun
         Stay hydrated – regularly drink water or other nonalcoholic fluids
         Eat light, cool, easy-to-digest foods such as fruit or salads
         Wear loose fitting, light-colored clothes
         Check on older, sick, or frail people who may need help
         responding to the heat
         Know the symptoms of excessive heat exposure and the
         appropriate responses.

     Don’t
         Direct the flow of portable electric fans toward yourself when
         room temperature is hotter than 90°f
         Leave children and pets alone in cars for any amount of time
         Drink alcohol to try to stay cool
         Eat heavy, hot, or hard-to-digest foods
         Wear heavy, dark clothing.
                                                                                   Appenidix C




     Appendix C: Excessive Heat Events Guidebook in Brief                     51
                                      Plaintiffs' MSJ Appx. 2079
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                      Useful Community Interventions
                      For Public Officials

                      Send a clear public message
                         Communicate that EHEs are dangerous and conditions can be
                         life-threatening. In the event of conflicting environmental safety
                         recommendations, emphasize that health protection should be the
                         first priority.

                      Inform the public of anticipated EHE conditions
                         When will EHE conditions be dangerous?
                         How long will EHE conditions last?
                         How hot will it FEEL at specific times during the day
                         (e.g., 8 a.m., 12 p.m., 4 p.m., 8 p.m.)?

                      Assist those at greatest risk
                         Assess locations with vulnerable populations, such as nursing homes
                         and public housing
                         Staff additional emergency medical personnel to address the
                         anticipated increase in demand
                         Shift/expand homeless intervention services to cover daytime hours
                         Open cooling centers to offer relief for people without air
                         conditioning and urge the public to use them.

                      Provide access to additional sources of information
                         Provide toll-free numbers and Web site addresses for heat
                         exposure symptoms and responses
                         Open hotlines to report concerns about individuals who may
                         be at risk
                         Coordinate broadcasts of EHE response information in newspapers
                         and on television and radio.
Appenidix C




              52                                                         Excessive Heat Events Guidebook
                                            Plaintiffs' MSJ Appx. 2080
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                           Plaintiffs' MSJ Appx. 2081
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                                                                               Excessive Heat
                                                                               Events Guidebook




                                                                                                                               Plaintiffs' MSJ Appx. 2082
                                                                               United States Environmental Protection Agency
                                                                               Office of Atmospheric Programs (6207J)
                                                                               1200 Pennsylvania Avenue NW
                                                                               Washington, DC 20460
                                                                               Official Business
                                                                               Penalty for Private Use: $300
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 132
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



                             Plaintiffs' MSJ Appx. 2083
Residential Energy
               CaseConsumption Survey (RECS)
                      4:14-cv-03253          - Analysis301-13
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         ‹ Consumption & Efficiency

         Residential Energy Consumption Survey (RECS)
         Air conditioning in nearly 100 million U.S. homes
         RECS 2009 — Release date: August 19, 2011

                                                                      figure dataExcept in the temperate climate regions along the West
                                                                      coast, air conditioners (AC) are now standard equipment in most
                                                                      U.S. homes (Figure 1). As recently as 1993, only 68% of all
                                                                      occupied housing units had AC. The latest results from the 2009
                                                                      Residential Energy Consumption Survey (RECS) show that 87
                                                                      percent of U.S. households are now equipped with AC. This growth
                                                                      occurred among all housing types and in every Census region.
                                                                      Wider use has coincided with much improved energy efficiency
                                                                      standards for AC equipment, a population shift to hotter and more
                                                                      humid regions, and a housing boom during which average housing
                                                                      sizes increased.


                                                                      Regional differences in type of air
         conditioning used
         Cooled homes have either central AC systems or room air conditioners, which are individual window or wall units (room
         conditioning). The type of AC equipment used differs across regions. Central air systems are most common in the South,
         Midwest, and West, while room conditioners are most common in the Northeast (Table 1). Variation within regions can be
         dramatic: 69% of air conditioned homes in New Jersey use central equipment compared to 28% of homes in neighboring New
         York. This difference is largely due the different mix of housing types and age of housing stock between the two States.

         Table 1. Households in Northeast are most likely to use room air conditioning units
                                                                                         Northeast       Midwest       South        West

           Of homes that use AC, percent that use.....
           Central AC equipment                                                        44%                    76%        85%        74%
           Window/wall AC units                                                        58%                    26%        16%        27%
           *Some homes have both central and window/wall AC, so totals will add to more than 100%



         Increase in AC saturation is tempered by regional usage patterns
         Regional differences are apparent in air conditioning usage. Southern households are almost twice as likely to use their central
         and room air conditioning equipment all summer as those in other regions (Table 2). Homes in the South are also least likely to
         have a programmable thermostat connected to the central air conditioner, while homes in the West are most likely.
         Programmable thermostats are designed to reduce consumption by automatically and routinely cycling down the unit when
         more intensive cooling is not needed. Consumers could reduce overall cooling costs by installing and setting a programmable
         thermostat.




                                                         Plaintiffs' MSJ Appx. 2084
1 of 3                                                                                                                          12/18/15, 6:08 PM
Residential Energy
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         Table 2. Central air conditioning equipment usage varies by region
                                                                                            Northeast        Midwest       South        West

           Of homes that use central AC, percent that have...
           Central equipment used all summer                                                      35%             37%        67%         38%
           A programmable thermostat                                                              60%             47%        38%         65%



         Housing type and age drives variation in air conditioning saturation
         Housing type influences the type of air conditioning used as well as the overall saturation of air conditioning in U.S. homes. Air
         conditioning equipment is more common in single family homes (89%) than in housing units in apartment buildings (82%). While
         84% of units in larger (5 or more unit) apartment buildings have air conditioning, in smaller (2 to 4 units) buildings that
         percentage drops to 77%.

         While RECS data indicate that more older homes are adding window units or being retrofitted with central air conditioning, new
         construction is driving the saturation. Nearly 90% of new homes are built with central air conditioning (Figure 2). When central
         air conditioning is included at the time of construction, installation is easier and consumers can amortize costs over the life of a
         mortgage. In contrast, air conditioning retrofits or upgrades are often financed separately from a mortgage, over a much shorter
         time period at higher interest, and may require capital improvements such as the addition of ventilation systems and ductwork.




                                                                figure data
         The rise of air conditioning systems has also influenced the type of home space heating systems found in newer construction.
         Central air conditioning and central space heating equipment often work in tandem or as a unified system. About 91% of homes
         built since 2000 have a main space heating system that includes central ducts; for homes built before 1940, that number is just
         50%.


         Less efficient cooling alternatives are found in apartments and lower-income homes
         Although structural and geographic characteristics such as climate, housing type and ownership influence where air
         conditioning appears, access to air conditioning by low income households is much lower relative to other households.

         Overall, 18 percent of households below the poverty line do not have any air conditioning equipment at all. About a third of
         households below the poverty line use room air conditioning compared to 15% of households with an income above $100,000.
         In contrast, about 75% of households with incomes above $100,000 use central air conditioning compared to just 44% of
         households below the poverty line. The share of room air conditioners continues to drop as more households, especially higher
         income and owner occupied households, choose central air conditioning equipment.

         Only 25% of all homes currently have room air conditioning units. Room air conditioning units can be a cost-effective alternative
         in climate regions with moderate summer temperatures. About 30% of households in the cold or very cold climate regions use
         room air conditioning compared to 19% in other regions. Households choose room air conditioning units in areas where cooling
         is only necessary a few times a year. Conversely, central air conditioning is more common in hotter climates because it can be
         used more intensively and efficiently relative to room air conditioning units.


                                                           Plaintiffs' MSJ Appx. 2085
2 of 3                                                                                                                                 12/18/15, 6:08 PM
Residential Energy
               CaseConsumption Survey (RECS)
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         There is a significant business opportunity to retrofit homes with new, more efficient air conditioning equipment that would
         reduce annual cooling costs to households. For example, 20% of the homes built during the 1980s have air conditioning
         equipment over 20 years old. Many U.S. homes could also benefit from regular maintenance, as only 42% of those using
         central air equipment service it annually.




                                                         Plaintiffs' MSJ Appx. 2086
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 133
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



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REVIEW OF DEPARTMENT COMPLIANCE WITH PRESIDENT’S EXECUTIVE
ORDER ON DETAINEE CONDITIONS OF CONFINEMENT




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Executive Summary

The Secretary of Defense tasked a special DoD team to review the conditions of confinement at
Guantánamo Bay Naval Base, to ensure all detainees there are being held “in conformity with all
applicable laws governing the conditions of confinement, including Common Article 3 of the
Geneva Conventions,” pursuant to the President’s Executive Order on Review and Disposition of
Individuals Detained at the Guantánamo Bay Naval Base and Closure of Detention Facilities,
dated January 22, 2009. The Review Team conducted 13 days of investigation on site that
included more than 100 interviews with JTF-Guantánamo leadership, support staff, interrogators,
and guards, multiple announced and unannounced inspections of all camps during daylight and
night operations, reviewed numerous reports, video, discipline records, and observed many
aspects of daily operations. Collectively, we talked to a number of detainees and observed
detainee activities, including enteral feedings and interrogations. The review Team also solicited
a sampling of opinion, studies, and published works, which reflected the perspective of detainees
and other concerned interest groups, many with recommendations to improve detention
conditions. This included our request for additional views from four organizations who wrote to
the President concerning Guantánamo on January 30, 2009: Human Rights First, Human Rights
Watch, the American Civil Liberties Union and Amnesty International. These organizations
responded to that request on February 6, 2009, and their submissions were carefully considered.

After considerable deliberation and a comprehensive review, it is our judgment that the
conditions of confinement in Guantánamo are in conformity with Common Article 3 of the
Geneva Conventions. 1

In our view, there are two components in the scope of the compliance review taken from
Common Article 3: the first is the explicit prohibition against specified acts (at any time and at
any place). Any substantiated evidence of prohibited acts discovered in the course of the review
would have warranted a finding of “non-compliance” with Common Article 3. We found no
such evidence.

Additionally, determining conformity with Common Article 3 requires examination of the
directive aspect of the Article, this being that “Persons…shall in all circumstances be treated
humanely.” This element of the effort demanded that the Review Team examine conditions of
detention based upon our experience and professional backgrounds, informed and challenged by
outside commentary. As a result of that effort, we find that the conditions of confinement in
Guantánamo also meet the directive requirements of Common Article 3 of the Geneva
Conventions.

While we conclude that conditions at Guantánamo are in conformity with Common Article 3,
from our review, it was apparent that the chain of command responsible for the detention mission
at Guantánamo consistently seeks to go beyond a minimalist approach to compliance with
Common Article 3, and endeavors to enhance conditions in a manner as humane as possible
consistent with security concerns. In this regard, in this report our team has identified a number
of items which we recommend the Department of Defense continue to pursue consistent with
that humane approach described above, or in several cases, items that we recommend for JTF-
1
    Text of Common Article 3 is attached at Appendix 1.


                                                          4

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Guantánamo that are not now in place. In this report, we do not intend to suggest that these
recommendations are items that the Department must pursue to satisfy Common Article 3.
Rather, they are items that we view as consistent with the approach of the Chain of Command to
continually enhance conditions of detainment.

Broadly stated, among the things we recommend:

First, in our view, socialization, or interaction among the detainees, is important because of the
length of time individuals at Guantánamo have been detained. Current socialization practices are
in conformity with Common Article 3. However, the team believes that in certain camps, further
socialization is essential to maintain humane treatment over time. In our opinion, the key to
socialization is providing more human-to-human contact, recreation opportunities with several
detainees together, intellectual stimulation, and group prayer.

Second, the Review Team recognized that detainee access to high quality healthcare services is a
fundamental aspect of humane treatment that is greatly enhanced by appropriate human-to-
human contact and socialization between detainees and healthcare providers. JTF-Guantánamo
appreciates that delivery of quality healthcare requires trusting relationships between providers
and their patients. Although this type of trusting relationship is difficult to achieve in a custodial
environment, the Review Team makes recommendations that can serve to enhance further the
high quality of care delivered to detainees.

Third, as long as JTF-Guantánamo is operational, it will continue to require extensive resources.
The most significant activity in this regard involves the continued support for camp improvement
projects currently underway that affect the ability to provide socialization opportunities.
Enhancement of humane treatment, as the operation continues, and as the detainee population
spends more time under U.S. control, will also require strengthening of internal controls and
continued dedication of both funds and personnel. As a related matter, the Review Team
recommends additional actions to maintain the firewall protections that separate current
intelligence gathering and healthcare.

Fourth, we endorse the use of video recording in all camps and for all interrogations. The use of
video recordings to confirm humane treatment could be an important enabler for detainee
operations. Just as internal controls provide standardization, the use of video recordings
provides the capability to monitor performance and maintain accountability.

Finally, the Review Team has also made several recommendations to sustain a humane treatment
standard in the face of individual detainees’ uncertainty and anxiety about their futures. We
conclude that certainty regarding the detainees’ future has a direct correlation to detainee
behavior and therefore, conditions inside the camp population. There are still some detainees in
Guantánamo despite court orders that the U.S. government has failed to meet its burden that they
are enemy combatants. Understandably, these detainees continue to express their extreme
frustration with their continued detention. This is a great concern to the Review Team because it
complicates conditions of detention. Therefore, the Review Team strongly endorses the
continued interagency process to resolve these detainees’ future.




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Introduction

On 22 January 2009, the President signed the Executive Order that directed the Secretary of
Defense to immediately undertake a review of the conditions of detention at Guantánamo to
ensure that no individual at Guantánamo is being held there, “except in conformity with all
applicable laws governing the conditions of such confinement, including Common Article 3 of
the Geneva Conventions.” The President further directed that such review shall be completed
within 30 days and any necessary corrections shall be implemented immediately thereafter.” 2
Consequently, the Secretary of Defense directed the Vice Chief of Naval Operations to undertake
a “Review of Department Compliance with [the] President’s Executive Order on Detainee
Conditions of Confinement” 3 with a team of experts from the Office of the Under Secretary of
Defense for Policy, Office of the Assistant Secretary of Defense for Health Affairs, the Joint
Staff, Department of the Navy, Department of the Army, and USSOUTHCOM 4 to review
relevant documents, inspect all detention facilities at Guantánamo, and interview as appropriate
USSOUTHCOM and JTF-Guantánamo personnel to ensure compliance with the Executive
Order.

This report responds to tasking from the President and the Secretary of Defense and examines
the present conditions of detention at Guantánamo, relying most principally upon the provisions
of Common Article 3 of the Geneva Conventions to determine whether the conditions of
confinement conform to the requirements outlined in the Executive Order.

There are two components in the scope of the compliance review taken from Common Article 3
of the Geneva Conventions: the first is the explicit prohibition against acts (at any time and at
any place) that include:
    (a) violence to life and person, in particular murder of all kinds, mutilation, cruel treatment
        and torture;
    (b) taking of hostages;
    (c) outrages upon personal dignity, in particular humiliating and degrading treatment;
    (d) the passing of sentences and the carrying out of executions without previous judgment
        pronounced by a regularly constituted court affording all the judicial guarantees that are
        recognized as indispensible by civilized peoples.

Substantiated evidence of prohibited acts discovered in the course of the review would warrant a
finding of “non-compliance” with Common Article 3 and result in the requirement for immediate
corrective action.



2
  Executive Order of 22 Jan 2009, Review and Disposition of Individuals Detained at the Guantánamo Bay Naval
Base and Closure of Detention Facilities. See Appendix 2.
3
  SECDEF Memorandum, Review of Department Compliance with President’s Executive Order on Detainee
Conditions of Confinement, dated 2 Feb 2009. See Appendix 3.
4
  Team consisted of ADM Patrick Walsh, USN, Vice Chief of Naval Operations and representatives from: OSD
Office of Detainee Affairs; OASD Health Affairs; Joint Staff Detainee Affairs, Health Services Support Division,
and Office of Legal Counsel; Office of the Chief of Naval Operations; Department of the Army Office of the Judge
Advocate General; Department of the Navy Office of the Judge Advocate General; Army Corrections Command;
and HQ USSOUTHCOM.


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The second component in the examination of compliance is directive in nature: “Persons taking
no active part in the hostilities, including members of the armed forces, who have laid down their
arms…shall in all circumstances be treated humanely.” This area was open to the interpretation
and judgment of the Review Team because there is no clear definition of “humane” treatment, in
either U.S. or international law and the absence of prohibitive acts alone was an insufficient
indicator of whether the conditions of detention would continue to be humane over time.

While we conclude that conditions at Guantánamo are in conformity with Common Article 3,
from our review, it was apparent that the chain of command responsible for the detention mission
at Guantánamo seeks to go beyond a minimalist approach to compliance with Common Article
3, and endeavors to enhance conditions in a manner as humane as possible consistent with
security concerns. In this regard, in this report our team has identified a number of items which
we recommend the Department of Defense continue to pursue consistent with that humane
approach described above, or in several cases, items that we recommend for JTF-Guantánamo
that are not now in place. In this report, we do not intend to suggest that these recommendations
are items that the Department must pursue to satisfy Common Article 3. Rather, they are items
that we view as consistent with the approach of the Chain of Command.

The needs of detainees are not static and therefore, require us to review the rationale for
decisions and the expenditure of resources over the continuum of detention operations in
Guantánamo. The compliance review includes not only an assessment of the physical structures
that support detention operations and the physical health of the detainees, but importantly, the
mental well-being of detainees after several years of camp operations…meaning that policies,
programs, and structures put in place several years ago, while technically “humane” in their
formative stages require review and adjustment over time.

Under the broad prescription for the obligation to be “humane” in the treatment of detainees, the
team’s findings are followed by prioritized recommendations 5 for new initiatives and
continuation of existing practices that the team endorses as a means for assisting
USSOUTHCOM in its efforts to enhance humane conditions of detention in Guantánamo. The
team also includes a specific request that higher authority place increased emphasis on the
transfer of detainees.

Methodology

The report reviewed all aspects of detention conditions from detainee arrival to detainee
transfer/repatriation. We looked across three areas: governing authorities, the Guantánamo
detention policies and practices derived from those authorities, and views from outside groups
critical of local operating procedures. From all of the above, the team drew conclusions and
developed recommendations.




5
 The team’s recommendations are divided between those of particular importance, which are indicated by the
phrase, “strongly recommend,” and those recommendations we deem important, but are of lesser priority.


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                                                  Authorities

The review assessed current governing authorities and directives. These included, but were not
limited to the following applicable laws: Geneva Conventions Common Article 3; Torture
Statute (18 USC 2340), DoD Appropriations Act of 2006, Title X, sections 1001-1006; War
Crimes Statute (18 USC 2441); Detainee Treatment Act 2005; Military Commission Act 2006;
Hamdan v. Rumsfeld; Rasul v. Bush; Hamdi v. Rumsfeld.

The review also included a review of following applicable regulations: DoDD 2310.01E (DoD
Detainee Program); DoDD 2311.01E (DoD Law of War Program); DoDI 2310.08E (DoD
Medical Program Support for Detainee Operations); DoDD 3115.09 (DoD Intelligence
Interrogations, Detainee Debriefings, and Tactical Questioning); Army FM 2-22.3 (Human
Intelligence Collector Operations).

Other guidance related to the conditions of detention included: DEPSECDEF memo of 07 Jul 06,
“Applying Common Article 3;” COMSOUTHCOM memo of 22 Jan 07, “Implementing
Guidance on Detainee Operations and Human Intelligence Collector Operations;” DEPCOS
SOUTHCOM memo of 12 Feb 07, “Implementing Provision for Inspection in DoD Detainee
Program.”

Other reference material that the team reviewed included the following documents: Geneva
Convention on Prisoners of War; Geneva Convention on Civilians; AR 190-8 (1997) (Enemy
Prisoners of War, Retained Personnel, Civilian Internees, and Other Detainees); Joint Publication
3-63 (Joint Detainee Operations); FM 3-19.40, (Internment Resettlement Operations); “World
Medical Association Malta Declaration on Treatment of Hunger Strikes;” “Bureau of Prisons
Protocol on Forced Cell Extractions;” and “American Correctional Association Standards.”

                                Guantánamo Detention Policy and Practice

The Review Team divided into the following teams: Detention Operations, Intelligence, Policy,
Legal, and Medical. They reviewed implementing guidance and directives from
USSOUTHCOM, JTF-Guantánamo, the Joint Detention Group (JDG) Commander and the Joint
Intelligence Group (JIG) Director. The Review Team conducted more than 100 interviews with
JDG and JIG leadership, support staff, interrogators, and guards. They conducted announced
and unannounced inspections of all camps during daylight and night operations. They reviewed
Inspector General reports, medical records, and inspection results from USSOUTHCOM.
Additionally, they followed up on individual allegations of mistreatment. Teams reviewed the
Detainee Information Management System (DIMS), Joint Detainee Information Management
System (JDIMS), and Forced Cell Extraction video. Teams reviewed discipline records on the
guard force and witnessed interrogations. Collectively, teams talked to a number of detainees
and observed detainee recreation, art classes, enteral feedings and interrogations. 6




6
    See Appendix 4, Compliance Review Team activity log.


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                                           Input from External Sources

The Review Team identified numerous parties interested in detention conditions at Guantánamo
among U.S. government interagency and Department of Defense entities, as well as other
organizations outside of the U.S. government, recognized for their interest in detainee-related
issues. In the time available for the review, we solicited a sampling of opinions, studies, and
published works, which reflected the perspective of detainees and other concerned interest
groups who posed critical, contrary views, many with recommendations to improve detention
conditions. The Review Team assessed the individual contribution of each organization or entity
and then applied it (anonymously, to give each assertion equal weight and value) to specific
elements of the detention condition review.

To gain an appreciation for the broadest array of views that exist concerning the detention
mission in Guantánamo and the evolution of the conditions of detention there, the Review Team
first looked to historical documents and reports provided by the International Committee of the
Red Cross (ICRC). The ICRC has had access to the detention camps in Guantánamo since 2002
and has provided numerous reports on conditions of detention. The ICRC enjoys unfettered
access to detainees in Guantánamo, as well as detainee medical records. They visit Guantánamo
at least quarterly and provide the JTF-Guantánamo and USSOUTHCOM leadership feedback on
their observations and recommendations. Communications between the ICRC and the United
States are treated as confidential communications, for the purposes of enhancing a candid sharing
of observations and recommendations pertaining to conditions of detention.

In addition, the Review Team heard from many other external groups, including Human Rights
Watch, Human Rights First, Amnesty International, and the American Civil Liberties Union,
who have all expressed views on detention issues in Guantánamo matters, formally as well as
informally. Inputs received were candid, succinct, constructive, and representative of long-
standing concerns. We also reviewed documents and comments from the Military Commissions
Defense Counsel, University of California, Berkeley and the Center for Constitutional Rights,
Brookings Institute, American Psychological Association, American Psychiatric Association,
Institute of Medicine, American Medical Association, Habeas Corpus Counsel, American
Correctional Association, and American Bar Association.

The purpose of our work was to examine the conditions of detention at Guantánamo, in its
current form, for compliance with applicable law, including Common Article 3 of the Geneva
Conventions. Therefore, we took the comments without challenge, debate, or any attempt to
refute the assertions. Their input represented a perspective that challenged prevailing views and
practices. We applied the merits of the arguments from outside groups, pitted them against
prevailing practices, and then deliberated on findings and recommendations. 7

In summary, the report provides a comprehensive, probative examination designed to challenge
and test current operating policies and practices; it uses an interdisciplinary method that depicts a
portrait of each element of detention conditions and identifies what specific issues of detention
policy and practice stand in dispute. The Review Team made two categories of
recommendations: those we consider to be priorities, and those we consider to be of secondary
7
    See Appendices 5 through 11. See also attached Bibliography for additional external community input considered.


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importance. It is the view of our team that all of these recommendations, if implemented, will
assist USSOUTHCOM in its efforts to enhance humane conditions of detention in Guantánamo.

                                       Orientation to Camp Operations

                                Commander, Joint Task Force-Guantánamo

Commander, Joint Task Force-Guantánamo has operational command of detention operations in
Guantánamo and reports directly to Commander, USSOUTHCOM. Beneath the JTF are three
separate and independent commands: the Joint Detention Group (JDG), Joint Medical Group
(JMG), and Joint Intelligence Group (JIG). The Commanders of the Detention Group and
Medical Group, and the Director of the Intelligence Group report directly to the JTF
Commander.

                                             Joint Detention Group

Detention operations fall under the cognizance of the Commander, Joint Detention Group
(CJDG). CJDG is directly responsible for the humane custody of detainees. Detainees live in
nine camps, built between 2002 and 2006, along the southeast portion of the U.S-controlled area
of Guantánamo Bay, Cuba - separated from the Naval Station Guantánamo facilities – controlled
and secured exclusively by JTF-Guantánamo.

With humane treatment as the baseline, the Joint Detention Group leadership organizes camp
operations around a compliance model, through the means of incentive-based options to
encourage compliance. The options available to the CJDG only contribute to the quality of
detention for the detainee; they cannot affect the length of detention. Privileges vary from camp
to camp, with the greatest number of privileges offered in the communal living camp (the camp
preferred by detainees). Unfortunately, the CJDG’s housing options are limited to two. The first
is a communal-style living camp, with open bay barracks, a large recreation area, and relatively
liberal privileges available to detainees there. The second is maximum-security facilities, similar
to maximum-security facilities used by prison systems throughout the United States, with single
cell detention, smaller recreation areas, and fewer privileges. Detainees considered to be a lesser
risk, based upon compliance with camp rules, live in the former camp, while detainees
considered to be a higher risk, based upon failure to comply with camp rules, live in the latter
camps. The challenge for the CJDG is to carefully assess risk when deciding whether a
particular detainee is suitable for placement in the communal living camp. In 2004, the
communal living camp was the scene of a detainee plot to commandeer a food truck to be used to
kill guards. 8 In 2006, the same camp was the scene of a costly riot that almost resulted in the
serious injury of guards. However, to encourage compliance with camp rules, the CJDG is
forced to continually seek to offer detainees the privilege of residing in the communal living
camp, as a reward for complying with camp rules while they reside in the maximum security
facilities.


8
 More than 10 detainees in Camp 4 attacked an FCE team using various items (e.g., pieces of large floor fans).
Guards were forced to use non-lethal weapons for the first and only time in the history of detention operations in
Guantánamo to quell the riot, protect themselves, and escape from the detainees.


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The camps are numbered in the order in which they opened. However, they can be categorized
as follows: Communal Living Camp – Camp 4; Maximum Security Camps - Camps 1 through
3, 5 (including Camp 5 Echo Block), 6, and 7; Pre-Release-Transfer –Camp Iguana; and, Limited
Use – Camp Echo. The following describe each camp.

Communal Living Camp

Camp 4, first occupied in February 2003, offers communal living, numerous recreation facilities,
education and intellectual stimulation programs, and houses detainees considered the most
compliant with camp rules. Unlike other camps, Camp 4 offers communal living in open-bay
barracks with open access to fresh air in outdoor recreation and communal facilities throughout
the day. It includes additional access to large recreation areas equipped with a basketball court,
volleyball court, and soccer facility, during a specified four-hour period each day. Camp 4 has a
media center equipped with satellite television, bench seating, and a classroom used to teach
literacy and art.

Maximum Security

Camp 1, which became operational in April 2002, is an open-air facility with approximately 200
steel mesh single cells. Cells in this style camp offer the least unencumbered square feet of
living space. Cells face each other, arranged in rows, with an equal number of cells on each side
of the block. Camp 1 includes an outdoor exercise area for each block, equipped with a treadmill
or elliptical machine.

Camp 2 and Camp 3 are adjoining facilities. The cells are similar to Camp 1. Camps 2 and 3
became operational in October 2002, with a current capacity of about 400 detainees. Each Camp
has 10 adjoining blocks of 24 to 48 cells each, and offer access to sunlit spaces throughout the
day with the same sort of outdoor recreation facilities as Camp 1 for each block. Two cells in
Camp 3 are now available for use as a movie room for detainees.

Camp 5, a maximum-security facility built in April 2004, is a climate-controlled single cell
facility with a capacity to hold 100 detainees. All occupied cells have a clear window to permit
entry of sunlight. The facility resembles a hub and spoke design. The hub consists of a centrally
located automated control center that enables staff to control all operations throughout the
building, including ingress/egress, opening and closing of doors and other operations. The
spokes consist of four, 2-story wings, each with two rows of adjoining cells that face each other,
and one additional wing for administrative offices. Three outdoor recreation facilities are
accessible from adjacent wings. The building has a climate controlled meeting room for legal
representation and separate movie rooms on each tier for detainee use at specified periods
throughout the day.

Camp 5 Echo (part of Camp 5), first occupied by detainees in April 2008, is an open air facility
with 24 individual adjoining steel mesh cells arranged in two parallel and equal rows – similar to
Camp 1. The recreation facilities are similar to those found in Camps 1, 2, and 3, equipped with
treadmills, elliptical machines and soccer balls; enabling a total of four detainees to participate in
recreation simultaneously in four adjacent yards.



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Camp 6, the newest facility, became operational in December 2006. Although originally built as
a medium security, climate-controlled facility, JTF leadership converted it to a maximum-
security facility with an automated control center when, in June 2006, the risk of detainee suicide
became acutely apparent. 9 Camp 6 detainees reside in eight pods that are equipped with 22 cells
each. Each pod is a two-story wedge shaped wing attached to the main structure, with 11 cells
on each story. Each pod is equipped with skylights that permit the entry of natural sunlight, and
includes a communal area equipped with tables and chairs used for recreation and entertainment
activities throughout the day. The tables and chairs are of steel construction and are fixed in
place similar to detention facilities in use throughout the United States.

The JDG is presently in the process of converting areas of Camp 6 into a medium security
facility, through expanded recreation areas, increased communal areas, and similar
modifications. A recently constructed outdoor recreation area can accommodate up to 22
detainees in a yard used for sports, exercise, reading, relaxation, prayer and meals. Two
additional recreation areas, each sub-divided with 11 standard-size recreation rooms,
accommodate one-to-two detainees each; and two more recreation areas are sub-divided with
five standard size recreation rooms each. A newly constructed media building for Camp 6
includes a television and DVD player, and can accommodate up to 20 detainees for
entertainment or classroom activities. Construction is underway to transform four pods and
provide detainees free access to communal and recreation areas throughout most of the day –
similar to Camp 4.

Camp 7, occupied by detainees in September 2006, is a climate-controlled, single-cell facility
currently used to house the High-Value Detainees. Each tier includes a dual-cell recreation yard
that is divided into two separate recreation areas that are enclosed by chain link fencing, enabling
two detainees to participate simultaneously in four hours of recreation daily. Recreation yards
include elliptical machines and stationary bicycles, soccer balls, racquetballs, and an opportunity
to read newspapers, magazines, and participate in prayer and meals. Media rooms are available
three times weekly for each detainee to watch movies of their choice, read newspapers,
magazines, books and play hand-held electronic games.

Pre-Release/Transfer Facility

Detainees who occupy a special legal status (associated with court cases) reside in Camp Iguana.
All conditions at Camp Iguana are communal and provide detainees access to sunlight
throughout the day. Security conditions at Camp Iguana enable detainees to move freely within
a fenced area comprised of several wooden, hut-like buildings – some used for sleeping, others
for recreation, meals and prayer. Detainees are free to move from living quarters – complete
with bed, wooden dresser, desk, table and chair – to an outdoor recreation facility that overlooks
the shore along Guantánamo Bay’s southeastern coastline. A treadmill, elliptical trainer, picnic
table, and planted garden with garden hose are among the outdoor provisions for these detainees.
One building in the facility is available specifically for religious worship, with numerous rugs
and a sound system that provides the daily call to prayer. A second building includes a library
with books in native languages and a reading area, along with access to satellite television, three
9
    Three detainees committed suicide by hanging in Camp 1 during the evening hours of 9 and 10 June 2006.


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different newspaper publications that are updated routinely, art supplies, hand-held games,
puzzles, and Sudoku. A third building has a washer and dryer for detainee use. Finally, the
camp has a shower and hygiene building with running hot and cold water, sinks, mirror, toilets,
and showers. Because of the status of Camp Iguana detainees, this camp is not an option that is
available to the CJDG for moves involving general population detainees.

Limited Use Facility

Camp Echo became operational in October 2004 for housing detainees and conducting attorney-
detainee/client meetings. Each detainee resides in a hut-like wooden structure, separated in half,
with one-half for a meeting area and the other half being a cell area. Each structure includes a
table and chairs to facilitate meetings (these are not accessible to the detainee while he is in his
cell). Each detainee receives magazines, books, newspapers and similar items. Detainees have
access to natural light and fresh air through open front doors.

                                            Joint Medical Group

The Joint Medical Group at JTF-Guantánamo provides extensive healthcare services to the
detainee population. Medical services are available 24 hours per day, without regard to
disciplinary status or detainees’ cooperation with intelligence gathering and legal processes. The
training curriculum prepares the guard force to recognize medical and dental emergencies and
contact medical personnel for immediate response. Routine medical and dental care is available
as needed, with timing of medical care based upon the severity of the condition. Medical
specialty evaluation and treatment sub-specialists visit Guantánamo on a quarterly or semi-
annual basis and as needed. Specific facilities and services available include the following.

Medical Facilities: A Detainee Hospital, 10 opened on 4 September 2002, is located adjacent to
Camp 4. This facility has 17 inpatient beds (expandable to 30), an operating room, X-ray
capabilities, pharmacy, central sterile supply, dental suite (2 chairs), physical therapy, optometry
(with optical fabrication capability provided as a local resource through the Naval Hospital),
audiology and several patient treatment areas. It serves as the inpatient facility for all detainee
camps. The core medical team consists of five physicians, one physician assistant, two dentists,
17 nurses, and 84 Corpsmen. The detainee hospital has minimum staffing of at least one nurse
and four Corpsmen 24 hours per day. For emergency care, Corpsmen and nurses can respond to
every camp within minutes. Physicians are present at the hospital during normal working hours
and available on call after hours, no more than a few minutes away. There are three ambulances
available (at Camp 6, Camp 7 and at the Detainee Hospital) for emergency transport, and a
recent appendectomy was started within an hour of diagnosis. Physicians are present at the
hospital during normal working hours and available on call, no more than a few minutes away
(after hours). A small medical treatment room, with a Corpsman on duty 24 hours per day, is
located in Camp 5. 11 Camp 6 has a larger medical space with treatment areas, a dental room, and
administrative spaces. 12 Camp 6 medical staff includes a physician, who is available during
normal working hours and on call after hours. There is also at least one nurse and five Corpsmen

10
   See Appendix 12, Figures 12-1 through 12-6.
11
   See Appendix 12, Figure 12-7.
12
   See Appendix 12, Figure 12-8.


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in the Camp 6 medical area 24 hours per day who provide medical support for Camps 5, 6 and
Echo. Camp 7 has a dedicated medical treatment room and dental chair. A physician is on site
during normal working hours and on call after hours. A Corpsman is present in Camp 7 on duty
24 hours per day.

The Naval Hospital on the main base provides support services for care beyond Detainee
Hospital capabilities. It has a Computerized Tomography (CT) Scanner and a cardiac
catheterization laboratory, which requires 48-72 hours to activate for diagnostic procedures due
to importation of appropriate supplies and specialty staff from mainland military medical
facilities.

Routine Care: Medical personnel (usually Hospital Corpsmen) make daily rounds in all camps
to distribute prescribed medications. Detainees may express medical complaints either to
medical personnel making rounds or to the guards. Corpsmen and guards relay detainee medical
complaints either verbally or via the Detainee Information Management System (DIMS). For
minor ailments, Corpsmen may dispense over-the-counter medications to detainees. Triage
nurses review all care and assessments provided by Corpsmen. Detainees may also request
appointments with a physician assistant or physician. These evaluations may occur either in the
detainee’s camp or at the medical facility, depending upon the nature of the complaint. Routine
appointments are available within a range of same-day to two weeks, but average a week or less.

Preventive Services: Detainees receive a full medical assessment upon arrival at Guantánamo.
In addition to medical history, physical evaluation and mental health assessment, the JMG
screens detainees for chronic disease and tests them for hepatitis, HIV and tuberculosis.
Detainees receive tetanus, diphtheria, measles, mumps and rubella (the basic immunization
series) upon arrival, with the provision for additional clinically indicated immunizations in the
future. Detainees have been given a standing offer to receive the influenza immunization
annually, but they have the option to refuse. The JMG reviews detainee medical records and
history on an annual basis; age-appropriate screening services are optional (e.g. Prostate Specific
Antigen, colonoscopy).

Dental Care: Dental services are available at the Detainee Hospital, in the Camp 6 Medical
Facility and at Camp 7. Detainees may request routine dental evaluations and cleanings; the
clinic will respond to acute problems within 24 hours. Dental sub-specialists visit Guantánamo
periodically to provide periodontal and prosthodontics services.

Optometry: The Naval Hospital Optometrist provides routine eye exams for detainees on a
weekly basis. Local fabrication of polycarbonate lenses is available on Guantánamo and permits
detainees to receive eyeglasses within a day of their evaluation. The optometrist also responds to
urgent and emergent eye conditions on an on-call basis. He maintains a listing of detainees with
chronic eye conditions, and provides appropriate follow-up. For example, he provides annual
eye exams to all detainees with diabetes.

Mental Health: Detainees receive a mental health assessment upon arrival at Guantánamo and as
needed, thereafter. The Behavioral Health Unit (BHU), completed in November 2005, has a
capacity of 12 inpatients. Mental health services are available both upon detainee request and by



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consultation. The BHU has a total staff of 17 personnel including a psychiatrist, a psychologist,
behavioral health nurses, psychiatric technicians, with at least one nurse and two psychiatric
technicians present at all times.

Medical Specialty Services: The Naval Hospital has Orthopedic Surgery, General Surgery and
Internal Medicine specialists who can provide consultations for detainee care, but other required
medical specialists travel to Guantánamo. Military medical specialists make periodic visits to
Guantánamo to provide consultation and treatment for detainees and military beneficiaries.
Dermatology, urology and cardiology appointments are available regularly. Prosthetics services
appointments are available periodically along with neurology; radiology; prosthodontics,
gastroenterology; and ear, nose and throat consultants. The hospital will facilitate the travel of
other specialists to Guantánamo as necessary to provide medical care needed by detainees. To
date, one detainee has received an oncology evaluation and chemotherapy treatment for cancer,
and another refused a recommendation for cardiac catheterization. Eight detainees with
amputations have received artificial limbs. Patients with handicaps receive accommodative
medical equipment (walkers, wheelchairs, handicapped toilets, etc.) as needed and ordered by
their physicians.

                                     Joint Intelligence Group

A civilian director, employed by the Defense Intelligence Agency, with an O-6 deputy director,
leads the Joint Intelligence Group (JIG). The JIG assigns personnel into functional branches,
with interrogation being one of the functions, supported by analysts, linguists and information
managers. Interrogators work in the Interrogation Control Element (ICE), led by an ICE Chief
and Deputy ICE Chief, assisted by subordinate Section Chief and Assistant Section Chief.

JTF-Guantánamo schedules interrogations daily, between the hours of 0800 and 2030. All
interrogations are voluntary; approximately one-third of the sessions are at detainees’ request.
Given the length of time that most detainees have spent at Guantánamo, the primary focus of
interrogations is to gather security and force protection information related to the operations of
the detention camps. The current nature of the intelligence mission lends itself to the use of
direct approaches and small incentive items to encourage detainees to volunteer information.




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Findings

This section examines each element of conditions of detention from detainee arrival at
Guantánamo to transfer/repatriation. The analysis includes an assessment of governing
authorities, a review of current procedures, a review of representative concerns expressed by
groups outside the Department of Defense, and a list of recommended actions for the department,
presented in an issue paper format. The specific topic areas include:

Shelter
Hygiene
Clothing and Bedding
Food and Water
Religious Practice
Recreation
Sleep
Detainee Discipline System
Detainee Compliance with Camp Rules and Vetting Criteria
Intellectual Stimulation
Mail
Protection from Violence
Protection from Violence—Use of Force
Protection from Violence—Forced Cell Extractions
Protection from Violence—Shackling
Protection from Sensory Deprivation—Solitary Confinement
Protection from Sensory Deprivation—Human-to-Human Contact
Protection from Humiliation
Health Care Services—Quality of Care and Access
Medical/Dental Confidentiality of Medical Records and Information
Medical Ethics—Medical Treatment for Hunger Strikers
Healthcare Personnel Management—Behavioral Science Consultants (BSC)
Interrogation
Outside Access to Detainees
Attorney Access to Detainee-Clients
Detainees Ordered or Approved For Release
Repatriation/Transfer.




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                                                    Shelter

A. Legal/Policy Authority. Under DoDD 2310.01E, detainees are entitled to “adequate shelter.”
Additional amplifying reference material may be found in GPW (Art. 25), GCC (Art. 85), and
AR 190-8 (6-1), which provide for protection from dampness, adequately heated and lighted
quarters, spacious and well-ventilated, taking into account the climate and the age, sex, and
health of detainees.

B. Detainee/NGO input. Detainees should be afforded maximum access to natural light while
still providing them with safety measures against brightness and direct sunlight, including more
time outside. Detainees should be able to see a clock in order to better gauge their time.
Detainees should be, as much as possible, grouped according to cultural and ethnic backgrounds.
Allow all detainees to live in Camp 4 or a Camp 4-like (collective living) environment. In the
meantime, consider making Camp 6 a medium security facility. Make the windows in the cells
of Camp 5 clear instead of opaque. Prevent extremes of heat and cold in detainee cells. Improve
detainee living areas to make them feel more comfortable.

C. Practice/Implementation. Detainee housing is managed through the operation of nine
different camps (Camps 1, 2, 3, 4, 5, 6, 7, Echo, and Iguana). Each camp has multiple housing
options to enable grouping of detainees by cultural or ethnic backgrounds, and these are always
taken into consideration. All detainees are housed in either individual cells or communal bays
that facilitate security for the safety of both staff and detainees. Every cell is equipped with a
toilet, sink, and mirror, and communal bays offer free access to communal areas with toilets,
sinks, and mirrors. The camps also include a mixture of closed climate-controlled facilities, or
open-air facilities with forced air and fans to provide comfort. The closed climate-controlled
facilities maintain a temperature register between 75-80 degrees Fahrenheit and are always
monitored by the guard force. All spaces provide ample access to daylight with either windows
in individual cells, skylights, and/or open air doors. Recreation areas directly adjoin all detainee
housing units, and provide ample access to fresh air daily. All detainees are allowed a minimum
of four hours outside recreation per day for compliant detainees, and no less than two hours for
non-compliant detainees. All recreation areas have appropriate sun screening to provide shaded
areas. Clocks are also placed in all housing units in the plain view of detainees. The detainee
population does not include any juveniles or females. All facilities have been greatly improved
since detainees first arrived in January 2002 at Camp X-Ray. 13

Camps 1, 2, and 3 are open air modular facilities with steel-mesh single cells that offer access to
sunlight and fresh air throughout the day, as well as showers and recreation spaces directly
outside the end of each block. 14 Unencumbered living space is approximately 25 square feet per
cell; overall cell size is approximately 45 square feet.

Camp 4 offers communal living in barracks-style, air conditioned bays for some of the most
compliant detainees. 15 Detainees live communally in groups no larger than ten, and have 20
hours per day of access to fresh air and outdoor recreation. There is a total of approximately 512

13
   Camp X-Ray in 2002 and in 2008 is depicted in photos attached at Appendix 12, Figures 0-1 and 0-2.
14
   See Appendix 12, Figures 1-1 through 1-9.
15
   See Appendix 12, Figures 2-1 through 2-7.


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square feet of space in each building used for sleeping, with approximately 50 square feet per
detainee.

Camp 5 is a maximum-security facility where detainees are housed in adjacent individual cells
aligned in upper and lower tiers within four separate wings. 16 Detainees are now housed only in
cells with clear windows. Unencumbered living space is approximately 56 square feet per cell;
overall cell size is approximately 75 square feet.

Camp 6 is a climate controlled facility with detainees housed in eight pods – each comprised of
22 adjacent individual cells. A detainee pod can be described as an open, two-story pie-shaped
wing with sky lights, 11 cells on each story with the bottom floor cells opening directly to an
indoor communal table/recreation area, and second floor cells connected by way of a catwalk
and stairway. 17 Renovations are ongoing in this camp to create more communal living
opportunities and provide additional outdoor, fresh air recreation yards. Unencumbered living
space is approximately 54 square feet per cell; overall cell size is approximately 80 square feet.

Camp 7 is a climate-controlled, single-cell facility currently used to house the High-Value
Detainees. The cells in this facility are designed to limit communications between detainees.
However, all detainees are allowed up to 4 hours of paired outdoor, fresh air recreation per day.
Unencumbered living space is approximately 55 square feet per cell; overall cell size is
approximately 86 square feet.

The interior temperature of Camps 5, 6, and 7, respectively, is kept at a comfortable level for
detainees and staff (typically between 75 and 80 degrees Fahrenheit).

Camp Echo is separated into areas that are designated for housing of detainees, and attorney-
detainee/client meetings. Each detainee is housed in a hut-like wooden structure that is separated
into two halves, with one half being a meeting area with a table and chairs, and the other half
being a cell area with a shower, toilet, and sink. 18 Detainees have access to natural light and
fresh air through open front doors. Unencumbered living space is approximately 90 square feet
per cell; overall cell size is approximately 135 square feet.

Camp Iguana is a communal camp with wooden, hut-like living structures, which provide
freedom to move about from different buildings designated for housing, prayer, library, laundry
facilities, shower/bathroom, outdoor recreation, and lounge areas. 19 Detainees also have free
access to satellite television, books, newspapers, magazines, handheld games, puzzles, and art
supplies. Detainees have unfettered access outside their living facilities within the confines of
the camp. There is a total of approximately 250 square feet of space in each building used for
sleeping, with approximately 35 square feet per detainee. All camps, except Camps 1-3, are
equipped with camera monitoring equipment; however, none are used currently to video record,
except on demand in response to specific events.


16
   See Appendix 12, Figures 3-1 through 3-4.
17
   See Appendix 12, Figures 4-1 through 4-5.
18
   See Appendix 12, Figures 5-1 through 5-3.
19
   See Appendix 12, Figures 6-1 through 6-9.


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D. Team Analysis. Approximately sixty percent of the detainee population is housed in
individual cells. All cells in Camps 5, 6, 7 and Echo exceed those typical of medium and
maximum-security detention facilities throughout the United States in terms of standard design
and cell size; however, cells in Camp 2/3 should be modified to expand the unencumbered living
space.

The physical camp design for all detention spaces facilitates personal contact and interaction
between staff and detainees.

Renovations underway in Camp 6 are an initiative that we strongly endorse to improve detainee
quality of life, with conditions that are closer to those in Camp 4. Completion of Camp 6
construction will build upon the success of the Camp 4 model with classrooms and free access to
communal areas and recreation facilities. Engineers are currently transforming four Camp 6
pods by removing barriers to offer open access for detainees to roam freely from their cells, to
indoor communal areas and to outdoor large recreation facilities for up to 20 hours each day.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Expedite improvements in Camp 6 to provide the JDG Commander the maximum
       number of options available to manage the detainee population.

      Continue to manage and maintain current structures as required to provide
       adequate shelter.

      Continue to house detainees in Camp 5 only in cells with clear windows.

      Continue to monitor environment in climate-controlled facilities to ensure
       temperatures remain comfortable.

Recommend:

      Modify an appropriate number of cells in Camp 2/3, in order to provide detainees
       housed there more living space.

      Video record all activities in detention camps.




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                                                             Hygiene

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are entitled
to humane care and treatment. Additional reference material may be found in GPW (Art. 29),
GCC (Art. 85), and AR 190-8 (6-1), which provide for day and night access to sanitary
conveniences that conform to the rules of hygiene and are clean, with water and soap for daily
personal toilette, and showers and baths. They also provide that necessary time should be set
aside for washing and cleaning.

B. Detainee/NGO Input. Frequent and extended shower periods should be allowed; personal
hygiene items should be made readily available. Detainees should be provided tools, within the
limits of safety and security, so they can do their own grooming and trimming. Ensure that
detainees have privacy while using the toilet. Detainees with disabilities need to be given the
proper facilities so as to ensure their own personal hygiene.

C. Practice/Implementation. All detainees are provided unlimited and direct access to potable
water, sinks, and toilet facilities, and every detainee is given an opportunity to shower daily for
10 minutes. 20 Cells are available for housing disabled detainees, and medical staff can provide a
special toilet seat if required. While using toilets, detainees are allowed to shield their lower
bodies for privacy with a thin foam rubber mat, towel, sheet or other issued items. All Camps
provide direct access to running potable water, sinks, mirror, and toilets in cells or unlimited-
access communal areas. Showers are located in cells of Camps Echo and 7, in communal areas
of Camps 4 and Iguana, and at individual shower stalls outside of cells in Camps 1, 2, 3, 5, and 6.
Each detainee is provided with soap, toothpaste, toothbrush, shampoo, towels, and footwear
suitable for showering. 21 These items are considered basic issue items and detainees are never
denied access to them, unless they are considered a self-harm risk or they use such items to
threaten themselves, other detainees or guard staff. In addition, electric trimmers and nail
clippers are stored by the staff, and offered weekly. Barber services are offered monthly. Each
detainee is also provided supplies to clean his own cell or bay.

D. Team Analysis. Camp practices today exceed the standards for providing day and night
access to all basic hygiene requirements. Detainees are never denied access to basic hygiene
items, except as discussed above. In the past, showering was more limited; however, as of this
date, detainees are permitted to shower daily. Input from outside sources was considered and
helpful as detention practices evolved in this area.

E. Findings/Recommendation. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:
    Continue to manage and maintain current facilities to provide all hygienic
      requirements.
    Continue daily access to showers, weekly access to hair trimming, and monthly
      access to a barber.

20
     See Appendix 12, Figures 1-1, 1-9, 2-7, 3-1, 3-4, 4-1, 4-3, 5-2, and 6-2.
21
     See Appendix 12, Figures 7-1, 7-5 through 7-7, 7-9, and 7-11.


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                                               Clothing and Bedding

A. Legal/Policy Authority. Under DoDD 2310.01E, detainees are entitled adequate clothing.
Additional reference material may be found in GPW (Art. 27), GCC (Art. 85, 90), and AR 190-8
(6-1, 6-5), which provide for suitable bedding and sufficient blankets; necessary clothing,
footwear, and changes of underwear; and adequate water and soap for washing personal laundry.

B. Detainee/NGO input. Some criticisms include that staff ensure the right fit of clothing for
detainees, and improve the efficiency and proper distribution of clothing. Provide the means for
detainees to wash their own clothes.

C. Practice/Implementation. All detainees are provided one uniform top and bottom (three
uniforms each in Camp 4), one pair of underwear (three in Camp 4), two pairs of socks, one pair
of exercise shorts, one t-shirt, one pair of deck shoes or basketball shoes, and one pair of rubber
shower shoes. Highly compliant detainees are issued white and tan uniforms, compliant
detainees are issued tan uniforms, and detainees in a disciplinary status are issued orange
uniforms while they are in that status. 22 Sizes of uniforms and other clothing items are provided
in conformance with detainee requests. Extra-large size uniforms are typically the most popular
choice by detainees and are willingly provided by the JDG.

Laundry services for clothing are offered to all detainees weekly; underwear and exercise
clothing may be exchanged upon request. Detainees in Camp Iguana tend to do their own
laundry, with all soap and supplies provided by the JDG. During our team’s review of Camps 5
and 6, we observed guard staff exchanging clothing for detainees and found procedures
consistent with the stated SOP (detainees are provided clean clothes to change into before they
give-up their dirty clothes). Camp 7 guards launder all detainee clothing and bedding on-site
weekly (blankets are laundered monthly), and store additional items for prompt replacement for
those items found unserviceable.

For bedding, all detainees are given a thin foam mat, a thick foam mattress with built-in pillow,
blanket and padded, rip-stop sheet. Recently, an additional pillow was issued to detainees in all
camps, since some detainees did not prefer the pillow built into the foam mattress. Additional
comfort items, such as padded blankets are provided to compliant detainees upon request.
Blankets are exchanged and laundered each month based on schedule for each camp. Special
anti-rip blankets and smocks are provided to those detainees determined by competent medical
authority to be at risk for self-harm. During our team’s review of bedding in Camps 5, 6 and
Echo, we observed occupied cells and found bedding materials to be appropriate and serviceable.

D. Team Analysis. We reviewed the JDG SOP; Discipline Matrix (Appendix 13); [Table 30-3]
Basic Issue and Comfort Items list (Appendix 14), and observed procedures for issuing, care,
replacement, laundering and exchange of detainee clothing and bedding. We saw clothing and
bedding in cells within each camp and observed that issued items were serviceable. Detainees in
a discipline status lose privileges consistent with the standard procedures identified in the
Discipline Matrix (Appendix 13) and Basic Issue and Comfort Items Privileges (Appendix 14).
During routine cell inspections, guards record the contents of each detainee’s cell/bay in the
22
     See Appendix 12, Figures 7-1, 7-5 through 7-9, 7-11, and 7-12.


                                                          21

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Detainee Information Management System (DIMS), and include clothing and bedding in the
report. We observed a detainee in Camp 2 who refused to accept basic and comfort items, but
declined to explain why, when asked. Each exchange of serviceable, laundered clothing and
bedding is recorded in DIMS for each detainee. During our team’s visit, we reviewed all
procedures used to ensure detainees are provided with clothing and bedding material.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to manage the program and enforce the standards already established in
       the SOP for the proper care and handling of detainee clothing and bedding
       material.




                                             22

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                                                  Food and Water

A. Legal/Policy Authority. Under DoDD 2310.01E, detainees are to be provided adequate food
and water. Additional reference material may be found in GPW (Art. 26), GCC (Art. 89), and
AR 190-8 (6-5), which provide for daily food rations sufficient in quality, quantity, and variety
to keep detainees in a good state of health and prevent weight loss or nutritional deficiency.
They also provide that customary diet should be taken into account and sufficient water be made
available.

B. Detainee and NGO input. Past criticisms include claims that detainees should receive
balanced meals according to their customs and cultures and ensure they receive meals in a timely
matter. Serve meals at a hotter temperature and rotate the menu more often.

C. Practice/Implementation. Joint Detention Group SOP provides the implementing authority
for the JDG.

Three hot halal meals per day – with 4500-5000 cal/day – are served to detainees in each camp,
with six menus for detainees to choose from – specifically: regular, high fiber, vegetarian,
vegetarian with fish, bland, and soft food. (Note: halal is an Arabic term used to designate an
object or an action that is permissible to use or engage, according to Islamic law and custom).
Bi-weekly, detainees in each camp have an opportunity to select new meals from the menu. (See
Appendix 15 for full list of meal choices provided to detainees). A typical meal includes meat,
starch (plus bread), vegetable, dessert, fruit, fruit juice or similar drink. 23 The hospital
nutritionist reviews and discusses meal selections with the CJDG, and adjusts diets in cases
where medically warranted. More than 40 individually prepared special diet meals, as prescribed
by physician, are also provided. Meal times, content, and delivery are adjusted during religious
holidays to accommodate fasting. Feast meals are provided bi-weekly in all camps, and include
double portions of meat, starch and vegetable. Additional break-the-fast snacks are offered
during Ramadan.

Adherence to the SOP, coupled with routine preventative medicine inspections ensure that meals
are delivered promptly without spoilage. Our team reviewed the inspection results for 02 Dec
08, 29 Dec 08, and 14 Jan 09, and each inspection revealed a SATISFACTORY rating. 24
However, two of those inspections recorded a small number of meals delivered to detainees in
Camps 5 and Echo that were approximately five degrees under the optimal standard. Detainee
meal consumption is monitored constantly by guard force and medical staff for unsafe and
unhealthy weight loss and to ensure adequate nutrition and hydration.

All detainees have unlimited access to potable water in their cells. In addition, all detainees are
provided bottled water upon request, unless they have been placed in a disciplinary status for
using the bottle as a weapon (e.g., using the bottle to squirt or spray bodily fluids on guard staff
or visitors).



23
     See Appendix 12, Figures 8-1 through 8-5.
24
     Possible outcomes are Satisfactory and Unsatisfactory.


                                                          23

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In Camps 4, and Iguana, meals are taken communally and detainees are permitted to keep
various non-perishable items following the meals. Meals are taken in the cells and recreation
areas in Camps 1, 2/3, 5, 6, 7, and Echo, and also offered in the communal area for detainees in
Camp 6. Detainees are provided a minimum of one hour to consume the meal. In each of these
camps, compliant detainees are permitted to retain three non-perishable items per meal.

In Camp Iguana, the detainees as a group are provided a $100 monthly supplement for snacks
that are purchased by JDG personnel at the Naval Station exchange. Snacks are stored in each
detainee’s personal living area at Camp Iguana.

D. Team Analysis. We observed that hot meals were delivered – upon receipt at the Camp – by
guards to detainees. Detainees were allowed to take meals in recreation areas, living bays and
communal pods, in accordance with the camp schedule. All detainees were offered a meal.
Those detainees who took meals consumed them upon receipt. Meal content matched the stated
SOP for menu choices, with hearty portions. In each cell, we saw the non-perishable items that
detainees retained, including salt, pepper and olive oil. A great deal of care and effort is placed
into meal preparation and delivery by the entire staff.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to manage the program and enforce the standards already established in
       the SOP for the proper preparation and distribution of detainee meals.




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                                                Religious Practice

A. Legal/Policy Authority. Under DoDD 2310.01E, detainees are to be provided the
opportunity for free exercise of their religion, consistent with requirements of detention.
Additional reference material may be found in GPW (Art. 34), GCC (Art. 93), and AR 190-8 (6-
7), which provide for complete latitude in the exercise of religious duties, including attendance at
services, if they comply with the prescribed disciplinary routine. In addition, ministers of
religion who are detainees should be allowed to minister freely to members of the community.

B. Detainee/NGO Input. Use a Muslim Chaplain (when available) to train the guard force on
how to be culturally and religiously sensitive to the detainees, including maintaining silence
during prayer time. Respect religious items and books and provide regular prayer times.
Provide for group prayer at all camps.

C. Practice/Implementation. All detainees are provided one Koran in the language of their
choice, in addition to an Arabic Koran and TafSeer. All detainees are provided prayer beads,
cap, rug, and current prayer schedule. 25 These items are retained by all detainees regardless of
disciplinary status, unless deliberately used for self-harm or as a weapon. Guards and staff have
received specialized cultural and religious sensitivity training. Cultural and religious
considerations are also taken into account when assigning detainees to housing areas. Guards
observe silence during all prayer times.

A monthly prayer schedule is published and call to prayer is sounded five times daily in all
camps. Prayer is led within each camp and block by a detainee-selected prayer leader. In Camps
2, 3, 5, 6, and Echo group prayer is typically conducted by detainees from their individual cells.
When this occurs, the food tray access doors of the prayer leaders are lowered to facilitate call to
prayer on each block/tier. At times when detainees are engaged in group or communal activities
and prayer call sounds, prayer is led by prayer leaders in person. In Camps 4 and Iguana, group
prayer is conducted in communal areas of the camps. At Camp 7, prayer is conducted
individually in their cells. Guard movement and activity is limited to only those actions required
to maintain security. Visual signals are placed on each block/tier signifying quiet time. Each
detainee cell and common area includes an arrow pointing towards Mecca.

The team observed that the Koran was respected at all times. Guards followed applicable
guidance and did not touch the Koran, unless specifically authorized to do so by CJDG. We
observed that the guards also took special precautions to respect the Koran when detainees would
hold it and refuse to put it down before entry of an FCE team.

Due to cultural sensitivities, modified frisk searching procedures are in place that respect the
detainee’s groin area, and guards are not allowed to conduct frisk searches of this area. Guards
are limited to grasping the waistband of detainees’ trousers, and shaking the pants.

D. Team Analysis. All detainees are given wide latitude in the exercise of their religious beliefs
and they are able to retain religious items at all times. Concerns raised in the early years of
detention operations at Guantánamo highlighted the importance of respect for the religious
25
     See Appendix 12, Figures 7-2, 7-5 through 7-9, and 7-12.


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                                           Plaintiffs' MSJ Appx. 2112
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traditions of the detainees. In response, considerable efforts were undertaken to avoid actions
that could be construed as disrespectful. For example, guards are given awareness training and
required to control noise and movement during prayer times. Guards have been disciplined 26 for
interfering with prayer time. A full-time cultural advisor has been employed by the JTF for the
past several years. He provides a robust level of advice to leadership within the JTF, and most
particularly, the JDG. The CJDG recognizes that the SOP does not permit searching of the
Koran or detainee groin areas, which is contrary to standard security procedures in most
detention facility operations, and that it carries a level of risk. However, he has accepted that
risk out of an elevated respect for religious concerns of the detainees.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

        Give detainees in Camp 7 opportunities for group prayer with three or more
         detainees, similar to practices in other camps.

        Continue to allow free exercise of religion to the maximum extent possible, within
         current security restrictions.

        Continue to avoid actions that are disrespectful of detainees.




26
  The team reviewed a sampling of disciplinary records of guards disrupting prayer. Of those, MPI investigated and
found two substantiated. One guard was given a written reprimand, and the other an oral reprimand.


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                                                   Recreation

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees will be
treated humanely and respected as human beings. Additional reference material may be found in
GPW (Art. 38, 98), GCC (Art. 94, 125), and AR 190-8 (6-7), which provide that detainees are
encouraged to participate in intellectual, educational, and recreational pursuits, as well as sports
and games. In addition, all possible facilities and equipment are to be provided for this purpose,
including sufficient space for outdoor exercise and sports. Detainees in a disciplinary status are
to be allowed to exercise and stay in the open air at least two hours daily.

B. Detainee/NGO input. Some criticism include recommendations that detainees be provided
more time to exercise and participate in recreation by providing a variety of sports and indoor
activities, either by themselves or in group. Recommendations include expansion of existing
recreational areas for a wider variety of sports or activities. Many have suggested detainees
should be able to go outside during daylight hours and enjoy fresh air and natural light.

C. Practice/Implementation. The JDG SOP provides implementing instructions for all
recreation procedures. All camps have outdoor recreation facilities for detainees. In all camps,
access to shaded recreation areas is provided for daylight recreation periods. Daylight recreation
is the norm in every camp, but some recreation periods occur after dusk based on detainee
request, daylight hours available, or limitations caused by the availability of recreation areas.

Recreation periods. All compliant detainees are offered a minimum of four hours of outdoor
recreation per day, and up to 20 hours per day (Camps 4 and Iguana). All detainees in a
discipline status are offered a minimum of two hours outdoor recreation daily.

Communal recreation. All camps, except Camp 7, offer communal recreation – the opportunity
for detainees to conduct exercise or social activities in a group of at least four – to as many as 22
detainees – simultaneously. Detainees in Camps 4, 6 and Iguana recreate together while
enclosed in a single, large recreation yard with facilities/equipment to support soccer, basketball,
volleyball, jogging, table tennis, foosball, treadmill and elliptical machines – for up to 20 hours
daily (limited to four hours daily in Camp 4 and Camp 6 large recreation facilities). 27 In Camps
1, 2, 3, 5, and Echo, communal recreation is conducted via groups of two to eight in double-
occupant recreation areas that enable interaction for four to 16 detainees outdoors
simultaneously, depending on the camp. 28 In Camp 7, each detainee is offered four hours
recreation daily; however, there are limited opportunities for communal recreation, as detainees
are limited to a single recreation partner (the same partner each day).

Camp 6 initiatives. A large outdoor recreation area was recently constructed at Camp 6 and
another is under construction. A new classroom with TV and DVD player in Camp 6 offers
movies and more learning opportunities with language classes for detainees. 29

Communal Social Activities. Detainees in Camp 4 and Iguana spend the entire day in a

27
   See Appendix 12, Figures 2-2, 2-4 through 2-6, 2-8, 6-5, 6-7 through 6-9.
28
   See Appendix 12, Figures 1-3, 1-7, 1-8, 3-2, 3-3, 4-2, and 5-3.
29
   See Appendix 12, Figures 4-4 through 4-6.


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communal environment, with access to books, magazines, newspapers, games, and televisions
with DVD players. In the communal pods of Camp 6, which are similar to a common dayroom
equipped with fixed tables and chairs for group meeting, as many as nine compliant detainees are
offered to meet approximately twice weekly in three-hour communal social activities. There,
detainees are offered TV, three newspaper publications, detainee newsletter, books, magazines,
art supplies, board games, handheld electronic games and puzzles. Detainees in Camp 3 are
offered communal periods for viewing TV with DVD players, handheld games and newspapers
for periods up to three hours, on an average of three times per week. All newspapers and
magazines are redacted if necessary for security purposes.

D. Team Analysis. We reviewed all procedures used to ensure detainees are provided with
adequate opportunity for outdoor recreation. Camps 4 and Iguana offer the most expansive
recreation opportunities for detainees, and compliance with camp rules remains highest in these
camps. In Camp 4, detainees violating camp rules and subject to discipline in accordance with
established procedures are typically moved to another camp. In Camp Echo, detainees have
access to recreation facilities for a minimum of four hours daily, and often more, subject to the
availability of recreation facilities. To build upon the success of the Camp 4 model with
classrooms, and free access to communal areas and recreation facilities, engineers are currently
transforming four Camp 6 pods by removing barriers to offer open access for detainees to roam
freely from cell, to indoor communal area, to an outdoor, large recreation facility for 20 hours
each day. The modification will likely influence detainee compliance and entice more detainees
to earn the privilege to enjoy its new benefits. The basic philosophy behind recreation is to
maximize socialization and physical fitness opportunities among detainees for considerable
periods of the day. In almost all cases, detainees are provided much more recreation than the
minimum standard (the only exception is the two-hour limit for non-compliant detainees).
Facilities and equipment are in good condition in all camps. In Camp 7, there are limited
opportunities for communal recreation, as detainees are limited to a single recreation partner (the
same partner each day).

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:
    Accelerate the completion of Camp 6 recreation areas and facilities supporting
      enhancements for socialization.
    Expand recreation options in Camp 7, including allowing for greater communal
      recreation opportunities among detainees (e.g., three or more detainees in
      recreation together, different recreation partners, etc.).
    Continue to resource the Joint Task Force with assigned personnel, money and
      contracts necessary to keep pace with changes to operations and facilities deemed
      valuable in supporting compliant behavior and preparation for detainee transition
      from Guantánamo.
    Continue to manage the program and enforce the standards already established in
      the SOP enabling each detainee a minimum of four hours of recreation daily.




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                                   Plaintiffs' MSJ Appx. 2115
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                                              Sleep

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and sensory deprivation is prohibited. Additional reference material may be
found in GPW (Art. 25), GCC (Art. 85), and AR 190-8 (6-1), which provide for quarters that are
adequately heated and lighted, particularly between dusk and lights out, with suitable bedding
and sufficient blankets.

B. Detainee/NGO Input. Detainees should be allowed to have full sleep without interruption,
noise or any other distractions. Lights in the cells should be turned off or lowered at night.

C. Practice/Implementation. All detainees are permitted an unlimited amount of sleep during
day and night, and lights are dimmed from 2200 until first Morning Prayer call is held.
Detainees are provided sufficient bedding, foam eye mask, and ear plugs for use during sleep
unless they misuse these items in violation of camp rules or are a self harm risk. Guard force and
staff are required to respect quiet hours during the periods that lights are dimmed.

D. Team Analysis. Detainees are provided proper bedding and no restrictions for when they can
sleep.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to provide detainees ability to sleep as desired, and respect quiet hours
       during the period of time that lights are dimmed.




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                                          Detainee Discipline System

A. Legal/Policy Authority. Common Article 3. According to DoDD 2310.01E, detainees are
protected from violence to life and person including threats or violence, rape, assault, bodily
injury and reprisals. The discipline system must be applied without regard to race, color, religion
or faith, sex, birth or wealth, or any other similar criteria. Available reference material includes
GPW (Art. 13, 17, 82-98); GCC (Art 31-33, 100); AR 190-8 (3-6, 3-7, 6-10, 6-11, 6-12), which
require that: camp rules must be posted; a responsible officer may be delegated to investigate and
adjudicate offenses; and disciplinary punishments cannot exceed 30 days, nor may
discontinuance of privileges exceed basic humane treatment requirements.

B. Detainee/NGO Input. Make sure detainees fully understand the rules of the facilities; explain
the penalty for breaking the rules and the rewards for abiding by the rules. Do not use
adjustments to the temperatures in the cells as a means of punishment. Do not allow disciplinary
punishments to affect use of hygiene issued items. Do not exceed 30 consecutive days of
discipline for one or a combination of rule infractions. Any disciplinary measure should be
performed in a legal and humane way abiding by all international humanitarian standards. Avoid
collective punishment.

C. Practice/Implementation. The disciplinary system includes incentives designed to encourage
compliance with camp rules, but its provisions never fall below the threshold of humane
treatment. Camp rules [Appendix 16], which are read to each detainee in his native language and
posted in English and Arabic in every recreation yard 30 ; and the discipline (consequence) matrix
[Appendices 13, 14, and 17] offers a standardized regime of non-discriminatory disciplinary
measures. Disciplinary status is served in individual cells with reduced access to recreation, as
discussed above. The maximum time on disciplinary status is 30 consecutive days. No
detainees in a disciplinary status are permitted to be housed in Camp 4 or Iguana. Disciplinary
infractions are reported by guard chain of command and adjudicated by a discipline official
appointed and responsible directly to CJDG. Detainees are notified of their infractions and the
consequences after the case is adjudicated. A detainee may complain about mistreatment at any
time, to the guard force, the Non-commissioned Officer in Charge, the Assistant Watch
Commander, or the Watch Commander. The guard force is instructed to note a complaint in the
significant activities section of DIMS. All of these complaints are subject, at least, to a
preliminary inquiry, and if indicated, investigated by the JDG staff (refer to Protection Against
Violence, below). Detainees frequently violate camp rules, by assaulting the guard force,
refusing to comply with orders, or by refusing to return from recreation. Indiscipline has been
steadily increasing since November of 2008; whether from frustration about their fate, or as an
attempt to influence public opinion, is unclear. But the empirical data shows that detainee
misconduct is increasing [Appendix 18]. During the weekend of 13-15 February, for example,
over 100 disciplinary reports were received and adjudicated each day.

D. Team Analysis. The disciplinary system is a just and fair system without regard to race,
color, religion or faith, sex, birth or wealth, or any other similar criteria. Corporal and collective
punishments are prohibited and not practiced. Camp rules are published to all detainees.


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     For one example, see Appendix 12, Figure 9-1.


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Disciplinary status is limited to a maximum of 30 consecutive days. 31 Disciplinary measures do
not reduce basic issue comfort items, only additional comfort items and privileges. Cell
temperature manipulation is not an authorized disciplinary measure. No disciplinary measures
exceed the standards laid out in existing law and policy guidance.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

        Continue to manage the program and enforce the standards already established in
         the SOP for the proper administration of discipline.




31
  Currently, there is no policy in place to address serious misconduct, such as aggravated assault. Although
extraterritorial criminal jurisdiction is available for serious assaults, under 18 USC§ 113, policy limitations have
prohibited exercise of that jurisdiction because it requires transfer of the detainee to the United States to stand trial.


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                   Detainee Compliance with Camp Rules and Vetting Criteria

A. Legal/Policy Authority. Common Article 3. According to DoDD 2310.01E, detainees will
be treated humanely and respected as human beings. Detainee “compliance criteria” are to be
applied without regard to race, color, religion or faith, sex, birth or wealth, or any other similar
criteria. Available reference material includes: GPW (Art. 14, 16, 22, 25, 82-90), GCC (Art. 27,
33, 85), and AR 190-8 (3-3, 3-7, 6-1, 6-10, 6-11, 6-12), which provide: that communal living is
the primary standard, but security concerns and disciplinary status may regulate the living
conditions; disciplinary punishments cannot exceed 30 days (followed by three days off
disciplinary status), nor may discontinuance of privileges fall below the threshold required for
basic humane treatment; corporal and collective punishments are not authorized.

B. Detainee/NGO Input. Increase opportunities for communal living and movement to Camp 4,
or its equivalent. Movement of detainees should take into account cultural, linguistic, or
religious differences. Do not move detainees based on cooperation with interrogators.

C. Practice/Implementation. The JDG SOP compliance and vetting criteria are designed to
incentivize compliance with camp rules, with a gradual increase of communal living
arrangements being made available to compliant detainees.

The JDG convenes a board at least quarterly to review detainee conduct and status in the camps
and determine whether detainees can be moved to camps with more communal living
opportunities. Board information packets include a list of recent reports, disciplinary infractions,
security risk, and over-all compliance with camp rules. Compliance with camp rules is the over-
riding basis for deciding in which camp detainees will live. Intelligence gathering considerations
are not a motive for any camp assignment. The vetting board that team members attended
appropriately weighed the criteria in the SOP, in a non-discriminatory fashion. The JDG
Commander’s intent was clearly to move as many detainees to communal living conditions as
possible, consistent with the safety of the detainees and the guard force.

Detainees are also reassigned to camps and cells within camps for various reasons. These
include, but are not limited to, detainee behavior, detainee eligibility for increased privileges
based on compliance, improvement of pod/cellblock dynamics, detainee language or ethnic
background, force protection concerns, and detainee medical limitations. The JDG commander,
using the criteria discussed above, may also order cell or internal camp changes on the
recommendation of the camp commanders and elements of the JDG Staff. Where possible, these
moves are discussed at the morning staff meeting, where input is provided by all board members
discussed above. The team observed this process at several morning updates and confirmed the
movement/vetting process in camp visits over two weeks.

D. Team Analysis. The compliance/vetting system is a just and fair system without regard to
race, color, religion or faith, sex, birth or wealth, or any other similar criteria. The camp
leadership is making considerable effort to move detainees who are compliant into a more
communal setting. The current compliance and vetting system is effective, comprehensive, and
fair, taking into account cultural, linguistic, and religious differences and balancing security
concerns within the camp. Although in the past, the impact on intelligence collection was a



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consideration in camp assignments, cooperation with interrogators is no longer a factor in the
movement of detainees. However, intelligence input to the decision-making process is essential
to maintain camp security. The JDG is in compliance with all legal authorities and available
guidance.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Properly resource the efforts of the JDG Commander to enhance conditions of
       detention, especially all socialization initiatives in Camp 6.

      Continue to manage the program and enforce the standards already established in
       the SOP for the proper vetting of compliant detainees.

Recommend:

      Conduct regular vetting, within reasonable security management practices, so that
       qualified detainees are expeditiously moved to communal living conditions.




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                                            Intellectual Stimulation

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and respected as human beings. Additional reference material may be found in
GPW (Art. 38), GCC (Art. 94), and AR 190-8 (6-7), which encourage detainees to participate in
intellectual and educational pursuits.

B. Detainee/NGO Input. Encourage the detainees to grow intellectually by providing them
educational programs suitable to their age, language and educational level. Teach the illiterate
how to read and encourage learning several languages, such as English, Pashtu, and Arabic.
Train them in skills or trades to enable them to better reintegrate into their society. Allow
detainees to stimulate their minds through reading, distance learning or watching TV and to keep
reading materials and other media in their cells.

C. Practice/Implementation. The JDG has provided programs for intellectual stimulation to
detainees that include: access to library materials, movie program, access to newspapers
(redacted for security purposes), board games, handheld games, puzzles, playing cards, art
classes, reading and literacy classes (native language and second language), television and radio
news, sports and entertainment programs (native languages), and family phone calls. Note,
detainees in Camp 7 are not authorized telephone calls; all other detainees are.

A detainee library provides all detainees with regular access to more than 13,000 books, 900
magazines, and 300 DVDs – all of which span 18 native languages of the population. In
addition, access to two Arabic newspapers and the USA Today is provided (certain articles are
redacted for security reasons). 32 Library staff distributes books weekly to detainees in all camps,
and all detainees are permitted to maintain at least three books and one magazine at a time.
Compliant detainees in Camps 1, 2, 3, 5, 6 and 7 are allowed four books and two magazines at a
time, and Camps Echo, Iguana and 4 are allowed five books, three magazines and one personal
DVD at a time.

Compliant detainees (except those in Camp 7) are also afforded opportunities to participate in
Literacy, Humanities, and Art programs. The Detainee Literacy Program consists of classes in
Arabic or Pashtu at the beginner, intermediate, and advanced level curriculum. The Humanities
Program consists of classes Arabic or English. The Art Program consists of classes to learn and
enhance art skills.

D. Team Analysis. Detainees at all levels of security are provided opportunity for intellectual
stimuli through access to books, magazines, newspapers, library services, television, and DVDs.
Compliant detainees are also provided access to a variety of educational programs.




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     See Appendix 12, Figures 10-1 through 10-10.


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E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to provide the current level of programs.

Recommend:

      Expand program content for intellectual stimulation, and provide for wider
       detainee access, subject to legitimate security concerns.




                                            35

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                                               Mail

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and respected as human beings. The ICRC may provide “services.”
Additional reference material may be found in GPW (Art. 71, 76, 123), GCC (Art. 107, 112,
137), and AR 190-8 (6-8), which allows detainees to send and receive letters, cards, and
telegrams; censoring is to be done as soon as possible; and Red Cross correspondence will be
facilitated.

B. Detainee/NGO input. There are recommendations that the JTF create a more expedient
method to screen detainee mail so that it may be delivered more quickly to the detainees. Some
have also recommended the staff explain to the detainee why the detainee’s mail was censored so
future correspondence would not be censored again, and have recommended the JTF no longer
censor mail. Some commentators recommend that detainees be allowed to send photographs to
family.

C. Practice/Implementation. Incoming mail for detainees includes three categories: ordinary
mail, processed through a designated Washington, D.C. postal address and delivered to and from
Naval Station Guantánamo, Guantánamo Bay; International Committee of the Red Cross mail,
written by the detainee in presence of ICRC representative and delivered by ICRC members, or
Red Cross Messages written by outside sources and delivered by ICRC to detainees; legal mail,
sent from lawyers or courts to and from the detainee.

Outgoing Mail. Trained mail clerks collect detainee outgoing mail twice weekly in each camp
(dates vary for each camp). Detainees in compliant status are authorized to write as many letters
and postcards they desire, using stationary and pens provided by the staff. According to
procedures, guards do not otherwise handle detainee mail, unless conducting an authorized
search or inspection of a detainee’s cell. Detainees in a discipline status are also provided pens
and stationery with which to write letters, but are limited to only one hour daily to write mail, in
each camp.

ICRC Mail. During periodic ICRC visits to Guantánamo Bay, ICRC representatives meet with
detainees and collect any outgoing Red Cross Messages (RCM) from the detainee. These
representatives consolidate ICRC mail daily and provide to members of the Joint Detention
Group staff in the Detainee Mail Processing Center (DMPC) for screening. At the DMPC, the
staff rapidly screens the correspondence for security and force protection violations. Any RCM
that includes violations of force protection or security rules will be redacted by the DMPC and
will be returned to the ICRC with redactions to provide to the detainee.

Cleared Mail. All detainee ordinary mail – both incoming and outgoing – is screened by
designated members of the JTF-Guantánamo staff in the Detainee Mail Processing Center
(DMPC) for security and force protection violations. Upon review, the detainee receives the
inbound correspondence with redactions as appropriate. Correspondence that violates force
protection rules is redacted by the JDG staff and distributed promptly to detainees. Properly
cleared outgoing detainee letters and postcards are mailed to the APO by members of the DMPC.
Detainees are not authorized to ship or receive boxes or containers.



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Legal Mail. There is no limit on the number of letters a detainee may write to his lawyer, and no
limit to the amount of legal mail the detainee may keep in his cell. Detainees who are in
discipline status are limited to one hour daily to review and write legal correspondence, but may
request an extension (CJDG retains authority to grant an extension). In each camp, additional
storage bins are provided to detainees who choose to store mail outside the cell, in designated
spaces. The guard force may search envelopes used to store legal mail—for contraband—but are
prohibited from reading detainee legal mail. Outbound legal mail is picked-up from detainees by
the guard force and mailed to the DoD Privilege Team at the designated secure location, for
delivery to detainees’ attorneys. In-bound legal mail is sent by the DoD Privilege Team to the
JTF-Guantánamo Staff Judge Advocate (SJA). The SJA’s office delivers the inbound legal mail
to the intended detainee. At all times in the process, the attorney-client privilege is protected.

D. Team Analysis. We reviewed the Joint Detention Group SOP and observed procedures for
handling, distributing and storing detainee mail in all JTF camps. We interviewed the JDG and
the SJA, to include the members responsible for processing detainee mail, observed detainee
cells and designated storage areas used to secure each detainee’s mail, and observed the
distribution of mail to and from detainees. Additionally, our team reviewed seven consecutive
JDG weekly reports used to track consolidated incoming and outgoing mail for detainees during
the period 5 December 2008 to 16 January 2009 and recorded an average of 17 days to redact,
distribute and release detainee mail. Yet, according to staff records of detainee mail delivered
during a one-week period in July 2008, review and redactions averaged approximately 60 days,
which slowed delivery. We interviewed DMPC personnel and confirmed the report contents.
Since August 2008, the mail review process has indicated shorter time periods to clear and
deliver detainee mail. Additionally, new procedures have been established to enable the ICRC to
take photographs of each willing detainee and provide him with five copies so detainees may
send photos to family and friends. Moreover, detainees are allowed to post up to five
photographs in their cells, and store all mail and correspondence in envelopes and bins provided
by the guards. A review of Camp 7 mail indicates it takes a longer time to process and deliver
mail than in other camps due to, inter alia, the lack of dedicated resources, such as Bahasa and
Swahili linguists.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Recommend:

      Hire Bahasa and Swahili linguists to assist with mail process.

      Add more properly trained staff and qualified translators to the Detainee Mail
       Processing Center (DMPC) for reviewing and redacting detainee mail, to further
       expedite its delivery.




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                                            Protection from Violence

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
protected from violence to life and person, including threats of violence, rape, assault, bodily
injury, and reprisals. Additional reference material may be found in GPW (Art. 13, 17, 87),
GCC (Art. 31-33, 100), DoDD 5210.56, Use of Force, the UCMJ (Art. 93, 128), AR 190-8 (1-5,
6-11), and FM 3-19.40 (5-52), which provide that no person will use physical force against a
detainee except to defend themselves, prevent an escape, prevent injury to other persons or
property, quell a disturbance, move an unruly detainee, or as otherwise authorized in AR 190-14
(Use of Force). No corporal punishment is permitted.

B. Detainee/NGO Input. Whenever possible, look for the means to ease the use of restrictive
security measures to ensure more humane treatment. Take disciplinary action against personnel
mistreating detainees.

C. Practice/Implementation. The guard force has been trained on humane treatment standards.
In the face of severe provocation, including constant verbal assaults and physical assaults with
bodily fluids, including human waste, the guard force acts in a professional manner and protects
the detainees from all forms of physical abuse.

The compliance Review Team inspected records of internal investigations of allegations
regarding the improper use of force. The allegations were reported by detainees, attorneys,
outside organizations, and members of the guard force and investigated by the command, with
the assistance of the JDG Military Police Investigators (MPI). These allegations included
slamming the food tray door, excessive use of force during FCEs or other movements of
detainees, restraints being placed on too tightly, inappropriate use of pepper spray, and threats.
Of allegations of excessive use of force investigated, only a handful were substantiated, and of
these the vast majority were for minor violations of the SOP, including inappropriate use of
pepper spray and slamming closed the food tray door. 33

D. Team Analysis. Guards clearly understand their responsibility for humane treatment, as well
as their obligation to refrain from the use of excessive force. Allegations of misconduct on the
part of the guard force are infrequent and isolated. The actions of the guard force far exceed
standards. Any allegations of abuse or mistreatment are investigated, documented, and
appropriate action taken, if such allegations of abuse are substantiated.




33
   For example, three individuals were counseled and given additional training, while one sergeant was relieved
from duty for a minor SOP violation. The guard who was counseled for inappropriate use of OC pepper spray had
already been assaulted twice that day and was anticipating a third assault, when he preemptively used OC on the
detainee.



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E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to train and emphasize humane treatment, investigate all allegations, and
       take appropriate action as warranted.




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                                 Protection from Violence – Use of Force

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
protected from violence to life and person, including threats of violence, rape, assault, bodily
injury, and reprisals. Additional reference material may be found in GPW (Art. 13, 17, 87),
GCC (Art. 31-33, 100), DoDD 5210.56, Use of Force, the UCMJ (Art. 93, 128), AR 190-8 (1-5,
6-11), and FM 3-19.40 (5-52), which provide that no person will use physical force against a
detainee except to defend themselves, prevent an escape, prevent injury to other persons or
property, quell a disturbance, move an unruly detainee, or as otherwise authorized in AR 190-14
(Use of Force). No corporal punishment is permitted.

B. Detainee/NGO Input. Whenever possible, look for the means to ease the use of restrictive
security measures to ensure more humane treatment. Investigate and punish for excessive use of
force.

C. Practice/Implementation. Guard force personnel and staff are properly trained to use the
minimum amount of force necessary at all times. Security measures are adjusted and employed
commensurate with the security risk. All personnel interviewed knew how to report allegations
of abuse up their chain of command and all felt compelled and willing to report any allegation or
suspicion of abuse. There is an active “anonymous” abuse telephone hot line listed in the SOP.
It was responsive when tested by our team; however, we learned that no complaints have ever
been called into the hotline. Complaints of excessive force were well documented and
investigated. Most of these claims were reported by habeas or military commission attorneys, or
the detainees themselves. The team traced several allegations of excessive force, from initial
report to final resolution. The JDG Deputy Commander conducts an initial credibility review, or
Rule of Court Martial 303 “Commander’s Inquiry,” based on the video tapes of the FCE, or
movement, and the medical report available in the Detainee Information Management System
(DIMS). If there is a credible allegation or injury to a detainee, the Military Police Investigators
(MPI) open a case. Of the MPI cases reviewed, none were substantiated for excessive force by
the guard force. Several guards were disciplined for violations of the SOP, however, including
shutting the food service door too abruptly, or use of Oleoresin Capiscum (OC) pepper spray
inappropriately. Administrative sanctions imposed on the guards, including Non-Judicial
Punishment, were appropriate and measured, in relation to the offenses noted. 34

D. Team Analysis. All detainees are well protected from violence, and current practices are
consistent with legal authority cited above. The JDG SOP and use of force tactics, techniques,
and procedures (TTPs) were reviewed and found to be in compliance with governing regulations.
The JDG force is professional, well trained, knowledgeable, and conscious of their responsibility
to treat the detainees in a humane manner. There is a consistent effort to perform directly in
accordance with the published SOP. Every member of the JTF-Guantánamo team interviewed
was aware of his or her responsibilities to protect the detainees from abuse and mistreatment. In
a review of relevant records, it was evident that leadership took allegations of staff misconduct

34
  Of the MPI cases reviewed, the majority were allegations of excessive use of force. Of claims of excessive use of
force in FCEs or shackling, discussed below, none were substantiated. Of the other claims, only a handful were
substantiated for minor violations; guard force personnel received administrative punishment or non-judicial
punishment.


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seriously and took appropriate action to ensure that even the appearance of impropriety was
addressed. There were no incidents of excessive force observed.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to train and supervise the guard force in proper uses of force, investigate
       all allegations, and take appropriate action as warranted.




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                           Protection from Violence—Forced Cell Extractions

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
protected from violence to life and person, including threats of violence, rape, assault, bodily
injury, and reprisals. Additional reference material may be found in GPW (Art. 13, 17, 87),
GCC (Art. 31-33, 100), DoDD 5210.56, Use of Force, the UCMJ (Art. 93, 128), AR 190-8 (1-5,
6-11), and FM 3-19.40 (5-52), which provide that no person will use physical force against a
detainee except to defend themselves, prevent an escape, prevent injury to other persons or
property, quell a disturbance, move an unruly detainee, or as otherwise authorized in AR 190-14
(Use of Force). No corporal punishment in permitted.

B. Detainee/NGO Input. Commentators have expressed concern about unprofessional behavior
on the part of FCE team, including the use of excessive force.

C. Practice/Implementation. Similar to procedures used in detention facilities throughout the
United States, FCE is a level of force authorized by CJDG in response to certain acts of non-
compliance and/or emergency situations that cannot be resolved with lesser levels of force.
Before an FCE is ordered, every effort is made to resolve the matter without entering the cell or
using force (e.g., using linguists to convince the detainee to comply with direction). The FCE
Team is not deployed as a punishment or for interrogation purposes. All FCE Team members
use the minimum amount of force necessary to accomplish the extraction. When it is believed
the detainee is in the process of committing self harm or there are signs of a potential self harm
(no visual sight of the detainee/covered window), then an immediate response force is deployed.
Non-emergent FCEs are not conducted during prayer call or within 30 minutes after call to
prayer unless specifically authorized by the CJDG. The camp OIC briefs the FCE Team prior to
each FCE: “When conducting the FCE, your primary focus is safety and security. Use the
minimum amount of force necessary.” Prior to entering the cell, the FCE team directs the
detainee to lie down and not move. In the vast majority of cases, the detainee follows the
directions and the FCE proceeds without incident. The standard FCE team will include five
trained security force personnel, a medical staff member, and a videographer. All FCEs are
videotaped from the team brief until detainee is moved and secured. A Medical Corpsman is on
standby during FCEs with an Emergency Response Kit to assess and provide care to the detainee
and/or guard force. The Corpsman does not participate in the FCE. While the guard force wears
protective gear and clothing to protect against a combative detainee, most FCEs are non-
confrontational and accomplished with little, if any, force. The guard force is also trained and
instructed on modified FCE procedures to use if a detainee is less than 85% of his ideal body
weight or has another medical condition that requires FCE procedure modification.

D. Team Analysis. The team observed FCE actions and reviewed tapes of FCEs conducted
during a period of increased detainee resistance to authority. 35 All guards were observed using

35
  For example, the team received a complaint from a detainee that he had been severely beaten during an FCE six
weeks ago. The JDG provided a video tape of the FCE, which showed no evidence of excessive force. On the
contrary, the detainee had assaulted the guard force, leaping across the room to attack the guards when they placed
him back in his cell. The FCE team subdued the detainee again with the minimum amount of force necessary.
Investigation into his medical status revealed no broken bones, injuries to the thigh, or dislocated fingers (as he
claimed). And allegations associated with FCE efforts have been repeatedly refuted with comprehensive video


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the minimum amount of force necessary, and used caution to prevent harm to the detainee within
required levels of safety and security.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

       Continue to train and supervise the guard force in proper uses of force, investigate
        all allegations, and take appropriate action as warranted.




taping of the events. Of 20 FCE/excessive use of force claims since the beginning of 2007, none has been
substantiated.


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                                    Protection from Violence—Shackling

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
protected from violence to life and person, including threats of violence, rape, assault, bodily
injury, and reprisals. Additional reference material may be found in GPW (Art. 13, 17, 87),
GCC (Art. 31-33, 100), DoDD 5210.56, Use of Force, the UCMJ (Art. 93, 128), AR 190-8 (1-5,
6-11), and FM 3-19.40 (5-52), which provide that no person will use physical force against a
detainee except to defend themselves, prevent an escape, prevent injury to other persons or
property, quell a disturbance, move an unruly detainee, or as otherwise authorized in AR 190-14
(Use of Force). No corporal punishment is permitted.

B. Detainee/NGO Input. The use of shackles should be minimized and used only when
necessary; in such cases they should not be placed tightly on bare skin. Minimize the use of
shackles when transporting a detainee to and from the hospital.

C. Practice/Implementation. Detainees are unrestrained when they are in their cells, communal
living bays, and recreation areas. Detainees are restrained when outside such areas, and only for
safety and security purposes, and never for discipline. All detainees are routinely restrained with
hand restraints when removed from their cells or bays for movement within the camp. Leg
restraints will be added if security concerns warrant. Except for detainees at Camp Iguana, leg
restraints will be applied if being moved outside of the camp. The primary means of leg restraint
is by use of soft leather restraints with padded fleece lining; however, non-padded leg restraints
will be used for FCEs. Detainees are restrained in classrooms, TV/movie rooms, interview
rooms, and Camp 6 communal recreation bay areas by use of soft leg restraints through an eye
bolt or table leg. This is for the protection of staff members including instructors present for
such activities. All guards are trained in the proper procedures for applying restraints to ensure
security and prevent injury to detainees. Hospital transports will follow the same restraint
procedures, but may be modified if there is a threat of injury or harm to the detainee. It is
noteworthy that in the past, detainees have become combative during medical procedures
assaulting staff. Supervisors inspect restraints after guards apply them. 36

D. Team Analysis. The CJDG maintains responsibility for the safety and security of all visitors,
staff and detainees. The use of restraints is strictly limited to reasons of safety and security. The
JDG uses restraint equipment that provides the required level of security, but also takes into
consideration detainee comfort. The JDG considered outside input in making its decision to use
soft leg restraints.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:
    Continue to train and supervise the guard force in the proper use of restraints.
    Continue to seek ways to satisfy security requirements but also take into account
      humane treatment of detainees.

36
  Of several allegations of excessive use of force with regard to shackling that the team looked at, none was found
to be substantiated by appropriate investigations conducted by the JDG.


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                    Protection from Sensory Deprivation—Solitary Confinement

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and respected as human beings. Sensory deprivation is not authorized.
Additional reference material may be found in GPW (Art. 13, 17, 21, 22), GCC (Art. 27. 30-33,
84), and AR 190-8 (1-5, 6-1), which provides for individual or collective accommodations; and,
where possible, to group detainees by nationality, language, or custom. Except for disciplinary
or penal sanctions, detainees may not be held in “close confinement.”

B. Detainee/NGO Input. Keep solitary confinement to a minimum. Solitary confinement must
only be used as a deterrent against bad behavior and nothing else. Limit the amount of time in
solitary confinement. The mental health of detainees in solitary confinement should be checked
regularly by physicians. Stop holding detainees in Camps 5 and 6 in solitary confinement.

C. Practice/Implementation. Detainees in Guantánamo are never placed in solitary confinement
or isolation. All detention spaces and cells have been built to support a program that enhances
the safety and security of both detainees and staff members alike. All detention cells, except in
Camp 7, permit easy communication and interaction with other detainees in adjoining cells. In
addition, all detainees are allowed times outside of their cells daily for communal recreation with
other detainees in open air adjoining recreation spaces. Compliant detainees are offered no less
than four hours recreation daily, and even noncompliant detainees in a discipline status are
offered two hours recreation daily. Discipline is administered through a process of reduced
levels of privileges, and not by use of isolation or solitary confinement. Detainees in Camp 7 are
housed in cells that do not permit communication with adjacent cells. Detainees in Camp 7 also
do not have the same level of socialization as detainees in other camps in Guantánamo. 37 To
mitigate the potential adverse effects of less socialization, Camp 7 detainees are offered the
opportunity to socialize daily through four hours of recreation, and weekly through two hours of
socialization management. This is a program that seeks to maintain detainees’ mental well-being
through intellectual stimulation.

D. Team Analysis. Solitary confinement is normally defined as confinement of a detainee in
isolation from other detainees, and is not a procedure authorized for or applied to any detainees.
Contrary to many criticisms, the facility designs of Camps 5 and 6 exceed those typical of
medium and maximum-security detention facilities throughout the United States in terms of
design, cell configuration, cell space, and ease of communications between cells. It is worth
noting that JTF-Guantánamo handles detainees who are a threat to themselves, other detainees,
or staff in the same way that detention facilities across the United States do so, through the use of
single cells in maximum-security facilities. In fact, these cells, and many of the practices of JTF-
Guantánamo in its maximum-security facilities, are utilized to mitigate threats posed by
detainees to themselves, other detainees, and staff. JTF-Guantánamo has medium security
facilities (Camp 4 and soon certain areas of Camp 6) available to detainees who follow camp
rules and refrain from acts that could threaten themselves, other detainees, and staff. As
described elsewhere in the report, JTF-Guantánamo has a vetting program to move detainees
within and between camps, depending upon their behavior and threat level. Detainees are well

37
  Commander, USSOUTHCOM has consistently sought to maximize socialization and intellectual stimulation
during the time detainees have been held in Camp 7.


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aware of the requirements necessary to move into medium-security facilities, principally Camp
4, and the consequences of non-compliance (e.g., remaining in Camps 5 or 6, or movement from
Camp 4 into Camps 5 or 6). Use of single cells in Guantánamo is solely undertaken for purposes
of maintaining good order within the detention facilities and is not used as a form of punishment.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Increase detainee-to-detainee contact in Camp 7, including the ability for detainees
       to communicate with each other from within their cells.

Recommend:

      Maximize interaction between detainees, communal living and recreation
       interaction, subject to security concerns.

      Regularly conduct vetting, and ensure that qualified detainees are moved to
       communal living conditions subject to reasonable security concerns.




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                     Protection from Sensory Deprivation—Human-to-Human Contact

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and respected as human beings. Sensory deprivation is not authorized.
Additional reference material may be found in GPW (Art. 13, 17, 21, 22), GCC (Art. 27. 30-33,
84), and AR 190-8 (1-5, 6-1), which provides for individual or collective accommodations; and,
where possible, to group detainees by nationality, language, or custom. Except for disciplinary
or penal sanctions, detainees may not be held in “close confinement.”

B. Detainee/NGO Input. Cease using sensory deprivation methods, such as goggles, during
movements of detainees between camps or any other areas. Detainees should be allowed phone
calls, video-teleconferences, and visits from family members. Immediate family members that
are detainees should be allowed to visit or be housed together. Ensure proper translation of all
information. Expand access to outside news (in several relevant languages) with little or no
censorship.

C. Practice/Implementation. Sensory deprivation is defined in FM 2.22-3 as an arranged
situation causing significant psychological distress due to a prolonged absence, or significant
reduction, of the usual external stimuli and perceptual opportunities. Sensory deprivation is
prohibited. The use of goggling and earmuffs for security purposes is not prohibited in DoD
policy or directives. FM 3-19.40 specifically contemplates the use of such devices for security
purposes.

During security transports of detainees outside of their respective camps, it is necessary to
temporarily apply shielding devices for security purposes only. Blackened goggles and ear
muffs are only placed on detainees for transports outside of their respective camps. These
devices are immediately removed upon arrival to the point of destination.

For all detainees, except those in Camp 7, telephone calls are continually offered on a rotational
basis through the population, and all detainees are offered at least one call quarterly, and more
frequently if logistically possible. 38 Additionally, telephone calls can be approved for
humanitarian purposes upon request.

Camps 1-6, Echo and Iguana offer ample human-to-human contact daily. Detainees are housed
within either individual adjoining cells or communal bays, and are allowed to see and speak in
conversational tone with neighboring detainees in cells/bays, and while at recreation periods.
Most of the detainees are offered recreation for a minimum of four hours daily, and detainees in
a discipline status are offered at least two hours of recreation daily with other detainees in either
adjoining or shared recreation areas. In addition, the guard force maintains a minimum of 3-
minute checks on all detainees, and routine medical checks are conducted daily.

Camp 7 consists of single cells that do not allow for communication between cells. However,
detainees there are allowed to recreate in adjacent, but separated open-air recreation spaces for at
least four hours daily with a recreation partner. These detainees are also offered special
socialization management opportunities once per week for two hours.
38
     For a photo of a telephone room, see Appendix 12, Figure 11-1.


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D. Team Analysis. The JDG recognizes the importance of human-to-human contact and has
taken steps to maximize such contact, consistent with security considerations within the various
camps. Throughout the detention facilities, except in Camp 7, detainees are allowed to interact
and communicate with detainees in neighboring bay/cells without restrictions, and compliant
detainees are allowed to recreate in the presence of other detainees for at least four hours per
day; even the least compliant are offered two hours of recreation per day with neighboring
detainees. In addition, throughout all camps the guards continually observe and interact with all
detainees, as required to insure safety and security of detainees.

Camp 7 cells limit human-to-human contact, but detainees are given opportunity to socialize
daily through four hours of recreation, and weekly for two hours for socialization management.
This is a program that seeks to maintain detainees’ mental well-being through intellectual
stimulation.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Increase detainee-to-detainee contact in Camp 7, including the ability for detainees
       to communicate with each other from within their cells.

      Continue to allow maximum interaction between detainees, and maximize
       communal living and recreation interaction within reasonable security concerns.

Recommend:

      Seek ways to provide more frequent telephone calls.

      Approve and implement family visits.

      Approve and implement video teleconferencing with families.




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                                          Protection from Humiliation

A. Legal/Policy Authority. Common Article 3. According to DoDD 2310.01E, detainees will
be treated humanely and respected as human beings. It prohibits “outrages upon personal
dignity, in particular humiliating and degrading treatment,” forced prostitution, rape, indecent
assault, and subjecting detainees to public curiosity and other inhumane treatment. Additional
reference material includes: GPW (Art. 13, 14, 17); GCC (Art 27); AR 190-8 (1-5), which
protect detainees against insults or public curiosity and entitles them, in all circumstances, to
respect for their persons and their honor.

B. Detainee/NGO Input. Teach personnel the safe and humane way to treat detainees and take
disciplinary action against personnel mistreating detainees. Investigate and punish personnel
who humiliate detainees.

C. Practice/Implementation. JDG SOPs emphasize respect for the person. Search for and
seizure of contraband take a graduated approach: guards use a detainee “pat-down” search first,
followed by an electronic wand or “Rapiscan” system to search private areas; if those means are
not available or sufficient, guards conduct a modified strip search, respecting detainee privacy;
complete strip searches are a last resort, only authorized by CJDG. 39 Female guards are not
authorized in areas of the camps that would provide them a view of detainees showering; female
guards are not permitted to be present when strip searches occur, nor are they authorized to
operate “Rapiscan” systems. To minimize public exposure, media are restricted from taking
identifying photos of detainees.

The team conducted spot-checks of guard behavior and analyzed the MPI log of incidents
looking for allegations of “humiliating and degrading” conduct. Our review revealed
substantiated violations of the SOPs (like calling the detainees names, making obscene gestures,
or conducting a search improperly), in which cases guards were awarded Non-Judicial
Punishment (NJP) or administrative sanctions for their conduct. 40 The team confirmed that
guard mount training 41 and other sustainment training contained discussion of the humane
treatment standards discussed above.

D. Team Analysis. JDG SOPs and training emphasize respect for the person. Any allegations
of abuse or mistreatment are appropriately investigated and documented, and appropriate action
is taken. While there are occasional minor violations of the SOP against humiliating treatment of
any kind, the camp leadership properly supervises the guard force, investigates allegations of
mistreatment, and appropriately sanctions any misconduct identified and substantiated.
Complaints of this nature from the external community have declined over time.




39
   Several guards interviewed did not recall ever using full strip search, even with the most uncooperative detainees.
40
   Of 20 allegations obscene gestures, derogatory comments, or inappropriate conduct with detainees investigated
that we looked at, 14 allegations of comments or gestures were substantiated. Five received NJP, four received a
reprimand, and five received a verbal reprimand, according to staff disciplinary records.
41
   Guard mount training is conducted adjacent to each camp, prior to each shift, for up to an hour.


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E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to train and enforce the standards already established in the SOP for the
       proper conduct of the guard force.




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                            Healthcare Services—Quality of Care and Access

A. Legal /Policy Authority. Common Article 3. Governing authorities for provision of medical
care to detainees include DoDD 2310.01E and DoDI 2310.08E. The former requires that
“adequate medical treatment” be provided to all detainees. The latter charges health care
personnel with protecting the detainees’ “physical and mental health and provid[ing] appropriate
treatment for disease;” health care providers may only participate in procedures necessary for the
“protection of the physical or mental health or the safety of the detainee.” Additional reference
material includes GWS (Art. 12), GPW (Art. 30, 31), GCC (Art. 91, 92) AR 190-8 (3-4, 6-6) and
FM 3-19.40, which provide for an adequate infirmary, protection from infectious diseases,
monitoring of the detainees’ health and weight, non-discriminatory treatment; and the provision
that only urgent medical reasons will authorize priority in the order of treatment to be
administered.

B. Detainee/NGO Input. Ensure that only medical personnel, not interrogators or guard
personnel, are involved in decisions involving the medical care of detainees; have facilities well
equipped and supplied; explain to detainees that medical care is not tied to cooperation in
interrogations, whether they are hunger striking, or whether they are on disciplinary status; allow
medical professionals to have a greater say in a detainee’s confinement conditions; and allow
outside medical organizations access to the detainees for an independent medical evaluation.
Some commentators have alleged that detainees’ health has been neglected—that adequate
medical care was either not available or withheld. Specific allegations have included charges of
neglect of mental health and cardiologic conditions, and failure to diagnose and treat hepatitis
and tuberculosis, to name just a few. Finally, it has been suggested that dedicated linguists be
used for medical purposes.

C. Practice/Implementation. There are several JMG SOPs governing detainee care delivered at
the Joint Medical Group (JMG). The JMG’s staffing/resources are adequate to meet workload
requirements, and are augmented by the Navy as necessary. Detainees can access medical care
24 hours per day without regard to disciplinary status or detainees’ cooperation with intelligence
gathering and legal processes. 42 For emergency care, Corpsmen and nurses are can respond to
every camp within minutes. Physicians are present at the hospital during normal working hours
and available on call, no more than a few minutes away after hours. There are three ambulances
available (at Camp 6, Camp 7 and at the Detainee Hospital) for emergency transport, and a
recent appendectomy was started within an hour of diagnosis. Formal sick call is conducted at
least weekly on all blocks, but is available daily as Corpsmen make medication rounds in the
camps. Corpsmen are readily identifiable by their uniforms and the equipment they carry. The
guard force and/or Corpsman annotates requests for medical attention or a request for a medical
appointment through DIMS, which nurses check frequently to process requests in timely manner.

Routine medical and dental care is available as needed, with timing of medical care based upon
the severity of the condition. 43 Routine appointments are normally scheduled within seven days.

42
  For photos of medical facilities inside Camps 5 and 6, see Appendix 12, Figures 12-7 and 12-8.
43
  There are approximately 3400 block sick call visits per year on average. The JMG has completed an average of
1400 routine appointments per year and there have been over 400 medical and dental surgeries and 6500 dental
appointments since commencement of detention operations in Guantánamo.


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Medical specialty evaluation and treatment is provided by local specialists and sub-specialists
who visit Guantánamo on a quarterly or semi-annual basis, or as necessary. 44 Local specialty
care referrals are completed within two weeks. If a detainee requires inpatient services, he is
transported to the Detainee Hospital for inpatient care. The Detainee Hospital is staffed with
nurses and Corpsmen 24 hours per day and averages approximately 12 inpatient admissions per
year. 45

The Behavioral Health Unit provides mental health evaluations, supportive psychotherapy,
psychotherapeutic medication management, suicide prevention education, initial, weekly follow-
up and final evaluations for hunger strikers and monthly preventive screenings to a diverse group
of detainees. 46 According to one of the providers at the Behavioral Health Unit, the current
population of detainees with active symptoms of mental disorders is less than eight percent
which is relatively low compared to prison populations in the United States in which mental
disorders average around forty to fifty-five percent. The mental health staff provides mental
health screens, empathetic listening and are helping detainees with coping and/or communication
skills. In addition, they are actively engaged with the detainee population to help promote
socialization and prevent self harm. In addition to the robust outpatient services provided, the
unit averages four inpatients per day. During hospitalization, detainees receive care from the
attending physician or psychologist, nurses and Corpsmen 24 hours per day and are afforded the
same access to recreation, basic and comfort items as other detainees.

Dedicated medical linguists are available during normal duty hours to assist with general,
specialty, and behavioral healthcare. However, for emergencies, when medical linguists are
unavailable, other non-medical linguists are used.

D. Team Analysis. The professionalism and dedication of the JMG staff are noteworthy.
Healthcare personnel are protecting detainees’ physical and mental health and provide
appropriate treatment for disease. The scope, quality and documentation of care provided to
detainees are similar, and in most cases identical, to care received by U.S. Armed Forces
personnel. Primary care and medical specialty services are provided to meet detainees’
healthcare needs in a timely manner. The JMG provides medical care based upon medical need
and operates independently of the JDG or JIG. The JMG does not communicate with
interrogators, or support intelligence collection activities. Care is delivered without regard to
hunger striking, disciplinary status or detainees’ cooperation with intelligence gathering or legal
processes. Medical personnel are available 24 hours per day, and respond to emergencies in all
detainee camps within minutes. Guards are trained as first responders and can stop bleeding or
initiate Cardiopulmonary Resuscitation if the need arises while awaiting the arrival of medical
personnel. All care by Corpsmen is reviewed by nurses or physicians, and physicians and other
licensed independent practitioners participate in a regular peer review program. Medical
personnel are aware of the requirement to report any observed or suspected abuse, and are
knowledgeable about the reporting chain. Dedicated medical interpreters are assigned to the

44
   Over the past year, there have been over 50 consults requested for various specialties, including dermatology;
urology; cardiology; prosthetics services; neurology; radiology; prosthodontics; ear, nose and throat; and
gastroenterology consultants to name a few.
45
   For photos of Detention Hospital facilities, see Appendix 12, Figures 12-1 through 12-6.
46
   The staff averages 100-120 visits per week including preventive screenings within the camps.


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Detainee Hospital. However, use of non-medical interpreters for provision of health care is
sometimes necessary due to manpower shortages. Medical personnel provide pertinent
information during the vetting process that helps the JDG make decisions about moves between
and within the camps, and provides requests and advice for medically necessary items for
detainees. Per the Geneva Conventions, ICRC provides periodic review of medical services.
Additionally, the JMG requested the American Correctional Association to provide a
consultative assist visit in the Spring of 2008, the results of which are confidential.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Expand detainee access to dedicated linguists to assist with medical evaluation and
       treatment during evening and weekend hours, to enhance detainee trust in the role
       of medical providers and to improve the quality of medical care.

      Continue to focus on appropriate detainee access to healthcare services.

      Continue to use input from appropriate external experts and agencies, as is
       currently practiced, to assess and maintain quality of healthcare services.




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                 Medical/Dental Confidentiality of Medical Records and Information

A. Legal/Policy Authority. DoDI 2310.08E requires maintenance of accurate and complete
medical records (Para 4.2). Paragraph 4.4 requires the safeguarding of patient confidences and
privacy within the constraints of the law. Under U.S. law and applicable medical practice
standards, there is no absolute confidentiality of medical information for any person. When
patient-specific medical information is disclosed for purposes other than treatment, healthcare
personnel must record the circumstances of the disclosure, including the name of the approving
medical unit commander. Similar to legal standards applicable to U.S. citizens, permissible
purposes for disclosure include preventing harm to any person, maintaining public health and
order in detention facilities, any lawful law enforcement, intelligence, or national security-related
activity. The May 2, 2008 Memorandum “Access to Detainee Medical Records by the Office of
Military Commissions” from the Office of the Assistant Secretary of Defense (Global Security
Affairs) provides additional guidance for a procedure to be used for any requests for medical
information by the Office of the Military Commissions.

B. Detainee/NGO Input. Medical-patient confidentiality is a right. Records should be
maintained as private and only seen by medical personnel. Both the detainee and his legal
counsel should have direct access to the detainee’s medical records. Guards should remain out
of hearing range when medical providers are talking with the detainees.

C. Practice/Implementation. JTF-JMG SOPs are in place to govern medical records and
confidentiality. Medical records for detainees were established upon in-processing and are
maintained throughout detention. The medical record is organized in a standardized health
record format. The JMG staff ensures the confidentiality, security, and integrity of all health
records. 47 Only essential medical personnel are authorized admittance to the medical records
areas. The approving authority for release of medical/dental information is designated as the JTF
Surgeon, per procedural guidelines, in accordance with DoD policy. In an interview, the
Medical Plans Officer detailed the process for medical information requests. Requests for
medical records by an outside agency, non-medical JDG staff, detainee attorney, and/or
prosecution attorney are submitted to the Staff Judge Advocate (SJA) for validation. If records
are cleared for release, certified copies are provided through the SJA to the requestor.
Documentation of the appropriate authority for disclosure is kept on file.

D. Team Analysis. Guantánamo complies with governing authorities with respect to
confidentiality of medical information. Medical care is documented in medical records, which
have been established for detainees and are appropriately maintained in a secure location with
access limited only to medical personnel who are providing healthcare services. A computerized
information system is also in use at the detainee medical treatment facilities for reporting of
laboratory studies, x-rays, etc. Corpsmen passing medications on the cell blocks take as much
precaution as safety allows to preserve confidentiality between medical staff and detainees.

47
  The Detainee Hospital stores detainee medical records for Camps 1-6, Echo and Iguana in the Medical
Administration Bldg within locked file cabinets. The outside door is equipped with a cipher lock. Active records for
Camps 1-4 and Iguana are located at the nursing station in the Detention Hospital within a secured area. Active
medical records for Camp 5, 6 and Echo are kept in the nursing office in Camp 6. It is secured when not manned.
Active medical records for Camp 7 are kept in Camp 7 medical clinic.


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Requests for medical information by non-medical personnel require approval by the JTF Surgeon
per DoD policies and JMG SOPs. Behavioral Science Consultants have no access to medical
records or medical information systems. During a review of non-medical electronic systems,
DIMS 48 and JDIMS, 49 the potential to share specific medical information with non-medical
personnel was discovered. JMG personnel stated that they do not have access to the JDIMS
module and were unaware of medical information in the system. Additionally, the JDIMS OIC
and JIG OIC personnel were notified and are aggressively working to identify the root cause of
and to correct the problem. Health records are being maintained, and medical records and
information are being protected. Requests for medical information are being answered in
accordance with established procedures and policies, and only with approval of the JTF Surgeon.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

        Modify policy and training regarding entry of specific medical information into
         DIMS (from which JDIMS data is drawn), which will ensure compliance with
         current medical information policies regarding confidentiality.

Recommend:

        Consider implementing Armed Forces Health Longitudinal Technology
         Application-Theater (AHLTA-T), the Military Health System’s electronic health
         record system, for detainee operations, which could help with document
         preservation. JTF-JMG has submitted an Operational Needs Statement.




48
   Detainee Information Management System (DIMS) is a web-based intranet application running on a dedicated and
isolated server. It provides real time visibility to all essential elements of information needed for detention
operation. It can include general requests for medical personnel, but should not include specific medical
information.
49
   Joint Detainee Information Management System (JDIMS) is an information management tool controlled by the
Joint Intelligence Group (JIG), developed and used primarily to support interrogations. Information stored on this
database includes interrogation reports, intelligence messages, intelligence reports, analyst products, and periodic
detainee assessments by DoD and other U.S. Government organizations, such as the U.S. Army Criminal
Investigation Task Force (CITF).


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                     Medical Ethics—Medical Treatment of Hunger Strikers

A. Legal /Policy Authority. Common Article 3. U.S. Government policy is to prevent self-
harm and to protect the life and health of those in its custody. DoDI 2310.08E states that health
care personnel are to “uphold the humane treatment of detainees and to ensure that no individual
in the custody or under the physical control of the Department of Defense…shall be subject to
cruel, inhuman, or degrading treatment or punishment…” Health care personnel caring for
detainees also “have a duty to protect detainees’ physical and mental health and provide
appropriate treatment of disease.” Paragraph 4.7 says “[i]n general, health care will be provided
with the consent of the detainee. To the extent practicable, standards and procedures for
obtaining consent will be consistent with those applicable to consent from other patients.”
Paragraph 4.7.1 goes on to say “In the case of a hunger strike, attempted suicide, or other
attempted self-harm, medical treatment or intervention may be directed without the consent of
the detainee to prevent death or serious harm. Such action must be based on a medical
determination that immediate treatment or intervention is necessary to prevent death or serious
harm, and, in addition, must be approved by the commanding officer of the detention facility or
other designated senior officer responsible for detainee operations.” DoD policy for treatment of
hunger strikers is similar to that used by the Bureau of Prisons, as authorized in Title 28, Code of
Federal Regulations, Part 549. Additional references include GPW (Art. 30, 31) and FM 3-
19.40, which provide for monitoring of the detainees’ health and weight.

B. Detainee/NGO Input. The World Medical Association (WMA) has stated in its Declaration
of Malta that force feeding is “never ethically acceptable” and “feeding accompanied
by…coercion, force or use of physical restraints…is a form of inhuman and degrading
treatment.” Others add, “Have medical personnel comply with the international medical and
ethical standards, especially if they participate in enteral feedings of detainees. Cease enteral
feeding of hunger striking detainees. Avoid any method of coercion to get them to stop hunger
striking.”

C. Practice/Implementation. Healthcare services provided to detainees are generally done with
the consent of the detainee. Detainees frequently refuse vital signs, laboratory studies,
recommended medical and dental procedures, and preventive services, such as flu shots. Some
detainees have refused food or water as a means to protest various aspects of their detention.
When a detainee begins refusing water or when he has eaten less than 25 percent of nine
consecutive meals, medical personnel are notified and begin medical assessment and monitoring,
which includes a thorough review of medical history, physical examination and mental health
assessment. The initial psychological assessment is conducted by a psychologist or psychiatrist,
followed by weekly mental health follow-ups, which may be done by a psychiatric technician.
Close medical monitoring and daily weights are continued until the detainee either chooses to
resume eating or his medical condition deteriorates to a point, which in the judgment of the
attending physician, would present a significant threat to life or health if the fasting were to
continue.

A medical recommendation for intervention with involuntarily intravenous therapy or enteral
feeding must be approved by the CJTF. A physician directs and oversees the enteral feeding




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process, 50 the goal of which is to sustain the life and health of hunger strikers. The physician is
assisted by a feeding nurse and one or more Corpsmen, and receives periodic consultations from
a nutritionist. Detainee medical complaints during hunger striking may be addressed by the
enteral feeding team or may be referred to the hospital or clinic medical team in the same way as
provided for other detainees. Guards weigh hunger strikers daily, offer a regular meal to all
hunger striking detainees at each meal time and provide information to medical personnel about
quantities of food and water the detainee has taken. This information is relayed to the attending
physician, who makes a determination of whether enteral feeding or other therapy is indicated
and provides appropriate medical orders.

Enteral feedings may be withheld for detainees who are taking nutrition orally or when otherwise
clinically indicated. Detainees who take nine consecutive meals (or three if they have not
required enteral feeding) are no longer considered to be a hunger striker. Medical monitoring by
the attending physician is continued for a period following the end of a hunger strike to ensure
stability of any medical conditions and maintenance of body weight. Enteral feeding is
administered twice daily for most hunger strikers. The Review Team observed multiple enteral
feedings in Camps 3, 5, and 6. Many detainees refused requests to come out of their cells for
enteral feedings. When this occurred, guards relayed this information to the CJDG, who
authorized an FCE to accomplish the enteral feeding. Detainees requiring FCE during our
observations appeared passive throughout the process. Medical personnel were standing by for
all FCEs. FCE teams placed detainees in feeding chairs or on gurneys when deemed necessary
by medical personnel. Restraints were used for enteral feedings for the minimum possible time
as necessary to protect both the detainee and staff. Feedings were accomplished in feeding
chairs, 51 except for one detainee who was placed on a gurney due to a back problem that made
sitting in the chair uncomfortable. 52 Many of the feeding chairs observed had been customized
with pillows and padding for comfort. None of the feedings observed involved use of head
restraints. 53 Detainees appeared generally cooperative with medical administration of the
feedings.

New sterile feeding tubes are generally used for each feeding. 54 Per JMG SOP, time in the
feeding chair may not exceed two hours and is rigorously monitored by the staff.

50
   Enteral feeding is the process of providing nutritional support for a patient by passing a tube through the nose into
the stomach (a nasogastric feeding tube), through which nutritional supplements, such as Ensure Plus or Boost Plus,
can be infused. This is a common medical procedure used to safely provide nutrition to a patient who is not taking
food by mouth, but whose intestinal function is intact (e.g., a patient whose jaw is wired shut). The nasogastric tube
used is size 10 or 12 French, which would be 3.5-4.5 millimeters in diameter (slightly larger in diameter than a piece
of cooked spaghetti but less than a pencil eraser). The tube should be well lubricated (viscous lidocaine should be
offered, but some patients prefer other lubricants). After insertion of the tube, its placement in the stomach is
confirmed prior to allowing the nutritional supplement to flow in from a hanging bag by gravity. This procedure
usually takes about an hour, after which the feeding tube is removed. Once stabilized, most patients can be
sustained on two feedings per day. For a photo of a typical enteral feeding kit, see Appendix 12, Figure 13-1.
51
   See Appendix 12, Figure 13-2.
52
   Medical staff reports that similar accommodations are made for other detainees as clinically indicated. Photo at
Appendix 12, Figure 13-4.
53
   For an example of a chair with head restraints, see Appendix 12, Figure 13-3.
54
   The JMG SOP, which guides cleaning requirements for feeding tubes, has been reviewed and approved by the
Infection Control Officer. Per manufacturer guidelines tubes may not be used for more than 14 days and are always
used for only one detainee.


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D. Team Analysis. DoD and JTF-Guantánamo policy is to preserve the life and health of those
detained and under its care. The process of ordering life sustaining nutritional support for
detainees whose continued fasting poses a significant threat to life or health, is similar to that
used by the U.S. Bureau of Prisons, and has been upheld in U.S. Federal Courts.

The current feeding program is being conducted solely as a medical procedure to sustain the life
and health of hunger strikers. Hunger strikers receive individualized medical care and access to
the same medical treatment services as other detainees. The current process is lawful and is
being administered in a humane manner.

It is important to note that medical care is generally provided with the consent of the detainee.
Processes for permitting detainees to refuse diagnostic tests, examinations and treatments are
similar to those used for other patients. Exceptions may apply for lifesaving emergency medical
care provided to a patient incapable of providing consent or for care necessary to protect public
health. Enteral feeding of hunger strikers for whom continued fasting might result in death or
serious harm is being conducted as a medical procedure with the sole purpose of preserving life
and health, and in accordance with Common Article 3 and DoD policy. Detainees are weighed
monthly by guard staff. Hunger strikers are weighed daily. Guards in Camp 4 reported that
detainees are permitted to weigh themselves and report their weight.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

       Require JMG or JDG personnel to directly observe and record detainee weights.

       Continue safe and humane treatment of hunger strikers whose life or health is
        jeopardized by hunger striking.

       Continue to provide sufficient medical staffing at the JMG to fully support medical
        treatment necessary to sustain the life and health of detainees on hunger strike.




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          Healthcare Personnel Management—Behavioral Science Consultants (BSC)

A. Legal Policy/Authority. Common Article 3. DoDI 2310.08E, in Para 4.1 states that all
health care personnel have a duty to uphold the humane treatment of detainees and to ensure that
no individual in the custody of the DoD is subject to cruel inhuman or degrading treatment. Para
4.9 speaks to management of healthcare personnel. Enclosure 2 of the reference authorizes
BSCs to make psychological assessments of the character, personality and other behavioral
characteristics of detainees and based on such assessments; advise authorized personnel
performing lawful interrogations and other lawful detainee operations, including intelligence
activities and law enforcement. Their professional role is not in a provider-patient relationship,
but in relation to a person who is the subject of a lawful governmental inquiry, assessment,
investigation, interrogation, adjudication, or other proper action.

B. Detainee/NGO Input. As part of an ongoing medical ethical debate, the following
professional organizations have, at times, been critical of current military practice with respect to
Behavioral Science Consultants. The two most vocal organizations on this matter are the
American Psychiatric Association and the American Psychological Association. Each view is
summarized below:

       The American Psychiatric Association opposes the use of psychiatrists in interrogating prisoners.
       The proper role of psychiatrists is to provide humane and compassionate care for those suffering
       from mental illnesses. We believe that the use of psychiatrists to aid in interrogations is a serious
       violation of medical ethics and should be discontinued.
       The American Psychological Association prohibits psychologists from any involvement in
       interrogations or any other operational procedures at detention sites that are in violation of the
       U.S. Constitution or international law.

C. Practice/Implementation. JTF and JMG SOPs provide guidance for healthcare professionals
assigned to the JMG about their mission and interaction with the Behavioral Science Consultant
Team (BSCT). In short, no JMG personnel are involved with interrogations and no BSC
personnel are involved in medical treatment of detainees.

The JMG provides all medical care including mental health evaluations and treatment for the
detainees. Moreover, interviews with JMG personnel confirmed that they work completely
independently from the JDG and JIG. The medical staff is aware of requirements to report
instances of observed or suspected violation of applicable standards for the protection of
detainees to the chain of command.

As of 2007, the BSCT reports directly to the CJTF, and provides advice to the CJDG. One of the
two BSCs assigned and the BSC technician work full time advising the CJDG regarding camp
operations. When the BSCs are in the detention camps, they do not have any contact with
detainees or medical personnel. They do not provide medical care except in the event of an
emergency when no other medical professional is available. They also provide behavioral
analysis in preparation for the vetting process to ensure safe and effective planning for detainee
moves within the camps and provide training to the guard force. They went on to say that, they
are doing very little if any work with the JIG personnel except for occasional training provided
for new interrogators and personnel arriving at JTF-Guantánamo Detention Facilities. When/if a


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BSC is present for an interrogation, they are located outside of the room and only observe. They
are charged with reporting any observed or suspected abuse during the interrogation.

JTF-Guantánamo has been in the process of approving a local JTF-BSCT SOP (currently still in
draft form), that provides additional guidance to strengthen the informational firewall between
the duties of medical personnel and BSCs. This guidance provides for establishment of a forum
for the BSCT, JTF Surgeon and Senior Medical Officer (SMO) to meet as needed to reinforce
compliance with DoDI 2310.08E, but they have not had a need for this meeting to date. The
current BSCs emphasized that their duties are distinctly separate from those of the JMG, and
stated that they do not have any access to medical records or information. If the BCST had a
request for medical information, it would be submitted the same way as any other outside
agency, (filtered through the SJA to evaluate appropriateness of request, then sent to JTF
Surgeon for approval). Similarly, if they want to consult with a JMG psychologist, they must
gain the approval of the JTF Surgeon.

D. Team Analysis. Medical care is provided only by JMG staff. The currently assigned BSCs
are both clinical psychologists and are operating in accordance with governing policies and
procedures. According to the CJTF, the BSCT function in this operational environment is a vital
resource for commanders. Their primary role as behavioral advisors to the CJTF and CJDG is
helping bring about improvements in detention camp dynamics. They are aware of requirements
to report instances of observed or suspected violations of applicable standards for the protection
of detainees to the chain of command. Finally, they have taken great care to keep their BSC
roles separate from the delivery of health care services and health information, and to ensure that
they are not perceived by detainees as healthcare personnel. Once updated and approved, the
additional measures within the draft JTF SOP of July 2007 would firmly establish a firewall that
more clearly delineates healthcare personnel from the BSC role.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:
    Sustain BSC resource to ensure continued mission support to JDG Commander
      and, to a lesser extent, the JIG Director.

      Expedite routing and approval of the draft JTF BSCT SOP to ensure the inclusion
       of appropriate firewalls and safeguards between the intelligence and other roles of
       BSCs and JMG medical care providers.

      Continue to have Behavioral Science Consultants observe and support the
       separation of medical information from intelligence operations and continue to
       provide behavioral consultation aimed at optimizing the safety of the camps.

Recommend:
    Dedicate two Behavioral Science Consultants solely to provide psychological
     consultation to the CJDG, JIG and CJTF in order to support safe, legal ethical and
     effective detention and interrogation operations at JTF-Guantánamo.



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                                           Interrogation

A. Legal/Policy Authority. Common Article 3 of the Geneva Conventions requires humane
treatment, and prohibits violence to life and person, cruel treatment and torture, outrages upon
personal dignity (humiliating and degrading treatment), and punishment without due process.
From that overarching policy, DoDD 2310.01E, DoDD 3115.09, and Army Field Manual 2-22.3
delineate the proper means of handling and interrogation of detainees such as those held in
Guantánamo. The Detainee Treatment Act of 2005 prohibits cruel, inhuman or degrading
treatment or punishment, and specifically mandates that no person detained by DoD may be
interrogated using techniques not authorized by FM 2-22.3.

B. Detainee/NGO Input. The gathering of information from detainees should be done in
accordance with international standards, and must not supersede humanitarian concerns. Along
those lines, the detainee should not be punished or rewarded based on his cooperation with
interrogators, and it should be made clear to detainees that interrogators are not responsible for
detention operations. Use of detention practices to set conditions for interrogation should be
prohibited.

Medical personnel should not assist with interrogations, nor should medical information be
exploited for intelligence purposes. Moreover, medical care should not be made contingent upon
cooperation with interrogators.

The use of “solitary confinement,” “Fear Up,” sleep deprivation, and degrading treatment as
interrogation techniques is inhumane. Detainees must be permitted free exercise of their
religion; therefore, possession of religious items should not be contingent on cooperation with
interrogations.

C. Practice/Implementation. Only interrogation techniques and approaches permitted in FM 2-
22.3 are used in Guantánamo. However, not all techniques and approaches from the FM are
used. Separation is permitted only when approved, case by case, by the Commander,
USSOUTHCOM. Such authorization has only been requested and granted on four occasions,
and has not been used since early 2007. In local practice, interrogation approaches not permitted
in Guantánamo include False Flag, Fear Up, and Ego Down.

The Joint Intelligence Group (JIG) Interrogation Control Element (ICE) has adopted a Standard
Operating Procedure (SOP) which sets forth guidance and limitations for all aspects of
interrogations, including the development of interrogation plans, scheduling and conduct of
interrogations, use of incentive items, employment of linguists, interrogation techniques and
approaches that may be used, interrogation training, and oversight mechanisms.

Interrogations of Guantánamo detainees are all voluntary. Approximately one-third of all
interrogations take place at the request of the detainee. Detainees are permitted to decline
participation in interrogations at any time, with no negative disciplinary consequences. At no
time does the Joint Detention Group (JDG) allow any level of non-participation or non-
cooperation in interrogations to influence the disciplinary status of any detainee.




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Interrogators are permitted to provide incentives to detainees who participate in interrogations.
These incentives are items such as fast food from restaurants available on the Guantánamo Naval
Station, cookies, sweets, and the like. Also, on occasion the interrogation team may provide a
home cooked meal from a recipe from the detainee’s home country. Tea and coffee are often
served during the interrogation, and sometimes the detainee, the interrogator, and the translator,
where one is needed, watch a video selected based on the preferences of the detainee. Videos
with political, religious, or violent content are not permitted. Detainee cooperation with
interrogation has no effect on comfort items or basic issue items provided to the detainee while
in the detention camps.

Joint Medical Group personnel do not participate in interrogations, do not provide patient-
provider information to interrogators, and do not medicate or otherwise prepare detainees for
interrogation. Medical personnel may recommend to the CJDG that a detainee not be available
for interrogation. When the CJDG puts a detainee off limits for interrogation, that detainee is off
limits until the CJDG rescinds that status.

JTF Behavioral Science Consultant Team (BSCT) personnel may observe interrogations, but
may not conduct them or be present in the interrogation room. The BSCT advises interrogators
in a manner similar to psychologists assisting in criminal investigations, but does not plan,
conduct or direct interrogations. The BSCT also serves as yet another oversight mechanism;
responsible for observing interrogators for “drift” in their personalities or interrogation practices
that may tend toward unauthorized interrogation behavior.

Detainees are restrained during interrogations only to the minimum level required for safety of
all personnel involved, consistent with security requirements. Restraints are determined by the
JDG, and delineated in interrogation plans.

Interrogations do not infringe upon the detainees’ exercise of religion. The JDG issues every
detainee a Koran, prayer rug, prayer cap, and prayer beads, regardless of disciplinary status and
regardless of the detainee’s cooperativeness in interrogation. None of these items are impacted
by a detainee’s level of cooperation with interrogators. The exercise of religion is respected at
all stages during the interrogation process. Interrogations cease during prayer time at the
detainee’s request/preference.

D. Team Analysis. Interrogation practices in Guantánamo are in compliance with Army FM 2-
22.3. While approach techniques are authorized by FM 2-22.3, JTF-Guantánamo does not, as a
matter of local practice, use them. The use of incentive items in connection with interrogations
continues to be standard practice at Guantánamo, and does not violate principles of humane
treatment. The use of couches and soft chairs, offering of food items and movies or books, as
well as time away from the detainee’s cell, are intended to provide the detainee an environment
of comfort, not coercion. Neither basic items nor additional comfort items provided by the JDG
are conditioned upon a detainee’s cooperation with interrogators. Many of the changes made to
standard interrogation practices within JTF-Guantánamo have been instituted under the
leadership of the current JIG Director – yet they have not been formally incorporated into the
SOP for interrogators, which was last updated in April 2007. The long-standing view of
commentators concerning interrogation in Guantánamo contrast sharply with current practice.



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Significant changes made in Guantánamo have moved interrogation practices far beyond the
minimum standards articulated in Common Article 3, U.S. law and DoD regulations.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Update the JIG Interrogation Control Element (ICE) SOP to reflect current
       intelligence collection practices in Guantánamo.

      Continue to train JIG personnel on strict compliance with local and DoD-wide
       policy, directives, and instructions, as well as U.S. law, particularly Geneva
       Conventions Common Article 3.

Recommend:

      Video record and archive interrogations in Guantánamo to confirm compliance
       with law and policy, subject to security concerns.




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                                  Outside Access to Detainees

A. Legal/Policy Authority. Common Article 3. According to DoDD 2310.01E, the ICRC shall
be allowed to offer its services. Additional reference material includes GPW (Art. 70-75, 78,
125, 126); GCC (Art. 104, 140, 142); AR 190-8 (1-5, 3-4, 3-5, 3-16, 6-8) state that: ICRC
services may be offered in the areas of communication, relief parcels, detainee complaints, and
camp administration.

B. Detainee/NGO Input. Other than the International Committee of the Red Cross (ICRC),
enhance the transparency of operations by allowing authorized organizations, NGOs and selected
personnel from the UN to visit and speak with the detainees.

C. Practice/Implementation. The Geneva Conventions address the matter of access by the
International Committee of the Red Cross (ICRC) to persons detained during armed conflict. Per
the DoD Directive, the ICRC shall be allowed to offer its services during an armed conflict,
however characterized, to which the United States is a party. Traditionally, the ICRC has
performed this important function during the conduct of detention operations and has historically
enhanced DoD’s ability to conduct detention operations effectively. Since the opening of the
detention facilities at Guantánamo, the ICRC has been afforded the ability to meet privately with
the detainees during regular visits to Guantánamo. These visits occur in locations within the
camps that prevent the conversation from being overheard by camp personnel. After every visit,
the ICRC debriefs the camp authorities, describing the general state of detention, making
recommendations for improvement and relaying any detainee allegations and complaints
received. Any substantive written or oral reports provided by the ICRC are promptly forwarded
for consideration and action where appropriate.

D. Team Analysis. The ICRC is the only international or non-governmental organization with a
special responsibility under the Law of War, including the full Geneva Conventions and
Common Article 3, to provide services to the detaining power. They visit at least quarterly, have
access to all detainees in a private setting, and provide regular communications with camp
authorities concerning their conversations. The communications between the ICRC and the U.S.
Government are confidential and intended to assist the detaining power in providing humane
treatment for detainees. The unique modalities that govern the relationship between the ICRC
and the United States encourage a candid, thoughtful exchange of ideas concerning the
conditions of detention. The involvement of other international and non-governmental
organizations, though unable to provide the same comprehensive and confidential services to the
detainees, may be beneficial in making the operations at Guantánamo more transparent, and in
offering their services for the humane care and treatment of detainees as well as assistance in
repatriation of certain detainees.




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E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to encourage and maintain the ongoing relationship with the ICRC as they
       periodically visit Guantánamo.

Recommend:

      Consider inviting non-governmental organizations and appropriate international
       organizations to send representatives to visit Guantánamo, in a manner that does
       not jeopardize the current relationship with the ICRC and is consistent with
       security and safety of the detainees and guard force.




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                               Attorney Access to Detainee-Clients

A. Legal/Policy Authority. Judge Joyce Hens Green, U.S. District Court for the District of
Columbia, Protective Order and Procedures for Counsel Access to Detainees at the United States
Naval Base in Guantánamo Bay, Cuba (“Protective Order”) November 5, 2004; Military
Commissions Act of 2006; Commander, JTF-Guantánamo Memorandum “Military
Commissions Counsel Visitation of Detainees Practices Guide (“Practices Guide”)” 19 May
2008.

B. Detainee/NGO Input. Detainees have been denied access to attorneys in Guantánamo.
Attorneys have been denied access to their detainee-clients.

C. Practice/Implementation. Currently there are more than 200 detainee habeas corpus petitions
filed with the U.S. District Court for the District of Columbia. Those cases are proceeding under
the cognizance of various federal judges. Detainees have been advised of the means by which
they may request attorneys from federal courts. There are 14 detainees charged under the
Military Commissions Act. Attorneys for habeas corpus and military commissions cases are
permitted to travel to Guantánamo and meet with their clients.

There are 13 attorney visitation rooms in Camp Delta, including ten in Camp Echo, two in Camp
6, and one in Camp 5. JTF-Guantánamo received over 1,300 habeas corpus attorney visits and
more than 500 Military Commissions attorney visits on behalf of detainees in calendar year
2008. In addition, 30 attorney-detainee client telephone calls were facilitated in calendar year
2008, most occurring after the Supreme Court’s decision in Boumediene v. Bush, when it
became clear that the detainee habeas corpus cases filed in the U.S. District Court for the District
of Columbia would be permitted to move forward and the Chief Judge of the District Court
ordered all parties to expedite the cases. For JTF-Guantánamo, this meant expanding attorney-
detainee client meeting times, to include weekends and installing telephone capability to permit
the calls between detainees in Guantánamo and attorneys calling from a designated secure
location in Alexandria, Virginia.

The JDG and the JTF-Guantánamo Office of the Staff Judge Advocate (SJA) facilitate attorney
visitation and telephone calls in accordance with the Protective Order, in the case of habeas
corpus related visits, and the Practices Guide in the case of military commissions related visits.
The foregoing respectively govern all aspects of attorney visitation and communications with
their detainee clients in Guantánamo, including entry into and exit from the camps, inspection of
personal belongings and papers for security purposes, and the collection, delivery, and handling
of legal mail by JTF-Guantánamo staff. The Protective Order requires legal counsel to comply
with various security procedures implemented by Commander, JTF-Guantánamo. The Practices
Guide contains similar language. The rules in place seek to protect the attorney client privilege,
facilitate legal representation of the detainees, facilitate access by the detainees to U.S. Federal
Courts, and protect legitimate security interests of JTF-Guantánamo and the United States
Government.




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Counsel have the opportunity to raise concerns about JTF-Guantánamo’s security practices with
the SJA and if they cannot reach a satisfactory resolution, challenge such security procedures
before courts of competent jurisdiction.

D. Team Analysis. Detainees have access to federal court. Attorneys have access to their
detainee clients and the means to seek redress in the event they believe their access is
unreasonably curtailed. Detainees who are representing themselves or who otherwise desire to
do so, have the ability to access the federal courts. Attorneys have access to their detainee-
clients and the means to seek redress for concerns that cannot be resolved locally.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue JTF-Guantánamo efforts to facilitate attorney-detainee client
       communications.

      Continue JTF-Guantánamo efforts to provide attorney access to detainee clients.




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                           Detainees Ordered or Approved for Release

A. Legal/Policy Authority. Common Article 3. Under DoDD 2310.01E, detainees are to be
treated humanely and respected as human beings. Additional reference material may be found in
GPW (Art. 13, 17, 21, 22), GCC (Art. 27. 30-33, 84), U.S. District Court Order, Boumediene v.
Bush, 20 November 2008; Convening Authority Appointment Letter of 9 July 2004; Deputy
Secretary of Defense CSRT Implementation Guidance of 14 July 2006. Boumediene v. Bush,
128 S.Ct. 2229 (2008); DEPSECDEF Action Memo 4 August 2008; ASD Action Memo 15
August 2008, and, ASD Action Memo 25 September 2008.

B. Detainee/NGO Input. As a general matter, NGOs have complained about the amount of time
it has taken to repatriate individuals who have the status of those currently held in Camp Iguana.
They point to the last group of Uighurs who were housed in Camp Iguana for many months
before they were transferred to Albania and note that many of the detainees who are there now,
have been there since August 2008. Additionally, many commentators have complained about
insufficient personal freedoms afforded to those who they say should be free because they
believe that, in essence, a judicial determination has been made that these individuals “did
nothing wrong.”

C. Practice/Implementation. Camp Iguana currently holds two detainees in whose case the U.S.
District Court for the District of Columbia ordered the United States “to take all necessary and
appropriate diplomatic steps to facilitate [their release].” In addition, Camp Iguana holds one
detainee whose CSRT the U.S. Court of Appeals for the D.C. Circuit struck down as invalid and
approximately 15 other detainees in whose habeas corpus petitions, the DoD has declined to
assert their continued enemy combatant status.

In the case of each of these individuals, the Department of Defense is awaiting successful
diplomatic efforts to secure a willing nation to accept the detainees and an agreement from the
detainees to go to such nations. In the case of approximately 15 of the detainees in Camp
Iguana, there are legitimate concerns that their home nation will mistreat them upon their return.
No other acceptable solution has been found for their transfer out of Guantánamo. In the case of
several other detainees, the nation to which they would like to be transferred has declined to
accept them and they have expressed concerns of mistreatment if they are returned to their home
nation.

While JTF-Guantánamo continues to hold these individuals, as diplomatic efforts proceed, it is
noteworthy that the detainees have been removed from the detention facilities and placed in
Camp Iguana, which essentially is a holding facility (similar to the concept relied upon by
Immigrations and Customs Enforcement to detain individuals in the U.S.) for individuals in the
categories above awaiting transfer. As described elsewhere in this report, the limitations placed
upon detainees’ living arrangements, movements, recreation, dining arrangements, access to
televisions, access to snacks purchased at the local Navy Exchange, and similar activities are
considerably less onerous than is the case in JTF-Guantánamo’s detention facilities. The JDG
exercises the minimum level of restriction over detainee activities in Camp Iguana practicable,
subject to the necessity to maintain good order and discipline within the camp. For example,
guards generally do not enter the camp. Detainees establish their own living arrangements



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among themselves, decide whether to watch television and what to watch, decide their own
recreation schedule, and even decide whether to allow their lawyers into the camp. Security is
maintained by guards stationed outside of the camp who stand watch using guard towers,
personal observation through chain link fencing, and cameras inside the living quarters.

D. Team Analysis. Individuals in Camp Iguana should be transferred as quickly as possible. In
the past—either because they refuse to be transferred to appropriate destination countries, or
because no acceptable country has been found to take them—detainees in Camp Iguana have
resided there for many months before their transfer. Detainees in Camp Iguana awaiting transfer
should be permitted maximum personal freedom, subject to legitimate security measures to
maintain good order and discipline within the camp. JTF-Guantánamo has taken steps to
institute more personal freedoms within Camp Iguana than exist in any other camps in
Guantánamo. If detainees feel that they are entitled to additional freedoms, they have access to
guard staff within the camp to whom they may direct complaints. They also have attorneys who
have access to the courts to bring complaints in the event issues cannot otherwise be resolved to
their satisfaction. Uighur detainees have been residing in Camp Iguana since August 2008.
Their frustration at remaining in Camp Iguana is understandably growing as time passes. This
puts increasing pressure on the guard staff and other detainees within the camp.

E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Make status determinations and repatriation/transfer of designated detainees a
       priority including, at minimum, by seeking immediate assistance from the
       interagency to repatriate/transfer detainees who have been cleared for immediate
       release in connection with litigation.

      Continue to maximize personal freedoms of Camp Iguana detainees consistent with
       their status, subject to legitimate security measures required to maintain good order
       and discipline within the camp.




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                                       Repatriation/Transfer

A. Legal/Policy Authority. Common Article 3. According to DoDD 2310.01E, the ICRC shall
be allowed to offer its services to detainees. Available reference material includes GPW (Art.
70-75, 78, 125, 126); GCC (Art. 104, 140, 142); and AR 190-8 (1-5, 3-4, 3-5, 3-16, 6-8) which
state: ICRC services may be offered in the areas of communication, relief parcels, detainee
complaints, and camp administration.

B. Detainee/NGO Input. Consider medical professional options when discussing the
repatriation of detainees on humanitarian grounds. When a detainee has been identified for
repatriation, keep him informed of the progress of his status. Detainees who are eligible for
repatriation are in no way forced to do so; they have the right to refuse, and that right must be
explained to them.

C. Practice/Implementation. Detainees have several opportunities to make inputs into the
repatriation or transfer process. The JTF SJA meets with the detainee to advise him of the
possibility and ask if he has any fear of going to the destination country, then notifies the chain
of command. The ICRC will offer each detainee identified for movement an opportunity to talk
to them, called an “exit interview.” Immediately upon completion of the interview, the ICRC
notifies the Department of Defense of the results so that any fears expressed can be reviewed
and, when appropriate, acted upon. Finally, a detainee with habeas corpus counsel can, where
appropriate, discuss with his attorney (including by phone), efforts to repatriate him and to
clarify any concerns he might have. This information is provided to the appropriate authorities
for consideration during the repatriation/transfer process. Should there be changes to the transfer
schedule of a detainee, the camp authorities advise the detainee and keep him advised of the
status of his repatriation/transfer. Finally, the detainee is allowed to take his legal mail and other
personal property with him as he departs Guantánamo.

The opinions and recommendations of medical professionals are one factor in decisions about
detainee repatriation. During transfer preparations, JTF-Guantánamo medical personnel prepare
a detailed narrative medical summary on the identified detainees. A copy of this summary, along
with 90 days or more worth of medication (as appropriate), are given to the flight crew of the
repatriation aircraft for delivery to receiving government officials. In addition, all detainees
leaving Guantánamo are offered a physical exam. This, in part, is to ensure the detainee is able
to travel and to identify any special considerations for travel.

D. Team Analysis. Detainees are afforded the opportunity to have an input into the final
destination for their repatriation/transfer, through the JTF SJA, the ICRC, and their habeas
corpus attorney (where appropriate). Fears expressed by the detainee concerning the
repatriation/transfer country are taken under consideration by the U.S. Government, consistent
with U.S. treaty obligations. Accountability for the detainee is maintained throughout the
process, until he is delivered to the destination country.




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E. Findings/Recommendations. Conditions are in compliance with Common Article 3 of the
Geneva Conventions. No prohibited acts were found and conditions are humane.

Strongly recommend:

      Continue to solicit detainee input into proposed repatriation/transfer destinations,
       using all appropriate means.

Recommend:

      Accelerate negotiation efforts to send those detainees who have been determined to
       be suitable for transfer or release, who have legitimate fears of persecution, to an
       appropriate third country.




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Conclusions

I have completed the review directed to determine whether the conditions of detention in
Guantánamo Bay, Cuba are “in conformity with applicable laws governing the conditions of
confinement, including Common Article 3 to the Geneva Conventions.” As a collective result of
the efforts of the team that assisted me in this review, it is my judgment that the conditions of
confinement in Guantánamo are in conformity with Common Article 3 to the Geneva
Conventions and conform to the requirements outlined in the Executive Order.

As discussed in the introductory remarks, there are two components in the scope of the
compliance review taken from Common Article 3: the first is the explicit prohibition against
specified acts (at any time and in any place). As indicated previously, substantiated evidence of
prohibited acts discovered in the course of the review would have warranted a finding of “Non-
compliance” with Common Article 3 and resulted in the requirement for immediate corrective
action. No prohibited acts were found.

Additionally, determining conformity with Common Article 3 also requires examination of the
directive aspect of the Article, this being that “Persons . . . shall in all circumstances be treated
humanely.” This element of the effort demanded that the team examine conditions of detention
from a subjective viewpoint, relying upon their experience and professional backgrounds,
informed and challenged by outside commentary. As a result of that effort, I find that conditions
of confinement in Guantánamo also meet the directive requirements of Common Article 3 of the
Geneva Conventions.

The concept of humane treatment requires the examiner to look at various factors in a continuum
to assess whether what is humane today, is or will be humane over a longer period of detention.
Treatment must be viewed in the context of specific and relevant circumstances to determine
whether it is adequate. While our review has determined that all conditions of confinement are
currently in conformity with Common Article 3, our list of recommendations calls attention to
those actions that we think will assist USSOUTHCOM in its continuing efforts to enhance
humane conditions of detention in Guantánamo.

The Review Team recognized the value of socialization throughout the detention facilities,
especially considering the length of time individuals at Guantánamo have been detained. The
key to socialization is providing more human-to-human contact, recreation opportunities with
several detainees together, intellectual stimulation, and group prayer. Socialization is essential to
maintain humane treatment over time.

With regard to detainees held at Camp 7, who are the most limited in their human-to-human
contact, the Review Team vigorously urges that additional steps be taken to increase detainee-to-
detainee contact, and offer them opportunities for group prayer and expanded recreation options,
consistent with Commander, USSOUTHCOM initiatives. The conditions in Camp 7 are
designed with security in mind, but limit communication and physical interaction between
detainees. Detainees are currently limited to recreation with a single partner. In the area of
religious practice, the detainees in all other camps are able to conduct group prayer and
communal recreation. Allowing a variety of different detainees in groups of three or more to



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participate in recreation and prayer together will be a positive step toward greater socialization.
In sum, Camp 7 procedures and its physical plan need to be modified in accordance with
USSOUTHCOM initiatives in order to increase detainee-to-detainee contact.

Additionally, the Review Team recognized that detainee access to high quality healthcare
services is a fundamental aspect of humane treatment that is greatly enhanced by appropriate
human-to-human contact and socialization between detainees and healthcare providers. Delivery
of quality healthcare requires development of trusting relationships between providers and their
patients. Although difficult to achieve in a custodial environment, several actions may serve to
facilitate improvements to enhance further the high quality of care delivered to detainees. We
recommend expanding detainee access to dedicated linguists to assist with medical evaluation
and treatment during evening and weekend hours to enhance detainee trust in the role of medical
providers and to improve the quality of medical care. Moreover, we recommend JDG or JMG
personnel directly observe and record detainee weights, since weight loss may be an early and
sensitive indicator of a developing healthcare problem. Finally, we also recommend
implementing policies and training regarding entry of specific medical information into non-
medical databases such as DIMS and JDIMS to support an appropriate level of medical
confidentiality.

As detention operations in Guantánamo enter their eighth year, JTF-Guantánamo will continue to
require extensive resources. Enhancement of humane treatment, as the operation continues, and
as the detainee population spends more time under U.S. control, will also require strengthening
of internal controls and continued dedication of both funds and personnel. BSCs are a vital
resource for understanding and improving the operational environment. Their ability to provide
behavioral analysis has proven effective in identifying developing tensions and recommending
options for strategies to improve camp dynamics. We must develop courses of action to ensure
the sustainment of the BSCT as a core capability at Guantánamo.

Internal controls are equally critical in maintaining the course established toward improving
stability. The JTF must expedite final approval of the draft JTF BSCT SOP and the JIG ICE
SOP to reflect current practices at Guantánamo and to ensure that the appropriate firewalls are
maintained, including the firewall between healthcare and intelligence. The Review Team also
found several additional new actions that involve internal controls. In that regard, we would
endorse the use of video recording in all camps and for all interrogations. The use of video
recordings to confirm humane treatment and limit disruption of operations from false complaints
will be an important enabler for detainee operations. Just as internal controls provide
standardization, the use of video recordings would provide the capability to monitor performance
and maintain accountability.

The Review Team has also identified several actions that we believe are important to
maintaining a humane treatment standard during the period of prolonged detention. The most
critical activity in this regard is the improvement in Camp 6 to provide socialization incentives.
Camp 4 currently offers the greatest degree of socialization opportunities, including communal
living, frequent human-to-human contact, recreation, intellectual stimulation, and religious
gatherings, which clearly assisted in management of that camp. The CJDG has recognized this




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and is moving quickly to institute greater socialization in Camp 6. It is essential to accelerate the
completion of Camp 6 recreation areas and facilities, supporting enhancements for socialization.

The Review Team is convinced that the ability of detainees to understand their future has a direct
correlation to detainee behavior and conditions inside the camp population, and will impact the
long-term ability to comply with Common Article 3 of the Geneva Conventions. Rising tension
and anxiety among the detainees leads to acts of defiance, non-compliance with camp rules, and
manifestations of self-harm or attempts to injure or kill camp personnel. Therefore, we
recommend seeking immediate assistance through the interagency process to expeditiously
determine the detainees’ future and take action to repatriate or transfer detainees as appropriate.
Increased emphasis in this regard will help the JDG Commander manage the detainee population
consistent with Common Article 3 of the Geneva Conventions.

Not knowing when they might depart Guantánamo (for home or elsewhere) has almost certainly
increased tension and anxiety within the detainee population. This tension is further exacerbated
in one particular population – the Chinese Uighurs. For several years the DoD and the State
Department have been struggling to transfer 17 Chinese Uighur detainees from Guantánamo to a
suitable third country. Due to U.S. obligations, the U.S. cannot send them back to China.
Recent court rulings increased the pressure to move these detainees out of Guantánamo as soon
as a suitable third country has been selected.

In addition to the Chinese Uighurs, there are now two additional detainees (Algerian, but
captured in Bosnia) that the court has ordered be released from U.S. custody. All these detainees
are now housed in Camp Iguana, a holding camp that provides the greatest amount of freedom
for the detainees while ensuring continued camp and U.S. naval base security. Despite increased
freedoms at Camp Iguana, the detainees there continue to vocally and physically express their
extreme frustration with their continued detention at Guantánamo.

Therefore, the Review Team requests that emphasis be placed on providing immediate assistance
within the interagency process on where to transfer these detainees (especially those currently
housed in Camp Iguana).




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Glossary

A
AHLTA-T                            Armed Forces Health Longitudinal Technology
                                   Application - Theater
APO                                Army Postal Office
AR                                 Army Regulation
ARB                                Administrative Review Board
Army MedCom                        Army Medical Command
Assisting Military Officer         responsible for meeting with the detainee prior to
                                   the Administrative Review Board hearing

B
Behavioral Science Consultants     Behavioral science experts who provide reports concerning
                                   the predictability of violence, threat assessment and
                                   personality assessment of a subject
BHU                                Behavioral Health Unit
BSCT                               Behavioral Science Consultation Team

C
CAT                                UN Convention Against Torture
CJDG                               Joint Detention Group Commander
CJTF                               Commander, Joint Task Force
Corpsman                           Hospital Corpsman (HM) is a rating in the U.S.
                                   Navy and a member of the Navy's Medical Corps
CRT                                Compliance Review Team
CSRT                               Combatant Status Review Tribunal

D
DH                                 Detention Hospital
DIMS                               Detainee Information Management System
DMO                                Detainee Movement Operations
DMPC                               Detainee Mail Processing Center
DoDD                               Department of Defense Directive
DoDI                               Department of Defense Instruction
DTA                                Detainee Treatment Act of 2005

E
EMR                                Emergency Medical Response

F
FCE                                Forced Cell Extraction
FM                                 Field Manual

G


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GCC                          Geneva Convention Relative to the Protection of Civilian
                             Persons in Time of War (Geneva IV)
GPW                          Geneva Convention Relative to the Treatment of Prisoners
                             of War (Geneva III)
GTMO                         Guantánamo Bay
GWS                          Geneva Convention for the Amelioration of the Condition
                             of the Wounded and Sick in Armed Forces in the Field
                             (Geneva I)

H
Halal Meals                  The term is widely used to designate food seen as
                             permissible according to Islamic law.

I
ICE                          Intelligence Control Element,
                             Or, Immigration and Customs Enforcement
ICRC                         International Committee of the Red Cross
IP                           Interrogation Plan
IPF                          Interrogation Plan Form
ISN                          Internment Serial Number

J
JDG                          Joint Detention Group
JDIMS                        Joint Detainee Information Management System
JIG                          Joint Intelligence Group
JMG                          Joint Medical Group
JTF-GTMO                     Joint Task Force Guantánamo

M
MCA                          Military Commissions Act
MMC                          Manual for Military Commissions
MP                           Military Police
MPO                          Medical Plans Officer

N
NCOIC                        Non-Commissioned Officer in Charge
NGO                          Non-Government Organization

O
OIC                          Officer in Charge

P
Pashtu                       (Naskh: ‫ ﭘښﺘﻮ‬- IPA: [pa 'to]; alternative spelling:




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                              (Pakhto, Pushto, Pukhto, Pashtu, or Pushtu), also known as
                              Afghani, is an Indo-European language spoken primarily in
                              Afghanistan and northwestern Pakistan.
PPD                           Purified Protein Derivative

R
Rainbow Chart Code System     Chart code system the JDG/JMG uses to activate its
                              Emergency Response System
Ramadan                       A Muslim religious observance that takes place
                              during the ninth month of the Islamic calendar,
                              requiring the faithful to fast from the rising to the setting of
                              the sun every day of the month
RCM                           Red Cross Message

S
S2                            Intelligence Officer
SC                            Supreme Court
                              Or, U.S. Southern Command
                              Or, Section Chief
SJA                           Staff Judge Advocate
SMO                           Senior Medical Officer
SOP                           Standard Operating Procedures

T
Tafseer                       (aka Tafsir) is the Arabic word for exegesis or
                              commentary, usually of the Qur'an
TB                            Tuberculosis
TTP                           Tactics, Techniques and Procedures

U
UCMJ                          Uniform Code of Military Justice
UN                            United Nations

W
WMA                           World Medical Association




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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 134
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



                             Plaintiffs' MSJ Appx. 2169
                                                                                                                                      Body Mass Index Table

                                                       Normal                            Overweight                            Obese                                                                Extreme Obesity

                             BMI         19    20     21     22     23     24     25    26     27     28     29     30    31     32     33     34    35     36     37     38       39   40   41   42 43   44   45   46   47   48   49   50   51   52   53   54

                             Height
                             (inches)                                                                                                        Body Weight (pounds)

                             58          91    96 100 105 110 115 119 124 129 134 138 143 148 153 158 162 167 172 177 181 186 191 196 201 205 210 215 220 224 229 234 239 244 248 253 258

                             59          94    99 104 109 114 119 124 128 133 138 143 148 153 158 163 168 173 178 183 188 193 198 203 208 212 217 222 227 232 237 242 247 252 257 262 267

                             60          97 102 107 112 118 123 128 133 138 143 148 153 158 163 168 174 179 184 189 194 199 204 209 215 220 225 230 235 240 245 250 255 261 266 271 276

                             61         100 106 111 116 122 127 132 137 143 148 153 158 164 169 174 180 185 190 195 201 206 211 217 222 227 232 238 243 248 254 259 264 269 275 280 285

                             62         104 109 115 120 126 131 136 142 147 153 158 164 169 175 180 186 191 196 202 207 213 218 224 229 235 240 246 251 256 262 267 273 278 284 289 295

                             63         107 113 118 124 130 135 141 146 152 158 163 169 175 180 186 191 197 203 208 214 220 225 231 237 242 248 254 259 265 270 278 282 287 293 299 304

                             64         110 116 122 128 134 140 145 151 157 163 169 174 180 186 192 197 204 209 215 221 227 232 238 244 250 256 262 267 273 279 285 291 296 302 308 314

                             65         114 120 126 132 138 144 150 156 162 168 174 180 186 192 198 204 210 216 222 228 234 240 246 252 258 264 270 276 282 288 294 300 306 312 318 324

                             66         118 124 130 136 142 148 155 161 167 173 179 186 192 198 204 210 216 223 229 235 241 247 253 260 266 272 278 284 291 297 303 309 315 322 328 334

                             67         121 127 134 140 146 153 159 166 172 178 185 191 198 204 211 217 223 230 236 242 249 255 261 268 274 280 287 293 299 306 312 319 325 331 338 344




Plaintiffs' MSJ Appx. 2170
                             68         125 131 138 144 151 158 164 171 177 184 190 197 203 210 216 223 230 236 243 249 256 262 269 276 282 289 295 302 308 315 322 328 335 341 348 354

                             69         128 135 142 149 155 162 169 176 182 189 196 203 209 216 223 230 236 243 250 257 263 270 277 284 291 297 304 311 318 324 331 338 345 351 358 365

                             70         132 139 146 153 160 167 174 181 188 195 202 209 216 222 229 236 243 250 257 264 271 278 285 292 299 306 313 320 327 334 341 348 355 362 369 376

                             71         136 143 150 157 165 172 179 186 193 200 208 215 222 229 236 243 250 257 265 272 279 286 293 301 308 315 322 329 338 343 351 358 365 372 379 386

                             72         140 147 154 162 169 177 184 191 199 206 213 221 228 235 242 250 258 265 272 279 287 294 302 309 316 324 331 338 346 353 361 368 375 383 390 397

                             73         144 151 159 166 174 182 189 197 204 212 219 227 235 242 250 257 265 272 280 288 295 302 310 318 325 333 340 348 355 363 371 378 386 393 401 408

                             74         148 155 163 171 179 186 194 202 210 218 225 233 241 249 256 264 272 280 287 295 303 311 319 326 334 342 350 358 365 373 381 389 396 404 412 420

                             75         152 160 168 176 184 192 200 208 216 224 232 240 248 256 264 272 279 287 295 303 311 319 327 335 343 351 359 367 375 383 391 399 407 415 423 431

                             76         156 164 172 180 189 197 205 213 221 230 238 246 254 263 271 279 287 295 304 312 320 328 336 344 353 361 369 377 385 394 402 410 418 426 435 443
                                                                                                                                                                                                                                                                 Case 4:14-cv-03253 Document 301-13 Filed on 09/08/16 in TXSD Page 200 of 380




                             Source: Adapted from Clinical Guidelines on the Identification, Evaluation, and Treatment of Overweight and Obesity in Adults: The Evidence Report.
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 135
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



                             Plaintiffs' MSJ Appx. 2171
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CHAPTER: 401T-PPS ADC Administrative Services, Physical Plant Standards
Rev. 02/23/12



 INDIVIDUAL
 VALIDATION


                            ARIZONA                 CHAPTER: 400                      OPR:
                            DEPARTMENT              PHYSICAL PLANT/FACILITIES         Division Director,
                            OF                                                        Administrative Services
                            CORRECTIONS



        401-T-PPS                                   DEPARTMENT ORDER: 401             SUPERSEDES: N/A
   TECHNICAL MANUAL
 PHYSICAL PLANT STANDARDS                               PRISON CONSTRUCTION           EFFECTIVE        DATE:
                                                                                      10/1/00
                                                                                      Rev. 07/01/02
                                                                                      Rev. 08/02/06
                                                                                      Rev. 11/01/09
                                                                                      Rev. 04/09/10
                                                                                      Rev. 05/17/10
                                                                                      Rev. 01/27/12
                                                                                      Rev. 02/23/12




FEBRUARY 23, 2012 REVISION SUMMARY

The Arizona Department of Corrections 401-T-PPS Technical Manual Physical Plant Standards was
revised on February 23, 2012. Changes are identified in red below:

3.2.1 Medium Custody Housing Requirements

Medium Custody inmates may be housed in dormitory or cell style buildings. Optimal number of beds per
pod/housing unit will be based on sound correctional practice, which ensures the safety of staff and
inmates as well as effective security. The housing unit shall have a control room per section 1.6.19.1.3,
centrally located, capable of directly observing no more than 6 pods within a maximum of a 180 degree
field of view. Pod size shall be limited to a maximum of 50 inmates per pod in dormitory style buildings.
No more than 200 inmates shall be monitored by each control room officer for dormitory style buildings.
Buildings shall be constructed to meet an I-3 condition 2 occupancy requirement. Exit and entry doors
into the Pod areas shall be lockable. Movement between pods shall be restricted by an electronically and
manually operated door or gate. Building may be constructed of masonry, concrete (pre-cast or cast-in-
place), pre-engineered metal building or other materials that meet the above and code requirements.




                                       Plaintiffs' MSJ Appx. 2172
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CHAPTER: 401T-PPS ADC Administrative Services, Physical Plant Standards
Rev. 02/23/12




JANUARY 27, 2012 REVISION SUMMARY

The Arizona Department of Corrections 401-T-PPS Technical Manual Physical Plant Standards was
revised on January 27, 2012. Changes are identified in red below:




 Fencing: In all references to razor wire the standard shall be 5 point detainer hook and barb razor wire.

 Fencing: In all references to fencing, fence ties shall be mechanically twisted and all straps and bolts shall be tack
 welded

 1.4.1.5 Facility Appearance: Paint Colors
 Specific color specifications shall match colors as manufactured by TriCom Coatings, Inc. and as listed:
 Interior Trim – Blue Chip 302L20F
 Buildings (Exterior Walls) – Drumhill Grey Latex 302A78F/ (metals) Drumhill Grey DTM 600A69F
 Buildings (Exterior Walls) – Battleship Grey Latex 302A15F /(metals) Battleship Grey DTM 600A68F
 Building Interior Walls – Chalky White 302W127
 Cell Walls – Navajo White 302W05F or Florence Navajo White 302W210F

 1.6.13.1 Area Requirements: Dental
 3 Chairs per 1000 inmates

 1.6.17.1 Area Requirements: Pharmacy
 Deleted State Law and inserted per AZ Board of Pharmacy requirements




 1.6.19.1.3 Security and Control Areas
 Control rooms are required in Level 3, 4 and Level 5 facilities and may be required in Level 2 facilities depending on
 operational and security factors. Level 2 and 3 control rooms may be accessed from inmate occupied areas and
 require only a single security door. Level 2 and 3 control rooms shall have a means of egress for staff to evacuate
 the control room either through a roof hatch or to a safe area at ground level via an exit door. Level 4 and 5 control
 rooms shall be equipped with an escape ladder to the roof of the building, and be equipped with a means of
 securing the hatch from the roof side of the hatch


 2.1.5.3 Minimum Custody Perimeter and Area Lighting
 Two foot candles of lighting on perimeter

 2.2.1 Housing: Minimum Custody Officer Station
 The housing unit shall have an officer station for direct supervision; it shall be elevated 2' and located against the
 wall at the front of each pod. It shall have 2 access points with dutch type doors installed at each.

 2.2.1.1.1 Minimum Custody Pod Area
 Movement between pods shall be restricted by an electronically and manually operated door or gate.

 3.1.4 Medium Custody Facility Size Requirements
 Must be designed to separate recreation yards

 3.2.1 Medium Custody Housing Requirements
 The housing unit shall have a control room per section 1.6.19.1.3. Movement between pods shall be restricted by
 an electronically and manually operated door or gate.

                                           Plaintiffs' MSJ Appx. 2173
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CHAPTER: 401T-PPS ADC Administrative Services, Physical Plant Standards
Rev. 02/23/12




 INDIVIDUAL
 VALIDATION


                             ARIZONA                  CHAPTER: 400                    OPR:
                             DEPARTMENT               PHYSICAL PLANT/FACILITIES       Division Director,
                             OF                                                       Administrative Services
                             CORRECTIONS



        401-T-PPS                                     DEPARTMENT ORDER: 401           SUPERSEDES: N/A
   TECHNICAL MANUAL
 PHYSICAL PLANT STANDARDS                                PRISON CONSTRUCTION          EFFECTIVE         DATE:
                                                                                      10/1/00
                                                                                      Rev. 07/01/02
                                                                                      Rev. 08/02/06
                                                                                      Rev. 11/01/09
                                                                                      Rev. 04/09/10
                                                                                      Rev. 05/17/10
                                                                                      Rev. 01/27/12




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Rev. 02/23/12




STATEMENT OF PHILOSOPHY

The design, construction and remodeling for prisons must promote a safe environment as well as an
efficient, effective and operational facility. Health and safety measures must enable the elimination,
control or minimization of the risk of injury to both staff and inmates. Facility organization must advance
the security perspectives of controlled inmate activity management and restricted movement. Managing
safety at the workplace requires those involved to continually seek to attain innovative ways to improve
employee safety as new prisons or modifications are contemplated. ADC developed this Standards
Manual to ensure these outcomes are realized.

EXECUTIVE SUMMARY

This manual is to be considered a work in progress that will be updated as revisions in statute, relevant
case law, improved technology and sound correctional practices dictate. Physical plant design,
construction, FF&E (Fixed Furnishings/Fixtures and Equipment) and hardware requirements beyond
those generally described in this manual will be detailed in procurement documents developed by subject
matter experts or described in detail in response to Requests for Proposals (RFP) from prospective
offerors for consideration by the Department.




This document contains general information about the operational levels within the prison system and the
specific requirements for various prison risk levels. A review of case law and statutes has been
performed, listing current relevant citations, clarifying and supporting the specific Standard(s).

The Physical Plant Standards Technical Manual was promulgated to enable all parties engaged in a
prison construction effort understands in general terms what ADC requires to enhance and protect the
Agency Public Safety Mission, while meeting the needs of the staff and inmates for a safe, secure and
operationally efficient work/living environment. It is expected that those who may compete for available
contracts with the Department, will meet or exceed these standards. This manual will be used as a basis
for the review of proposed facilities. All other new construction will be required to adhere to the
standards described in this manual. Additionally, in support of the Arizona Correctional Industries (ACI),
items produced and typically used in prison environments that are produced by inmates working for ACI,
have been specified for installation or use.

This manual has been developed in seven parts, which will allow the State to define the requirements of
any specific prison facility by combining requirements of specific parts of this manual. As an example,
Part 1 combined with Part 2 – (Minimum Facility Requirements) and Part 7 – (Appendix) fully defines
the design requirements of a Minimum facility.


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       Case ORDER
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PART 1 - GENERAL PARAMETERS

APPLICATION: This technical manual is designed to provide direction in matters related to the design
and construction of prison facilities. Deviations from authorized standards and requirements will be
considered if they are in the Department’s opinion consistent with sound correctional practices. Request
for approved changes to the standards shall be made in writing to the Administrator of the Engineering
and Facilities Bureau for consideration with final approval of any changes forwarded to the Department
Director, citing the Physical Plant Standards number, the specific proposed change and the reason for the
change. The Director will review the request and if approved, provide written approval of any acceptable
changes to these standards. The standards and requirements contained herein are intended to apply to new
construction of ADC facilities and contracted private facilities that have entered into a contract with ADC
to house inmates, with limited application to renovations of ADC prisons. Those Standards also
applicable to renovations are: 1.2.1; 1.4.1.5; 1.4.2; 1.4.1.3, 1.5.3.1 through 1.5.3.4 inclusive and 1.5.7.1.

1.1    DEFINITION OF TERMS

       1.1.1     ABBREVIATIONS, WORDS, TERMS AND PHRASES DEFINED: For the purpose
                 of this standards technical manual the following list of words, terms and phrases are
                 defined for the sole purpose of construction and renovation and are not official
                 definitions as used in other written instruction. The words are to provide clarity to the
                 technical information provided. Terms related to correctional facilities are used
                 differently throughout the United States, and can cause confusion related to facility
                 design and operational requirements.

       1.1.2     ACCEPTED EXPRESSIONS:

                 ACA:         American Correctional Association

                 ACI:         Arizona Correctional Industries

                 ADC:         Arizona Department of Corrections

                 AIMS:        Adult Information Management System.

                 CCTV:        Closed Circuit Television system used for surveillance purposes.

                 NCCHC:       National Commissions on Correctional Health Care.

                 COMPLEX CONTROL: The Control Room from which security and control for a
                 prison Complex occurs. It includes monitoring of systems within each prison unit and is
                 responsible for overall site security and control issues.

                 COMPLEX: A prison consisting of a grouping of prison units with individual and/or
                 shared perimeter fences and share centralized administrative and support functions
                 located outside the units themselves.

                 DETENTION: High security housing unit used to isolate inmates from the general
                 population on a short-term basis.



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               DORMITORY: A large single-space for the housing of inmates. The room provides
               spaces for multiple inmate living. Size of the space varies based on the requirements
               within this manual. Suitable for minimum and medium custody levels.

               FACILITY: A stand-alone prison, which contains all of the functions, defined in a
               prison unit and some of the functions found at a complex level. It is a facility that is
               capable of operating in a self-sufficient manner. Support buildings and functions that are
               not available on site are normally contracted out.

               FACILITY CONTROL: The control room responsible for security and control of the
               standalone facility, including perimeter security and all site-wide security and control
               issues. This control room provides monitoring of other control rooms within the facility
               (e.g., housing control, yard control, sally port positions, etc.).

               HOUSING UNIT: A building or portion thereof that provides a complete security
               barrier around all spaces that is consistent with the custody level contained. Housing
               unit styles may be either dormitory and/or celled. Officer Stations for Minimum level
               custody facilities and Control rooms for Medium, Close and Maximum level custody
               facilities staff to observe all beds in the dormitories or doors of the cells they control,
               and are an integral and required element of a housing unit.

               MAJOR ADDITION: “A Major Addition” is defined as the addition of permanent
               housing and the Complex and/or Facility Support Building necessary to support the
               additional inmate population to be housed. In this case, all of the requirements contained
               in these Standards apply. This requires the additional square footages of all Complex
               and Support Buildings.

               MANAGEMENT UNIT: A portion of the facilities’ population made up of a
               manageable number of inmates, which are divided by fencing.

               MATV: Master Antenna Television system.

               POD: A pod is a grouping of cells and an adjacent common space or dayroom. The
               entry/exit doors are locked, providing a secure barrier suitable for the custody level.
               Each pod contains showers and janitor closet to support the living activities. Several
               pods may be grouped around an officer station or control room to form a housing unit.

               RENOVATION: A major modification to an existing prison structure or a significant
               change to the use or occupancy of a prison structure. [Standards designated (Renovation)
               apply to renovation efforts as well as to new construction].

               SECURE VESTIBULE: A space developed to provide controlled movement of
               inmates, the public or staff between various functions. The space shall consist of at least
               two interlocked remotely controlled doors, and be designed to provide a continuation of
               the buildings’ security barriers.




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               UNIT: A group of prison buildings and recreation fields that are within a fenced area
               and are designed to meet the facility size requirements per the custody level being
               housed in this unit. The buildings contain the housing, support, education, work based
               education, visitation, kitchen, dining and administration spaces necessary to support the
               activities of the staff, inmates and public. Two custody levels may be contained in a
               single unit, provided the design and construction will yield adequate separation.

               UNIT CONTROL: The control room responsible for the security and control of a
               prison unit, including its perimeter security system and all internal security and control
               functions. This control room provides monitoring of other control rooms within the
               facility (e.g., housing control, yard control, sally port positions, etc.). The unit control is
               generally not responsible for perimeter patrol activities. Complex Control coordinates
               patrol activities.

               WING: A wing is a portion of a housing unit with cells or small pods aligned along a
               corridor.

1.2    BUILDING AND SAFETY CODES

       1.2.1   CODE COMPLIANCE:

               All work shall comply with applicable federal, state, and/or local building, fire safety
               codes and the standards herein.

               Code compliance shall be demonstrated through licensure and where a license is not
               issued, through inspection certificates.

               The codes in Appendix 1 shall be adhered to as well as any revisions promulgated
               subsequently.

1.3.   SITE LOCATION PARAMETERS

       1.3.1   EMERGENCY MEDICAL RESPONSE REQUIREMENTS: A Facility or Complex
               shall be sited in proximity to a city or town such that emergency services are within a 30-
               minute travel time from the prison. Renovated existing facilities shall also be located
               within the time constraints listed above.

       1.3.2   POPULATION CENTER REQUIREMENTS: Proximity to a civilian population
               center is to augment the services provided directly by the institution, to provide greater
               recruitment and training opportunities for staff, to accommodate visitors, and to provide
               employment opportunities for inmates.

       1.3.3   ZONING AND USE PERMITS: Facilities to be utilized by ADC shall be renovated or
               constructed on property with proper zoning which will allow the operation of a
               correctional facility of the level of the security level required by ADC. Special Use
               Permits shall be in place if they are a requirement of the zoning restrictions.




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       1.3.4   FIRE PROTECTION SERVICES: A prison complex or facility shall be sited in
               proximity to a city or town such that emergency services are within a 30 minute travel
               time from the prison. The use of a volunteer or internal fire department is acceptable for
               compliance, assuming that the fire station is readily accessible in case of fire and that it is
               the primary alternative source available. If the fire station is not continually staffed, fire
               alarm notification (telephonic or direct link) must be made to a local law enforcement
               unit or equally reliable source.

1.4    FACILITY PARAMETERS

       1.4.1   GENERAL REQUIREMENTS: ADC has developed general terms defining the levels
               of security risk within the Arizona Department of Corrections. The following general
               parameters and specific requirements in Part 2 through 7 of this manual shall be
               complied with based on the level of security of the facility. Appendix 2 provides a
               definition of each Risk Level.

               1.4.1.1 Facility or Unit Capacity: The capacity of a facility or a unit within a prison
               complex may be designed to house a maximum of 1,000 inmates.

               In determining size, the Department shall consider the custody level and the ability of
               staff to observe unit dynamics and security requirements. Inmate housing areas are the
               foundation of institutional living and must promote the safety and well being of both
               staff and inmates.

               1.4.1.2 Facility Gross Square Footage: The minimum gross square footage of the
               entire complex or facility based on required building square footages shall be a minimum
               of 175 s.f./inmate. In some circumstances (such as the addition of a unit to an existing
               complex) some of the structures and/or services may be out-sourced or served by the
               main complex. In those cases, documentation must be provided on the out-sourced
               services and justification provided for reduction of square footages. Reductions in
               square footages are to be itemized and shall be reviewed by an ADC review panel for
               approval by the director. The following square footages that are not to be included in the
               total for the purpose of this paragraph, (water treatment plant buildings, wastewater
               treatment plant buildings and/or other buildings) that are not specifically required by
               these Standards.

               1.4.1.5 Facility Appearance: Facilities or complex buildings shall be painted grey.
               (It is acceptable to leave CMU or concrete on the interior of a building without paint if
               waterproofing is not required.) All interior building trim and miscellaneous metals shall
               be painted blue. Exterior metals shall be painted with DTM type paint to match exterior
               wall color. Cell walls shall be painted Navajo White. Employee office areas shall be
               painted white. Pre-engineered metal buildings shall not be painted, but color selection
               shall match as closely as possible to Department color selections.

                          Specific color specifications shall match colors as manufactured by TriCom
                          Coatings, Inc. and as listed:

                         Interior Trim – Blue Chip 302L20F
                         Buildings (Exterior Walls) – Drumhill Grey Latex 302A78F / (metals)
                         Drumhill Grey DTM 600A69F
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                         Buildings (Exterior Walls) – Battleship Grey Latex 302A15F / (metals)
                         Battleship Grey DTM 600A68F
                         Building Interior Walls – Chalky White 302W127
                         Cell Walls – Navajo White 302W05F or Florence Navajo White 302W210F


       1.4.2   FENCING DESIGN: Fencing structure and footings are to be designed to meet the soil
               conditions at the site based on the geotechnical recommendations and to meet the wind
               loading and seismic conditions of the area per code recommendations. Minimum
               requirements for wind loading shall be 90 mph and seismic zone 2. Provide sealed
               structural calculations for ADC approval.

       1.4.3   PARKING: Provide 287 parking spaces adjacent to the main entry point to the Unit. If
               utilizing a Complex Parking Lot then provide 287 parking spaces per Unit based on the
               following requirements:

               Staff/Visitor Parking: Provide 280 vehicle parking spaces per individual prison unit.

               Accessible Parking: Provide 7 Handicapped Accessible parking spaces per individual
               prison unit.

1.5    ENVIRONMENTAL PARAMETERS

       1.5.1   HVAC

               1.5.1.1   GENERAL:

                     1.5.1.1.1   Mechanical design shall consider the degree of difficulty and cost for
                     maintaining and operating a prison, as related to placement and potential abuse of
                     equipment.

                     1.5.1.1.2 For buildings located within the security area, security, staff safety and
                     inmate safety take precedence over energy conservation issues.

                     1.5.1.1.3 Buildings must meet the energy conservation requirements of
                     ASHRAE Standard 90.1. In addition, they must comply with the following current
                     Arizona Statutes and Executive orders:

                            ASRS §34-451                  Energy conservation standards for public
                                                          buildings
                            ASRS §34-452                  Solar design standards for state buildings;
                                                          energy life cycle costing
                            Executive Order 2005-5        Implementing Renewable Energy and Energy
                                                          Efficiency in New State Buildings
                            Executive Order 2004-28       Statewide 5% Water Use Reduction
                            Executive Order 2003-14       Implementing Statewide Efficiency Review


                     1.5.1.1.4 New construction in either modernization or renovation projects shall
                     conform to the level of minimum standards as described for new prisons.
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                     1.5.1.1.5 Alterations to existing, or installation of new mechanical systems in
                     existing structures shall be accomplished in conformance with the requirements for
                     new prisons.

                     1.5.1.1.6 Redundant A/C systems shall be designed for telephone and computer
                     server rooms to insure continued operation should one system fail.

               1.5.1.2   SECURITY

                     1.5.1.2.1   Wall Openings and Duct Penetrations:

                            1.5.1.2.1.1 Security shall be maintained for openings exceeding 5 inches
                            in any dimension or duct penetrations in perimeter walls, floors, or
                            ceiling/roof of secure rooms or areas, by fitting to the opening (on the side
                            away from the opening if possible) an assembly of round steel bars welded
                            to a perimeter welded steel frame or an acceptable manufacturer’s product

                            1.5.1.2.1.2 The areas and buildings requiring these security bars are those
                            in Close, Maximum, and all detention housing units (including control
                            rooms), inmate canteen, receiving and release, armory, locksmith, visiting,
                            central control, complex control and pharmacy.

                     1.5.1.2.2   Security Bar Assembly:

                            1.5.1.2.2.1 Duct mounted security barrier shall be constructed of vertical
                            3/4" diameter, tool-resistant steel bars on maximum 6" centers with
                            horizontal 2" x 1/4" flat steel bars on maximum 8" centers. Horizontal and
                            vertical bars shall be welded at each cross-point. Barrier bars shall be
                            welded into 1/4" x 2" steel frame.

                            1.5.1.2.2.2 Security barriers in shower exhaust ducts and dishwasher
                            exhaust ducts shall be stainless steel.


                     1.5.1.2.3 Security Air Inlets and Outlets: Security type air inlets and outlets
                     shall be provided for all openings in perimeter walls, floors or ceilings/roofs of
                     secure room or areas.

                     1.5.1.2.4 Grilles: Supply and return grilles in Close, Maximum and all
                     detention building cells, shall be constructed of 3/16" steel to comply with ASTM
                     A36.

                            1.5.1.2.4.1   The face of the grille shall be perforated with 5/16" diameter
                            holes arranged on 7/16" staggered centers.


                            1.5.1.2.4.2    The grille shall have a 1 inch steel border around the entire
                            perimeter.
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                     1.5.1.2.5 The areas and buildings requiring these security bars are those in Close,
                     maximum and all detention housing units (including control rooms), inmate
                     canteen, receiving, and release, armory, locksmith, visiting, central control,
                     complex control and pharmacy.

                      1.5.1.2.6 Any equipment that is accessible to inmates from the yard
                     shall have a 10 foot high chain link fencing enclosure constructed around it of with
                     1—36” wide gate and 1 coil of 30” 5 point detainer hook and barb concertina razor
                     ribbon around the top of the enclosure.


               1.5.1.3 HVAC DESIGN CONDITIONS

                     1.5.1.3.1   Outdoor Conditions:

                            1.5.1.3.1.1 The outdoor design conditions shall be determined from the
                            Climatic Data for Region X Arizona, California and Nevada issued by
                            ASHRAE.

                            1.5.1.3.1.2 The summer design dry bulb and design wet bulb shall be
                            taken from the 0.5 percent columns. The winter dry bulb shall be taken
                            from the 0.2 percent column.

                     1.5.1.3.2   Indoor Environmental Requirements:

                            1.5.1.3.2.1 Mechanical cooling shall be provided to maintain a maximum
                            indoor temperature of 78oF within the ASHRAE summer comfort zone.
                            Unless contradicted by security considerations or site and design conditions,
                            equipment shall be ground-set. Ground-set equipment shall be located in
                            areas not accessible to inmates or secured by fencing. Equipment selected
                            shall be of the highest EER/SEER rating available.

                            1.5.1.3.2.2 Evaporative cooling may be provided for warehouse or
                            industrial buildings. 12" Glasdek media shall be used as a minimum media
                            thickness and be comprised of 4" thick and 8" thick media to allow
                            replacement of the 4" media during regular maintenance.

                            Inmate spaces in the Minimum and Medium Custody facilities shall be
                            designed for air conditioning to maintain a maximum indoor temperature of
                            80°F within the ASHRAE summer comfort zone.

                            1.5.1.3.2.3 Heating shall be provided for inmate, mixed use, and staff
                            only spaces to maintain a minimum indoor temperature of 68oF within the
                            ASHRAE winter comfort zone.

                            1.5.1.3.2.4   The following areas have special requirements:

                                    1.5.1.3.2.4.1 Within Close and Maximum level custody facilities
                                    the housing unit control room, central control and complex control
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                                   shall have an independent separate air conditioning system, which is
                                   separated from the remaining structure, in order to prevent intrusion
                                   of chemical agents or smoke. Space shall be positively pressurized
                                   and air conditioned space is to be completely sealed to prevent
                                   passage of chemical agents or smoke.

                                   1.5.1.3.2.4.2 The dry food storage area shall be air conditioned and
                                   shall be maintained between 68oF and 78oF.

                            1.5.1.3.2.5 Except for areas indicated specifically elsewhere, warehouses
                            and storage facilities shall be maintained at a maximum of 80oF. If
                            evaporative cooling is used, the summer temperatures shall be maintained
                            with evaporative cooling with 12" deep minimum Glasdek.

                            1.5.1.3.2.6 Work Based Education (WBE) areas shall be treated as typical
                            inmate occupied areas, unless the equipment or type of operation used to
                            teach the inmates in the specific areas places either a greater or lesser
                            demand for temperature requirements.

                     1.5.1.3.3   Energy Sources:

                            1.5.1.3.3.1     Heating: Where natural gas is available, it shall be
                            distributed throughout the site as the source of heating.

                            1.5.1.3.3.2   Hot Water: The use of solar technology for water heating is
                            strongly recommended.

               1.5.1.4    VENTILATION

                     1.5.1.4.1 General: Close and Maximum housing units shall receive a minimum
                     of 40 cfm outside air per cell.

                     1.5.1.4.2   Exhaust Ventilation Requirements:

                            1.5.1.4.2.1    Restrooms and public toilets require exhaust at 2 cfm per
                            square foot.

                            1.5.4.1.2.2    Janitor’s closets require exhaust at 2 cfm per square foot.

                            1.5.1.4.2.3    Kitchen exhaust shall comply with NFPA 96.

                            1.5.1.4.2.4  Showers shall be exhausted to provide for 100 cfm per
                            shower head.

                            1.5.1.4.2.5    There shall be a minimum exhaust of 100 cfm from each
                            cell.

                            1.5.1.4.2.6   There shall be exhaust from the bench in the armory to
                            exhaust fumes. A slotted hood is preferred.

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                     1.5.1.4.3   Smoke Exhaust:

                            1.5.1.4.3.1    Smoke exhaust for all “I” occupancy buildings shall be in
                            accordance with NFPA, UBC, and UFC, with modifications as accepted by
                            State Fire Marshal.

                            1.5.1.4.3.2    In cell areas, upon detection in a zone, the smoke exhaust
                            shall be energized. Air handlers in adjacent zones shall operate normally.
                            Air handlers in smoke zone shall go to 100% outside air. If smoke is
                            detected in supply duct, AHU shall shut down.

                            1.5.1.4.3.3    The operation of the smoke exhaust mode for the air
                            conditioning systems shall be controlled by:

                                   1.5.1.4.3.3.1   Smoke detection systems in the exhaust/return air
                                   ducts.

                                   1.5.1.4.3.3.2   Area smoke detectors.

                            1.5.1.4.3.4    Consideration should be given into the use of two speed
                            exhaust fans in accomplishing the smoke evacuation.

               1.5.1.5    DUCT SYSTEMS

                     1.5.1.5.1   Ductwork:

                            1.5.1.5.1.1   The ducts shall be designed as low pressure galvanized
                            ductwork in accordance with SMACNA Low Pressure Duct Construction
                            Standards and ASHRAE handbooks, except as noted in the following:

                                   1.5.1.5.1.1.1   Spiral wound round ducts may be used.

                                   1.5.1.5.1.1.2 Exhaust ducts from showers, kitchen dishwasher
                                   hood, and other wet areas shall be aluminum or stainless steel.

                     1.5.1.5.2   Ducts Exposed to Inmate Reach:

                            1.5.1.5.2.1    Ducts are considered exposed to inmate access if they are
                            located within twelve feet of the floor, mezzanine or ground in an inmate
                            accessible area.
                            1.5.1.5.2.2    When ducts are exposed in inmate accessible areas, the duct
                            shall be welded rectangular ducts. The sheet metal shall be at least 14
                            gauge in thickness. The sections shall be welded or screwed together with
                            tamper-proof fasteners. Slip joints are not allowed.

                            1.5.1.5.2.3    If, due to unevenness of duct or ceiling, there is a crack
                            exceeding 1/32 inch between duct and ceiling, within reach in inmate
                            accessible areas, then such crack must be covered by a 1 x 1 x 1/4 inch
                            angle iron which is spot welded to the duct and bolted to the ceiling with
                            tamper-proof fasteners.
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                     1.5.1.5.3    Ductwork Accessories:

                            1.5.1.5.3.1    All ductwork accessories shall be standard accessories
                            conforming to SMACNA, NFPA and UL requirements for grilles, registers,
                            balancing dampers, fire dampers and combined smoke and fire dampers,
                            except as noted below:

                                   1.5.1.5.3.1.1 Grilles and registers shall provide for a proper air
                                   distribution, and shall be designed to avoid blowing air directly at
                                   inmates or staff.

                                   1.5.1.5.3.1.2 Grilles and registers at showers and wet locations
                                   shall be of aluminum or stainless steel for minimum and medium
                                   security and stainless steel for close and maximum security and all
                                   detention units.

               1.5.1.6   CONTROLS

                     1.5.1.6.1    Air Conditioning Control: Control systems may be independent and
                     stand-alone for each building. A/C design may provide for central controls.
                     Energy efficient central plant chillers are strongly recommended and should always
                     be evaluated against independent systems to achieve the greatest energy efficiency.

                     1.5.1.6.2    Smoke Control:      Smoke management is required in the housing
                     buildings.

                     1.5.1.6.3    Thermostats:

                            1.5.1.6.3.1 Thermostats controlling inmate accessible areas shall be of the
                            remote sensor type, where the sensor is located in the return air ductwork,
                            and the controller located in the equipment or mechanical rooms whenever
                            possible.

                            1.5.1.6.3.2 If it is not possible to use or mount thermostats outside the
                            inmate accessible areas, the thermostat shall be provided with a minimum
                            14 gauge tamper-proof enclosure.

                            All controls shall be installed in such a manner as to be accessible only to
                            authorized staff. If this is not possible, security grade, lockable covers may
                            be used.




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       1.5.2   PLUMBING REQUIREMENTS

               1.5.2.1   General

                     1.5.2.1.1   Accessibility:

                            1.5.2.1.1.1 The prison shall be designed to provide for access spaces or
                            chases adjacent to inmate cell toilet-lavatory combos, inmate toilets, urinals
                            and showers. They shall contain the sanitary and domestic water piping in
                            addition to other required utilities.

                            1.5.2.1.1.2    These spaces or chases shall not be accessible to inmates.

                            1.5.2.1.1.3    Fixture isolation valves, water closet and urinal flush valves,
                            lavatory P-trap and lavatory valves shall be designed to be serviced only
                            from inside these access spaces or chases where the necessary work space
                            shall be provided.

                            1.5.2.1.1.4   Design documents shall contain a large scale detailed layout
                            of plumbing for the plumbing chase between the cells.

                            1.5.2.1.1.5    A “mock-up” of the design for all ductwork, plumbing and
                            electrical and control wire in the chase between cells shall be built and
                            approved by ADC prior to installation.

                            1.5.2.1.1.6     Water conservation fixtures, controls, and valves are
                            required. Urinal fixtures should not exceed 1 gallon per flush and waterless
                            urinals are to be installed in staff areas. Toilets should not exceed 1.5
                            gallons per flush. Showerheads should not exceed 2.5 gpm and lavatory
                            faucets should not exceed 2 gpm and must be equipped with aerators. In
                            kitchen areas, low-flow pre-rinse valves shall not exceed 1.6 gpm, door-
                            type dishwashing machines shall be utilized consuming 1.5 gallons per rinse
                            cycle shall be utilized.

                     1.5.2.1.2   Domestic Hot Water:

                            1.5.2.1.2.1    In accordance with section 1.5.1.1.3 and 1.5.1.3.3.2, the use
                            of thermal solar technology is strongly encouraged.

                            1.5.2.1.2.2    Where natural gas is available, the domestic hot water shall
                            be heated in local gas fired water heaters or high efficiency boilers in each
                            building. Tankless, on demand type water heaters may be utilized in some
                            locations if approved by the Engineering and Facilities Bureau. In kitchens
                            and other high use areas a redundant system is desirable in case of
                            equipment failure.

                            1.5.2.1.2.3     Electrical water heaters may only be used in structures with a
                            low occupancy and low water usage, if this is more economical than
                            providing long supply lines for natural gas or hot water. The use off
                            "instant", "tankless" or "point of use" electric hot water heaters is preferred.
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                            1.5.2.1.2.4    Hot water shall be provided at 105 degrees (adjustable from
                            100 degrees to 120 degrees) for sinks, lavatories and showers.

                            1.5.2.1.2.5     Hot water at 140 degrees shall be provided for the kitchen.

                            1.5.2.1.2.6   Hot water at 180 degrees shall be provided if required by
                            dishwashing equipment by local booster heaters for usage in the kitchen
                            automated dishwashing equipment.

                            1.5.2.1.2.7     The hot water main lines shall have a re-circulating loop
                            system.

                     1.5.2.1.3 Contamination Prevention: The domestic water system shall be
                     protected from potential contamination.

                     1.5.2.1.4 Water Conserving Fixtures: All fixtures shall be selected to minimize
                     their water usage and comply with State statutory requirements.

                     1.5.2.1.5 Laundries: Laundries shall utilize wastewater heat recovery systems
                     and simple rinse water reuse systems.

                     1.5.2.1.6 Evaporative Coolers: are to be equipped with timers for bleed water
                     discharge. Discharge water from evaporative coolers shall not be discharged to the
                     sanitary system if on-site waste water treatment facilities are provided.

               1.5.2.2   PIPING

                     1.5.2.2.1 Interior Waste and Vent Lines: Pipes shall be concealed where
                     possible. Where piping is exposed in areas accessible to inmates, “Hub-type”
                     joints shall be used.

                     1.5.2.2.2 Drains and Cleanouts: Drains and cleanout covers shall be secured
                     using tamper-proof fasteners in all areas. Drains shall be provided at all toilet
                     rooms.

                     1.5.2.2.3 Baffles in Drain Lines: Sanitary waste piping connections for water
                     closets in inmate rooms, where installed Aback-to-back@ with common chase, shall
                     be piped utilizing a sanitary tee fitting with integral baffle so that there cannot be
                     any direct pass-through in the piping.

                     1.5.2.2.4   Domestic Water Piping:

                            1.5.2.2.4.1     Piping shall be concealed where possible. Exposed piping
                            shall be identified at approximately 20 foot intervals.

                            1.5.2.2.4.2    Sectional valves to isolate sections of piping for maintenance
                            and repairs shall be provided.



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                     1.5.2.2.5   Freeze Protection:

                            1.5.2.2.5.1    All exterior exposed plumbing shall be protected from
                            freezing.

                            1.5.2.2.5.2    Assume ASHRAE 0.2% standard temperature for design.

                            1.5.2.2.5.3    Use insulation in lieu of heat trace where insulation alone
                            will provide the required protection at the ASHRAE design temperature.

                            1.5.2.2.5.4   Where no ASHRAE temperature is listed for the site, confer
                            with ADC for selection of appropriate design temperature.

               1.5.2.3   INTERCEPTORS

                     1.5.2.3.1   Grease Interceptors:

                            1.5.2.3.1.1   Sizing of grease interceptors shall be in accordance with the
                            requirements of the formula for full service kitchen of the UPC.

                            1.5.2.3.1.2    The sizing shall be based on emptying the grease interceptor
                            twice monthly.

                            1.5.2.3.1.3     The grease interceptor may be sectionalized, but installed on
                            a solid unitary base.

                            1.5.2.3.1.4    Only grease bearing effluents shall be discharged into the
                            grease interceptor.

                     1.5.2.3.2   Oil Interceptors:

                            1.5.2.3.2.1   Floor drains in any area, such as garages, automobile repair
                            and maintenance shops or fuel storage and handling areas, where the runoff
                            may contain oil or spilled fuel, shall be provided with an oil interceptor to
                            prevent oil or fuel from entering the sanitary sewer or storm drainage
                            system.

                            1.5.2.3.2.2    Only oil bearing, grease bearing, or flammable effluents
                            shall be discharged into the oil interceptor.

                     1.5.2.3.3   Soil Interceptors:

                            1.5.2.3.3.1     Soil interceptors shall be provided in the drain lines, where
                            there is a risk of contaminating the drain water with soil, sand or gravel,
                            such as runoff from areas where trucks are washed, or runoff from areas
                            where potting of plants, gardening or landscaping is performed.

                            1.5.2.3.3.2    Only solid, sand or gravel bearing effluents shall be
                            discharged into the soil interceptor.

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                            1.5.2.3.3.3   Oil and soil interceptors may be combined into one, where
                            there is a mixing of the oil and soil contaminations, such as runoff from
                            truck washing areas.



       1.5.3   FIRE PROTECTION

               1.5.3.1   Codes and Requirements

                     1.5.3.1.1 Extinguishment requirements and sprinkler systems shall comply with
                     NFPA 13 and UFC.

               1.5.3.2   Sprinkler heads

                     1.5.3.2.1 Sprinkler heads used in inmate acceptable areas within the inner
                     security perimeter shall be institutional type and tamper-resistant. If the sprinkler
                     head is equipped with an escutcheon, it shall require a special tool for removal.

                     1.5.3.2.2 When sprinkler heads are required in inmate accessible areas with
                     limited head height, they shall be security type with flush mounting.

                     1.5.3.2.3 In dayrooms of housing units, piping and sprinkler heads shall be
                     designed to be out of reach of inmates. Where piping must be exposed in activity
                     areas, pendant type sprinkler heads will be used and the pipe will be strapped to the
                     ceiling or roof slab overhead at intervals sufficiently close to maintain straight
                     alignment.

                     1.5.3.2.4 At least 4 spare sprinkler heads of each type used shall be provided at
                     the site, together with any special tools required for head replacement for each
                     building.

                     1.5.3.2.5 Before final design or installation, a sample of all proposed security
                     area sprinkler heads shall be presented to ADC for inspection/approval.

                     1.5.3.2.6 Sprinkler heads installed in radio, security and electrical rooms within
                     another structure shall not be located above equipment, in order to prevent
                     equipment damage due to water leakage.

               1.5.3.3   Isolation Valve

                     1.5.3.3.1 An isolation valve shall be provided for each sprinkler system with a
                     water flow detection alarm switch and a valve tamper switch connected into the
                     central detection and alarm system. Valves and switches shall not be installed in
                     areas accessible to inmates.

               1.5.3.4   Fire Protection Water

                     1.5.3.4.1 If on-site water storage is required, the capacity shall be determined by
                     local jurisdiction requirements, NFPA, UBC and UFC.
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                     1.5.3.4.2 Fire protection water shall be provided from the site domestic water
                     system, but with separate entries to the buildings that require fire water for
                     sprinklers or standpipes.


       1.5.4   LIGHTING

               1.5.4.1   Exterior Lighting Fixtures

                     1.5.4.1.1 Exterior lighting shall conform to local lighting codes. These codes
                     shall be verified with the local jurisdiction. Foot candle levels shall be provided as
                     required in parts 2-6 under 1.5 Physical Security. Building and site lighting shall
                     be controlled by a combination photocell on, and time clock off. Time clock shall
                     be digital with battery backup.

                     1.5.4.1.2 High mast lighting shall be utilized where allowed by local codes.
                     Poles shall be round steel with the lowering mechanism in the pole powered by a
                     portable motor. High mast lighting shall be a top latch system with a maximum
                     pole height of 100 feet. Bases shall be designed and certified by a Structural
                     Engineer. Light source shall be high pressure sodium or an energy efficient type
                     that has the ability to deliver the required light levels.

                     1.5.4.1.3 Pole mounted lights shall consist of a sealed optical system, sharp cut
                     off utilizing 400W high pressure sodium light. The sealed optical system shall
                     consist of neoprene seal on the lens and a permanent gasket at wire penetration
                     from ballast to the optical chamber. Poles shall be round steel. Energy-efficient
                     fixtures capable of providing the required foot candle levels are required whenever
                     available.

                     1.5.4.1.4 Building mounted lights shall be the same style as pole lights except
                     150 or 250 watt high pressure sodium or metal halide lamps. Energy-efficient
                     fixtures capable of providing the required foot candle levels are required whenever
                     available.

                     1.5.4.1.5 All high pressure sodium lamps shall be stand-by (SBY) rated for
                     instant re-strike.




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               1.5.4.2   General Light Levels

               Lighting throughout the prison is determined by the tasks to be performed, interior
               surface finishes and colors, type and spacing of light sources, outside lighting, shadows
               and glares.

               Lighting levels indicated herein refer to maintained foot-candle level of illumination
               calculated with the light loss factor, and maintenance factor of 0.70 % based on lumen
               output for lamps after initial burn in. Where specific foot-candle levels of illumination
               are not specified, the median recommendations of the Society of Illuminating Engineers
               shall be used.

                Area                                Foot Candle Limit/Specification
                Office/Work Spaces                  60
                Restrooms                           30
                Corridors                           20
                Security Areas and housing          30 - 50
                Dayrooms                            30
                Sally ports                         20
                Vestibules                          10
                Barber Shop / Storage Room          50
                Food Server                         50
                Counselor                           60
                Mechanical/Electric Equip. Room     20
                Showers/Lavatory/Toilet             20
                Stairway                            10
                Officers Station                    50
                Walkways/Balconies                  10
                Classroom                           65 - 75
                Work Based Education Classroom      65 - 75
                Shops                               20 - 50
                Warehouse                           20



                     1.5.4.2.1 Shop areas where grid ceilings are utilized, 3 lamp fluorescent troffers
                     with T-8 or better tubes and electronic ballasts at a minimum shall be utilized.
                     Troffers shall have .125 inch acrylic lens. Two lamps troffers may be utilized in
                     corridors. T-5 lighting is preferred.

                     1.5.4.2.2 Strip fixtures with exposed lamps shall not be used anywhere in the
                     facility. Wire guards are not acceptable. All fixtures shall have an appropriate
                     lens. Industrial style fluorescent fixtures may be used in warehouse areas providing
                     they are mounted ten or more feet above finished floor.

                     1.5.4.2.3 In Minimum and Medium Custody dormitories, general area lighting
                     shall be provided by vandal resistant T-8 or better fluorescents with a minimum
                     3/16" polycarbonate lens. Approximately every 16 feet install a PL-5 fluorescent
                     night light fixture separately switched from the unit control station.
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                       1.5.4.2.4 Close Custody cells shall be equipped with a porcelain keyless socket
                       and appropriate lamp. LED or CFL lamps are preferred.

                       1.5.4.2.5 Maximum Custody cells shall be equipped with a 12 gauge steel
                       up/down fixture with 1/2" house side polycarbonate lens and a 1/8" acrylic lens
                       fixture side or an appropriate approved manufacturer’s product. Provide appropriate
                       biax lamp.

                       1.5.4.2.6 Exit signs shall utilize LED, CFL or Self-Luminous/Tritium
                       technology

       1.5.5     ELECTRIC POWER AND TELECOMMUNICATIONS

                 1.5.5.1 Provide a minimum of four duplex electrical outlets (one per wall) in all
                 offices. It is preferred that they be on their own circuits. Provide one four-plex
                 data/communications outlet for each occupant of the office space.

                 1.5.5.2 Cells shall be equipped with two duplex electrical outlets located near the bunk
                 and two outlets for cable TV. Boxes for power and cable shall not be back to back with
                 adjacent cells. Cover plates for electrical and cable TV outlets shall be equipped with
                 security type screws.

                 1.5.5.3 Dormitories shall be equipped with one outlet and one cable TV outlet per bed.
                 Cover plates for electrical and cable TV outlets shall be equipped with security type
                 screws.

                 1.5.5.4 Provide two duplex electrical outlets and one four-plex data/communication
                 outlets per 80 s.f. for all multiple occupancy office areas.

                 1.5.5.5 Provide one duplex electrical outlet per 120 s.f. for all general office storage or
                 work rooms.

                 1.5.5.6 Provide a 20 amp. dedicated circuit, duplex receptacle in all corridors at a
                 maximum of 50 foot intervals.

                 1.5.5.7 Provide two separate high voltage (12,000 – 13,000) primary feeders from 2
                 independent high voltage transmission lines.

Primary (single metering) is to be utilized and all underground distribution electrical feeders are to be run
in conduit.

Underground duct systems are to be run to each unit, support/complex buildings, and facilities and to
major on-site utilities such as domestic wells, wastewater treatment plant, and water treatment plant.

Provide conduit for the basic requirements, plus 2 spare conduits for each of the following:

                            Telephone
                            MATV
                            Radio
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                          Security
                          Aims computer
                          LAN

       1.5.6   EMERGENCY GENERATOR

               1.5.6.1   Generator Requirements

                     1.5.6.1.1 Provide a diesel driven engine generator in a weatherproof enclosure
                     sized to accommodate load plus 25% spare capacity. The generator shall be a four
                     stroke engine. Provide a skid mounted UL listed fuel tank with a 24 hour capacity
                     at full load. All permits required by ADEQ for to the operation of the generator
                     must be included as part of the installation.

                     1.5.6.1.2   The following loads shall be on the emergency system:

                                 All security doors
                                 Master control
                                 Perimeter & area lighting
                                 Freezers & refrigerators
                                 Communications systems (e.g., phone, radio and air conditioner for
                                 communication rooms) should be a redundant system.
                                 Other lighting as specified by ADC
                                 Equipment room lighting
                                 Sally ports
                                 Unit control rooms
                                 Perimeter electronic security systems
                                 Computer systems
                                 Telephone switches
                                 Communication Rooms
                                 Waste Water Treatment Plant Lift Stations
                                 Water distribution systems for both potable and fire fighting water.
                                 Class “A” Fire Alarm Systems
                                 Visitation Area Air Handlers (to be used as a refuge in event of a
                                 prolonged power outage during summer months.) Each building shall
                                 have a transfer switch wired to automatically start the generator when an
                                 outage occurs.

                     1.5.6.1.3   Lighting controls shall be as follows:

                            1.5.6.1.3.1   Exterior building and site lighting shall be controlled by an
                            astronomic time clock. The time clock shall be digital with battery back up.

                            1.5.6.1.3.2     Perimeter quartz lights shall be connected to the security
                            system such that 300 linear feet of fence is lighted in the event of a breach
                            in the secured perimeter, along with one 300 foot section adjacent to each
                            side of the alarmed segment.




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       1.5.7   FIRE ALARM SYSTEMS

               1.5.7.1 An addressable Class “A” fire alarm system shall be provided to meet the State
               of Arizona fire code for all occupancies.

       1.5.8   ACOUSTICS: Acoustic quality of spaces in a correctional facility play an important
               role in improving communication and interaction between staff and inmates, and greatly
               improve staffs’ safety and ability to monitor inmate activities. The materials approved
               for each building function have been selected to provide improved acoustic and lower
               dba levels.

               1.5.8.1 Sound Level Requirements. The sound levels in inmate occupied areas shall be
               maximum of 70 dba daytime and 45 dba (using the A scale) at night. Not all areas such
               as industrial areas will be able to comply with these requirements. Effort shall be made
               to reduce noise levels where possible. The facility shall make protective ear gear
               available for all when work levels exceed maximum level.

       1.5.9   WATER QUALITY & SYSTEM DESIGN: The following are minimum requirements
               or water quality and system design. Detail information for water quality shall be as
               defined in water quality regulation in force in the area of the facility. In addition water
               treatment plants shall meet the requirements of the Arizona Department of
               Environmental Quality (ADEQ).

               The domestic water source may be supplied by a utility or by the drilling of wells on site.
               The type of material used for the casing and column shall be based on water quality at
               the site and shall be selected based on the recommendations of a hydro geologist’s
               analysis of the water composition. Municipal water sources should be utilized whenever
               possible.

               The source of water if on site wells are utilized shall be from two separate,
               interconnected wells, such that only one well is required to provide the full daily use of
               the facility. Private utilities must provide written documentation indicating ability to
               provide two separate sources of water should one source become inoperative.

               1.5.9.1 Temperature: Water temperature throughout the State varies, but some areas
               have excessively high water temperatures. Action may be required to lower drinking
               water temperatures. Testing should be conducted to verify water conditions.

               1.5.9.2 Water Quality: All state and local regulations shall be followed in the design
               and operation of the water systems. In addition, treatment will be required for all facility
               domestic water uses if water quality exceeds 600 ppm of dissolved solids. Dental and
               Kitchen areas shall be further treated to meet or exceed less than 500 ppm of total
               dissolved solids.

               1.5.9.3 Domestic Water and Fire Protection System: On site tank sized to handle
               storage for fire flows required by code and one days supply for the inmate population
               based on historic use rates of 200 gallons of domestic water per inmate/day. Staff
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                consumption of domestic water is included in the 200 gallons usage number of water per
                day/inmate. These design parameters shall be used for the total number of inmates to be
                housed at the facility or complex.

       The domestic water distribution system that serves more than one building is to be a loop system
       design with valves that allows the loop to provide continuous operation if a damaged portion of
       the pipe is shut down during the repair period.

       1.5.10   WASTE WATER SYSTEM: The waste water collection system, and on-site treatment
                plant, if required, is to be designed to handle 187 gallons per inmate per day. If an on-
                site waste water treatment facility is provided, it shall be equipped with, at minimum:

                     Recording flow meters on the intake and discharge side.
                     Flow meters on the re-use effluent pumps, if this are provided.
                     A muffin monster/grinder on the intake lines.
                     Methods of mechanically or manually removing solids and other debris on a daily
                     basis from all ponds.

       1.5.11   NATURAL LIGHTING: Natural lighting is an essential part of a quality environment
                for inmate housing and activity areas. Natural light shall be provided in as many areas as
                possible where inmate and staff activities take place. The following general
                requirements shall be incorporated in all housing buildings:

                1.5.11.1 Cell housing areas shall have natural light provided in dayrooms and cells as
                follows:

                     Dayrooms: Windows or skylights must meet a minimum net glazed area of not
                     less than 8% of the floor area of the room served.

                     Cells: 1.15 s.f. of glazed area with at least one dimension not exceeding 6".
                     Windows shall be glazed with 1/4" tempered glass or other manufacturer’s
                     approved product.

                1.5.11.2 Dormitory housing areas shall have natural light provided in living areas as
                follows:

                     Sleeping areas and dayrooms: Windows or skylights must meet a minimum net
                     glazed area of not less than 8% of the floor area of the room served.

                     Dormitory housing areas shall utilize skylights for day lighting when ceilings are
                     12 feet or higher.




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       1.5.12   FEMALE FACILITIES SPECIFICATIONS: The Departments standards are based
                on Prison designs for the adult male population and it is recognized that there are
                differences in their requirements, security needs and privacy needs. The following is a
                listing of modifications that shall be made in addressing Adult Female need in facilities
                designated for their incarceration.

                1.5.12.1 Toilet Fixtures: Urinals are not to be provided for female inmates. Substitute
                china water closets for urinals on a one to one basis. Stainless combination water closets
                are to be used for Administrative Lock Up and Special Management Inmates.

                1.5.12.2 Quiet Room: Adjacent to and accessible from each Dayroom, provide one
                200 s.f. Quiet Room with furniture groupings that provide several small, private areas to
                be used for reading and other low noise functions. Visual observation by the Officers is
                mandatory.

                1.5.12.3 Cell Areas: Provide a cell layout that separates the water closet and the sink
                from sleeping areas in a manner that provides inmates privacy.

                1.5.12.4 Mirrors: Stainless steel mirrors are to be used only in Special Management or
                Administrative Segregation cells but must be approved for any type of application. Use
                tempered glass for all other areas.

                1.5.12.5 Toilet Areas: Should be designed to provide privacy for female inmates in
                the water closet areas by installation of doors from plus 12” to plus 48” high with 54”
                high reinforced masonry partitioned dividers for close and maximum custody levels.
                Standard commercial toilet partitions shall be utilized in minimum and medium custody
                levels.

                Showers should have opaque curtain material from the knee level to shoulder height to
                enable Officer’s to view heads and feet of inmates.

                1.5.12.6 Visitation areas: Provide a minimum of 300 s.f. of additional space designed
                and set aside from the General Visitation for Children’s space and play area.

                1.5.12.7 Housing Area in Appendix 7.4 Fig. 1: Change the height of the inmate
                storage locker from 36” to 48”.

       1.5.13   Temporary Holding Enclosures: Used to control, confine, or restrict inmate movement
                on a short term basis. These enclosures can be inside (Mental Health Observation) or
                outside (Recreation, Central Intake Processing, Medical Waiting Area, Ingress/Egress or
                Movement Building) and must comply with Department Order 704. The following are
                required for Outdoor Enclosures:

                         Shall be covered to provide shade
                         Shall be provided with a misting system or evaporative cooler
                         Shall be provided with a continuous source of water for drinking




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1.6    COMMON SUPPORT REQUIREMENTS: The support buildings in this section are similar
       for all levels of security. Variations or special requirements for these buildings at each security
       level can be found in the corresponding Part of this manual.

       It is the intention of ADC that all furniture and fixtures that are manufactured by ACI shall be
       purchased from ACI, unless a written waiver is secured from the Director or designee. Furniture
       includes inmate furnishings, office/work areas, millwork, counter and storage, dining and
       visitation, officer stations, control rooms and cabinets.

       1.6.1    FINISH SCHEDULES: Finish schedules for the spaces listed below (that are shared by
                all prison facilities regardless of level assignment) are located in Appendix VII.

       1.6.2    FACILITY ADMINISTRATION/OPERATIONS: The administration and operation
                functions shall be centrally located within a facility. The Deputy Warden’s office on a
                unit should be located to provide a view of the unit yard(s). Inmates should be restricted
                from this area. Access to the administrative areas from the inmate yard shall be through
                controlled entries. The building may be constructed of masonry, concrete (pre-cast or
                cast-in-place), prefabricated steel buildings, or other materials that meet code
                requirements.

                1.6.2.1    AREA REQUIREMENTS:

                      1.6.2.1.1 Office/Work Areas:         Administrative areas shall provide at a
                      minimum, space for the following functions:

  Staff Member                      Type of Office                       Equipment Required
  Warden or Deputy Warden           Private office                       work        desk,    4   person
                                                                         conference table, credenza,
                                                                         lateral file cabinet and
                                                                         bookcase
  A.D.W.                            Private office                       work        desk,    4   person
                                                                         conference table, lateral filing
                                                                         cabinet
  General        Administrative Work station (may be modular)            lateral filing cabinet
  Offices
  Operations Offices            Private office             work        desk,    2    person
                                                           conference table, credenza,
                                                           lateral filing cabinet
  Reception and Administrative Open space to accommodate a space for lateral filing cabinets
  Support                      work station for each staff and copier and work table
                               member
  Chaplin, IT, Other Support   Private office              work desk, bookcase and
                                                           lateral filing cabinet

       A stand alone facility will require more offices in the administrative area than a unit
       administration building. The Department in the design documents or RFP shall define additional
       spaces.

       Inmate record storage facility shall be located outside of the secure perimeter or in a secure portion
       of the Administration Building. Walls and ceilings, if not constructed of masonry block, shall be
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       reinforced with expanded metal. Rooms shall have security doors, frames and locks.

                     1.6.2.1.2 Hygiene Areas: The prison provides conveniently located staff
                     facilities that are appropriately sized to meet the operational needs, including:

                         Restricted toilets and wash basins not used by inmates
                         Female staff toilets, shower stalls, benches and 3 tier lockers proportioned
                         according to the projected female staff complement in close/maximum custody
                         units.
                         Male staff toilets/urinals, shower stalls, benches and 3 tier lockers proportioned
                         according to the projected male staff complement in close/maximum custody
                         units
                         Female shower stalls, benches and 3 tier lockers proportioned according to the
                         projected female staff complement in a stand-alone (complex) facility
                         Male shower stalls, benches and 3 tier lockers proportioned according to the
                         projected male staff complement in a stand-alone (complex) facility

                     1.6.2.1.3 Support Areas: Additional spaces shall be provided in proportion to
                     the size of the facility and the number of staff and shall include:

                         Conference Room............ To accommodate a minimum of 12 people
                         Video / Office.................. 160 s.f.
                         Copier Room ................... 25 s.f.
                         Briefing / Training........... 600 s.f.
                         Public Lobby ................... As required.
                         Reception/Work Area...... 225 s.f.
                         Property Area .................. 120 s.f.
                         Storage............................. As required

       A stand alone (complex) facility will require more support space in the administrative area than a
       unit administration building.

                1.6.2.2 FF&E / Detention Equipment / Special Systems:

                     1.6.2.2.1 Office / Work Areas: Furniture shall be purchased from ACI and
                     consist of modular furniture systems.

       Detention equipment is limited in a Minimum and Medium custody facility. If the facility is a
       stand alone or complex prison, a weapons storage locker shall be provided near the officer station
       or control room on the exterior of the building. There shall be a minimum of one locker for every
       ten employees. Administrative offices shall be protected by security barred windows and
       appropriate fencing when designed as a part of the perimeter or inside the perimeter in
       close/maximum.

       Special systems for the complex administrative area shall consist of video monitoring equipment
       and inmate telephone system monitoring station.




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                      1.6.2.2.2 Hygiene Areas: If not furnished at a complex level, the following
                      items shall be provided at a facility or unit administration building in
                      close/maximum custody levels:

                          Female staff toilets, shower stalls, benches and 3 tier lockers proportioned
                          according to the projected female staff complement
                          Male staff toilets/urinals, shower stalls, benches and 3 tier lockers proportioned
                          according to the projected male staff complement

                      1.6.2.2.3 Support Areas: The reception area shall be equipped with built-in
                      millwork counter for visitor processing. The counter shall be designed to ADA
                      accessibility requirements.

               A metal detector shall be furnished in the visitation lobby area for screening of visitors and
               staff.

       1.6.3    VISITATION: Each facility shall provide space for visitation including contact and non
                contact areas and in close or maximum facilities, if a part of the facility perimeter, shall
                be reinforced with #4 bars 8" on center both ways and solid grouted. Visitation areas
                shall be designed for maximum visibility including exterior visitation areas. Wall of
                visiting areas shall be of masonry or concrete (or high impact gyp board in
                minimum/medium facilities). Acoustic quality is very important in the visiting area.
                Doors in this area will be controlled.

                1.6.3.1 Area Requirements: There is adequately designed space to permit
                registration, screening and searching of both inmates and visitors. Visitation areas shall
                be provided for each yard within the unit to eliminate inmate’s crossing over within the
                visiting area.

                      1.6.3.1.1 Work Areas: A minimum of 4000 s.f. shall be provided for a General
                      indoor visiting area. Minimum and Medium custody facilities or units shall have
                      an outdoor visiting area of at least 500 s.f.. This outdoor space shall be enclosed
                      with a 10 foot high fence with one coil of 30" five-point detainer hook and barb
                      concertina razor ribbon attached to the top of the fence. There shall be at least two
                      rooms (80 s.f. minimum) for attorney/client visits that provide a confidential
                      environment.

       There shall be a strip search room, which is at least 100 s.f. for each visiting room for searching of
       inmates before they return to the yard.

       Dedicated rooms shall be provided for non-contact visitation and in close/max and there shall be
       two stations for the first 100 inmates and one additional station for each 100 additional inmates. In
       minimum/medium facilities there shall be two non-contact visitation stations per 500 inmates.
       Each station shall be at least 70 s.f.. Non-contact visitation stations may also be designed to be
       used for attorney/client visits.

       A visitation area security (counter) staff station shall be provided.

       Vending area shall be provided for a minimum of 6 full sized vending machines in each visiting
       area.
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                     1.6.3.1.2 Hygiene Areas: Restroom facilities shall be placed inside the visiting
                     room in a location that permits continuous observation by security personnel.
                     There shall be male and female restroom with handicap accessible features for
                     visitors and a separate restroom for inmate use. The doors to toilet rooms shall be
                     lockable with a key operated by staff. Visitor restrooms shall possess a changing
                     table for small children. One high-low drinking fountain shall be provided near the
                     restrooms.

                     1.6.3.1.3 Support Areas: Janitor rooms shall be provided in each visiting area
                     and shall be large enough to store cleaning equipment and a small supply of
                     toiletries. Janitor room shall be equipped with a janitor sink and mop holder racks.
                     The doors to the janitor rooms shall be lockable with a key operated by staff.

                1.6.3.2    FF&E / Detention Equipment / Special Systems

                     1.6.3.2.1 Visitation Areas: Visitation areas shall be equipped with movable 4
                     man tables. A work station fabricated of millwork shall be provided for the
                     officer’s station.

       Non-contact stations shall have communication devices (e.g., phones) or a method that permits the
       occupants to communicate, without interfering with parties visiting in other non-contact stations.
       A window frame with secure, passive baffled speaking port built into the frame may be utilized.

       Doors and door and window frames in the visiting area shall be constructed of 14 gauge steel.
       Doors leading to public exits shall be interlocked with another door in a security vestibule.

       Visitation areas shall be equipped with a paging or intercom system. Cameras may be required to
       provide complete coverage of all visiting areas.

                     1.6.3.2.2 Support Areas: The strip search room shall be equipped with a built-
                     in non-moveable concrete bench in close/maximum custody or steel/wood bench
                     anchored to the floor in minimum/medium custody.

       1.6.4    IN-TAKE AND PROCESSING: At the complex level, In-Take and Processing areas
                shall be located so that the processing of inmates is not visible from the yard. This area
                shall be accessible from the service yard with bus / van access capability. The space
                should be of sufficient size to accommodate all functions related to In-Take and
                Processing.

                1.6.4.1   AREA REQUIERMENTS:

                     1.6.4.1.1       Office/Work Areas: The following areas shall be provided:

                          Five offices .................................. 100 s.f. each
                          One count & movement room ..... 300 s.f.




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                      1.6.4.1.2 Hygiene Areas: Restrooms shall be provided for both male and
                      female staff and shall be equipped with handicap accessible fixtures. One high-low
                      drinking fountain shall be provided near the restrooms. Inmates shall use an
                      adjacent yard/inmate toilet.

                      1.6.4.1.3 Support Areas: Support areas consist of a 50 s.f. storage room and a
                      35 s.f. janitor room. At a stand alone facility, outside holding areas shall be
                      provided adjacent to the in-processing area. Enclosure shall be of chain link
                      fencing material, fully enclosed. Enclosures shall be protected from direct sunlight
                      with a shade structure. The enclosed space will be sufficient to hold 10 inmates in
                      a minimum/medium facility. In close/maximum facilities, individual inmate
                      holding areas of one space per inmate shall be provided.

                1.6.4.2    FF&E / Detention Equipment/Special Systems

                      1.6.4.2.1     Office/Work Areas: Furniture shall be modular systems.

               If holding areas are provided, the gates shall be equipped with cuffing slots.

               Special systems shall include outlet connections and conduit for the A.I.M.S. computer
               system.

       1.6.5    HEARING: A hearing room and associated support offices shall be developed at each
                unit or at a central location in the complex.

                1.6.5.1    AREA REQUIERMENTS:

                      1.6.5.1.1 Office/Work Areas: The following spaces shall be provided per
                      hearing area:

                          Two private offices ..................... 100 s.f. each
                          One hearing room ........................ 240 s.f.

                      1.6.5.1.2 Hygiene Areas: One unisex toilet shall be provided for staff and shall
                      be handicap accessible or adjacent toilet facilities may be utilized. Inmates shall
                      use an adjacent yard/inmate toilet.

                      1.6.5.1.3     Support Areas: Storage rooms shall be approximately 60 s.f. in size.

                1.6.5.2    FF&E/Detention Equipment/Special Systems

                      1.6.5.2.1 Office/Work Areas:           FF&E shall be modular furniture.     Special
                      systems shall consist of cabling for an A.I.M.S. computer terminal.




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       1.6.6   RESOURCE CENTER: Each unit shall have a Resource Center situated in a physical
               location that permits appropriate access and traffic flow.

               1.6.6.1   AREA REQUIERMENTS:

                     1.6.6.1.1 Library Areas. General indoor library space shall provide seating and
                     tables for 24 inmates. Library shall be approximately 1,000 s.f. including an office
                     for the Librarian of approximately 100 s.f.

                     1.6.6.1.2 Hygiene Areas. No toilet facilities shall be provided in the Resource
                     Center. Inmates and staff shall utilize adjacent facilities.

                     1.6.6.1.3 Support Areas. Support areas consist of one storage room of
                     approximately 100 s.f.

               1.6.6.2   FF&E/Detention Equipment / Special Systems:

                     1.6.6.2.1 Library Areas: Fixed millwork shall be provided for library counter
                     with a swing gate to separate counter area from general library. Within Library
                     provide built-in millwork for six (6) computer work stations with electrical and
                     data outlets.

       1.6.7   CLASSROOM: Classrooms shall be distributed equally on each yard and observable
               by staff through windows from the yard or corridor. Lockable offices shall be enclosed
               in ceiling height glazing to provide observation of classrooms.

               1.6.7.1   AREA REQUIERMENTS:

                     1.6.7.1.1 Office/Classroom Areas: Classroom area shall be a minimum of 750
                     s.f. including an Instructor’s Office of approximately 200 s.f. Seating shall be
                     provided for a maximum of 25 inmates. A ratio of one classroom for each 200
                     inmates shall be provided for each unit.

                     1.6.7.1.2   Hygiene Areas: Inmates shall use the adjacent yard/inmate toilet.

                     1.6.7.1.3 Support Areas: Lockable storage cabinets shall be furnished in the
                     classrooms for supplies.

               1.6.7.2 FF&E/Detention Equipment/Special Systems: Movable furniture shall be
               used in the classroom. Windows in classrooms that face onto the yard shall be protected
               by bar grills in close/maximum custody.

                     1.6.7.2.1 Office/Classroom Areas: Classrooms shall be provided with 13 tables
                     and 26 chairs, two chalk boards or dry erase marker boards, two built-in millwork
                     computer stations and modular office furniture. Storage cabinets shall be millwork.
                     Special systems consist of two jacks for connection of computer workstations.




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       1.6.8   PROPERTY AND MAIL:Mail and property areas shall be provided on each unit with a
               roll up door that is accessible by the inmates from the yard. Property storage areas shall
               be enclosed by a chain link fence and be viewable by staff working in mail and property
               area. Access shall be provided to the service yard.

               1.6.8.1   AREA REQUIERMENTS:

                     1.6.8.1.1 Property Storage/Work Areas: Property room area shall be a
                     minimum of 1000 s.f. per unit. Mailroom shall be designed to effectively process
                     and distribute mail.

                     1.6.8.1.2   Hygiene Areas: Inmates shall use the adjacent yard toilet.

               1.6.8.2   FF&E/Detention Equipment/Special Systems:

                     1.6.8.2.1    Property Storage/Work Areas: Property room shall contain storage
                     shelving to house inmate effects. Modular furniture shall be used for workstations.

                     Detention grade doors and locks shall be used on this area.

                     Cabling shall be provided for the A.I.M.S. computer terminal.

       1.6.9   COUNSELING: In a facility where substance abuse treatment programs are provided
               as a component of the mission of the facility, dedicated spaces shall be provided as listed
               below. Windows for visible monitoring of the entire room from outside is preferred for
               staff safety and security. Substance Group Small Group, Substance Abuse One-on-One
               Counseling and Case Management /Correctional Additions Officer Counseling Offices
               shall be sound proof so that conversations are not audible in adjacent areas.

               1.6.9.1 AREA REQUIREMENTS: The following counseling spaces shall be
               provided:

                     Substance Abuse Large Groups (didactic) .... 16-40 students, 600 s.f. minimum
                     Substance Abuse Small Groups (therapeutic)6-16 students, 240 s.f. minimum
                     Substance Abuse One-on-One Counseling ... 80 s.f. minimum
                     Case Management/Correctional Addictions . 100 s.f. minimum.
                     Officer Counseling Office’s .......................... 100 s.f. minimum

               1.6.9.2      FF&E/Detention Equipment/Special Systems:

                     1.6.9.2.1 Substance Abuse Large Groups (didactic) Shall be equipped with
                     tables and chairs in rows or individual student desks. One wall shall contain a
                     white board. Education classrooms may also be substituted by scheduling.

                     1.6.9.2.2 Substance Abuse Small Groups (therapeutic) Shall be equipped
                     with movable chairs, and a portable or permanently mounted white board.




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                     1.6.9.2.3   Substance Abuse One-on-one Counseling: Room shall contain two
                     chairs.

                     1.6.9.2.4 Case Management/Correctional Addictions Officer Counseling
                     Offices: Room shall contain a desk, desk chair and two side chairs.

       1.6.10   RECREATION: Outdoor recreation and exercise areas for general population inmates
                are provided in sufficient number to ensure that each inmate is offered at least one hour
                of access daily.

                1.6.10.1 AREA REQUIREMENTS:

                     1.6.10.1.1 Recreation Areas: Covered/enclosed multi-purpose areas with 18
                     foot ceilings must be available for use in inclement weather if the prison is to be
                     located in a geographic region that is above 5000 feet in elevation.
                     Covered/enclosed exercise areas can be designed for multiple uses as long as the
                     design and furnishings do not interfere with scheduled exercise activities. The
                     minimum space requirements for covered/enclosed exercise areas are as follows:

                            10 s.f. per inmate for the maximum number of inmates expected to use the
                             space at one time, but not less than 1,500 s.f. of unencumbered space.
                             (Special Program Units shall have no less than 75 s.f. per inmate while in
                             use by segments of the population) This space shall include a full-court
                             basketball court.

                            For each 500 inmates or fraction thereof, provide one granite surface
                             running track, a full-court basketball court and a PAR course. For 1,000 or
                             more inmates, provide one softball field, two full or four half-court
                             basketball courts, one running track, one PAR course and two volleyball
                             courts.

                            For each 500 inmates or fraction thereof, provide 300 s.f. of covered shade
                             space.

                     1.6.10.1.2 Hygiene Areas: Recreation areas are supported by open air yard
                     toilets with a ratio of one combination toilet/urinal/drinking fountain unit per 500
                     inmates.

                     1.6.10.1.3 Support Areas: Each prison yard shall have a recreation office and
                     secure storage area of at least 200 s.f..

                1.6.10.2 FF&E/Detention Equipment/Special Systems:

                     1.6.10.2.1 Recreation Areas: The institution (each recreation/field area) shall
                     have a PAR Course per Department specifications (See Part 7, Appendix IV

                     Special systems include CCTV cameras mounted on yard control building to
                     monitor recreation areas, and site paging system with speakers mounted on area
                     light poles or buildings.

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                     1.6.10.2.2 Hygiene Areas: In Close custody, outdoor urinal partitions shall be
                     provided by ACI and be of a cantilevered design.

                     1.6.10.2.3 Support Areas.        Office shall be equipped with modular office
                     furniture. Equipment storage shall be an enclosed, lockable chain link enclosure.

       1.6.11   MEDICAL/DISPENSARY

                1.6.11.1 AREA REQUIREMENTS:

                     1.6.11.1.1 Office/Work Areas: The square footage for the medical facility shall
                                be sized appropriately consistent with the activities of the complex and
                                availability of out-sourced services. Within that area, the following
                                spaces may include:

                                Inmate holding cells (close and maximum)
                                Secure Medication Storage
                                Medication Room
                                Medical Records
                                Medical Record Storage
                                Exam rooms
                                Emergency Treatment Room
                                Nurse Station
                                Telemeter Exam Room
                                Blood Lab
                                Clean/Soiled Linen
                                Library (Medical)
                                Staff workspace
                                Staff Toilet/Locker rooms
                                Staff Break room
                                Conference room

                1.6.11.2 FF&E/Detention Equipment/Special Systems

                In stand alone facilities, the medical facilities may include medical ward beds, single bed
                medical rooms and isolation rooms

                Nurses Line Areas shall be provided in all facilities or units. Refer to 1.6.21 – Nurses
                Line Area.

                     1.6.11.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates. The ratio of handicap accessible toilets shall be governed by ADA
                     Standards.

                     1.6.11.1.3 Support Areas: At the complex level, Medical shall contain storage
                     for records, offices and break room for staff, laundry facilities for linens, holding
                     cells for inmates in close/maximum custody, and secure medication storage.

                     1.6.11.2.1 Office/Work Areas: Institutions with temporary medical storage areas
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                     shall locate such facilities outside of the secure perimeter or in a secure portion of
                     the Administration Building. Rooms shall have security doors, frames and locks.
                     All sinks shall have plaster traps. A dispensary may be located within the secure
                     perimeter for the purpose of dispensing of medication. The dispensary shall have
                     the following:

                            A secure pass through for the distribution of medical supplies to staff and
                             inmates shall be located on an exterior wall
                            A speaking device/port
                            Security doors, frames and locks

                     Nurse Station shall have the following detention grade components:

                            Security doors
                            Security frames
                            Security locks

                     Special systems for the medical shall include:

                            Security Control systems including door controls (from waiting area to
                             internal corridors), intercom, and camera systems.
                            Fire alarm monitoring equipment.
                            Phone system
                            Radio System
                            Dedicated telecommunication cables for Telemeter communications
                            Nurse call system

                     1.6.11.2.2 Support Areas: Staff offices and support areas shall be separated from
                     inmate occupied areas by secure corridors.

       1.6.12   LAUNDRY

                Close/Maximum Facilities: The central laundry shall be capable of cleaning clothing
                and bedding for the facility on a defined schedule. Clothing requirements will vary for
                different climatic regions within the state. ADC will provide clothing requirements. A
                central laundry shall include a work area, clothing storage, an office with a staff toilet,
                inmate toilet, janitor’s room with a mop sink and secure storage for chemicals.

                Minimum/Medium Facilities: Inmates will do their own laundry. 4 each heavy-duty
                Laundromat type washers and dryers will be installed into each 100 man pod. Dryers
                will be fueled with natural gas. Appliances will be Energy-Star rated.

                1.6.12.1 AREA REQUIREMENTS:

                     1.6.12.1.1 Office/Work Areas: The size of the central laundry shall be
                     determined by the amount of material to be processed in a 24 hour period. The
                     formula is the weight (pounds) of clothing/day x number of cycles/week. The
                     laundry shall contain a secure office from which the entire laundry can be viewed.
                     Laundry shall contain a separate, secure mechanical room to house water heaters
                     and heat reclamation system (if included).
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                     1.6.12.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates.

                1.6.12.2 FF&E/Detention Equipment/Special Systems:

                     1.6.12.2.1 Office / Work Areas: In a central laundry, there shall be a secure
                     corridor behind the washing machines (constructed of chain link fencing) that
                     contains the plumbing and soap/bleach dispensing system.

       1.6.13   DENTAL SERVICES

                1.6.13.1 AREA REQUIREMENTS: Dental operatories shall be designed with a
                minimum of 3 chairs per 1000 inmates or be provided as an out-sourced service.

                     1.6.13.1.1 Office/Work Areas: Dental areas shall be designed within the medical
                     unit for the facility. Required areas are: operatories, lab, offices, x-ray, panorex,
                     secure medication storage and equipment storage.

                     1.6.13.1.2 Hygiene Areas A separate staff toilet shall be provided adjacent to
                     the dental lab.

                1.6.13.2 FF&E / Detention Equipment/Special Systems: Emergency shut-off systems
                shall be provided for all dental equipment.

                     1.6.13.2.1 Office/Work Areas: Dental lab shall be furnished with built-in
                     millwork counters and cabinets. All equipment for lab, x-ray and operatories shall
                     be provided by ADC. All sinks to be provided with plaster traps.

                     1.6.13.2.2 Support Areas: Secure medication storage shall consist of masonry
                     block wall construction (or full-height reinforced walls in minimum/medium
                     custody) with steel security door, frame and lock.




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       1.6.14   WAREHOUSE

                1.6.14.1 AREA REQUIREMENTS: Warehouse shall be located outside the perimeter
                security fence to allow for deliveries of food and supplies in a non-secure environment.
                Delivery trucks shall be routed so that they do NOT pass through a vehicle sally port. At
                minimum, provide a facility sized on the basis of 8-9 s.f. per total inmate population.

                     1.6.14.1.1 Office/Work Areas: Office areas shall be provided for staff with full
                     view of warehouse and loading dock.

                     1.6.14.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates and be located adjacent to and visible from the warehouse office.

                     1.6.14.1.3 Support Areas: Warehouse to contain facility telephone room for the
                     routing of lines into the facility.

                1.6.14.2 FF&E / Detention Equipment/Special Systems: Door to the warehouse
                shall be monitored by a security control system from Central Control.

                     1.6.14.2.1 Office/Work Areas: Storage rack system shall be provided for the
                     storage of bulk materials. Walk-in freezer and cooler may be required for food
                     storage based on the operation of the facility.

       1.6.15   MAINTENANCE: Maintenance shall be located outside the facility perimeter in the
                general area of the Warehouse. A separate storage area for combustible and/or high
                pressure gases must be provided. The facility shall be capable of providing maintenance
                for most of the equipment and building systems.

                1.6.15.1 AREA REQUIREMENTS:

                     1.6.15.1.1 Office/Work Areas: In Complex/Standalone facilities Maintenance
                     area shall include a staff office (200 s.f.) with a staff toilet, secure tool storage,
                     inmate toilet, general storage space, and work areas. The size of maintenance area
                     shall be determined by the size of the facility and shall be calculated on 9 s.f. of the
                     total inmate population. If the stand-alone facility is in close proximity to a
                     complex, some of these functions may be outsourced at the complex level. The
                     Maintenance Building shall consist of separate areas for the following functions:

                Staff Offices                   Conference Room              HVAC Shop
                Locksmith                       Tool Crib                    Plumbing Shop
                Carpentry Shop                  Electrical Shop              Welding Shop
                Electronic Technician Shop      Paint Storage                Secure Storage
                Outdoor Work Area               Indoor General Storage       Outdoor General Storage




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                     1.6.15.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates.

                1.6.15.2       FF&E/Detention Equipment/Special Systems:

                     1.6.15.2.1 Office/Work Areas:         Local area network cabling system shall be
                     provided.

       1.6.16   VEHICLE MAINTENANCE: Vehicle maintenance is one of the services that are
                often contracted out. If the facility size or location warrants a vehicle maintenance
                facility, the number of vehicle repair bays will be determined by ADC on a project by
                project basis.

                1.6.16.1 AREA REQUIREMENTS:

                     1.6.16.1.1 Office/Work Areas: The main vehicle maintenance building, if
                     required, shall contain the appropriate number of vehicle maintenance bays, supply
                     and secure storage, tool room, auto technician office and exterior lube and wash
                     bays.

                     1.6.16.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates.

                     1.6.16.1.3 Support Areas: Vehicle maintenance shall also contain the facility
                     Fire Safety Staff. That area shall consist of fire truck(s) storage, transportation
                     office, fire safety office and break room for the fire crew.

                1.6.16.2 Equipment and Accessories: Standard equipment for vehicle maintenance
                shall consist of:

                               Compressed Air (tanks and racks)
                               1 Vehicle Lift per Bay
                               Drill Press
                               1 Work Bench per Bay
                               Tire Balancer
                               Tire Changer
                               Alignment Machine
                               Brake Lathe

                     1.6.16.2.1 Office/Work Areas: The Break room shall contain built-in millwork.

                     1.6.16.2.2 Hygiene Areas: In addition to separate toilet facilities for staff and
                     inmates, a first aid eye wash area shall be included in the general vehicle
                     maintenance area.

                     1.6.16.2.3 Support Areas: Fire safety shall contain auxiliary equipment to
                     support the individual type of vehicles to be stored (rescue, ladder truck, hose
                     truck, etc.).


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       1.6.17   PHARMACY: A regional or centralized pharmacy is acceptable to provide deliveries to
                a facility. Any pharmacy must meet all state regulatory standards. If a pharmacy is to be
                on-site within the facility and is to be located in the facility administration building to
                allow unit control room monitoring of deliveries and secure access by staff only. The
                Pharmacy shall be located outside the perimeter security fence.

                1.6.17.1 AREA REQUIREMENTS: Pharmacy square footage is 300 s.f. minimum
                per AZ board of Pharmacy requirements. If out-sourced, secure on site storage must be
                provided that meets ADC and State Pharmacy Board requirements.

                     1.6.17.1.1 Office/Work Areas: The pharmacy shall consist of the following
                     spaces:
                                 Large Workroom
                                 Pharmacist’s Office

                     1.6.17.1.2 Hygiene Areas: Staff shall use the toilet facilities provided by the
                     facility administration building in which it is housed.

                1.6.17.2 FF&E/Detention Equipment/Special Systems

                     1.6.17.2.1 Office/Work Areas: Pharmacy shall contain the following:

                                   Built-in Mill Work (Counters and Storage Cabinets)
                                   Security Door
                                   Security Frame
                                   Security Lock

       1.6.18   HAIR CARE: This area shall be located in the facility support building and be
                accessible from the inmate yard. This area shall include the following:

                                   1 Barber Chair per 500 inmates
                                   Counter space
                                   Lockable Storage Cabinets
                                   Sink.

                1.6.18.1 AREA REQUIREMENTS

                     1.6.18.1.1 Office/Work Areas: The square footage for this space is 100 s.f.

                1.6.18.2 FF&E/Detention Equipment/Special Systems

                     1.6.18.2.1 Office/Work Areas: This area shall have a built-in millwork counter
                     tops and storage cabinets.




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       1.6.19   DETENTION: To the extent feasible, considering staff safety and security
                requirements, the environment in Detention Housing shall approximate those of the
                general maximum population. Detention cells enable staff to safely observe and
                communicate with inmates. A dry cell may be included and used to securely observe an
                inmate who is suspected of having secreted narcotics or foreign items within their body.

                1.6.19.1 AREA REQUIREMENTS: Cells shall be 80 s.f., double occupancy.
                Detention housing units have an area outside the room or cell for indoor exercise; this
                area has minimum of 200 s.f. of floor space and at least 35 s.f. of floor space for each
                inmate who is exercising at any one time.

                     1.6.19.1.1 Pod Area: The facilities total inmate population determines the
                     number of detention cells required at a ratio of 1 bed for every 26 inmates. The
                     building will be divided into separate pod areas and shall be limited to a maximum
                     of 26 beds in each pod.

                     1.6.19.1.2 Hygiene Areas: Each cell shall contain a stainless steel lavatory/toilet
                     combination unit.

                     1.6.19.1.3 Security and Control Areas: Each detention area shall contain an
                     enclosed, secure control room, positioned to allow direct vision into each pod’s
                     living, dayroom, and hygiene areas.

                     The control room shall not be excessive in size, reducing the requirement to move
                     from position to position to observe inmate areas.

                     Each control room shall have an adjacent toilet room, which can be used by control
                     staff without leaving the control room.

                     Control rooms are required in Level 3, 4 and Level 5 facilities and may be required
                     in Level 2 facilities depending on operational and security factors. Level 2 and 3
                     control rooms may be accessed from inmate occupied areas and require only a
                     single security door. Level 2 and 3 control rooms shall have a means of egress for
                     staff to evacuate the control room either through a roof hatch or to a safe area at
                     ground level via an exit door. Level 4 and 5 control rooms shall be equipped with
                     an escape ladder to the roof of the building, and be equipped with a means of
                     securing the hatch from the roof side of the hatch.

                     1.6.19.1.4 Recreation Areas: One secure, enclosed recreation yard shall be
                     constructed adjacent to the administrative segregation building for the use of the
                     maximum 26 bed pod. The number of enclosures shall be a ratio of 1 per 10
                     inmates or fraction thereof.

                1.6.19.2 FF&E/Detention Equipment/Special Systems

                     1.6.19.2.1 Pod Area: Each cell shall be equipped with a pneumatic or electro-
                     mechanical locking sliding steel door with locking cuffing slot and viewing panel.
                     Each door will be controlled from the control room. Natural lighting shall be
                     provided by one 8" x 48" barred steel window slot.

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                     1.6.19.2.2 Hygiene Areas: Each cell shall contain a stainless steel lavatory/toilet
                     combination unit with flushing override located in the master control room.
                     Showers door shall be remotely unlocked and remote controlled water shut-offs
                     shall be provided.

                     1.6.19.2.3 Security and Control Areas: Control room shall contain built-in
                     millwork and computer equipment cabinet. Windows shall be steel, bar
                     construction. Doors and frames shall be security steel construction with security
                     locks.

       1.6.20   KITCHEN: The kitchen shall be capable of providing meals for inmates in accordance
                with ADC’s 6-Week Cycle Standard Menu.

                1.6.20.1 AREA REQUIREMENTS: Kitchen square footage should be sufficient to
                provide ample space for equipment and staff/inmates required to produce the number of
                meals within the serving time allotted.

                     1.6.20.1.1 Office/Work Areas:        The areas comprising the kitchen shall consist
                     of the following:

                 Kitchen Office              Cooking Kitchen            Toilet Facilities
                 Walk-in Freezer             Walk in Coolers            Serving Line(s)
                 Dish Wash                   Pot Wash                   Clean Dish
                 Trash Room                  Cart Wash                  Receiving Dock
                 Dry Food Storage            Chemical Storage           Secure Storage

                Serving or thermalization kitchens utilized in the units of a complex with a central food
                factory kitchen will not have all of the equipment above. All kitchen equipment must
                have a “prison security package”, no wire racks are allowed in ovens or any other kitchen
                equipment and no wire rack shelving is allowed.

                     1.6.20.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates.

                1.6.20.2 FF&E/Detention Equipment/Special Systems

                     1.6.20.2.1 Office/Work Areas: The kitchen areas will contain equipment
                     necessary to support the current State of Arizona Correctional Department’s prison
                     menu.




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       1.6.21       NURSES LINE AREA: Each facility or unit that has an inmate population of 800 or
                    more shall incorporate the Nurse Line Area, which provides a medical assessment of
                    inmate health. In minimum/medium facilities, medication and record room walls shall
                    extend to the roof deck and be reinforced with security steel mesh. This area’s
                    responsibilities within the nursing protocol will cleanse wounds, provide medications,
                    perform various testing, handle emergencies on the yard, provide temporary care of
                    wounds and broken bones on the yard, administer insulin injections and testing of inmate
                    conditions, assess the inmate status and refer to providers as needed. Female inmates
                    require three to four times the amount of service calls as male inmates.

                    1.6.21.1 AREA REQUIREMENTS: A typical breakdown of room requirements for
                    each Nurse Line Area is as follows:

                        3 - 120 s.f. Exam Rooms with Delvic Chairs and sink/counter ------ 360
                        1 - 120 s.f. Nurse Supervisor Office ------------------------------------- 120
                        1 - 160s.f. Waiting Room / Security Entry with 6 Chairs------------- 160
                        2 - 60 s.f. Nurse Assessment Areas ------------------------------------- 120
                        1 - 140s.f. Lab Room 10’ x 14’ ------------------------------------------- 140
                        1 - 100 s.f. Process / Records Room ------------------------------------- 100
                        1 - 200 s.f. Storage Room ------------------------------------------------- 200
                        1 - 150 s.f. Medical Records Room -------------------------------------- 150
                        2 - 60 s.f. Toilets – 1 Staff and 1 Inmate (testing) --------------------- 120
                        2 - 120 s.f. Mental Health Treatment ------------------------------------ 240
                        Circulation: 30% of Sub-Total:1,710 --------------------------------- 513
                        Total S.f.: ------------------------------------------------------------------ 2,223

                    1.6.21.2 Hygiene Area: Staff and inmates use separate toilets and inmate's toilet will
                    be used for test samples.

                    1.6.21.3 FF&E/Detention Equipment/Special Systems
                           Provide built in cabinets, counter tops with sinks in Exam Rooms, Lab Area,
                             and Nurse Assessment Area.
                          Provide for storage for Hazardous materials.




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       1.6.22   MEDICAL DISPENSARY/MENTAL HEALTH/NURSE LINE

                The requirements of separate building area is to be used where an addition of inmate
                housing is to be added and the complex medical space will not provide for all inmate
                health needs, exclusive of Pharmacy requirements. This facility is to be located within
                the perimeter fence of the Unit it serves and is to serve only that population. It should be
                located to allow for ambulance access. In minimum/medium facilities, medication and
                record room walls shall extend to the roof deck and be reinforced with security steel
                mesh.

                     Provide the following functional spaces:
                      Waiting entry area and security desk
                      Dental Operator Double if complex dental facilities are not sufficient
                      Dental Equipment Room if complex dental facilities are not sufficient
                      Dental Lab if complex dental facilities are not sufficient
                      Dental Office if complex dental facilities are not sufficient
                      Mental Health Offices      2 each
                      X-Ray Room if complex x-ray facilities are not sufficient
                      Doctor Exam Rooms          One per 500 inmates
                      Emergency Room
                      Nurse Station
                      Records
                      Narcotic cabinet
                      Staff Toilet        1 each Male/Female
                      Blood Lab if complex lab facilities are not sufficient
                      Inmate Toilet

                Following requirements outlined above will negate the space requirements outlined in
                Paragraph 1.6.11 – Medical/Dispensary, 1.6.13 – Dental Services and 1.6.21 – Nurses
                Line Area and 6.6 – Complex Medical.




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PART 2         MINIMUM SECURITY FACILITY REQUIREMENTS

2.1    GENERAL FACILITY REQUIREMENTS

       2.1.1    FACILITY DESCRIPTION: A Minimum Level facility or unit is constructed to house
                inmates classified as minimum risk to the public. These inmates present a low level of
                risk to the public community should escape occur from custody. The facility should be
                capable of restricting inmate movement within the facility. A Minimum facility or unit
                could be a part of a larger complex of prison units and as such will be referred to as a
                Minimum unit. Support functions vary if the prison is stand alone or part of a larger
                complex.

       2.1.2    FACILITIES SUPPORT SERVICES (COMPLEX LEVEL): If a Minimum facility
                is constructed as a part of a larger complex, it can be expected that the unit will be
                supported by complex wide functions. Warehousing, maintenance, medical services,
                pharmacy, vehicle maintenance and complex administration are but a few of the
                centralized functions. Perimeter patrol and monitoring of critical systems such as water
                supply, wastewater systems and emergency power generation, will be provided at a
                complex level.

       2.1.3    FACILITIES SUPPORT SERVICES (STAND ALONE FACILITIES): If a prison
                is stand-alone, the support functions will become a part of the facility and must be
                designed and constructed in accordance with the provisions of those standards. Some
                services may be furnished from other ADC facilities, and if so, the facility shall take into
                account those reduced service requirements.

       2.1.4    FACILITY SIZE REQUIREMENTS: The maximum inmate population of a
                Minimum unit is 1000 beds. Physical separation of inmate populations within a unit may
                be required depending on such circumstances as facility design, staffing patterns, and
                operational plan. The primary determining objective shall be the need for sound
                correctional practice, which ensures the safety of staff and inmates as well as effective
                security. Support and program functions should be designed to minimize inmate
                movement from yard to yard, and will require some duplication of functions. ADC
                developed RFPs and Project Descriptions may further define facility services and size
                requirements.

       2.1.5    PHYSICAL SECURITY: The facility shall be designed to withstand abuse, wear and
                tear, and require relatively low maintenance. Physical security shall be installed as listed
                in sub-sections below.

                2.1.5.1 Perimeter Security: The facilities perimeter security is made up of integrated
                systems and will provide a relatively good barrier against escape. The institutions
                perimeter system is designed such that inmates remain within the perimeter and that
                access by the general public is precluded except with proper authorization. A four strand
                barb wire barrier fence shall serve as a delineation of prison property. The barb wire
                fence shall have signage every 100 feet that indicates “No Trespassing”. The perimeter
                security fence shall be located a minimum of 300 feet from the prison property line.




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               2.1.5.2 Fencing The perimeter fencing shall comply with Appendix III, Figure 1.
               The perimeter fence shall be a 14 foot high looped top fence (3 foot overhang) with 6
               feet of 1/4" security mesh on the inside of the upper portion of the looped top. A single
               continuous row of 30" 5 point detainer hook and barb concertina razor ribbon shall be
               installed at the top of the fence. Razor ribbon shall be secured in place by tying to the
               top tension wire. If the perimeter fence contacts a building, a 30" diameter section of 5
               point detainer hook and barb razor ribbon shall be installed vertically at the intersection,
               on the yard side of the fence. The fence shall have a concrete anti-dig barrier footing 6"
               wide by 24" deep. The bottom of the fence shall be secured by a (1-1/2" minimum)
               bottom rail secured to the concrete base by an anchor bolt or method approved by the
               Department.

                        All fence ties shall be equally spaced (5 per 10' section at a minimum). Fence
                         ties and bolts in areas that are in inmate access areas will be mechanically
                         twisted and all straps and bolts shall be tack welded. This also applies to gates,
                         which access those areas.

               2.1.5.3 Perimeter and Area Lighting: Lighting on the perimeter shall be sufficient
               to visually detect movement. Lighting on the vehicle gate and adjacent pedestrian gate
               shall be at least 5 foot-candles and 2-foot candles on the pedestrian gate and entry to the
               Administration Building maintained, as documented by an independent, qualified source.
               Foot-candles listed are minimum maintained. Light poles shall be kept a minimum of 10
               feet clear from the inner-most portion of the perimeter fence.

                        Minimum facilities shall have a perimeter lighting zone with a two foot candle
                         level. Perimeter zone shall be defined as the area 40' inside the fence to 20'
                         outside the fence. Area lighting is defined as the remainder of the area within
                         the facility from the 40 foot perimeter zone inside dimension and shall be
                         maintained at 0.5 foot candle.

               2.1.5.4 CCTV Systems: Closed Circuit Surveillance Cameras shall be positioned to
               monitor areas of the yard that are not directly visible from the office station in the
               Administration Building. These cameras shall be monitored from the Facility Control
               Room. Recording is optional for interior cameras

               2.1.5.5 Sand Trap: Outside and adjacent to the perimeter fence, a sand trap shall be
               constructed and maintained to provide an indication of escape path or fence tampering
               from outside sources. The trap shall be 15 feet in width and sloped to provide drainage
               without erosion of sand material.

               2.1.5.6 Perimeter Road: A paved perimeter road shall be constructed around the
               entire Complex facility. The road surface shall be 12 feet wide and have shoulder widths
               of 6 feet. Turn around shall be provided at each turn in the road and at intervals of 400
               yards. A perimeter road is not required on an individual unit within the complex. A
               perimeter road shall be required at a unit or stand-alone facility that is not in close
               proximity to a complex.

               2.1.5.7 Sally ports: Sally ports for vehicles and or pedestrians are required in a
               Minimum facility.

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               2.1.5.8 Pedestrian Entry Gate: There shall be a single point of controlled entry into
               a Minimum facility or unit. The pedestrian entry gate shall be equipped with a remotely
               controlled lock on a swing gate. These gates shall be controlled from the facility or unit
               control room.

               2.1.5.9 Vehicle Gate: There shall be one vehicle and pedestrian access on the
               Perimeter Security Fence per facility. Vehicle gates shall be 14' wide and shall be
               electrically operated from the Main Officer Station and both gates shall be monitored by
               a TV camera with a Remote Recording monitored from the Administration Building
               Officer Station.

                            Provide an Intercom box at both the vehicle gate and the pedestrian gate to
                             the Administration Building Officer Control Room.

               2.1.5.10 Interior Security: A combination of systems can be utilized to create and
               secure functions within the perimeter of the facility. The following is the minimum
               requirements for systems to be utilized.

               2.1.5.11 Fencing: Interior fencing shall be provided to define the limits of the inmate
               yards and provide separation of inmate activity areas. There shall be an interior fence
               connecting the fronts of all buildings surrounding the yard to provide a complete barrier
               and define a “No-Man’s” Zone behind the buildings. Interior fencing for Minimum
               yards shall be a straight vertical 10' high fence with one coil of 30" 5 point detainer hook
               and barb concertina razor ribbon mounted at the top of the fence.

                        Outdoor visitation space shall be enclosed with a 10 foot high (minimum)
                         fence with one coil of 30" 5 point detainer hook and barb concertina razor
                         ribbon mounted at the top of the fence.

               2.1.5.12 Closed Circuit Surveillance Cameras: Shall be positioned to monitor all
               areas of the yard that are not directly visible from the Officer Station in the
               Administration Building. These cameras shall be monitored from the Facility Control.
               Recording is optional for interior cameras.


2.2            BUILDING REQUIREMENTS

       2.2.1   HOUSING: Minimum Custody inmates shall be housed in dormitory style “R”
               occupancy buildings in Pods of 100 inmates maximum. Optimal number of beds per
               pod/housing unit will be based on sound correctional practice, which ensures the safety
               of staff and inmates as well as effective security. The housing unit shall have an officer
               station for direct supervision, it shall be elevated 2' and located against the wall at the
               front of each pod. it shall have 2 access points with dutch type doors installed at each
               capable of observing no more than 2 pods of 100 inmates. Pods in dormitories shall be
               divided from other adjacent Pods by aisles that are 6 feet minimum width. Buildings
               shall be constructed to meet “R” occupancy requirements. Exit and entry doors shall be
               lockable with alarmed emergency egress.


               2.2.1.1   AREA REQUIREMENTS
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                     2.2.1.1.1       Pod Area: Housing unit pods shall be developed to house up to a
                     maximum of 100 inmates and have only 2 pods in one area visible from the
                     Officers’ station. . Movement between pods shall be restricted by an electronically
                     and manually operated door or gate. Each inmate shall be provided with an
                     individual living space with a gross area of no more than 40 S.F. A diagram of the
                     approved living unit can be found in Appendix IV, Figure 1. In addition to the
                     individual living space, an area shall be provided for code required circulation and
                     access to toilet and shower areas. No aisles shall be less than 48" in width.

                     2.2.1.1.2 Hygiene Areas: Accessible from each pod shall be a hygiene area(s)
                     equipped with toilets, shower, lavatories, and urinals (male facilities). Toilets and
                     showers shall be provided at a ratio of 1 per 8 inmates. Lavatories shall be
                     provided at a ratio of 1 per 12 inmates. Each hygiene area shall be equipped with at
                     least two ADA compliant accessible toilets, lavatories and showers. In pods with
                     100 inmates showers and toilets may be limited to 12 each and lavatories may be
                     limited to 8 each. Urinals may replace 1/3 of the required toilets. At least one of
                     the urinals shall be installed in compliance with ADA accessible standards.

                        Toilet paper holders, seat cover holders and soap dispensers are not required in
                         these areas. A shelf in which to place toilet paper will be installed at each toilet
                         area.

                        A janitor's closet in close proximity to or within the shower and toilet area shall
                         be provided and equipped with a mop sink and mop rack. A faucet with
                         tempered hot and cold water shall be provided for filling of buckets.

                     2.2.1.1.3 Support Areas: Within each housing building, support area for
                     property, equipment and cleaning supplies storage shall be provided. Storage shall
                     be provided based on the number of inmates housed and shall be a minimum of 100
                     s.f. and a maximum of 300 s.f. Ceilings in support areas shall be limited to 10 feet
                     in height or less.

                     2.2.1.1.4 Program Areas: Each housing building shall have area(s) dedicated
                     for multi-purpose program functions. Space shall be provided based on 4 s.f. per
                     inmate with a minimum room size of 250 s.f. Multi-purpose areas shall be
                     observable from the housing control room. Program area shall be separated from
                     living area to provide acoustical separation.

                     2.2.1.1.5 Officer Station: Each housing building shall be equipped with an
                     officer station, positioned to allow direct vision into each pod’s living area, hygiene
                     area, and program area(s). The officer station shall not be excessive in size,
                     approximately 12 ft x 12 ft it shall be elevated 2' and located against the wall at the
                     front of each pod. it shall have 2 access points with dutch type doors installed at
                     each with one opening into it; if designed on an exterior wall two openings may be
                     provided to access the work area, and counter space with lockable drawers and
                     storage compartments. Designed with walls and counters 48 inches high. This
                     allows full vision of all inmate living areas, and other support and hygiene areas.

                        If it is determined that a control room is necessary, it will comply with the
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                         requirements of Section 1.6.19.1.3 of this Standard. Each officer station shall
                         have an adjacent toilet room, which can be used by other staff.

                        The Officer’s Station in Minimum housing can be accessed from inmate
                         occupied areas and is not an enclosed space.

                     2.2.1.1.6 Recreation Areas: No dedicated indoor recreation area is required
                     within the Minimum units if built at an altitude less than 5000 ft above sea level.

               2.2.1.2   FF&E/Detention Equipment/Special Systems

                     2.2.1.2.1 Pod Area: Individual inmate living areas furniture shall be
                     manufactured by ACI in accordance with diagrams shown in Appendix IV, Figure
                     1. At least two living spaces in each 100 bed pod shall be designed to provide
                     ADA required accessibility. An additional 6" shall be provided between the bed
                     and the wardrobe unit to provide a 36" clearance. All bolts securing furniture to the
                     floor shall be tack welded.

                        Each pod shall be equipped with a gas drop port near the entry to the shower
                         area. The port is utilized by officers on the roof. The port shall extend from 6"
                         above the roof to the ceiling of the dayroom. No other detention equipment is
                         required in the pod areas.

                        Each pod shall be equipped with remote lighting control, controlled from the
                         electrical closet immediately adjacent to this living area. The toilet area and
                         dayroom space shall be controlled by different switches. Breaker shall not be
                         utilized for switching.

                     Each inmate living space shall be equipped with a single duplex power outlet
                     and an MATV outlet, complete with cable system. Cover plates for electrical
                     and cable TV outlets shall be equipped with security type screws.

                     The facility shall have installed a “collect only” telephone system, with a
                     mechanism to monitor and record conversations. There shall be a minimum of one
                     phone for every 15 inmates located in a position where staff can observe phones
                     used by inmates

                     2.2.1.2.2 Hygiene Areas: Commercial toilet compartments shall be utilized.
                     Each compartment shall be equipped with a toilet paper holder. Accessible toilet
                     stall shall be equipped with grab bars.

                        Hang-proof robe hooks shall be provided at each shower stall or in the drying
                         area adjacent to showers. Robe hooks of a soft material shall be furnished
                         between each lavatory, mirrors shall be furnished at each sink.

                        Shower stalls shall be equipped with shower curtains with ceiling mounted
                         tracks, mesh top section down to 60" above the floor, and opaque curtain down
                         to 18" above the floor. ADA accessible showers shall be equipped with grab
                         bars and folding seat. Wheel-in accessible showers 30" x 60" will not require a
                         seat. Accessible showers shall be equipped with a removable, flexible and
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                         hand held shower hose and head. Access panels in shower areas are stainless
                         steel. Shower floor must not hold water; the floor is to slope to drain.

                     2.2.1.2.3 Support Areas: Storage rooms shall be equipped with high security
                     grade commercial locks and at a minimum a solid wood door. A 5"x24" view
                     panel shall be provided in the door to allow observation of the room by security
                     staff.

                     2.2.1.2.4 Program Areas: Multi-purpose program areas shall be equipped with
                     MATV system cable and adequate electrical outlets.

                     2.2.1.2.5 Officer Station: Adequate working surface space shall be provided to
                     accommodate two officers, phone system, radios and writing materials.

                        Officer station shall be equipped with radio, phone or intercom systems to
                         allow communication with facility or unit control. Installation of a 1-1/2"
                         conduit with weather head through the roof of the building will be required for
                         a radio antenna.

       2.2.2   FACILITY/UNIT CONTROL: Unit or Facility Control is responsible for monitoring
               activities of the facility complex or unit. In a standalone facility, this control position
               will also be responsible for monitoring all perimeter activities and systems. Main control
               rooms shall be constructed to provide view of all areas controlled. Security frames shall
               be 12 Gauge Steel with 12 Gauge Face sheets.

               2.2.2.1   AREA REQUIREMENTS:

                     2.2.2.1.1 Work Areas: Unit or Facility control rooms shall be designed to allow
                     for three staff working at one time. All support functions shall be accessible
                     without leaving the control room. Approximate area for a central control room
                     shall be 225 s.f.

                     2.2. 2.1.2 Hygiene Areas: The Main control room officers shall be provided
                     with access to a wash basin and toilet. A procedure shall be established to
                     accommodate staff use of restroom facilities, if there are no facilities directly
                     accessible to the control center.

                     2.2.2.1.3 Support Areas: In a Stand Alone (not within the complex) Level 2
                     Facility a secure room shall be provided for the storage and distribution of DART
                     equipment. The room or areas shall have controlled access, electronic monitoring,
                     and be observable from Main Central Control Room.

                        Access to a control room shall be through a secure vestibule. The vestibule
                         may serve as controlled access to other facility areas as well as the control
                         room.

                         2.2.2.2    FF&E/Detention Equipment/Special Systems

                     2.2.2.2.1 Work Areas: The Officer Station shall be equipped with built-in
                     millwork to accommodate control equipment and provide adequate writing surfaces
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                     for all staff working the control room and storage of miscellaneous control
                     equipment such as radios, chargers, phones, facility computers and procedure
                     manuals. Space should be provided for incorporation of an under counter
                     refrigerator, filing cabinet and a coffee maker.

                     Special systems for the Officer Station shall include:
                           Security Control systems including door controls, intercom, camera and
                            inmate tracking systems.
                           Fire alarm monitoring equipment.
                           Phone system
                           Radio System

       2.2.3   YARD CONTROL: Each facility or unit shall have a centralized control and
               observation post, located in the Administration building, which affords observation of all
               yard areas. The room is to be located to view both inmate recreation areas and all
               housing entry doors.

               2.2.3.1   AREA REQUIREMENTS:

                     2.2.3.1.1   Control Areas: The observation posts shall be a minimum of 100 s.f.

                     2.2.3.1.2 Support Areas: An enclosed room with locking door shall be
                     provided for enclosure of control equipment.

               2.2.3.2   FF&E/Detention Equipment/Special Systems

                     2.2.3.2.1 Control Areas: Built-in millwork shall be provided for installation of
                     control panels and observation of CCTV Monitors and gate controls.

                        Detention equipment shall include a pass drawer to each yard and speaking
                         devices to each yard.

                     Special systems shall include:

                        Intercom
                        CCTV
                        Radio Systems




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       2.2.4   COMMISSARY: The commissary will provide inmates access to goods and supplies.
               The commissary shall be placed on each yard and roll up doors shall be observable by
               yard control. Commissary shall have a roll up delivery door to the service yard.
               Commissary walls shall extend to the roof deck and be reinforced with security steel
               mesh.

               2.2.4.1    AREA REQUIREMENTS:

                     2.2.4.1.1 Commissary Areas: A minimum of 960 s.f. of space shall be provided
                     for this function.

                     2.2.4.1.2     Hygiene Areas: Staff and inmates shall use the adjacent toilet
                     facilities.

               2.2.4.2    FF&E/Detention Equipment/Special Systems

                     2.2.4.2.1 Commissary Areas: Built-in millwork counter top shall be provided in
                     the commissary area for assembly of inmate orders, free standing work table and
                     workstation furniture. Refrigerators and freezers as required.

                        Detention equipment shall consist of a security roll up door and pass counter.
                         Rooms shall be equipped with 12 gauge security doors and frames with
                         detention hardware.

       2.2.5   WORK BASED EDUCATION: In institutions offering work based educational
               training programs, classrooms are designed as multi-purpose rooms to offer academic
               and/or specific training programs, as well as use by various religious groups. 10' wide by
               14' high roll up doors shall be included in design for the movement of raw and finished
               materials. Work based education areas shall be adjacent to the service yard with roll-up
               doors opening onto service yard. Clearances within the building shall be maintained at
               14 ft. Lighting levels in the work based education training areas shall be maintained at
               50 ft. candles. Natural lighting shall be provided in work shop areas.

               2.2.5.1 AREA REQUIREMENTS: Provide a minimum of 10,000 s.f. for Work
               Based Educational areas and a minimum of 10,000 s.f. for ACI Industrial areas.
               Classrooms shall be 750 s.f. and contain seating and tables for a maximum of 25 inmates.

                     2.2.5.1.1 Office/Work Areas: Staff offices shall be provided with a clear,
                     unobstructed view of work shops and shall have 50 ft. candle maintained level of
                     illumination.

                     2.2.5.1.2     Hygiene Areas: Separate toilet facilities shall be provided for staff and
                     inmates.

                     2.2.5.1.3 Support Areas: A minimum of 300s.f. for storage areas shall be
                     provided for materials and tools for each 10,000 s.f. of work based education space.
                     Secure storage shall be provided, if necessary.




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               2.2.5.2    FF&E/Detention Equipment/Special Systems

                     2.2.5.2.1 Office/Work Areas: Furniture requirements shall be required by the
                     program provided. Windows to classroom offices or work based educational areas
                     that face onto the yard shall be protected by bar grills.

                     2.2.5.2.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates in each work based educational area or in a common area to support
                     classroom activities.

       2.2.6   DINING/KITCHEN: Dining shall be provided in a dining area. If inmates receive
               food directly from a kitchen serving line, a blind serving port shall be utilized. The
               movement of inmates in the serving line shall be controlled by railing to reduce the
               problem of inmates returning for additional servings. Dining halls shall be designed to
               serve a maximum of 500 inmates based on serving requirements set forth in 2.2.6.1.1.

               2.2.6.1    AREA REQUIREMENTS

                     2.2.6.1.1 Dining Areas: Dining areas shall be sized to complete feeding of all
                     meals in one and one half hours with a maximum of four turns, and 20 minutes per
                     turn. The minimum square footage requirement shall be calculated at 7s.f./inmate
                     for dining room seating area.

                     2.2.6.1.2     Hygiene Areas: Staff and inmates shall use the adjacent toilet
                     facilities.

               2.2.6.2    FF&E/Detention Equipment/Special Systems

                     2.2.6.2.1 Dining Areas: Dining tables shall be constructed of moveable 4-man
                     tables of sturdy construction or 4 man permanently installed tables. Food line shall
                     be separated from main dining area by a 42" high guard rail. Dining areas shall be
                     equipped with a chemical agent drop port from the roof.




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       2.2.7   FINISH SCHEDULE

                     Legend:          Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile
                     SC .................. Sealed Concrete

                     Legend:              Base
                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base

                     Legend:               Walls
                     CONC............ Concrete or masonry block
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel
                     EXP ............... Exposed

                     Legend:              Ceiling
                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board




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AREA                   FLOOR         BASE       WALLS                     CEILING         HT
Facility Control
Office                 VCT     OR    VIN        GYP/PE                    AP              9'-0"
                       SC
Work Areas             CAR           VIN        GYP/PE                    AP              9'-0"
Toilet                 CT            CT         CT                        GYP             8'-0"
Support                CAR           VIN        GYP/PE                    GYP             9'-0"
Commissary
Commissary      SC                              CONC/PE                   EXP             9'-0"
Dining
Dining          SC                   VIN        CONC GYP/PE               EXP             12'-0"
Housing
Pod/ Day Room   SC                              GYP / RFP                 AP or EXP       15'-0"
Toilets/Showers CT                   CT         CT                        GYP             10'-0"
Support         SC                              GYP RFP                   GYP             9'-0"
Program         VCT                             GYP                       AP              9'-0"
Officer Station SC                   VIN        GYP/PE                    AP or EXP       8'-0"
WORK BASED EDUCATION
Office          VCT                  VIN        GYP/PE                    AP              9'-0"
Work Areas      SC                              EXP or GYP/FRP            EXP
Toilets         CT                   CT         CT                        GYP             8'-0"
Support         SC                              GYP                       EXP             8'-0"
Yard Control
Control         VCT                  VIN        GYP                       AP              8'-0"
Toilet          CT                   CT         CT                        GYP             8'-0"
Support         VCT                  VIN        GYP                       EXP             8'-0"




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Part 3 – Medium Security Facility Requirements

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PART 3         MEDIUM SECURITY CUSTODY FACILITY REQUIREMENTS

3.1      GENERAL FACILITY REQUIREMENTS

       3.1.1    FACILITY DESCRIPTION: A Medium facility or unit is constructed to house inmates
                whose public risk is medium. These inmates present a moderate risk to the public
                community should escape occur from custody. The facility should be capable of
                restricting inmate movement within the facility and must be constructed to a I-3
                condition 2 occupancy standard per the IBC. A Medium Custody facility could be a part
                of a larger complex of prison units and as such will be referred to as a Medium Custody
                unit. Support functions vary if the prison is stand alone or part of a larger complex.

       3.1.2    FACILITIES SUPPORT SERVICES (COMPLEX LEVEL): If a Medium prison is
                constructed as a part of a larger complex it can be expected that the unit will be
                supported by complex wide functions. Warehousing, maintenance, medical services,
                pharmacy, vehicle maintenance and complex administration are but a few of the
                centralize functions. Perimeter patrol and monitoring of critical systems such as water
                supply, wastewater systems and emergency power generation, will be provided at a
                complex level.

       3.1.3    FACILITIES SUPPORT SERVICES (STAND ALONE FACILITIES): If a prison is
                stand alone, the support functions will become a part of the facility, and must be
                designed and constructed in accordance with the provisions of these standards. Some
                services may be furnished from other ADC facilities and if so the facility shall take into
                account those reduced service requirements.

       3.1.4    FACILITY SIZE REQUIREMENTS: The maximum inmate population of a
                Medium unit is 1,000 beds. Physical separation of inmate populations within a unit may
                be required depending on such circumstances as facility design, staffing patterns, and
                operational plan. At minimum a 1,000 bed unit must be designed to divide the recreation
                area into two 500 inmate yards. The primary determining objective shall be the need for
                sound correctional practice, which ensures the safety of staff and inmates as well as
                effective security. Support and program functions should be designed to minimize
                inmate movement from yard to yard, and will require some duplication of functions.
                ADC developed RFP’s and Project Descriptions may further define facility services and
                size requirements.

       3.1.5    PHYSICAL SECURITY: Due to the moderate level of escape risk of Medium Custody
                inmates, the facility is designed with a moderate level of physical security. The facility
                shall be designed to withstand abuse, wear and tear, and require relatively low
                maintenance. Physical Security shall be installed as listed in sub-sections below.

                3.1.5.1 Perimeter Security: The facilities’ perimeter security is made up of integrated
                systems and will provide a good barrier against escape. The institution’s perimeter
                system is designed such that inmates remain within the perimeter and that access by the
                general public is precluded except with proper authorization. A four strand barb wire
                barrier fence shall serve as a delineation of prison property. The barb wire fence shall
                have signage every 100 feet that indicates “No Trespassing”. The perimeter security
                fence shall be located a minimum of 300 feet from the prison property line.

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                     3.1.5.1.1 Fencing: The perimeter fencing shall comply with Appendix III,
                     Figure 2. A Medium facility shall have a single perimeter fence which serves as a
                     physical containment barrier. The perimeter fence shall be 14 foot high looped top
                     fence with 6 feet of 1/4" security mesh on the inside of the upper portion of the
                     looped top. The perimeter fence shall contain one 30" diameter 5 point detainer
                     hook and barb concertina razor ribbon row at the top and three rows at the bottom,
                     one directly above the other starting at grade. If the perimeter fence contacts a
                     building, a 30" diameter section of 5 point detainer hook and barb razor ribbon
                     shall be installed vertically at the intersection, on the yard side of the fence. The
                     fence shall have a concrete anti-dig barrier footing 6" wide by 24" deep. The
                     bottom of the fence shall be secured by a (1-1/2" minimum) bottom rail secured to
                     the concrete base by a anchor bolt or method approved by the Department.

                        All fence ties shall be equally spaced (5 per 10' section at a minimum). Fence
                         ties shall be mechanically twisted and all straps and bolts in areas that may
                         permit inmate access shall be tack welded. This also applies to gates, which
                         access those areas.

                        A single continuous row of 30" 5 point detainer hook and barb concertina razor
                         ribbon shall be installed at the top of the fence and 3 rows of 30” diameter 5
                         point detainer hook and barb razor ribbon shall be stacked vertically on the yard
                         side base of the fence beginning at grade and fastened securely to the fence with
                         metal ties spaced every 3 feet Top of fence Razor ribbon shall be secured in
                         place by tying to the top tension wire.

                     3.1.5.1.2 Detection Systems: Electronic detection system will be placed as
                     indicated in Figure 2, Appendix III in the form of ported cable. The alarm system
                     shall be broken up into zones with zone links of approximately 300 feet. An alarm
                     condition will trigger the quartz lights associated with the alarmed zone and one
                     lighting zone adjacent to either side of the alarmed zone. Notification of an alarm
                     condition will be received by the unit control room.

                     3.1.5.1.3 Perimeter and Area Lighting: Lighting on the perimeter shall be
                     sufficient to visually detect movement. Lighting on the vehicle sally port is at least
                     5 foot-candles and 2-foot candles to the pedestrian sally port at the lowest level, as
                     documented by an independent, qualified source. Foot-candles listed are minimum
                     maintained. Light poles shall be kept a minimum of 10 feet clear from the inner-
                     most portion of the perimeter fence. There shall be supplemental quartz light
                     system outside the perimeter fence consisting of 1500 watt quartz fixtures or metal
                     halide lights of a wattage to provide the required foot-candles mounted on 10 foot
                     high poles, spaced 75 feet on center and installed 5 feet clear of the exterior
                     perimeter fence.

                            3.1.5.1.3.1    Medium facilities shall have perimeter lighting zone with a
                            two foot candles level. Perimeter zone shall be defined as the area 40'
                            inside the fence to 20' outside the fence.




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                            3.1.5.1.3.2     Area lighting is defined as the remainder of the area within
                            the facility from the 40 foot perimeter zone inside dimension and shall be
                            maintained at one foot candle.

                     3.1.5.1.4 CCTV Systems: Closed Circuit Television cameras shall be installed
                     to monitor both the pedestrian and vehicle sally ports. Cameras shall be monitored
                     from the facility control room. Recording of the cameras is optional but highly
                     recommended. Closed circuit surveillance cameras shall be positioned to monitor
                     any area of the yard that is not directly visible from a control room. These cameras
                     shall be monitored from facility control. Recording is optional for interior cameras.

                     3.1.5.1.5 Sand Trap: Outside and adjacent to the perimeter fence, a sand trap
                     shall be constructed and maintained to provide an indication of escape path or fence
                     tampering from outside sources. The trap shall be 15 feet in width and sloped to
                     provide drainage without erosion of sand material.

                     3.1.5.1.6 Perimeter Road: A paved perimeter road shall be constructed around
                     the entire Complex facility. The road surface shall be 12 feet wide and have
                     shoulder widths of 6 feet. Turn around shall be provided at each turn in the road
                     and at intervals of 400 yards. A perimeter road is not required on an individual unit
                     within the complex. A perimeter road shall be required at a unit or stand-alone
                     facility that is not in close proximity to a complex.

                     3.1.5.1.7 Sally ports: Sally ports for vehicles and or pedestrians are required in a
                     Medium Facility.

                     3.1.5.1.8 Pedestrian Entry Gate: There shall be a single point of controlled
                     entry into a Medium facility or unit. The pedestrian entry gate shall be equipped
                     with a remotely controlled lock on a swing gate. These gates shall be controlled
                     from the facility or unit control room.

                     3.1.5.1.9 Vehicle Gate: There shall be one vehicle and pedestrian access on the
                     Perimeter Security Fence per facility. Vehicle gates shall be 14' wide and shall be
                     electrically operated from the Main Officer Station or sally port building and both
                     gates shall be monitored by a TV camera with a Remote Recording monitored from
                     the Administration Building Officer Station.

                        Provide an Intercom box at both the vehicle gate and the pedestrian gate to the
                         Administration Building Officer Control Room.

               3.1.5.2 Interior Security: A combination of systems can be utilized to create and
               secure functions within the perimeter of the facility. The following is the minimum
               requirements for systems to be utilized.




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                     3.1.5.2.1 Fencing: Interior fencing shall be provided to define the limits of the
                     inmate yards and provide separation of inmate activity areas. There shall be an
                     interior fence connecting the fronts of all buildings surrounding the yard to provide
                     a complete barrier and define a “No-man’s Zone” behind the buildings. Interior
                     fencing for Medium Custody yards shall be a straight vertical 10' high fence with
                     one coil of 30" 5 point detainer hook and barb concertina razor ribbon mounted on
                     top. No-climb (1/4" hardware cloth) shall be installed for a distance of 6' on both
                     sides of the interior fence, where an interior fence contacts the perimeter fence and
                     at building.

                     Outdoor visitation space shall be enclosed with a 10 foot high (minimum) fence
                     and 1 coil of 30” 5 point detainer hook and barb concertina razor ribbon mounted
                     around the top of the enclosure.


3.2    BUILDING REQUIREMENTS

       3.2.1    Medium Custody inmates may be housed in dormitory or cell style buildings. Optimal
               number of beds per pod/housing unit will be based on sound correctional practice, which
               ensures the safety of staff and inmates as well as effective security. The housing unit
               shall have a control room per section 1.6.19.1.3, centrally located, capable of directly
               observing no more than 6 pods within a maximum of a 180 degree field of view. Pod size
               shall be limited to a maximum of 50 inmates per pod in dormitory style buildings. No
               more than 200 inmates shall be monitored by each control room officer for dormitory
               style buildings. Buildings shall be constructed to meet an I-3 condition 2 occupancy
               requirement. Exit and entry doors into the Pod areas shall be lockable. Movement
               between pods shall be restricted by an electronically and manually operated door or gate.
               Building may be constructed of masonry, concrete (pre-cast or cast-in-place), pre-
               engineered metal building or other materials that meet the above and code requirements.


               3.2.1.1   AREA REQUIREMENTS

                     3.2.1.1.1 Pod Area: Each inmate shall be provided with an individual living
                     space with a gross area of 40 s.f. A diagram of the approved living unit can be
                     found in Appendix IV, Figure 1. In addition to the individual living space, area
                     shall be provided for code required circulation and access to toilet and shower
                     areas. No aisles shall be less than 48" in width.

                     3.2.1.1.2 Hygiene Areas: Accessible in each pod shall be a hygiene area(s)
                     equipped with toilets, shower, lavatories, and urinals (male facilities). Toilets and
                     showers shall be provided at a ratio of 1 per 8 inmates. Lavatories shall be
                     provided at a ratio of 1 per 12 inmates. Each hygiene area shall be equipped with at
                     least one ADA compliant accessible toilet, lavatory and shower. Urinals may
                     replace 1/3 of the required toilets. At least one of the urinals shall be installed in
                     compliance with ADA accessible standards. Toilet paper, toilet seat cover, and soap
                     dispensers are not required to be installed in these hygiene areas. A shelf to hold
                     toilet paper will be installed at each toilet.

                        A space within or in close proximity to the shower and toilet area shall be
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                         provided and equipped with a mop sink and mop rack. A faucet with tempered
                         hot and cold water shall be provided for filling of buckets.

                     3.2.1.1.3 Support Areas: Within each housing building, support area for
                     property, equipment and cleaning supplies storage shall be provided. Storage shall
                     be provided based on the number of inmates housed and shall be calculated at 8 cu.
                     ft. per inmate. Ceilings in support areas shall be limited to 10 feet in height.

                     3.2.1.1.4 Program Areas: Each housing building shall have area(s) dedicated
                     for multi-purpose program functions. Space shall be provided based on 4 s.f. per-
                     inmate with a minimum room size of 250 s.f. Multi-purpose areas shall be
                     observable from the housing Officer Station. Program areas shall be separated
                     from living area to provide acoustical separation.

                     3.2.1.1.5 Security and Control Areas: Each housing building shall be equipped
                     with a control room per section 1.6.19.1.3, positioned to allow direct vision into
                     each pods living, hygiene and program area(s). The control room shall not be
                     excessive in size, approximately 12 ft x 12 ft and counter space with lockable
                     drawers and storage compartments. Designed with counters on walls 48 inches
                     high. The control room will comply with the requirements of 1.6.19.1.3.

                        The control room in Medium Custody housing can be accessed from inmate
                         occupied areas.

                     3.2.1.1.6 Recreation Areas: No dedicated indoor recreation area is required
                     within the Medium housing units.

               3.2.1.2   FF&E/Detention Equipment/Special Systems

                     3.2.1.2.1 Pod Area: Individual inmate living areas furniture shall be
                     manufactured by ACI in accordance with diagrams shown in Appendix IV, Figure
                     2. At least two (2) living spaces in each 50 bed pod shall be designed to provide
                     ADA required accessibility. An additional 6" shall be provided between the bed
                     and the wardrobe unit to provide a 36" clearance.

                        Tack weld all bolts securing the furniture to the floor within inmate accessible
                         areas.

                        Each pod shall be equipped with a gas drop port near the entry to the shower
                         area. The port is utilized by officers on the roof. The port shall extend from 6"
                         above the roof to the ceiling of the dayroom. No other detention equipment is
                         required in the pod areas.

                        Each pod shall be equipped with remote lighting control, controlled from the
                         adjacent electrical closet.

                        The toilet area and dayroom space shall be controlled by different switches.
                         Breaker shall not be utilized for switching.

                        Each inmate living space shall be equipped with a single duplex power outlet
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                         and an MATV outlet, complete with cable system. Cover plates for electrical
                         and cable TV outlets shall be equipped with security type screws.

                        The prison shall have installed a collect only telephone system, with a
                         mechanism to monitor and record conversations. There shall be a minimum of
                         one phone for every 15 inmates located in a position where staff can observe
                         phones used by inmates.

                     3.2.1.2.2 Hygiene Areas: Each toilet shall be equipped with Commercial toilet
                     partitions. Each compartment shall be equipped with a toilet paper holder.
                     Accessible toilet stall shall be equipped with grab bars.

                        Hang-proof robe hooks of a soft material shall be provided at each shower stall
                         or in the drying area adjacent to showers. Robe hooks shall be furnished
                         between each lavatory.

                        Mirrors shall be furnished at each sink.

                        Shower stalls shall be equipped with shower curtains with ceiling mounted
                         tracks, mesh top section down to 60" above the floor, and opaque curtain down
                         to 18" above the floor. ADA accessible showers shall be equipped with grab
                         bars and folding seat. Wheel-in accessible showers 30" x 60" will not require a
                         seat. Accessible showers shall be equipped with a removable, flexible and
                         hand held shower hose and head. Access panels in shower areas are stainless
                         steel.

                     3.2.1.2.3 Support Areas: Storage rooms shall be equipped with high security
                     grade commercial locks and at a minimum a solid wood door. A 5" x 24" view
                     panel shall be provided in the door to allow observation of the room by security
                     staff.

                     3.2.1.2.4 Program Areas: Multi-purpose program areas shall be equipped with
                     MATV system cable and adequate electrical outlets.

                     3.2.1.2.5 Security and Control Areas: Control consoles shall be installed in
                     built-in millwork or electronic equipment enclosures. Adequate working surface
                     space shall be provided to accommodate two officers, phone system, radios and
                     writing materials.

                        Control room shall be equipped with radio, phone or site intercom systems to
                         allow communication with facility or unit control. Installation of a 1-1/2"
                         conduit with weather head through the roof above the officer station will be
                         required for radio antenna.

       3.2.2   FACILITY/UNIT CONTROL: Unit or Facility Control is responsible for monitoring
               activities of the facility (standalone) or unit (complex). In a standalone facility, this
               control position will also be responsible for monitoring all perimeter activities and
               systems. Control rooms shall be constructed to provide view of all areas controlled.
               Wall shall be reinforced steel security mesh. Security frames shall be 12 gauge Steel
               with 12 gauge face sheets.
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               3.2.2.1   AREA REQUIREMENTS

                     3.2.2.1.1 Work Areas: Unit or Facility control rooms shall be designed to allow
                     for three staff working at one time. All support functions shall be accessible
                     without leaving the control room. Approximate area for a central control room
                     shall be 225 s.f.

                     3.2.2.1.2 Hygiene Areas: The control room officers shall be provided with
                     access to a wash basin and toilet. A procedure shall be established to accommodate
                     staff use of restroom facilities, if there are no facilities directly accessible to the
                     control center.

                     3.2.2.1.3 Support Areas: A secure room shall be provided for the storage and
                     distribution of DART equipment. In a complex or stand-alone facility the room or
                     areas shall have controlled access, electronic monitoring, and be observable from
                     Main central control.

                        Access to a control room shall be through a secure vestibule. The vestibule
                         may serve as controlled access to other facility areas as well as the control room

               3.2.2.2   FF&E/Detention Equipment/Special Systems

                     3.2.2.2.1 Work Areas: The officer station shall be equipped with built-in
                     millwork to accommodate control equipment and provide adequate writing surfaces
                     for all staff working the control room and storage of miscellaneous control
                     equipment such as radios, chargers, phones, facility computers and procedure
                     manuals. Space should be provided for incorporation of an under counter
                     refrigerator, filing cabinet and a coffee maker.

                     Special systems for the officer station shall include:
                      Security Control systems including door controls, intercom, camera and inmate
                        tracking systems.
                      Fire alarm monitoring equipment.
                      Phone system
                      Radio System

       3.2.3   YARD CONTROL: Each facility or unit shall have a centralized control and
               observation post, located in the Administration building, which affords observation of all
               yard areas. The room is to be located to view both inmate recreation areas and all
               housing entry doors.

               3.2.1.1   AREA REQUIERMENTS

                     3.2.3.1.1   Control Areas: The observation posts shall be a minimum of 100 s.f.

                     3.2. 3.1.2 Support Areas: An enclosed room with locking door shall be
                     provided for enclosure of control equipment.


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               3.2.3.2    FF&E / Detention Equipment / Special Systems.

                     3.2.3.2.1 Control Areas: Built-in millwork shall be provided for installation of
                     control panels and observation of CCTV Monitors and gate controls.

                        Detention equipment shall include a pass drawer to each yard and speaking
                         devices to each yard.

                        Special systems shall include intercom, CCTV, and radio systems.

       3.2.4   COMMISSARY: The commissary will provide inmates access to goods and supplies
               on a controlled basis. Delivery method for commissary goods is optional for Medium
               Custody facilities. Pre-bagged and delivered to housing areas is an option to a yard
               based pick-up commissary. If yard pick-up is utilized, the commissary shall be placed on
               each yard and roll up doors shall be observable by yard control. Commissary shall have
               a roll up delivery door to the service yard. Commissary walls shall extend to the roof
               deck and be reinforced with security steel mesh.

               3.2.4.1    AREA REQUIREMENTS:

                     3.2.4.1.1 Commissary Areas:         A minimum of 960 s.f. of space shall be
                     provided for this function.

                     3.2.4.1.2     Hygiene Areas: Staff and inmates shall use the adjacent toilet
                     facilities.

               3.2.4.2    FF&E/Detention Equipment/Special Systems

                     3.2.4.2.1 Commissary Areas: Built-in millwork counter in commissary area for
                     assembly of inmate orders, free standing work table and workstation furniture.
                     Refrigerators and freezers as required.

                        Detention equipment shall consist of a security roll up door and pass counter.
                         Rooms shall be equipped with 12 gauge security doors and frame and detention
                         hardware.

       3.2.5   WORK BASED EDUCATION: In institutions offering work based educational
               training programs, classrooms are designed as multi-purpose rooms to offer academic
               and/or specific training programs, as well as use by various religious groups. 10' wide by
               14' high roll up doors shall be included in design for the movement of raw and finished
               materials. Work based education areas shall be adjacent to the service yard with roll-up
               doors opening onto service yard. Clearances within the building shall be maintained at
               14 ft. Lighting levels in the work based education training areas shall be maintained at
               50 ft. candles. Natural lighting shall be provided in work shop areas.

               3.2.5.1 AREA REQUIREMENTS: Provide a minimum of 10,000 s.f. for Work
               Based Educational areas and a minimum of 10,000 s.f. for ACI Industrial areas.
               Classrooms shall be 750s.f. and contain seating and tables for a maximum of 25 inmates.


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                     3.2.5.1.1 Office/Work Areas: Staff offices shall be provided with a clear,
                     unobstructed view of work shops.

                     3.2.5.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff
                     and inmates.

                     3.2.5.1.3 Support Areas: A minimum of 300s.f. for storage areas shall be
                     provided for materials and tools for each 10,000 s.f. of work based education space.
                     Secure storage shall be provided, if necessary.

               3.2.5.2   FF&E/Detention Equipment/Special Systems

                     3.2.5.2.1 Office/Work Areas: Furniture requirements shall be required by the
                     program provided. Windows to classroom offices or work based educational areas
                     that face onto the yard shall be protected by bar grills. Exit doors to service yards
                     or no-man areas shall be alarmed

                     3.2.5.2.2 Hygiene Areas: Toilets for use by inmates and staff shall be provided
                     in each work based educational areas or in a common area to support classroom
                     activities.

       3.2.6   DINING/KITCHEN: Dining shall be provided in a dining area. If inmates receive
               food directly from a kitchen serving line, a blind serving port shall be utilized. The
               movement of inmates in the serving line shall be controlled by railing to reduce the
               problem of inmates returning for additional servings. Dining halls shall be designed to
               serve a maximum of 500 inmates based on serving requirements set forth in 3.2.6.1.1.

               3.2.6.1   AREA REQUIREMENTS:

                     3.2.6.1.1 Dining Areas: Dining areas shall be sized to complete feeding of all
                     meals in one and one half hours with a maximum of four turns, and 20 minutes per
                     turn. The minimum Square footage requirement shall be calculated at 7s.f./inmate
                     for dining room seating area.

                     3.2.6.1.2 Hygiene Areas: Staff and inmates shall use the adjacent toilet
                     facilities for Dining Area. Separate toilet facilities shall be provided for staff and
                     inmates within the Kitchen area.

               3.2.6.2   FF&E/Detention Equipment/Special Systems

                     3.2.6.2.1 Dining Areas: Dining tables shall be constructed of moveable 4-man
                     tables. Food line shall be separated from main dining area by a 32" high guard rail.

                        Dining areas shall be equipped with a chemical agent drop port from the roof.




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       3.2.7   FINISH SCHEDULE

                     Legend:          Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile
                     SC .................. Sealed Concrete

                     Legend:              Base
                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base

                     Legend:               Walls
                     CONC............ Concrete or masonry block
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel
                     EXP ............... Exposed

                     Legend:              Ceiling
                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board




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AREA                   FLOOR         BASE       WALLS                     CEILING         HT
Facility Control
Office                 VCT     OR    VIN        GYP/PE                    AP              9'-0"
                       SC
Work Areas             CAR           VIN        GYP/PE                    AP              9'-0"
Toilet                 CT            CT         CT                        GYP             8'-0"
Support                CAR           VIN        GYP/PE                    GYP             9'-0"
Commissary
Commissary      SC                              CONC/PE                   EXP             9'-0"
Dining
Dining          SC                   VIN        CONC GYP/PE               EXP             12'-0"
Housing
Pod/ Day Room   SC                              GYP / RFP                 AP or EXP       15'-0"
Toilets/Showers CT                   CT         CT                        GYP             10'-0"
Support         SC                              GYP RFP                   GYP             9'-0"
Program         VCT                             GYP                       AP              9'-0"
Officer Station SC                   VIN        GYP/PE                    AP or EXP       8'-0"
WORK BASED EDUCATION
Office          VCT                  VIN        GYP/PE                    AP              9'-0"
Work Areas      SC                              EXP or GYP/FRP            EXP
Toilets         CT                   CT         CT                        GYP             8'-0"
Support         SC                              GYP                       EXP             8'-0"
Yard Control
Control         VCT                  VIN        GYP                       AP              8'-0"
Toilet          CT                   CT         CT                        GYP             8'-0"
Support         VCT                  VIN        GYP                       EXP             8'-0"




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PART 4         CLOSE SECURITY FACILITY REQUIREMENTS

4.1    GENERAL FACILITY REQUIREMENTS

       4.1.1    FACILITY DESCRIPTION: A Close Security facility or unit is constructed to house
                inmates whose public risk is high. These inmates present a moderately high risk to the
                public should escape from custody occur. The facility should be capable of restricting
                inmate movement within the facility. A Close facility could be a part of a larger complex
                of prison units.. Support functions vary if the prison is stand alone or part of a larger
                complex.

       4.1.2    FACILITIES SUPPORT SERVICES (COMPLEX LEVEL): If a Close facility is
                constructed as a part of a larger complex it can be expected that the unit will be
                supported by complex wide functions. Warehousing, maintenance, medical services,
                pharmacy, vehicle maintenance and complex administration are but a few of the
                centralize functions. Perimeter patrol and monitoring of critical systems such as water
                supply, wastewater systems and emergency power generation, will be provided at a
                complex level.

       4.1.3    FACILITIES SUPPORT SERVICES UNIT: If a prison is stand-alone, the support
                functions will become a part of the facility, and must be designed and constructed in
                accordance with the provisions of these standards. Some services may be furnished from
                other ADC facilities, and if so the facility shall take into account those reduced service
                requirements.

       4.1.4    FACILITY SIZE REQUIREMENTS: The maximum inmate population of a Level 4
                unit is 1000 beds. Physical separation of inmate populations within a unit may be
                required depending on such circumstances as facility design, staffing patterns, and
                operational plan and at the minimum; an 1000 bed unit is to be designed to divide the
                recreation area into two 500 inmate yards. The primary determining objective shall be
                the need for sound correctional practice, which ensures the safety of staff and inmates as
                well as effective security. Support and program functions should be designed to
                minimize inmate movement from yard to yard, and will require some duplication of
                functions. ADC developed RFP’s and Project Descriptions may further define facility
                services and size requirements.

       4.1.5    PHYSICAL SECURITY: Due to the high level of escape risk of Close Custody
                inmates, the facility is designed with a high level of physical security. The facility shall
                be designed to withstand abuse, wear and tear, and require relatively low maintenance.
                Physical Security shall be installed as listed in the sub-sections below.

                4.1.5.1 Perimeter Security: The facilities perimeter security is made up of integrated
                systems and will provide a good barrier against escape. The institution’s perimeter
                system is designed such that inmates remain within the perimeter and that access by the
                general public is precluded except with proper authorization. A four strand barb wire
                barrier fence shall serve as a delineation of prison property. The barb wire fence shall
                have signage every 100 feet that indicates “No Trespassing”.The perimeter security fence
                shall be located a minimum of 300 feet from the prison property line.



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                     4.1.5.1.1 Fencing: The perimeter fencing shall comply with Appendix III,
                     Figure 3. A Level 4 facility shall have a double perimeter fence which serves as a
                     physical containment barrier. An additional “No-Man’s Zone” fence shall be
                     provided consisting of a four foot, four stand barbed wire fence denoting the
                     interior perimeter of the no-man zone. Both perimeter fences shall be 14 foot high
                     looped top fence with 6 feet of 1/4" security mesh on the inside of the upper portion
                     of the looped top. Both perimeter fences shall contain one 30" 5 point detainer
                     hook and barb diameter concertina razor ribbon row at the top and three rows, one
                     directly above the other starting at grade. If the perimeter fence contacts a building,
                     a 30" diameter section of razor ribbon shall be installed vertically at the
                     intersection, on the yard side of the fence. The fence shall have a concrete anti-dig
                     barrier footing 6" wide by 24" deep. The bottom of the fence shall be secured by a
                     (1-1/2" minimum) bottom rail secured to the concrete base by a anchor bolt or
                     method approved by the Department.

                        All fence ties shall be equally spaced (5 per 10' section at a minimum). Fence
                         ties and bolts in areas that may permit inmate access shall be tack welded (e.g.,
                         exercise, work, trash etc.). Any fenced area that serves as a temporary inmate
                         holding area (e.g., recreation, health unit, intake, transportation, detention unit
                         holding areas, etc.) shall use permanent straps to attach fabric to poles which
                         shall be bolted and tack welded. This also applies to gates, which access those
                         areas.

                     4.1.5.1.2 Detection Systems: Electronic detection system will be placed as
                     indicated in Figure 3, Appendix III. The alarm system shall be broken up into
                     zones with zone links of approximately 300 feet. An alarm condition will trigger
                     the quarts lights associated with the alarmed zone and one lighting zone adjacent to
                     either side of the alarmed zone. Notification of an alarm condition will be received
                     by the unit control room

                     4.1.5.1.3 Perimeter and Area Lighting: Lighting on the perimeter shall be
                     sufficient to visually detect movement. Lighting on the vehicle sally port is at least
                     5 foot-candles and 2-foot candles to the pedestrian sally port at the lowest level, as
                     documented by an independent, qualified source. Foot-candles listed are minimum
                     maintained. Light poles shall be kept a minimum of 10 feet clear from the inner-
                     most portion of the perimeter fence. There shall be a supplemental quartz light
                     system outside the perimeter fence with 1500 watt quartz fixtures or metal halide
                     fixture that will provide the necessary foot candles mounted on 10 foot high poles,
                     spaced 75 feet on center and installed 5 feet clear of the exterior perimeter fence.

                            4.1.5.1.3.1     Close facilities shall have perimeter lighting zone with a two
                            foot candles level. Perimeter zone shall be defined as the area 40' inside the
                            fence to 20' outside the fence.

                            4.1.5.1.3.2     Area lighting is defined as the remainder of the area within
                            the facility from the 40 foot perimeter zone inside dimension and shall be
                            maintained at one foot candle.




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                     4.1.5.1.4 CCTV Systems: Closed Circuit Television cameras shall be installed
                     to monitor both the pedestrian and vehicle sally ports. Cameras shall be monitored
                     from the facility control room. Recording of the cameras is optional but highly
                     recommended. Closed circuit surveillance cameras shall be positioned to monitor
                     any area of the yard that is not directly visible from a control room. These cameras
                     shall be monitored from facility control. Recording is optional for interior cameras.

                     4.1.5.1.5 Sand Trap: Outside and adjacent to the perimeter fence, a sand trap
                     shall be constructed and maintained to provide an indication of escape path or fence
                     tampering from out side sources. The trap shall be 15 feet in width and sloped to
                     provide drainage without erosion of sand material. A sand trap will also be located
                     between the two perimeter fences.

                     4.1.5.1.6 Perimeter Road: A paved perimeter road shall be constructed around
                     the entire facility. The road surface shall be 12 feet wide and have shoulder widths
                     of 6 feet. Turn around shall be provide at each turn in the road and at intervals of
                     400 yards.

                     4.1.5.1.7 Sally ports: Sally ports are designed to control movement into and out
                     of a prison. All sally ports shall be designed with two interlocked gates. Sally port
                     at units may be equipped with local gate control with override functions at Unit
                     control. Facility sally ports (Stand-alone) shall be controlled only from the facility
                     control.

                            4.1.5.1.7.1    Pedestrian Sally port: There shall be a single point of
                            controlled entry into a Close Custody facility or unit. The pedestrian sally
                            port shall be equipped with remotely controlled sliding gates. These gates
                            shall be controlled from the facility or unit control room. The gates shall be
                            interlocked and an interlock override shall be provided,

                            4.1.5.1.7.2     Vehicle Sally port: There shall be one vehicle access and
                            pedestrian sally port per facility. The vehicle sally port shall accommodate
                            the size of a typical fire truck serving the area. At a minimum the sally port
                            shall be 80' long and 20' wide with concrete paving a minimum of 14'wide
                            in line with the sliding gates. There shall be a vehicle crash bar on the yard
                            side of the interior sally port gate. Sally port gates shall be 14' wide and 14'
                            clear in height. There shall be an intercom station provided in the sally port
                            for communication to the central control room.

               4.1.5.2 Interior Security: A combination of systems can be utilized to create and
               secure functions within the perimeter of the facility. The following is the minimum
               requirements for systems to be utilized.




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                     4.1.5.2.1       Fencing: Interior fencing shall be provided to defined the limits of
                     the inmate yards and provide separation of inmate activity areas. There shall be an
                     interior fence connecting the fronts of all buildings surrounding the yard to provide
                     a complete barrier and define a “No-Man’s Zone” behind the buildings. Interior
                     fencing for Level 4 yards shall be a straight vertical 10' high fence with one coil of
                     30" 5 point detainer hook and barb concertina razor ribbon. No-climb (1/4"
                     hardware cloth) shall be installed for a distance of 6' on both sides of the interior
                     fence, where an interior fence contacts the perimeter fence. Install one section of
                     30" 5 point detainer hook and barb razor ribbon vertically in each corner and the
                     fence intersection, and on the yard side where fences contact buildings.

                        Outdoor visitation space shall be enclosed with a 12 foot high (minimum) fence
                         and shall meet all the above requirements for interior fences.

4.2     BUILDING REQUIREMENTS

       4.2.1   HOUSING: Close Custody inmates shall be housed in two story cell style buildings.
               Optimal number of beds per pod/housing unit will be based on sound correctional
               practice, which ensures the safety of staff and inmates as well as effective security. The
               housing unit shall have a control room, centrally located, capable of observing all inmate
               occupied areas. Buildings shall be constructed to meet an “I-3”occupancy requirement.
               Exit and entry doors shall be lockable with remote release capability. Building may be
               constructed of masonry, concrete (precast or cast-in-place) or other materials that meet
               the above and code requirements.

               4.2.1.1   AREA REQUIREMENTS:

                     4.2.1.1.1 Pod Area: Housing unit pods shall be developed to house up to 50
                     inmates maximum. Two inmates shall be provided with a cell living space with a
                     gross area of 80 s.f. Each cell shall contain a combination unit of lavatory/toilet.
                     Each pod shall contain a minimum of 1750 s.f. of dayroom space for communal
                     gathering of inmates. Each pod shall contain one one-man handicap cell.

                     4.2.1.1.2 Hygiene: Each dayroom shall contain showers for the use of inmates
                     in that level of the pod. The ratio for showers is one per 8 inmates. Each cell shall
                     contain a combination lavatory/toilet for the cells occupants. Toilet paper, toilet
                     seat cover, and soap dispensers are not required to be installed in these hygiene
                     areas.


                     4.2.1.1.3 Support Areas: Within each housing building, support area for
                     property, equipment and cleaning supplies storage shall be provided. Storage shall
                     be provided based on the number of inmates housed and shall be a minimum of 100
                     s.f. and a maximum of 300 s.f. Ceilings in support areas shall be limited to 10 feet
                     in height or less.

                     4.2.1.1.4 Program Areas: Each housing building shall have area(s) dedicated
                     for multi-purpose program functions. Space shall be provided based on 4 s.f. per
                     inmate with a minimum room size of 250 s.f. Multi-purpose areas shall be
                     observable from the housing control room. Program area shall be separated from
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                     living area to provide acoustical separation.

                     4.2.1.1.5 Security and Control Areas: Each housing building shall be equipped
                     with an enclosed, secure control room, positioned to allow direct vision into each
                     pods living and hygiene area, and program area(s). The control room shall not be
                     excessive in size, reducing the requirement to move from position to position to
                     observe inmate areas.

                        Each control room shall have an adjacent toilet room, which can be used by
                         control staff.

                        The control room in Level 4 housing units can be accessed from a secure staff
                         corridor and requires only a single security door. No secure vestibule will be
                         required. Each officer station shall be equipped with an escape ladder to the
                         roof of the building, and be equipped with a means of securing the hatch from
                         the roof side of the hatch.

                     4.2.1.1.6 Recreation Areas: No dedicated indoor recreation area is required
                     within the Level 4 housing units.

               4.2.1.2   FF&E/Detention Equipment/Special Systems

                     4.2.1.2.1 Cell and Pod Areas: Cell furniture shall be manufactured by ACI.
                     Each cell shall contain two bunks, desks with stool, and two lockable storage
                     cabinets. Cell doors will be constructed of 14 ga. steel with a 6"x18" view panel,
                     contain a cuffing slot/food pass, and be operated by the control room.

                        Each cell shall be equipped with two single duplex power outlets and two
                         MATV outlets complete with cable system.

                        Each pod shall be equipped with a gas drop port near the entry to the shower
                         area. The port is utilized by officers on the roof. The port shall extend from 6"
                         above the roof to the ceiling of the day room. No other detention equipment is
                         required in the pod areas.

                        Each pod shall be equipped with a one way paging system. An intercom station
                         located near the pod entry doors, on both sides of the door, shall be installed so
                         inmates and staff can communicate with control officers. Each pod shall
                         contain one handicap accessible cell with a single bunk, handicap combo unit
                         with grab bars, and one desk.

                        Each pod shall be equipped with remote lighting control, controlled from the
                         control room. The toilet area and dayroom space shall be controlled by
                         different switches. Breaker shall not be utilized for switching.

                        The prison shall have installed a collect only telephone system, with a
                         mechanism to monitor and record conversations. There shall be a minimum of
                         one phone for every 25 inmates located in a position where staff can observe
                         phones used by inmates. Additionally there shall be sufficient jacks installed in
                         cell blocks located strategically for use by inmates who will not have access
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                         during recreation periods.

                     4.2.1.2.2 Hygiene Areas: Shower area stalls shall have remote operable doors
                     of the same type as cell doors fabricated of stainless steel. ADA accessible
                     showers shall be equipped with grab bars and folding seat. Wheel-in accessible
                     showers 30" x 60" will not require a seat. Accessible showers shall be equipped
                     with a removable, flexible and hand held shower hose and head. Combination unit
                     lavatory/toilets within the cells shall be of stainless steel. Access panels in shower
                     areas are stainless steel.

                        Doors, jambs and locks: Doors and jambs shall be security type in showers,
                         constructed with 12 gauge stainless steel face sheets with flush closed top and
                         bottom plates. Locks, remote electrical operated from control rooms are to be
                         of water proof design.

                     4.2.1.2.3 Support Areas: Storage rooms shall be equipped with high security
                     grade commercial locks and at a minimum a solid wood door. A 5"x24" view
                     panels shall be provided in the door to allow observation of the room by security
                     staff.

                     4.2.1.2.4 Program Areas: Multi-purpose program areas shall be equipped with
                     paging system, MATV system cable and adequate electrical outlets.

                     4.2.1.2.5 Security and Control Areas: Control consoles shall be installed in
                     built-in millwork or electronic equipment enclosures. Adequate working surface
                     space shall be provided to accommodate two officers, phone system, radios and
                     writing materials.

                        Control room shall be secured with 13/16" security glazing protected by steel
                         bar grilles. Bar grilles shall be constructed as indicated in Appendix IV, Figure
                         5. Doors to the officer station shall be constructed with 12 ga. steel and be
                         equipped with a high security commercial lock.

                        Control room shall be equipped with radio, phone or site intercom systems to
                         allow communication with facility or unit control. Installation of a 1-1/2"
                         conduit with weather head through the roof above the officer station will be
                         required for radio antenna.

       4.2.2   FACILITY/UNIT CONTROL: Unit or Facility Control is responsible for monitoring
               activities of the facility (standalone) or unit (complex). In a standalone facility, this
               control position will also be responsible for monitoring all perimeter activities and
               systems. Control rooms shall be constructed to provide view of all areas controlled.
               Wall shall be solid grouted and reinforced with #4 bars and 8" on center both ways.
               Security frames shall be 12 ga. steel.

               4.2.2.1   AREA REQUIREMENTS:

                     4.2.2.1.1 Work Areas: Unit or Facility control rooms shall be designed to allow
                     for three staff working at one time. All support functions shall be accessible
                     without leaving the control room. Approximate area for a central control room
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                     shall be 225 s.f.

                     4.2.2.1.2 Hygiene Areas: The control room officers shall be provided with
                     access to a wash basin and toilet. A procedure shall be established to accommodate
                     staff use of restroom facilities, if there are no facilities directly accessible to the
                     control center.

                     4.2.2.1.3 Support Areas: A secure room shall be provided for the storage and
                     distribution of DART equipment. In a complex or stand-alone facility the room or
                     areas shall have controlled access, electronic monitoring, and be observable from
                     Main central control.

                        Access to a control room shall be through a secure vestibule. The vestibule
                         may serve as controlled access to other facility areas as well as the control
                         room.

               4.2.2.2    FF&E/Detention Equipment/Special Systems

                     4.2.2.2.1 Work Areas: The control room shall be equipped with built-in
                     millwork to accommodate control equipment and provide adequate writing surfaces
                     for all staff working the control room and storage of miscellaneous control
                     equipment such as radios, chargers, phones, facility computers and procedure
                     manuals. Space should be provided for incorporation of an under counter
                     refrigerator, filing cabinet and a coffee maker.

                     Control Rooms shall have the following detention grade components:
                      Security doors, frames and locks
                      A secure pass drawer to the public lobby and the secure vestibule for the
                        distribution of materials to staff and public
                      A ladder and escape hatch to the roof
                      A speaking device/port
                      Control room windows with 2" lexan composite glazing HP White Level A.
                      Bars protecting for all openings or windows (1/4" x 1" steel bars vertically
                        positioned 5" on center per Part 7-Appendix, 7.4, Figure 5).

                     Special systems for the control room shall include:
                      Security Control systems including door controls, intercom, camera and inmate
                        tracking systems
                      Fire alarm monitoring equipment
                      Phone system
                      Radio System

       4.2.3   YARD CONTROL: Each facility or unit shall have a centralized control and
               observation post, located in approximately the center of the facility, which affords
               observation of all yard areas. Yard control room shall be constructed as two story
               structure with control position at both levels. The upper level should provide a view of
               building roof tops.



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               4.2.3.1   AREA REQUIREMENTS:

                     4.2.3.1.1 Control Areas: The control rooms at each level shall be 250 s.f.
                     Each level shall be connected by a secured spiral stair.

                     4.2.3.1.2 Hygiene Areas: A unisex toilet facility shall be provided on the lower
                     level of the control building.

                     4.2.3.1.3 Support Areas: An enclosed room with locking door shall be
                     provided for enclosure of control equipment.

               4.2.3.2   FF&E/Detention Equipment/Special Systems

                     4.2.3.2.1 Control Areas: Built-in millwork shall be provided for installation of
                     control panels at both levels of the tower.

                        Detention equipment shall include a pass drawer to each yard and speaking
                         devices to each yard.

                        Special systems shall include door controls, intercom, CCTV, and radio
                         systems.

       4.2.4   COMMISSARY: The commissary will provide inmates access to goods and supplies
               on a controlled basis. Delivery method for commissary goods is optional for Level 4
               facilities. Pre-bagged and delivered to housing areas is an option to a yard based pick-up
               commissary. If yard pick-up is utilized, the commissary shall be placed on each yard and
               roll up doors shall be observable by yard control. Commissary shall have a roll up
               delivery door to the service yard.

               4.2.4.1   AREA REQUIREMENTS:

                     4.2.4.1.1 Commissary Areas: There shall be a minimum of 400 s.f. (200 for
                     commissary and 200 for storage).

                     4.2.4.1.2   Hygiene Areas: Staff and inmates shall use the adjacent yard toilet.

               4.2.4.2   FF&E/Detention Equipment/Special Systems

                     4.2.4.2.1 Commissary Areas: Built-in millwork counter in commissary area for
                     assembly of inmate orders, free standing work table and workstation furniture.
                     Refrigerators and freezers as required.

                        Detention equipment shall consist of a security roll up door and pass counter.
                         Rooms shall be equipped with 12 gauge security doors, frame, and detention
                         hardware.

                        Doors shall be monitored remotely from yard control and unit control.



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       4.2.5   WORK BASED EDUCATION: In institutions offering work based educational
               training programs, classrooms are designed as multi-purpose rooms to offer academic
               and/or specific training programs, as well as use by various religious groups. 10' wide by
               14' high roll up doors shall be included in design for the movement of raw and finished
               materials. Work based education areas shall be adjacent to the service yard with roll-up
               doors opening onto service yard. Clearances within the building shall be maintained at
               14 ft. Lighting levels in the work based education training areas shall be maintained at
               50 ft. candles. Natural lighting shall be provided in work shop areas.

               4.2.5.1     AREA REQUIREMENTS: Provide a minimum of 10,000 s.f. for Work
               Based Educational areas and a minimum of 10,000 s.f. for ACI Industrial areas.
               Classrooms shall be 750s.f. and contain seating and tables for a maximum of 25 inmates.

                     4.2.5.1.1 Office/Work Areas: Staff offices shall be provided with a clear,
                     unobstructed view of work shops.

                     4.2.5.1.2   Hygiene Areas: Separate toilet facilities shall be provided for staff and
                     inmates.

                     4.2.5.1.3 Support Areas: A minimum of 300s.f. for storage areas shall be
                     provided for materials and tools for each 10,000 s.f. of work based education space.
                     Secure storage shall be provided, if necessary.

               4.2.5.2   FF&E/Detention Equipment/Special Systems

                     4.2.5.2.1 Office/Work Areas: Furniture requirements shall be required by the
                     program provided. Windows to classroom offices or work based educational areas
                     that face onto the yard shall be protected by bar grills. Exit doors to service yards
                     or no-man areas shall be monitored.

                     4.2.5.2.2 Hygiene Areas: Toilets for use by inmates and staff shall be provided
                     in each work based education areas or in a common area to support classroom
                     activities.

       4.2.6   DINING/KITCHEN: Dining shall be provided either in dining area(s) or in housing
               unit dayrooms. If inmates receive food directly from a kitchen serving line, a blind
               serving port shall be utilized. The movement of inmates in the serving line shall be
               controlled by railing to reduce the problem of inmates returning for additional servings.

               4.2.6.1   AREA REQUIREMENTS

                     4.2.6.1.1 Dining Areas: Dining areas shall be sized to complete feeding of all
                     meals in one and one half hours with a maximum of four turns, and 20 minutes per
                     turn. The minimum square footage requirement shall be calculated at 7s.f./inmate
                     for dining room seating area.
                     4.2.6.1.2 Hygiene Areas: Staff and inmates shall use the adjacent yard toilet.

               4.2.6.2   FF&E/Detention Equipment/Special Systems



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                     4.2.6.2.1 Dining Areas: Dining tables shall be constructed of unpainted stainless
                     steel with table and seating secured to the floor. Tables may be of 4 or 6-man
                     configuration, Appendix IV, Figures 3 and 4. Food line shall be separated from
                     main dining area by a ceiling height guard rail.

                        Dining areas shall be equipped with a chemical agent drop port from the roof.

       4.2.7 FINISH SCHEDULE

                     Legend:          Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile
                     SC .................. Sealed Concrete

                     Legend:          Base

                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base

                     Legend:          Walls

                     CONC............ Concrete or masonry block
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel
                     EXP ............... Exposed

                     Legend:          Ceiling

                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board




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AREA                   FLOOR         BASE       WALLS                     CEILING         HT
Facility Control
Office                 VCT     OR    VIN        GYP/PE                    AP              9'-0"
                       SC
Work Areas             CAR           VIN        GYP/PE                    AP              9'-0"
Toilet                 CT            CT         CT                        GYP             8'-0"
Support                CAR           VIN        GYP/PE                    GYP             9'-0"
Commissary
Commissary      SC                              CONC/PE                   EXP             9'-0"
Dining
Dining          SC                   VIN        CONC GYP/PE               EXP             12'-0"
Housing
Pod/ Day Room   SC                              GYP / RFP                 AP or EXP       15'-0"
Toilets/Showers CT                   CT         CT                        GYP             10'-0"
Support         SC                              GYP RFP                   GYP             9'-0"
Program         VCT                             GYP                       AP              9'-0"
Officer Station SC                   VIN        GYP/PE                    AP or EXP       8'-0"
WORK BASED EDUCATION
Office          VCT                  VIN        GYP/PE                    AP              9'-0"
Work Areas      SC                              EXP or GYP/FRP            EXP
Toilets         CT                   CT         CT                        GYP             8'-0"
Support         SC                              GYP                       EXP             8'-0"
Yard Control
Control         VCT                  VIN        GYP                       AP              8'-0"
Toilet          CT                   CT         CT                        GYP             8'-0"
Support         VCT                  VIN        GYP                       EXP             8'-0"




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Part 5 Maximum Security Facility Requirements

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PART 5         MAXIMUM SECURITY FACILITY REQUIREMENTS

5.1    GENERAL FACILITY REQUIREMENTS

       5.1.1   FACILITY DESCRIPTION: A Maximum Facility or unit is constructed to house
               inmates whose public risk is Maximum. These inmates present a high risk to the public
               community should escape from custody occur. The facility should be capable of
               restricting inmate movement within the facility and designed for 23-hour lock-down. A
               Maximum Security Facility could be a part of a larger complex of prison units and as
               such will be referred to as a Maximum Security Facility unit. Support functions vary if
               the prison is stand alone or part of a larger complex.

       5.1.2   FACILITIES SUPPORT SERVICES (COMPLEX LEVEL): If a Maximum Facility
               is constructed as a part of a larger complex it will not be supported by complex medical
               or inmate-intake, but may share warehousing, maintenance, pharmacy, vehicle
               maintenance and complex administration. Perimeter patrol and monitoring of critical
               systems such as water supply, wastewater systems and emergency power generation, will
               also be provided at a complex level.

       5.1.3   FACILITIES SUPPORT SERVICES (STAND ALONE FACILITIES): If a facility
               is stand-alone, the support functions will become a part of the facility, and must be
               designed and constructed in accordance with the provisions of these standards. Some
               services may be furnished from other ADC facilities, and if so the facility shall take into
               account those reduced service requirements.

       5.1.4   FACILITY SIZE REQUIREMENTS: The maximum inmate population of a
               Maximum Security is 1,000 beds. Physical separation of inmate populations within a unit
               may be required depending on such circumstances as facility design, staffing patterns,
               and operational plan. The primary determining objective shall be the need for sound
               correctional practice, which ensures the safety of staff and inmates as well as effective
               security. Support and program functions should be designed to minimize inmate
               movement from yard to yard, and will require some duplication of functions. The RFP
               and Project Description as applicable may further define facility services and size
               requirements.

       5.1.5   PHYSICAL SECURITY: Due to the high level of escape risk of Maximum Security
               inmates, the facility is designed with a high level of physical security. The facility shall
               be designed to withstand abuse, wear and tear, and require relatively low maintenance.
               Physical security shall be installed as listed in the sub-sections below.

               5.1.5.1 Perimeter Security: The facilities perimeter security is made up of integrated
               systems and will provide a good barrier against escape. The institution’s perimeter
               system is designed such that inmates remain within the perimeter and that access by the
               general public is precluded except with proper authorization. A four strand barb wire
               barrier fence shall serve as a delineation of prison property. The barb wire fence shall
               have signage every 100 feet that indicates “No Trespassing”. The perimeter security
               fence shall be located a minimum of 300 feet from the prison property line.




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                     5.1.5.1.1 Fencing: The perimeter fencing shall comply with Appendix III,
                     Figure 3. A Level 5 Facility shall have a double perimeter fence which serves as a
                     physical containment barrier. An additional “No-Man’s Zone” fence shall be
                     provided consisting of a four foot, four stand barbed wire fence denoting the
                     interior perimeter of the “No-Man’s Zone”. Both perimeter fences shall be 14 foot
                     high looped top fence with 6 feet of ¼” security mesh on the inside of the upper
                     portion of the looped top. Both perimeter fences shall contain one 30” diameter 5
                     point detainer hook and barb concertina razor ribbon row at the top and three rows,
                     one directly above the other starting at grade. If the perimeter fence contacts a
                     building, a 30” diameter section of 5 point detainer hook and barb razor ribbon
                     shall be installed vertically at the intersection, on the yard side of the fence. The
                     fence shall have a concrete anti-dig barrier footing 6” wide by 24” deep. The
                     bottom of the fence shall be secured by a (1-1/2” minimum) bottom rail secured to
                     the concrete base by a anchor bolt or method approved by the Department.

                     All fence ties shall be equally spaced (5 per 10' section at a minimum). Fence ties
                     shall be mechanically twisted and bolts in areas that may permit inmate access shall
                     be tack welded (e.g., exercise, work, trash etc.). Any fenced area that serves as a
                     temporary inmate holding area (e.g., recreation, health unit, intake, transportation,
                     detention unit holding areas, etc.) shall use permanent straps to attach fabric to
                     poles which shall be bolted and tack welded. This also applies to gates, which
                     access those areas.

                     5.1.5.1.2 Detection Systems: Electronic detection system will be placed as
                     indicated in Figure 3, Appendix III. The alarm system shall be broken up into
                     zones with zone links of approximately 300 feet. An alarm condition will trigger
                     the quarts lights associated with the alarmed zone and one lighting zone adjacent to
                     either side of the alarmed zone. Notification of an alarm condition will be received
                     by the unit control room

                     5.1.5.1.3 Perimeter and Area Lighting: Lighting on the perimeter shall be
                     sufficient to visually detect movement. Lighting on the vehicle sally port is at least
                     5 foot-candles and 2-foot candles to the pedestrian sally port at the lowest level, as
                     documented by an independent, qualified source. Foot-candles listed are minimum
                     maintained. Light poles shall be kept a minimum of 10 feet clear from the inner-
                     most portion of the perimeter fence. There shall be a supplemental quartz light
                     system outside the perimeter fence consisting of 1500 watt quartz fixtures or metal
                     halide fixtures that provide the required foot candle mounted on 10 foot high poles,
                     spaced 75 feet on center and installed 5 feet clear of the exterior perimeter fence.

                            5.1.5.1.3.1    A Level 5 Facility shall have perimeter lighting zone with a
                            three foot candles level. Perimeter zone shall be defined as the area 40’
                            inside the fence to 20’ outside the fence.

                            5.1.5.1.3.2     Area lighting is defined as the remainder of the area within
                            the facility from the 40 foot perimeter zone inside dimension and shall be
                            maintained at one foot candle.




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                     5.1.5.1.4 CCTV Systems: Closed Circuit Television cameras shall be installed
                     to monitor both the pedestrian and vehicle sally ports. Cameras shall be monitored
                     from the facility control room. Recording of the cameras is optional but highly
                     recommended. Closed circuit surveillance cameras shall be positioned to monitor
                     any area of the yard that is not directly visible from a control room. These cameras
                     shall be monitored from facility control. Recording is optional for interior cameras.

                     5.1.5.1.5 Sand Trap: Outside and adjacent to the perimeter fence, a sand trap
                     shall be constructed and maintained to provide an indication of escape path or fence
                     tampering from outside sources. The trap shall be 15 feet in width and sloped to
                     provide drainage without erosion of sand material. A sand trap will also be located
                     between the two perimeter fences.

                     5.1.5.1.6 Perimeter Road: A paved perimeter road shall be constructed around
                     the entire facility. The road surface shall be 12 feet wide and have shoulder widths
                     of 6 feet. Turn around shall be provide at each turn in the road and at intervals of
                     400 yards.

                     5.1.5.1.7 Sally ports: Sally ports are designed to control movement into and out
                     of a prison. All sally ports shall be designed with two interlocked gates. Sally port
                     at units may be equipped with local gate control with override functions at Unit
                     control. Facility sally ports (Stand-alone) shall be controlled only from the facility
                     control.

                            5.1.5.1.7.1     Pedestrian Sally port: There shall be a single point of
                            controlled entry into a Maximum Security Facility or unit. The pedestrian
                            sally port shall be equipped with remotely controlled sliding gates. These
                            gates shall be controlled from the facility or unit control room. The gates
                            shall be interlocked and an interlock override shall be provided.

                            5.1.5.1.7.2     Vehicle Sally port: There shall be one vehicle access and
                            pedestrian sally port per facility. The vehicle sally port shall accommodate
                            the size of a typical fire truck serving to the area. At a minimum the sally
                            port shall be 80’ long and 20’ wide with concrete paving a minimum of
                            14’wide in line with the sliding gates. There shall be a vehicle crash bar on
                            the yard side of the interior sally port gate. Sally port gates shall be 14’
                            wide and 14’ clear in height. There shall be an intercom station provided in
                            the sally port for communication to the central control room.

               5.1.5.2 Interior Security: A combination of systems can be utilized to create and
               secure functions within the perimeter of the facility. The following is the minimum
               requirements for systems to be utilized.




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                     5.1.5.2.1 Fencing: Interior fencing shall be provided to define the limits of the
                     inmate yards and provide separation of inmate activity areas. There shall be an
                     interior fence connecting the fronts of all buildings surrounding the yard to provide
                     a complete barrier and define a “No-Man’s Zone” behind the buildings. Interior
                     fencing for Maximum Facility yards shall be a straight vertical 10’ high fence with
                     one coil of 30” 5 point detainer hook and barb concertina razor ribbon. No-climb
                     (1/4” hardware cloth) shall be installed for a distance of 6’ on both sides of the
                     interior fence, where an interior fence contacts the perimeter fence. Install one
                     section of 30” 5 point detainer hook and barb razor ribbon vertically in each corner
                     and the fence intersection, and on the yard side where fences contact buildings.

5.2    BUILDING REQUIREMENTS

       5.2.1   HOUSING: Maximum Security inmates shall be housed in two story cell style
               buildings. Optimal number of beds per pod/housing unit will be based on sound
               correctional practice which ensures the safety of staff and inmates as well as effective
               security. The housing unit shall have a control room, centrally located, capable of
               observing all inmate occupied areas. Buildings shall be constructed to meet I-3
               occupancy requirements. Exit and entry doors shall be lockable with remote release
               capability. Cuff and Food Slots must be provided in all cell and shower doors. Building
               may be constructed of masonry, concrete (pre-cast or cast-in-place) or other materials
               that meet the above and code requirements.

               5.2.1.1   AREA REQUIREMENTS

                     5.2.1.1.1 Pod Area: Inmates shall be provided with a cell living space with a
                     gross area of 80 s.f.. Each cell shall contain a combination lavatory/toilet unit.
                     Each pod shall contain at least 1 one-man handicap cell. Each dayroom area shall
                     have skylights to provide natural lighting for the pod. Skylights shall be configured
                     to bring light to within 20 feet of all cell fronts. Cells shall have no windows.

                     5.2.1.1.2 Hygiene: Each dayroom shall contain showers for the use of inmates
                     in that level of the pod. The ratio for showers is two per pod. Each cell shall
                     contain a combination lavatory/toilet for the cells occupants.

                     5.2.1.1.3 Support Areas: Within each housing building, support area for
                     property, equipment and cleaning supplies storage shall be provided. Storage shall
                     be provided based on the number of inmates housed and shall be a minimum of 100
                     s.f. and a maximum of 300 s.f. Ceilings in support areas shall be limited to 10 feet
                     in height or less.




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                     5.2.1.1.4 Security and Control Areas: Each housing building shall be equipped
                     with an enclosed, secure control room, positioned to allow direct vision into each
                     pods living and hygiene area, and program area(s). The control room shall not be
                     excessive in size, reducing the requirement to move from position to position to
                     observe inmate areas.

                        Each control room shall have an adjacent toilet room, which can be used by
                         control staff.

                        The control room in a Maximum Security housing unit can only be accessed
                         from a secure staff corridor and requires only a single security door. No secure
                         vestibule will be required. Each officer station shall be equipped with an
                         escape ladder to the roof of the building, and be equipped with a means of
                         securing the hatch from the roof side of the hatch.

                     5.2.1.1.5 Recreation Areas: Each pod shall have two fenced or walled attached
                     outdoor recreation areas connected to the pod dayroom. The size of the exercise
                     yards shall be 28 s.f./inmate for the number of inmates expected to use the space at
                     any one time. Door to exercise area shall have a window for officer observation.
                     The space may be further divided by individual exercise cubicles constructed of
                     chain link.

               5.2.1.2   FF&E/Detention Equipment/Special Systems

                     5.2.1.2.1 Pod Area: Cell furniture shall be manufactured by ACI. Each cell
                     shall contain 2 bunks, and one desk with stool.

                        Each pod shall be equipped with a one way paging system. An intercom station
                         located near the pod entry doors, on both sides of the door, shall be installed so
                         inmates and staff can communicate with control officers.

                        Each pod shall be equipped with remote lighting control, controlled from the
                         control room. The toilet area and dayroom space shall be controlled by
                         different switches. Breaker shall not be utilized for switching. The control
                         room shall also be equipped with lavatory and toilet flushing override
                         capability.

                        Each cell shall be equipped with two single duplex power outlets and two
                         MATV outlets complete with cable system.

                        The prison shall have installed a collect only telephone system, with a
                         mechanism to monitor and record conversations. There shall be a minimum of
                         one phone for every 25 inmates located in a position where staff can observe
                         phones used by inmates. Additionally there shall be sufficient jacks installed in
                         cell blocks located strategically for use by inmates who will not have access
                         during recreation periods.




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                     5.2.1.2.2 Hygiene Areas: Shower stalls shall be equipped with a stainless steel
                     door with window for officer observation. ADA accessible showers shall be
                     equipped with grab bars and folding seat. Wheel-in accessible showers 30” x 60”
                     will not require a seat. Accessible showers shall be equipped with a fixed head.
                     Combination unit lavatory/toilets within the cells shall be of stainless steel. Access
                     panels in shower areas are stainless steel.

                        Doors, Jambs and Locks – Doors and jambs shall be security type in showers
                         constructed with 12 gauge stainless steel face sheets with flush closed top and
                         bottom plates. Locks, remote electrical operated from control rooms are to be
                         of water proof design.

                     5.2.1.2.3 Support Areas: Storage rooms shall be equipped with high security
                     grade detention locks and steel doors.

                     5.2.1.2.4 Security and Control Areas: Control consoles shall be installed in
                     built-in millwork or electronic equipment enclosures. Adequate working surface
                     space shall be provided to accommodate two officers, phone system, radios and
                     writing materials.

                        Control room shall be secured with 13/16” security glazing protected by steel
                         bar grilles. Bar grilles shall be constructed as indicated in Appendix IV, Figure
                         5. Doors to the officer station shall be constructed with 12 gauge steel and be
                         equipped with a high security commercial lock.

                        Officer station shall be equipped with radio, phone or site intercom systems to
                         allow communication with facility or unit control. Installation of a 1-1/2”
                         conduit with weather head through the roof above the officer station will be
                         required for radio antenna.

                     5.2.1.2.5 Recreation Areas: Recreation areas may be constructed of two story
                     tilt-up concrete walls with a secure, permanent steel grill over the top.

       5.2.2   FACILITY/UNIT CONTROL: Unit or Facility Control is responsible for monitoring
               activities of the facility (standalone) or unit (complex). In a standalone facility, this
               control position will also be responsible for monitoring all perimeter activities and
               systems. Control rooms shall be constructed to provide view of all areas controlled.
               Wall shall be solid grouted and reinforced with #4 bars and 8” on center both ways.
               Security frames shall be 12 gauge steel.

               5.2.2.1   AREA REQUIREMENTS:

                     5.2.2.1.1 Work Areas: Unit or Facility control rooms shall be designed to allow
                     for three staff working at one time. All support functions shall be accessible
                     without leaving the control room. Approximate area for a central control room
                     shall be 225 s.f.




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                     5.2.2.1.2 Hygiene Areas: The control room officers shall be provided with
                     access to a wash basin and toilet. A procedure shall be established to accommodate
                     staff use of restroom facilities, if there are no facilities directly accessible to the
                     control center.

                     5.2.2.1.3 Support Areas: A secure room shall be provided for the storage and
                     distribution of DART equipment. In a complex or stand-alone facility the room or
                     areas shall have controlled access, electronic monitoring, and be observable from
                     Main central control. Control rooms shall be through a secure vestibule. The
                     vestibule may serve as controlled access to other facility areas as well as the control
                     room.

               5.2.2.2   FF&E/Detention Equipment/Special Systems

                     5.2.2.2.1 Work Areas: The control room shall be equipped with built-in
                     millwork to accommodate control equipment and provide adequate writing surfaces
                     for all staff working the control room and storage of miscellaneous control
                     equipment such as radios, chargers, phones, facility computers and procedure
                     manuals. Space should be provided for incorporation of an under counter
                     refrigerator, filing cabinet and a coffee maker.

                     Control Rooms shall have the following detention grade components:

                        Security doors, frames and locks
                        A secure pass drawer to the public lobby and the secure vestibule for the
                         distribution of materials to staff and public.
                        A ladder an escape hatch to the roof
                        A speaking device/port
                        Control room windows shall be made with 2” Lexan Composite Glazing (HP
                         White Level A).
                        Bars protecting all openings or windows shall be (1/4” x 1” square tube steel
                         vertically positioned 5” on center per Part 7-Appendix, 7.4, Figure 5).

                     Special systems for the control room shall include:

                        Security Control systems including door controls, intercom, camera and inmate
                         tracking systems.
                        Fire alarm monitoring equipment.
                        Phone system
                        Radio System

       5.2.3   YARD CONTROL: Maximum custody does not allow for any inmate activity in the
               yard area.




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        5.2.4   COMMISSARY: If provided the commissary will provide inmates access to goods and
                supplies on a controlled basis. Delivery method for commissary goods for a Maximum
                Facility is delivery by staff

                5.2.4.1   AREA REQUIREMENTS

                     5.2.4.1.1 Commissary Areas: There shall be a minimum of 400 s.f. (200s.f. for
                     commissary area and 200s.f. for a storage area).

                     5.2.4.1.2     Hygiene Areas: Staff and inmates shall use the adjacent yard toilet.

                5.2.4.2 FF&E/Detention Equipment/Special Systems

                     5.2.4.2.1 Commissary Areas: Built-in millwork counter in commissary area for
                     assembly of inmate orders, free standing work table and workstation furniture.
                     Refrigerators and freezers as required.

       5.2.5    WORK BASED EDUCATION: Maximum custody does not allow for any inmate
                activity in Work Based Education.

       5.2.6    DINING/FOOD CART STORAGE: Most Maximum custody inmates take all meals
                in their cells. Should a program be instituted to allow a few inmates to eat together, a
                small separate dining room shall be located next to the kitchen. This dining area will be
                observable from a concealed, staff position outside the dining room. Visibility will be
                provided by a one-way window.

                5.2.6.1   AREA REQUIREMENTS

                     5.2.6.1.1 Dining Areas: Dining areas shall be sized to accommodate the number
                     of inmates in the rehabilitation program prescribed by the Department of
                     Corrections and varies from facility to facility. Square footage requirement shall be
                     calculated at 7s.f./inmate in the seating area.

                     5.2.6.1.2     Hygiene Areas: Staff and inmates shall use the adjacent toilet
                     facilities.

                5.2.6.2   FF&E/Detention Equipment/Special Systems

                     5.2.6.2.1 Dining Areas: If provided dining tables shall be constructed of
                     unpainted stainless steel with table and seating secured to the floor. Tables may be
                     of 4 man configuration, Appendix IV, Figure 3. Food line shall be separated from
                     main dining area by a ceiling height guard rail.

                         Dining areas shall be equipped with a chemical agent drop port from the roof.




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                     5.2.6.2.2 Food Preparation Areas: Sufficient space shall be provided with
                     electrical outlets, to accommodate the number of food carts needed to feed the
                     number of inmates being housed in this unit.

       5.2.7   VISITATION: Maximum Security Facilities have no contact visiting. All visiting is
               performed at windowed booths.

               5.2.7.1   AREA REQUIREMENTS

                     5.2.7.1.1 Visitation Area: One visitation booth shall be provided for every 40
                     inmates. There shall be a manned officer station in the center of the public side of
                     the visitation booths. Inmate side shall also contain search and staging areas.

                     5.2.7.1.2 Hygiene Areas: Toilets shall be provided for visitors and located in
                     the adjacent lobby.

               5.2.7.2 FF&E/Detention Equipment/Special Systems

                     5.2.7.2.1 Visitation Area: All visitation booths shall consist of a fixed stool for
                     inmate and visitor and a speaking window. No phones or other appliances shall be
                     used for communication.




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       5.2.8   FINISH SCHEDULE

                     Legend:          Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile

                     Legend:          Base

                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base

                     Legend:          Walls

                     CONC............ Concrete or masonry block
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel
                     EXP ............... Exposed

                     Legend:          Ceiling

                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board




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AREA                    FLOOR           BASE         WALLS             CEILING           HT
Facility Control
Office                  SC              VIN          GYP/PE            GYP/PE            9’-0”
Work Areas              SC              VIN          GYP/PE            GYP/PE            9’-0”
Toilet                  CT              CT           CT                GYP/PE            8’-0”
Support                 SC              VIN          GYP/PE            GYP/PE            8’-0”
Commissary
Commissary              SC                           CONC/PE           EXP               9’-0”
Dining
Dining                  SC              VIN          CONC/PE           EXP               12’-0”
Housing
Pod/Day Room            SC                           CONC/PE           EXP               15’-0”
Showers                 CT              CT           CT                CONC              8’-0”
Support                 SC                           CONC              GYP               8’-0”
Control                 SC              VIN          GYP/PE            GYP/PE            8’-0”
Cell                    SC                           CONC/PE           CONC/PE           8’-0”
Work Based Education
 Office                 SC              VIN          GYP/PE            GYP/PE            9’-0”
 Work Areas             SC                           CONC              EXP               9’-0”
 Toilets                CT              CT           CT                GYP               8’-0”
 Support                SC                           CONC              EXP               8’-0”




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PART 6         COMPLEX

6.1    COMPLEX ADMINISTRATION:

       To enhance the reduction of staffing needs and the duplication of certain support functions, prison
       units may be grouped within one major perimeter fence if topographic conditions permit or may
       be placed in close proximity to one another.

       Complex functions that include a Complex Warden’s staff; business procurement; armory and
       communications; internal investigations; warehouse; security; personnel inmate records; food
       factory; transportation; fuel island; vehicle maintenance; building maintenance; visitation;
       processing; health and in-patient care; and systems for domestic water supply and distribution;
       WWTP processing and collection, natural gas; electrical and telephone, CCTV.

       Distribution may be grouped in a manner to increase their efficiency and in manner to serve all of
       the prison units. Spaces to contain these functions are designed and for the most part are located
       outside the main perimeter security fence in a manner to serve and service the units they support.

       6.1.1    AREA REQUIREMENTS

                6.1.1.1      Office/Work Areas: The complex administration will contain the
                following areas:

                     Warden or Deputy Warden Office ................ 300 s.f.
                     A.D.W Office ................................................ 200 s.f.
                     General Administrative Offices .................... 100 s.f.
                     Operations Offices ........................................ 100 s.f.
                     Reception and Administrative Support ......... 300 s.f. for open space workstation
                     Accounting .................................................... 1200 s.f. for open space/offices
                     Personnel ....................................................... 400 s.f. offices
                     Records .......................................................... 1680 s.f. for open space/offices
                     Education Offices .......................................... 800 s.f. for open space/offices
                     Inmate Phone Monitoring ............................. 200 s.f.
                     Staff Training ................................................ 1500 s.f. classroom/ 500 s.f. offices
                     Inspection & Investigation Offices ............... 1025 s.f.
                     Complex Control ........................................... 250 s.f.
                     Armory .......................................................... 650 s.f.
                     I.T. & Chaplin Offices .................................. 200 s.f.

                Record storage facility shall be located outside of the secure perimeter or in a secure
                portion of the Administration Building. Walls and ceilings, if not constructed of
                masonry block, shall be reinforced with expanded metal. Rooms shall have security
                doors, frames and locks.

                              Inmates are generally prohibited from accessing institutional records. ARS §
                               31-221.




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               6.1.1.2 Hygiene Areas: The prison provides conveniently located staff facilities that
               are appropriately sized to meet the operational needs, including:

                         Toilets and wash basins that are not used by inmates
                         Female staff toilets, shower stalls, benches and 3 tier lockers proportioned
                          according to the projected female staff complement
                         Male staff toilets/urinals, shower stalls, benches and 3 tier lockers proportioned
                          according to the projected male staff complement
                         Central control shall have one dedicated unisex toilet.

               6.1.1.3 Support Areas: Additional spaces shall be provided in proportion to the size
               of the facility and the number of staff and shall include:

                         Conference Room............ 600 s.f.
                         Video / Office.................. 160 s.f.
                         Copier Room ................... 125 s.f.
                         Public Lobby ................... 225 s.f.
                         Storage.................... As required

       6.1.2   FF&E/Detention Equipment/Special Systems

               6.1.2.1 Office/Work Areas: Furniture shall be purchased from ACI and consist of
               modular furniture systems.

                          A weapons storage locker shall be provided near the control room on the
                           exterior of the building. There shall be a minimum of one locker for every ten
                           employees. Administrative offices shall be protected by security barred
                           windows and appropriate fencing. Access doors to staff support areas shall be
                           mechanically/electrically controlled from the central control room and
                           openings shall be provided with intercom stations on each side of the doors.

                          Special systems for the administrative area shall consist of video monitoring
                           equipment and inmate telephone system monitoring station.

               6.1.2.2 Hygiene Areas: The following items shall be provided at a facility
               administration building:

                         Central control shall have one dedicated unisex toilet.

               6.1.2.3 Support Areas: The reception area shall be equipped with built-in millwork
               counter for visitor processing. The counter shall be designed to ADA accessibility
               requirements.

                          A metal detector shall be furnished in the lobby area for screening of visitors
                           and staff. The metal detector shall enunciate in the control room.




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6.2    COMPLEX MAINTENANCE

       6.2.1    AREA REQUIREMENTS

                6.2.1.1 Office/Work Areas: Maintenance area shall include a staff office (200 s.f.)
                with a staff toilet, secure tool storage, inmate toilet, general storage space and work
                areas. The size of maintenance shall be determined by the size (number of inmates) of
                the facility and shall be calculated on 9 s.f./inmate. Various areas shall consist of:

      Reception Desk               Staff Offices                        Conference Room
      Locksmith Shop               Tool Crib                            Secure Storage
      Carpentry Shop               Plumbing Shop                        Electrical Shop
      Welding Shop                 HVAC Shop                            Paint Storage
      Indoor General Storage       Outdoor General Storage              Outdoor Work Area

                6.2.1.2    Hygiene Areas: Separate toilets shall be provided for inmates and staff.

       6.2.2    FF&E/Detention Equipment/Special Systems

                 6.2.2.1   Office/Work Areas: Local area network cabling system shall be provided.

6.3    COMPLEX VEHICLE MAINTENANCE: Vehicle maintenance is one of the services that are
       often contracted out. If the facility size or location warrants a vehicle maintenance facility, the
       number of vehicle repair bays will be determined by ADC on a project by project basis.

       6.3.1    AREA REQUIREMENTS

                6.3.1.1 Office/Work Areas: The main vehicle maintenance building, if required, shall
                contain the appropriate number of vehicle maintenance bays, supply and secure storage,
                tool room, auto technician office and exterior lube and wash bays.

                6.3.1.2 Hygiene Areas: Separate toilet facilities shall be provided for staff and
                inmates.

                6.3.1.3 Support Areas: Vehicle maintenance shall also contain the facility fire safety
                staff. This area shall consist of fire truck(s) storage, transportation office, fire safety
                office and break room for fire crew.

       6.3.2    FF&E/Detention Equipment/Special Systems: Vehicle maintenance shall consist of
                the following Standard equipment:

Compressed Air (tanks and racks)          One Vehicle Lift per Bay         One Work Bench per Bay
Drill Press                               Tire Balancer                    Tire Changer
Alignment Machine                         Brake Lathe




                6.3.2.1    Office / Work Areas: Break room shall contain built-in millwork.
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               6.3.2.2 Hygiene Areas: In addition to separate toilet facilities for staff and inmates, a
               first aid eye wash area shall be included in the general vehicle maintenance area.

               6.3.2.3 Support Areas: Fire safety shall contain auxiliary equipment to support the
               individual type of vehicles to be stored (rescue, ladder truck, hose truck, etc.).

6.4    COMPLEX VISITOR PROCESSING

       6.4.1   AREA REQUIREMENTS: Complex visitor processing shall serve three functions: To
               process visitors, to process staff, and to provide a clothing changing area for staff.

               6.4.1.1   Office/Work Areas: The following spaces shall be designed into this area:

                        Control (identification check and package check)
                        Secure Storage
                        Staff Office (used as office and search room)
                        Staff Physical Training Room

               6.4.1.2 Hygiene: Public toilets (men and women) and staff locker rooms (men and
               women)

       6.4.2   FF&E/Detention Equipment/Special Systems

               6.4.2.1 Office/Work Areas: Turnstiles shall separate both visitors and staff from the
               transportation pick up area. Turnstiles shall operate in one direction only – allowing
               egress onto the complex perimeter road and egress back into visitor processing. Staff
               and visitor areas shall be divided by chain link fencing. Metal detectors shall be located
               at the first turnstiles for egress to the complex perimeter road on both staff and visitor
               sides of the building.

6.5    COMPLEX INMATE PROCESSING

       6.5.1   AREA REQUIREMENTS

               6.5.1.1   Office/Work Areas: The inmate processing area shall consist of the following
               spaces:
                        Property Search
                        Property Storage
                        Holding Cells (inside and outside)
                        Vehicle sally port

               6.5.1.2 Hygiene: Separate unisex staff toilet shall be located adjacent to property
               search area and an inmate toilet will be located in the inmate processing room.




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       6.5.2       FF&E/Detention Equipment / Special Systems

                   6.5.2.1 Office/Work Areas: The property search room shall be designed for package
                   x-ray machine, while the property storage area shall contain racks for inmate personal
                   property storage. Exterior holding pens (chain link enclosures) shall be located adjacent
                   to the vehicle sally port for immediate detention of inmates upon debarking transport
                   vehicle. 80 s.f. interior holding cells shall be dry and accommodate one man each.

                   6.5.2.2 Hygiene: A single occupancy, inmate toilet (handicap accessible) shall be
                   located adjacent to the interior holding cells.

6.6    COMPLEX MEDICAL

       6.6.1       AREA REQUIREMENTS:

                   6.6.1.1 Office/Work Areas: The square footage for the medical facility shall be sized
                   appropriately consistent or at minimum based on 6 s.f. per inmate in the Complex
                   Medical Building and Nurse Call Area and with the activities of the unit and availability
                   of out-sourced services. Within that area, the following spaces shall include:

                                Interior Inmate holding cells
                                Exterior Inmate holding cells
                                Secure Medication Storage
                                Pharmacy
                                Medical Records
                                Exam rooms
                                Emergency Treatment Room
                                Nurse Station
                                Medical Record Storage
                                Medication Room
                                Clean/Soiled Linen
                                Telemedia Exam Room
                                Library (Medical)
                                Blood Lab
                                Staff Offices
                                Staff Toilet/Locker rooms
                                Conference room
                                Staff Break room


                       In stand alone facilities, the medical facilities may include medical ward beds,
                        single bed medical rooms and isolation rooms. Areas for visitation and fenced
                        exercise shall provide segregation of inmates by classification and shall be covered
                        by video monitoring.

                       Dental operatories shall be designed with a minimum of 2 chairs. Required areas
                        are: operatories, lab, offices, x-ray, panorex, secure medication storage and
                        equipment storage.

                   6.6.1.2   Hygiene Areas: Separate toilet facilities will be designed for inmates and
                                         Plaintiffs' MSJ
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               staff. The ratio of handicap accessible toilets shall be governed by ADA Standards.

               6.6.1.3 Support Areas: Medical shall contain storage for records, offices and break
               room for staff, laundry facilities for linens, holding cells for inmates, and secure
               medication storage.

       6.6.2   FF&E/Detention Equipment/Special Systems

               6.6.2.1 Office/Work Areas: Institutions with temporary medical storage areas, shall
               locate such facilities outside of the secure perimeter or in a secure portion of the
               Administration Building. Rooms shall have security doors, frames and locks. All sinks
               shall have plaster traps. A dispensary may be located within the secure perimeter for the
               purpose of dispensing of medication. The dispensary shall have:
                      A secure pass through for the distribution of medical supplies to staff and
                        inmates
                      A speaking device/port
                      Security doors, frames and locks

               Nurse Station shall have the following detention grade components:
                     Security doors, frames and locks

               Special systems for the medical shall include:
                     Security Control systems including door controls (from waiting area to internal
                        corridors), intercom, and camera systems.
                     Fire alarm monitoring equipment.
                     Phone system
                     Radio System
                     Dedicated telecommunication cables for Telemedia communications
                     Nurse call system

               Emergency shut-off systems shall be provided for all dental equipment.

               Dental lab shall be furnished with built-in millwork counters and cabinets. All
               equipment for lab, x-ray and operatories shall be provided by ADC. All sinks to be
               provided with plaster traps.

               6.6.2.2 Support Areas: Staff offices and support areas shall be separated from inmate
               occupied areas by secure corridors. Secure medication storage shall consist of masonry
               block wall construction with steel security door, frame and lock.




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 6.7    COMPLEX VEHICLE CONTROL: The main entry roadway to the Complex is to be
        designed to funnel all vehicle and pedestrian traffic through one Security Check Point, which
        becomes a portion of the four strand barbed wire barrier fence that delineates the prison
        boundary. The Complex Vehicle Control Building is a concrete block structure approximately
        10’ wide and 16’ long, that is protected by a multitude of 8” concrete filled pipe columns 4’0”
        O.C. around entire building exterior, 4’0” above grade. The building is air conditioned and
        heated by a heat pump, has window visibility on all three sides facing in coming traffic, has a
        minimal sized toilet room facing exiting traffic, with a control facing in coming traffic and doors
        on both sides. Drinking fountain, colored concrete floor, rubber base and 2” insulated walls
        faced with drywall finishes the inside.

        The design is to include double vehicle on the entry and exit with manually operated lift arms.
        The second lane is to be used for emergency vehicles. A 10 car parking area is to be provided
        outside the barbed wire fence to be used a holding area for visitors that need to be escorted.




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6.8    FINISH SCHEDULE

                     Legend:          Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile

                     Legend:          Base

                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base

                     Legend:          Walls

                     CL.................. Chain Link Fence
                     CONC............ Concrete or masonry block
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel

                     Legend:          Ceiling

                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board
                     SHC ............... Shade Cloth
                     GYP/SM ........ Gypsum Board and Security Mesh




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AREA                        FLOOR           BASE    WALLS                      CEILING      HT
Administration
Office                      CAR             VIN     GYP/PE                     AP           9'-0"
Open Work Areas             CAR             VIN     GYP/PE                     AP           9'-0"
Toilet                      CT              CT      CT                         AP           9'-0"
Support                     CAR or VCT      VIN     GYP/PE                     AP           9'-0"
Maintenance
Office                      SC              VIN     CONC/PE OR GYP/PE          AP           9'-0"
Work Areas                  SC              -       CONC or GYP/PE             EXP
Toilets                     CT              CT      CT                         AP           9'-0"
Vehicle Maintenance
Office                      SC              VIN     CONC/PE or GYP/PE          AP           9'-0"
Work Areas                  SC                      CONC                       EXP          -
Toilets                     CT              CT      CT                         AP           8'-0"
Support                     SC              -       CONC                       EXP          -
Visitor Processing
Office / Control            SC              VIN     GYP/PE                     AP           8'-0"
Public Toilets              CT              CT      CT                         AP           8'-0"
Staff Locker rooms          SC              VIN     GYP/PE                     AP           8'-0"
Staff Toilets               CT              CT      CT                         AP           8'-0"
Inmate Processing
Office                      SC              VIN     GYP/PE                     AP           8'-0"
Exterior Holding            SC              -       CL                         SHC          12'-0"
Interior Holding            SC              -       CONC                       CONC         12'-0"
Toilet                      CT              CT      CT                         AP           8'-0"
Support                     SC              -       CONC or GYP/PE             EXP          8'-0"
                                                                               OR GYP/PE
Medical
Office                      CAR             VIN     GYP/PE                     AP           9'-0"
Work Areas                  VCT             VIN     GYP/PE                     AP           9'-0"
Toilets                     CT              CT      CT                         AP           8'-0"
Support                     SC                      CONC or GYP/PE             EXP          9'-0"
Inmate Holding (Interior)   SC                      CONC or GYP/PE             EXP
Medication Storage          VCT             VIN     CONC or GYP/PE             GYP/SM
Inmate Holding (Exterior)   SC                      CL                         SHC          12'-0"

Nurse Call Area             SC              VIN     GYP/PE                     AP           9’0”




                                     Plaintiffs' MSJ
                                                  11 Appx. 2273
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Part 7 - Appendix

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PART 7 - APPENDIX

7.1   APPENDIX I - REGULATORY CODES
       7.1.1 Federal, Statutory and Regulatory

           Arizona Revised Statute, Title 34, et al, Public Buildings and Improvements.
           A.R.S 34-451 Energy conservation standards for public buildings
           A.R.S. 34-452, Solar design standards for state buildings; energy life cycle costing.
           A.R.S. 34-461, Applicability of local codes, exceptions, definition.
           A.R.S. 36-136, Powers and duties of Director; compensation of personnel. (Department of Health
            Services)
           A.R.S. 37-321, Permission required for person other than holder of certificate of purchase to make
            improvements; forfeiture for failure to obtain permission; report of improvements.
           A.R.S. 40-441, Commission safety regulations, rules and orders; definitions. (Pipeline Safety)
           A.R.S. 41-511.04, Duties; board; partnership fund; state historic preservation officer. (State Board
            of Historic Preservation)
           A.R.S. 41-790, et al, Management of State Properties.
           A.R.S. 41- 844, Duty to report discoveries; disposition of discoveries, definitions. (Archeological
            Discoveries)
           A.R.S. 41-861, Agency responsibilities. (Historic Preservation)
           A.R.S. 41-1492 et seq, Public Accommodation and Services.
           A.R.S. 41-2151, et al, Office of Manufactured Housing; purpose.
           A.R.S. 41-2161, et al, Office of State Fire Marshal.
           A.R.S. 41-2163, Powers and duties, arson investigators.
           A.R.S. 45-101, et al, Department of Water Resources.
           A.R.S. 49-104, Powers and duties of the department and director. (Arizona Department of
             Environmental Quality)
           Executive Order 2005-5, Implementing Renewable Energy and Energy Efficiency in New State
             Buildings
           Executive Order 2004-28, Statewide 5% Water Use Reduction
           Executive Order 2003-14, Implementing Statewide Efficiency Review
           A.A.C. R18-2-1101; Federal Hazardous Air Pollutants
           40 CFR Part 61, National Emission Standards for Hazardous Air Pollutants; Asbestos
           NESHAP Revision; Final Rule.
           Appendix A, Subpart F, 40 CFR Part 763, Section 1, Polarized Light Microscopy (PLM)
           Americans with Disabilities Act of 1990, Titles I-V.




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       7.1.2 Building Fire Code and Safety
                 International Fire Code Standards—2003 Edition
                 International Building Code—2006 Edition
                 International Mechanical Code—2006 Edition
                 Uniform Plumbing Code—1994 Edition with Local Amendments
                 Occupational, Safety and Health Administration Standards.
                 American Society of Heating, Refrigerating and Air-Conditioning Engineers, Inc., (ASHRAE)
                  Design reviews will conform to local City and County Codes of Jurisdiction.

       7.1.3 International Fire Code—2003 Edition
                 NFPA#10 Portable Fire Extinguishers—2002 Edition
                 NFPA# 12A Halon 1301Fire Extinguishing System—2004 Edition
                 NFPA# 12B Halon 1211 Fire Extinguishing Systems—2004 Edition
                 NFPA# 13 Installation of Sprinkler Systems—2002 Edition.
                 NFPA# 13 Inspection, Testing and Maintenance of Sprinkler Systems—2002 Edition
                 NFPA#13R Installation of Sprinkler System in Residential Occupancies up to Four Stories
                  Height—2002 Edition.
                 NFPA# 14 Standpipe & Hose Systems—2003 Edition
                 NFPA# 15 Water Spray Fixed Systems—2001 Edition
                 NFPA# 16 Foam Water Spray Systems—2003 Edition
                 NFPA# 17 Dry Chemical Extinguishing Systems—2002 Edition
                 NFPA# 17A Wet Chemical Extinguishing Systems—2002 Edition
                 NFPA# 20 Centrifugal Fire Pumps—2003 Edition
                 NFPA# 22 Water Tanks For Private Fire Protection—2003 Edition
                 NFPA# 24 Private Fire Service Mains—2002 Edition
                 NFPA# 51 Cutting & Welding Processes—2002 Edition
                 NFPA# 58 Liquefied Petroleum Gases—2004 Edition
                 NFPA# 70 National Electrical Code—2005 Edition
                 NFPA# 72B Auxiliary Protective Signaling Systems—2002 Edition
                 NFPA# 72C Remote Station Protective Signaling Systems—2002 Edition
                 NFPA# 72D Proprietary Protective Signaling Systems—2002 Edition
                 NFPA# 72E Automatic Fire Detectors—2002 Edition
                 NFPA# 72H Testing Procedures for Local, Auxiliary, Remote Station and Proprietary Protective
                  Signaling Systems—2002 Edition
                 NFPA# 80 Fire Doors and Windows—99 Edition
                 NFPA# 86 Ovens and Furnaces, Design, Location, and Equipment—2003 Edition
                 NFPA#110 Emergency Power—2002 Edition
                 NFPA# 230 General Storage—2003 Edition
                 NFPA# 303 Fire Protection Standard for Malians and Boatyards—2000 Edition
                 NFPA# 407 Aircraft Fuel Service—2001 Edition.
                 NFPA# 409 Aircraft Hangars—2001 Edition
                 NFPA# 490 Ammonium Nitrate, Storage of —2002 Edition
                 NFPA# 498 Explosive Motor Vehicle Terminals—2001 Edition
                 NFPA# 651 Aluminum and Magnesium Powder—2002 Edition
                 NFPA# 704 Identification of the Fire Hazards of Materials—2001 Edition
                 State Fire Marshal Approved Modifications—2003 Edition




7.3    Appendix III Fences
                                        Plaintiffs' MSJ
                                                     3 Appx. 2276
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7.4    APPENDIX IV-Furniture
       7.4.1 Figure 1 ACI Bed/Desk/Storage




                                     Plaintiffs' MSJ
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7.5    Appendix V Par Course Design Requirements




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7.6   APPENDIX VI - FINISH SCHEDULE

                     Legend:           Floors

                     CAR .............. Carpet
                     CT.................. Ceramic Tile
                     QT ................. Quarry Tile
                     SC .................. Sealed Concrete
                     VCT ............... Vinyl Composition Tile

                     Legend:           Base

                     CT.................. Ceramic Tile
                     VIN................ Vinyl Base
                     SS .................. Stainless Steel

                     Legend:           Walls

                     CL.................. Chain Link Fence
                     CONC............ Concrete or masonry block
                     GCMU ........... Glazed CMU
                     GYP ............... Gypsum Board
                     FRP................ Fiberglass Reinforced Panels
                     PE .................. Paint Enamel

                     Legend:           Ceiling

                     AP.................. Acoustical Panel
                     EXP ............... Exposed
                     GYP ............... Gypsum Board
                     SHC ............... Shade Cloth
                     GYP/SM ........ Gypsum Board and Security Mesh




                                          Plaintiffs' MSJ
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AREA                       FLOOR          BASE    WALLS                    CEILING          HT
Administration
Office                     CAR            VIN     GYP/PE                   AP               9'-0"
Open Work Areas            CAR            VIN     GYP/PE                   AP               9'-0"
Toilet                     CT             CT      CT                       AP               9'-0"
Support                    CAR or VCT     VIN     GYP/PE                   AP               9'-0"
Classrooms
Classroom/Office           SC             VIN     CONC/PE                  GYP              9'-0”
Toilets                    CT             CT      CT                       GYP              8'-0”
Support                    SC             VIN     CONC/PE                  AP               9'-0”
Count & Movement
Office Work Areas          VCT            VIN     GYP/PE                   AP               9'-0"
Toilets                    CT             CT      CT                       GYP              8'-0"
Support                    SC             VIN     CONC/PE                  AP               9'-0"
Dental
Office Work Areas          VCT            VIN     GYP/PE                   AP               9'-0"
Toilets                    CT             CT      CT                       GYP              8'-0"
Detention
Pod/Day Room               SC                     CONC/PE                  CONC/PE          9'-0"
Control                    SC             VIN     GYP/PE                   AP               9'-0"
Recreation                 CONC                   CONC                     GRILL            10’-0”
Hair Care
Work Areas                 VCT            VIN     GYP/PE                   AP               9'-0"
Hearing
Offices                    VCT            VIN     GYP/PE                   AP               9'-0"
Toilets                    CT             CT      CT                       GYP              8'-0"
Support                    VCT            VIN     GYP/PE                   AP               9’-0”
Kitchen
Work Areas                 QT             SS      GCMU                     AP               9'-0"
Office                     QT             QT      GYP/PE                   AP               9’-0”
Toilets                    CT             CT      CT                       GYP              8'-0"
Support                    SC                     CONC                     EXP
Library
Library                    VCT            VIN     GYP/PE                   AP               9'-0"
Toilets                    CT             CT      CT                       GYP              8'-0"
Support                    SC             VIN     CONC/PE                  GYP              9’-0”



Maintenance
Office                     SC             VIN       CONC/PE OR GYP/PE      AP               9'-0"
                                     Plaintiffs' MSJ
                                                  2 Appx. 2300
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AREA                        FLOOR         BASE    WALLS                    CEILING          HT
Work Areas                  SC            -       CONC or GYP/PE           EXP
Toilets                     CT            CT      CT                       AP               9'-0"
Medical
Office                      CAR           VIN     GYP/PE                   AP               9'-0"
Work Areas                  VCT           VIN     GYP/PE                   AP               9'-0"
Toilets                     CT            CT      CT                       AP               8'-0"
Support                     SC                    CONC or GYP/PE           EXP              9'-0"
Inmate Holding (Interior)   VCT                   CONC or GYP/PE           EXP
Medication Storage          VCT           VIN     CONC or GYP/PE           GYP/SM
Inmate Holding (Exterior)   SC                    CL                       SHC              12'-0"

Nurse Call Area             SC            VIN     GYP/PE                   AP               9’0”
Pharmacy
Office/Work Area            VCT           VIN     GYP/PE                   AP               9'-0"
Property/Mail
Property Storage            SC                    CONC                     EXP
Work Areas                  SC                    CONC                     EXP
Recreation
Recreation                  SC                    CONC                     EXP
Toilets                     CT            CT      CT                       GYP              8'-0"
Support                     SC                    CONC                     EXP
Vehicle Maintenance
Office                      SC            VIN     CONC/PE or GYP/PE        AP               9'-0"
Work Areas                  SC                    CONC                     EXP              -
Toilets                     CT            CT      CT                       AP               8'-0"
Support                     SC            -       CONC                     EXP              -
Visitor Processing
Office / Control            VCT           VIN     GYP/PE                   AP               8'-0"
Public Toilets              CT            CT      CT                       AP               8'-0"
Staff Locker rooms          VCT           VIN     GYP/PE                   AP               8'-0"
Staff Toilets               CT            CT      CT                       AP               8'-0"
Visitation
Visitation                  SC            VIN     CONC/PE                  AP               9'-0"
Toilets                     CT            CT      CT                       GYP              8'-0"
Support                     SC            VIN     CONC/PE                  GYP              9'-0"

Inmate Processing
Office                      SC            VIN       GYP/PE                 AP               8'-0"
Exterior Holding            SC            -         CL                     SHC              12'-0"
                                     Plaintiffs' MSJ
                                                  3 Appx. 2301
       Case ORDER
DEPARTMENT    4:14-cv-03253        Document 301-13 Filed on 09/08/16 in TXSD
                   401-PRISON CONSTRUCTION                                     Page 332 of 380
CHAPTER: 401T-PPS ADC Administrative Services, Physical Plant Standards
Rev. 02/23/12


AREA                       FLOOR          BASE    WALLS                    CEILING          HT
Interior Holding           SC             -       CONC                     CONC             12'-0"
Toilet                     CT             CT      CT                       AP               8'-0"
Support                    SC             -       CONC or GYP/PE           EXP or GYP/PE    8'-0"
Warehouse
Offices                    VCT            VIN     GYP/PE                   AP               9'-0"
Work Areas                 SC                     CONC                     EXP
Toilets                    CT             CT      CT                       GYP              8'-0"
Support                    SC                     CONC                     EXP




                                     Plaintiffs' MSJ
                                                  4 Appx. 2302
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 136
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



                             Plaintiffs' MSJ Appx. 2303
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                    Courage Responsibility Ethics Dedication - CREDibly serving the public safety of New Mexico
                     ISSUE DATE:                01/12/05          REVIEW/REVISED:              03/09/15
                     EFFECTIVE DATE:            01/12/05

  CD-163000         TITLE:      Physical Plant Requirements

AUTHORITY:

  Policy CD-010100

REFERENCE:

  A. ACA Standard 2-CO-2A-01, 2-CO-2A-02, 2-CO-2B-01, 2-CO-2B-02, 2-CO-2B-03 and 2-CO-
     2B-04, Standards for the Administration of Correctional Agencies, 2nd Edition.
  B. ACA Standards 4-4123, 4-4125, 4-4127 thru 4-4130, 4-4132, 4-4134 thru 4-4141, 4-4145 thru
     4-4147-1, 4-4149 thru 4-4153, 4-4157, 4-4162, 4-4163, 4-4165, 4-4167 thru 4-4169, 4-4278,
     and 4-4417 thru 4-4419 Standards for Adult Correctional Institutions, 4th Edition.
  C. ACA Standards 4-APPFS-3D-12, Performance Based Standards for Adult Probation and
     Parole Field Services, 4th Edition.
  D. ACA Standards 1-CTA-2A-01, 1-CTA-2B-01, 1-CTA-2B-02, 1-CTA-2B-03 and 1-CTA-2D-
     01, Standards for Correctional Training Academies, 1993.

PURPOSE:

  To standardize physical plant requirements for existing facilities and new construction and to
  provide for adequate space to meet all departmental needs.

APPLICABILITY:

  All correctional facilities and Probation and Parole field offices under the jurisdiction of the New
  Mexico Corrections Department and facilities contracted to house inmates for the Department.

FORMS:

  None

ATTACHMENTS:

  None

DEFINITIONS:

  None



                                       Plaintiffs' MSJ Appx. 2304
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POLICY:

  A.   All agency facilities shall meet and conform to appropriate federal, state, and local fire,
       sanitation, safety, building and health codes. [2-CO-2A-01] [4-4123] [1-CTA-2A-01]

  B.   All Department facilities shall be inspected by representatives of appropriate governmental
       agencies at specified intervals and that each report is reviewed and remedial action taken if
       indicated. [2-CO-2A-02]

  C.   The physical plant design shall facilitate personal contact and interaction between staff and
       inmates (Renovation, Addition, and New Construction only). [2-CO-2B-01] [4-4125]

  D.   New correctional institutions being constructed or existing facilities being expanded shall
       have a needs evaluation study conducted prior to beginning construction. [2-CO-2B-02]

  E.   All remodeling or additional construction shall have all applicable permits and approvals
       prior to construction. The facility Manager must be informed in writing of proposed work.

  F.   All new facilities shall be planned with the participation from the community in which they
       are to be located. [2-CO-2B-03]

  G.   Reasonable accommodation is made to ensure all parts of the institution that are accessible to
       the public are also accessible and usable by staff and visitors with disabilities. [2-CO-2B-
       04]

  H.   The maximum size of a single management unit is variable and is based on the characteristics
       of its inmate population. The exact size of each management unit is determined by: [4-4127]

       •    The security classification of the inmate occupants (higher security levels require
            smaller unit size);
       •    The ability of staff to complete regular security checks, maintain visual and auditory
            contact, maintain personal contact and interaction with inmates, and be aware of unit
            conditions.

  I.   Single-cell living units shall not exceed 80 inmates (New Construction only). [4-4128]

  J.   The number of inmates does not exceed maximum allowable inmate population based on the
       Standards Compliant Bed Capacity (SCBC) formula (See ACA 2010 Supplement, pg 47). [4-
       4129]




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                                   Plaintiffs' MSJ Appx. 2305
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  K.   Cells/rooms used for housing inmates shall provide at a minimum, twenty-five (25) square
       feet of unencumbered space per occupant. Unencumbered space is usable space that is not
       encumbered by furnishings or fixtures. At least one dimension of the unencumbered is no
       less than seven feet. In determining unencumbered space in the cell or room, the total square
       footage is obtained and the square footage of fixtures and equipment is subtracted. All
       fixtures and equipment must be in operational position and must provide the following
       minimum per person: [4-4132]
            Bed.
            Plumbing fixtures (if inside the cell/room),
            Desk,
            Locker,
            Chair or stool.

  L.   Each inmate confined to a cell/room for ten (10) or more hours daily is provided a sleeping
       area with the following: a sleeping surface and mattress at least twelve (12) inches off of the
       floor; a writing surface and proximate area to sit; storage for personal items; and adequate
       storage space for clothes and personal belongings. [4-4134]

  M.   Each inmate confined to a cell/room for less than ten (10) hours daily is provided a sleeping
       area with the following: a sleeping surface and mattress at least twelve (12) inches off of the
       floor; storage for personal items; and adequate storage space for clothes and personal
       belongings. [4-4134]

  N.   Dayrooms with space for varied inmate activities are situated immediately adjacent to the
       inmate sleeping areas. Dayrooms provide a minimum of thirty-five (35) square feet of space
       per inmate (exclusive of lavatories, showers, and toilets) for the maximum number of inmates
       who use the dayroom at one time, and no dayroom encompasses less than 100 square feet of
       space (exclusive of lavatories, showers, and toilets). [4-4135]

  O.   Dayrooms shall provide sufficient seating and writing surfaces. Dayroom furnishings shall
       be consistent with the custody level of the inmates assigned. [4-4136]

  P.   Inmates have access to toilets and hand-washing facilities 24 hours per day and are able to
       use toilet facilities without staff assistance when they are confined in their cells/sleeping
       areas. [4-4137]

  Q.   Toilets are provided at a minimum ratio of one (1) for every twelve (12) inmates in male
       facilities and one (1) for every eight (8) inmates in female facilities. Urinals may be
       substituted for up to one-half of the toilets in male facilities. All housing units with three (3)
       or more inmates have a minimum of two (2) toilets. These ratios apply unless national or
       state building or health codes specify a different ratio. [4-4137]


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                                    Plaintiffs' MSJ Appx. 2306
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  R.   Inmates have access to operable wash basins with hot and cold running water in the housing
       units at a minimum ratio of one (1) basin for every twelve (12) occupants, unless national or
       state building or health codes specify a different ratio. [4-4138]

  S.   Adequate space is provided for janitorial closets accessible to the living and activity areas.
       The closets are equipped with a sink and cleaning implements. [4-4162]

  T.   Space is provided in the institution to store and issue clothing, bedding, cleaning supplies,
       and other items required for daily operation. [4-4163]

  U.   Inmates have access to operable showers with temperature-controlled hot and cold running
       water, at a minimum ratio of one shower for every eight inmates, unless national or state
       building codes specify a different ratio. Water for showers is thermostatically controlled to
       temperatures ranging from 100° degrees Fahrenheit to 120° Fahrenheit to ensure the safety of
       inmates and to promote hygienic practices. [4-4139]

  V.   Segregation housing units provide living conditions that approximate those of the general
       inmate population; all exceptions are clearly documented. Segregation cells/rooms permit the
       inmates assigned to them to converse with and be observed by staff members. [4-4140]

  W.   All cells/rooms in segregation provide a minimum of 80 square feet, of which 35 square feet
       is unencumbered space. [4-4141]

  X.   Lighting throughout the facility is determined by the tasks to be performed, interior surface
       finishes and colors, type and spacing of light sources, outside lighting, and shadows and
       glare. [4-4145] [1-CTA-2B-01] [1-CTA-2B-03]

  Y.   Lighting in inmate rooms/cells is at least 20 foot candles at desk level and in personal
       grooming areas, as documented by an independent, qualified source and is checked at least
       once per accreditation cycle. [4-4146]

  Z.   All inmate rooms/cells provide access to natural light. (Existing only.) [4-4147]

  AA. All inmate rooms/cells shall provide inmates with access to natural light by means of at least
      three square feet of transparent glazing, plus two additional square feet of transparent glazing
      per inmate in rooms/cells with three or more inmates. (Renovation, Addition only) [4-4147-1]

  BB. Each dayroom provides inmates with access to natural light by means of at least 12 square
      feet of transparent glazing in the dayroom, plus two additional square feet of glazing per
      inmate whose room/cell is dependant on access to natural light through the dayroom. (New
      Construction Only) [4-4149]


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                                    Plaintiffs' MSJ Appx. 2307
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  CC. Noise levels in inmate housing units do not exceed 70dBA (A Scale) in daytime and 45dBA
      (A Scale) at night. [4-4150] [1-CTA-2B-03]

  DD. Noise levels in housing areas (in other words, dayrooms with adjacent cells or dorms) shall
      not exceed the following (New Construction Only) [4-4150-1]:
        • Unoccupied – 45 dba (A Scale), building service systems shall be on and in normal
            operating conditions. Mid-frequency average reverberation time (T 60) must be less
            than one second.
        • Occupied – 70 dba (A Scale), for a minimum of 15 seconds of continuous average
            measurement in normal operating conditions.

        All monitoring shall be conducted in close proximity to the correctional officer’s post. If a
        correctional officer’s post is not identified, then monitoring shall be conducted at a location
        considered best to monitor housing noise levels. Measurements shall be conducted a
        minimum of once per accreditation cycle by a qualified source.

  EE. Circulation is at least 15 cubic feet of outside or recirculated filtered air per minute per
      occupant for cells/rooms, officer stations, and dining areas, as documented by a qualified
      technician and should be checked not less than once per accreditation cycle. (Accreditation
      cycle is interpreted as within the past three years.) (Renovation, Addition, New Construction
      Only) [4-4151]

  FF. Circulation shall be at least 10 cubic feet of fresh or re-circulated filtered air per minute per
      occupant for inmate rooms/cells, officer stations, and dining areas, as documented by a
      qualified technician and should be checked not less than once per accreditation cycle.
      (Accreditation cycle is interpreted as within the past three years.) (Existing) [4-4152] [1-
      CTA-2B-03]

  GG. Temperatures in indoor living and work areas shall be appropriate to the summer and winter
      comfort zone. [4-4153] [1-CTA-2B-02]

  HH. In institutions offering academic and vocational training programs, classrooms are designed
      in consultation with school authorities. (Renovation, Addition, New Construction Only) [4-
      4157]

  II.   Separate and adequate space is provided for mechanical and electrical equipment. [4-4165]

  JJ.   Adequate space is provided for administrative, security, professional, and clerical staff; this
        space includes conference rooms, storage room for records, public lobby, and toilet facilities.
        [4-4167] [1-CTA-2D-01]


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                                     Plaintiffs' MSJ Appx. 2308
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  KK. Staff shall be provided adequate spaces in locations that are convenient for use including;
      [4-4168]
      •     An area to change clothes and to shower,
      •     An area, room, and/or employee lounge that offers privacy from inmates and provides
            space for meals,
      •     Access to exercise/physical training facilities and equipment,
      •     Space for training,
      •     Space for shift change briefings,
      •     Toilets and wash basins that are not used by inmates.

  LL. Reasonable accommodation is made to ensure that all parts of the facility are accessible to the
      public are accessible and usable by staff and visitors with disabilities. [4-4169]

  MM. When male and female inmates are housed in the same facility, separate sleeping quarters but
      equal access to all available services and programs shall be provided. Neither sex shall be
      denied opportunities solely on the basis of their smaller number in the population. [4-4278]

  NN. Infirmary (LTCU)

       1.    There are sufficient bathing facilities in the medical housing unit or infirmary area to
             allow offenders housed there to bathe daily. [4-4417]

       2.    Offenders have access to operable washbasins with hot and cold running water in the
             medical housing unit or infirmary area at a minimum ration of one basin for every 12
             occupants, unless state or local building or health codes specify a different ratio. [4-
             4418]

       3.    Offenders have access to toilets and hand-washing facilities 24 hours per day and are
             able to use toilet facilities without staff assistance when they are confined in the medical
             housing unit or in the infirmary area. Toilets are provided at a minimum ratio of 1 for
             every 12 offenders in male facilities and 1 for every 8 offenders in female facilities.
             Urinals may be substituted for up to one-half of the toilets in male facilities. All
             housing units with three or more offenders have a minimum of 2 toilets. These ratios
             apply unless state or local building or health codes specify a different ration. [4-4419]




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                                     Plaintiffs' MSJ Appx. 2309
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  OO. Probation and Parole

       4.   The agency provides adequate facilities for all agency operations. Facility needs are
            reviewed at least annually. [4-APPFS-3D-12]




       ___________________________________________                   03/09/15
       Gregg Marcantel, Secretary of Corrections                     Date
       New Mexico Corrections Department




                                  Plaintiffs' MSJ Appx. 2310
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

  STEPHEN McCOLLUM, and SANDRA                  §
  McCOLLUM, individually, and STEPHANIE         §
  KINGREY, individually and as independent      §
  administrator of the Estate of LARRY GENE     §
  McCOLLUM,                                     §
                       PLAINTIFFS               §
                                                §
  v.                                            §   CIVIL ACTION NO.
                                                §   4:14-cv-3253
                                                §   JURY DEMAND
  BRAD LIVINGSTON, JEFF PRINGLE,                §
  RICHARD    CLARK,    KAREN   TATE,            §
  SANDREA SANDERS, ROBERT EASON, the            §
  UNIVERSITY    OF   TEXAS   MEDICAL            §
  BRANCH and the TEXAS DEPARTMENT OF            §
  CRIMINAL JUSTICE.                             §
                   DEFENDANTS                   §



            Plaintiffs’ Consolidated Summary Judgment Response Appendix


                           EXHIBIT 137
                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  

                                         	  



                             Plaintiffs' MSJ Appx. 2311
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                           Plaintiffs' MSJ Appx. 2313
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1400-1-.01 Preface

     (1)    Under the authority of T.C.A. 41-4-140, the Tennessee Corrections Institute is required to
            establish minimum standards for local jails, lock-ups, workhouses and detention facilities in
            the state and conduct an annual inspection of each facility.

     (2)    Local correctional facilities are the first step in the handling of the arrested offender and in it
            he receives his first impression of the correctional process. His experience in a county jail or
            a municipal lock-up facility will be a potent force molding his attitude toward law enforcement
            officials, the correctional system and the community itself.

     (3)    The Board of Control of the Tennessee Corrections Institute hopes that in carrying out the
            responsibilities of Tennessee Code Annotated 41-4-140, avenues of communication and
            cohesiveness will be developed with local agencies that will tend to upgrade the correctional
            system in the State of Tennessee.

Authority:T.C.A. §41-4-140.

1400-01-.02 Basic Information.

      (1)      Statutory Authority: The standards contained in this document are authorized pursuant to
               T. C. A. § 41-4-140 to establish minimum standards for the inspection of local jails, lock-
               ups, workhouses and detention facilities.

      (2)      Categories Covered by Standards: The minimum standards established and recorded
               herein will cover the following categories:

               (a)      Physical Plant

               (b)      Administration/Management

               (c)      Personnel

               (d)      Security

               (e)      Discipline

               (f)      Sanitation/Maintenance

               (g)      Food Services

               (h)      Mail and Visiting

               (i)      Inmate Programs and Activities

               (j)      Medical Services

               (k)      Admission Records and Release

               (l)      Hygiene

               (m)      Supervision of Inmates

               (n)      Classification



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   (3)     Other Standards: Nothing contained in these standards shall be construed to prohibit a
           city, county, or city and county agency operating a local correctional agency from
           adopting standards governing its personnel and facility, provided such standards meet or
           exceed and do not conflict with the standards established and recorded herein. Nor shall
           these standards be construed as authority to violate any state fire safety standards,
           building standards or health and safety codes.

   (4)     Validity: In determining the application of these minimum facility standards, the
           Tennessee Corrections Institute Board of Control has enacted the following:

           (a)     Standards contained herein shall apply to specific types of local correctional
                   facilities as noted at the end of each standard. For the purpose of this document,
                   primarily adult jails or workhouses which house inmates for over seventy-two (72)
                   hours will be considered Type I; primarily adult jails which house inmates for no
                   more than seventy-two (72) hours will be considered Type II; primarily adult jails
                   which house inmates between one (1) and twelve (12) hours will be considered
                   Type III. Type III does not include facilities used primarily for fingerprinting,
                   photographing, interviewing or interrogating.

           (b)     Detention facilities shall be classified according to construction date. Facilities
                   constructed after June 2000, shall be considered as new, while facilities
                   constructed prior to or during the month of June 2000, shall be considered
                   existing facilities.

           (c)     An existing facility must meet all applicable standards referring to such facilities
                   and all other applicable standards. A new facility must comply with all applicable
                   standards referring to such facilities and all other applicable standards.

           (d)     Any additions or renovations to existing facilities must comply with all applicable
                   standards for new facilities.

           (e)     The number of inmates awaiting transfer to the Department of Correction penal
                   system may be discounted from any computations used to determine compliance
                   with standards (2), (3), (4), (5), (6), and (7) of Section 1400-01-.04 Physical Plant
                   under the following conditions:

                   1.     The Governor must have invoked the power of delayed intake pursuant to
                          T.C.A. § 41-1-504(a)(2) and/or a federal or state court has delayed intake
                          into the Department of Correction penal system and,

                   2.     More than six (6%) percent of the county's total average inmate
                          population over the preceding ninety (90) days in all of its correctional
                          facilities consists of inmates sentenced to the Department of Corrections
                          whose commitments have been delayed pursuant to 1. then,

                   3.    The number of inmates awaiting transfer to the Department of Correction
                          at a particular facility in excess of six (6%) percent shall not be used in
                          any computations used to determine compliance with the above stated
                          standards.

   (5)     Certification of Facilities: Facilities which meet all applicable standards as determined by
           an annual inspection shall be recommended for certification by the inspector to the
           Tennessee Corrections Institute's Board of Control during the first board meeting
           following the completion of the inspection. Facilities which do not meet all applicable
           standards shall be recommended for non-certification. Facilities whose annual
           inspections are completed prior to the fifteenth (15th) of the month shall be

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                recommended for certification or non-certification to be effective on the first (1st) day of
                the month during which the inspection was completed. Facilities whose annual
                inspections are completed after the fifteenth (15th) of the month shall be recommended
                for certification or non-certification to be effective on the first (1st) day of the month
                following the month in which the inspection was completed. The Judicial Cost
                Accountant in the Office of the Comptroller shall be immediately notified of any proposed
                change in a facility's status.

      (6)       No currently certified local facility shall be decertified if the local government has
                submitted a plan of action within sixty (60) days of the initial annual inspection that is
                reasonably expected to eliminate fixed ratio deficiencies in that facility and cause that
                facility to remain certified.

Authority: T.C.A. § 41-4-140.

1400-01-.03 Definitions.

      (1)       Basic Training - The introductory training provided by the Tennessee Corrections Institute
                which prepares a facility employee with general and specific knowledge about the
                detention of inmates in a local facility.

      (2)       Booking- An official recording of an arrest and the identification of the person, place, time,
                arresting authority, and the reason for the arrest. It is the procedure for the admission of a
                person charged with or convicted of an offense, which includes searching, fingerprinting,
                photographing, medical screening, and collecting personal history data. Booking also
                includes the inventory and storage of the individual’s personal property.

      (3)       Cell Block - A separate, secure group or cluster of single and/or multiple occupancy cells
                or detention rooms immediately adjacent and directly accessible to a day or activity room.
                In some facilities the cell block consists of a row of cells fronted by a dayroom or corridor-
                like proportion.

      (4)       Censor - To read communications such as letters to delete material which might be
                considered harmful to the interests of the organizations, agency or facility.

      (5)       Chemical Agent – An active substance, such as pepper spray, used to deter acts that
                might cause personal injury or property damage.

      (6)       Classification - A process for determining the needs and requirements of those for whom
                confinement has been ordered and for assigning them to housing units and programs
                according to their needs and existing resources.

      (7)       Clear Floor Space - Floor space that is free of obstructions such as bunks, showers,
                commodes, and lavatories.

      (8)       Contraband – An item that has not been approved for possession or use by inmates or
                detainees by those legally charged with the responsibility for administration and operation
                of the facility.

      (9)       Control Center – A very secure, self-contained unit designed to maintain the security of
                the facility. Policies governing the design, staffing, and accessibility of the control center
                should ensure that it cannot be commandeered by unauthorized persons.

      (10)      Corporal Punishment -Physical punishment, as distinguished from pecuniary punishment,
                inflicted on the body of an inmate or detainee for the purpose of interrupting an
                impermissible act or deterring undesirable behavior.

                                                      4

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   (11)    Daily Log - A record of all significant activities that take place during the course of a day.

    (12)   Dayroom - A secure area directly adjacent to inmate living area, to which inmates may be
           admitted for activities such as bathing, exercise, recreation and dining. Spaces originally
           designed for circulation, such as corridors, are not dayrooms.

    (13)   Detainee - A person confined in a local facility not serving a sentence for a criminal
           offense.

    (14)   Detainer - A writ or instrument, issued or made by a competent officer, authorizing the
           keeper of a prison/jail to keep in his custody a person therein named.

    (15)   Detention - The confinement of an inmate in a secure area (usually pretrial inmates).

    (16)   Detention Facility - A confinement facility, usually operated by a local law enforcement
           agency, which holds persons detained pending adjudication and/or persons committed
           after adjudication.

   (17)    Detention Officer – A person who is employed or authorized to detain or guard inmates.

    (18)   Disciplinary Action - An action taken upon an inmate that is intended to correct or punish.

    (19)   Disciplinary Hearing - A non-judicial administrative procedure to determine if substantial
           evidence exists to find an inmate guilty of a rule violation.

    (20)   Disciplinary Report - An account, or announcement that is prepared, presented or
           delivered, usually in formal or organized form based on the possibility of a rule violation.

    (21)   Disciplinary segregation – A form of separation from the general population in which
           inmates who committed serious violations of conduct regulations are confined for short
           periods of time to individual cells separated from the general population by the
           disciplinary committee or other authorized group. Placement in disciplinary detention may
           only occur after a finding of a rule violation at an impartial hearing and when there is not
           an adequate alternative disposition to regulate the inmate’s behavior.

   (22)    Document - To support with written sources.

    (23)   Due Process Guarantees – Those procedures that ensure just, equal, and lawful
           treatment of an individual involved in all stages of the criminal justice system, such as a
           notice of allegations, impartial and objective fact finding, a written record of the
           proceedings, a statement of any disposition ordered with the reasons for it, and the right
           to confront accusers, call witnesses, and present evidence.

   (24)    Existing Facility - Detention facility built prior to or during the month of June 2000.

    (25)   Facility Administrator - An official who has primary responsibility for managing and
           operating a local detention facility.

   (26)    Flushable Drain - A pipe or channel which is cleaned by a rapid, brief gush of water.

    (27)   Foot-candle - A unit for measuring the intensity of illumination; the amount of light thrown
           on a surface one foot away from the light source.




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    (28)   Furnishings – Applies to all living quarters. Includes draperies, curtains, furniture,
           mattresses and bedding, upholstered or cushioned furniture, wastebaskets, decorations,
           and similar materials that can burn.

    (29)   General Population - A group of individuals confined in an institution who have no
           institutional restrictions on them, such as segregation.

    (30)   Grievance/Grievance Process – A circumstance or action considered to be unjust and
           grounds for complaint or resentment and/or a response to that circumstance in the form
           of a written complaint filed with the appropriate body.

    (31)   Health/Medical Screen – A structured inquiry and observation to prevent newly-arrived
           offenders who pose a health and safety threat to themselves or others from being
           admitted to the general population and to identify offenders who require immediate
           medical attention. The screen can be initiated at the time of admission by health care
           personnel or by a health-trained correctional officer.

    (32)   Housing Area - A high-security, medium-security, or low-security cell or room, excluding
           holding, detoxification, infirmary, and segregation cells or rooms.

    (33)   Informed Consent – The agreement by a patient to a treatment, examination, or
           procedure after the patient receives the material facts regarding the nature,
           consequences, risks, and alternatives concerning the proposed treatment, examination,
           or procedure.

    (34)   Inmate – A person, whether in pretrial, un-sentenced, or sentenced status, who is
           confined in a correctional facility.

    (35)   In-Service Training - Training which is given to an employee on an annual basis to
           reinforce or add to his basic training.

    (36)   Jail - A confinement facility, usually operated by a local law enforcement agency, which
           holds persons detained pending adjudication and/or persons committed after
           adjudication. Jails, while intended for the confinement of adults, may also confine
           juveniles.

    (37)   Jailer – A person who is charged by an institution to detain or guard inmates.

    (38)   Library Service – A service that provides reading materials for convenient use; circulation
           of reading materials; service to help provide users with library materials, educational and
           recreational materials, or a combination of these services.

    (39)   Medical Records - Records of medical examinations and diagnoses maintained by the
           responsible medical provider for each inmate separate from the inmate’s file. Medical
           records shall include the date and time of the medical examination and copies of standing
           or direct medical orders from the physician.

   (40)    Medication Receipt System - A method that accounts for the administering of
           medications.

   (41)    Menu Pattern - The outline of food items to be included in each meal.

   (42)    Monitor - To keep watch over, supervise.

   (43)    New Facility - Detention facility built after June 2000.


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    (44)   Physical Force - Any use of firearms, chemical agents, clubs or other devices in
           controlling an inmate. Also, any situation which requires an officer to "lay hands" on an
           inmate or physical force used which subjects an inmate to pain, discomfort or physical
           incapacitation.

   (45)    Physical Plant - A building, set of buildings, portion of a building, or area that is used for
           the lawful custody and/or treatment of individuals.

   (46)    Plan of Action – A written plan that will eliminate or correct deficiencies noted in the
           annual inspection.

    (47)   Potentially Hazardous Food - Any food that consists, in whole or in part, of milk or milk
           products, eggs, meat, poultry, fish, shellfish, edible crustacea, or other ingredients,
           including synthetic ingredients, in a form capable of supporting rapid and progressive
           growth of infectious or toxigenic microorganisms. Does not include clean, whole,
           uncracked, odor-free shell eggs, foods which have a pH level of 4.6 or below, or a water
           activity (aw) value of 0.85 or less.

    (48)   Pre-Service Orientation - Training accomplished prior to assignment of duty, which is
           intended to familiarize new employees with the operations of the particular jail to which
           they are to be assigned.

    (49)   Preventative Maintenance – A system designed to enhance the longevity and/or
           usefulness of buildings or equipment in accordance with a planned schedule.

    (50)   Range of Sanctions - The various penalties for noncompliance of rules specified by the
           facility administrator.

    (51)   Receiving Area - The point of inmate entry into a jail or detention facility where an inmate
           undergoes admission processing, which may include orientation and initial classification
           prior to regular assignment to the housing area.

    (52)   Receiving Screening - An observation/initial health assessment to identify newly-arrived
           inmates who pose a health or safety threat to themselves or others.

    (53)   Regular Access - The documented number of hours an inmate may utilize additional
           living space available as described by facility policy.

    (54)   Sally Port - An enclosure situated either in the perimeter wall or fence of the facility or
           within the interior of the facility, containing gates or doors at both ends, only one of which
           opens at a time. This method of entry and exit ensures there will be no breach in the
           perimeter or interior security of the facility.

    (55)   Security Devices - Locks, gates, doors, bars, fences, screens, ceilings, floors, walls, and
           barriers used to confine and control inmates. Also, electronic monitoring equipment,
           security alarm systems, security light units, auxiliary power supply, and other equipment
           used to maintain facility safety.

    (56)   Security Perimeter - Outer portions of a facility which provide for secure confinement of
           inmates. This perimeter may vary for individual facilities, depending upon their security
           classification.

    (57)   Segregation – Confinement of an inmate to an individual cell separated from the general
           population.



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      (58)      Sick Call - A function which provides inmates the opportunity to receive required medical
                attention.

      (59)      Strip Search – Examination of an inmate’s naked body for weapons, contraband, and
                physical abnormalities and includes a thorough search of all of the individual’s clothing
                while it is not being worn.

      (60)      Structural Projections - Some part of the construction that protrudes with sharp or pointed
                edges.

      (61)      Trusty - An inmate, usually in a minimum security classification, who is responsible for
                performing various maintenance tasks under supervision in a jail.

      (62)      Type I Facility – A detention facility housing primarily adults for more than seventy-two
                (72) hours.

      (63)      Type II Facility – A detention facility housing primarily adults for not more than seventy-
                two (72) hours.

      (64)      Type III Facility – A detention facility where persons are detained between one (1) and
                twelve (12) hours and does not include detention facilities used primarily for
                fingerprinting, photographing, interviewing or interrogating.

      (65)      Unencumbered Space – Usable space that is not encumbered by furnishings or fixtures.
                In determining unencumbered space in the area, the total square footage is obtained and
                the square footage of fixtures and equipment is subtracted. All fixtures and equipment
                must be in operable position.

      (66)      Work Stoppage - A halt by those employed by the facility; usually refers to a strike.

      (67)      Workhouse - A county detention facility operated by or for a county which holds
                primarily sentenced, minimum security inmates.

      (68)      Working Inmate – An inmate who has been screened, selected, and assigned to a formal
                jail work program (occurring within the security area of the jail, or external to the jail). This
                includes those inmates who are taken out by various persons/agencies to work offsite (for
                example, a county employee comes to the jail each day to take a group of inmates to
                work at a recycling center).

Authority: T.C.A. § 41-4-140.

1400-01-.04 Physical Plant.

      (1)       All types of facilities shall meet the following requirements:

                (a)     New and existing facilities shall have, on average, lighting of at least twenty
                        (20) foot-candles in activity areas to be measured three (3) feet off the floor.

                (b)     New and existing facilities shall have forced air ventilation in sleeping and activity
                        areas.

                (c)     New facilities shall have access to natural light in sleeping and activity areas.

                (d)     New and existing facilities shall have a temperature of not less than sixty-five
                        (65) degrees Fahrenheit and not more than eighty (80) degrees Fahrenheit in
                        sleeping and activity areas.

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           (e)      New facilities shall have lighting of not less than five (5) average foot-candles in
                    sleeping areas to be measured three (3) feet off the floor.

                    Applies to Types I, II, and III.

   (2)     In new and existing facilities, the minimum size of a single-occupancy cell shall be thirty-
           five (35) square feet of clear floor space with a ceiling height of not less than eight (8)
           feet. At least seventy (70) square feet of total floor space shall be provided when the
           occupant is confined for more than ten (10) hours per day. All dimensions of cell length
           and width for both single and multiple-occupancy cells shall allow for a reasonable
           amount of usable floor space for any in-cell activities of inmates. Each cell shall contain a
           bunk, water closet and lavatory. Any questions pertaining to sufficiency of cell dimensions
           shall be decided by the Tennessee Corrections Institute.

           Applies to Types I, II, and III.

    (3)    In new and existing facilities, the minimum size of a multiple-occupancy cell (2-64
           occupants) shall be twenty-five (25) square feet of clear floor space for each occupant in
           the sleeping areas, with a ceiling elevation of not less than eight (8) feet. At least thirty-
           five (35) square feet of clear floor space shall be provided for each occupant when the
           occupant is confined for more than ten (10) hours per day.

           Applies to Types I, II, and III.

    (4)    In new jails and workhouses, dormitories shall be designed to accommodate not more
           than sixty-four (64) persons. A minimum of twenty-five (25) square feet of clear floor
           space for each inmate must be provided in the housing area with a ceiling elevation of
           not less than eight (8) feet.

           In existing jails and workhouses, dormitories shall provide not less than twenty-five (25)
           square feet of floor space per occupant, exclusive of the area occupied by bunks, and a
           ceiling height of not less than eight (8) feet. If an inmate who occupies a dormitory has
           regular access to additional living areas, the additional area may be added on a pro rata
           basis to the square footage available to an inmate.

           A dayroom is required with thirty-five (35) square feet per inmate for the maximum
           number of users at one time.

           Applies to Type I.

   (5)     New facilities shall have a dayroom for each cell block or cluster of cells, which has a
           minimum of thirty-five (35) square feet of floor space per inmate.

           Existing facilities are not required to provide dayrooms.

           Applies to Type I.

    (6)    Inmates, including those in medical housing units or infirmaries, shall have access to
           toilets and washbasins with temperature-controlled hot and cold running water twenty-
           four (24) hours per day. All facilities shall provide operable toilets and washbasins to
           inmates on a ratio of at least one (1) toilet and washbasin to every twelve (12) male
           inmates and one (1) toilet and washbasin for every eight (8) female inmates and one (1)
           toilet and washbasin accessible to occupants of any single-occupancy cell without their
           having to leave their cell. Urinals may be substituted for up to one-half of the toilets in
           male facilities. Inmates shall be able to use toilet facilities without staff assistance when

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           they are confined in their cells/sleeping areas. All new facilities constructed after January
           1, 2015 shall be required to provide an unbreakable toilet, washbasin or water closet in
           maximum security areas.

           Applies to Types I, II, and III.

    (7)    Jails shall have at least one (1) operable shower for every sixteen (16) inmates, which
           shall be accessible to inmates without their having to leave their cell block.

           Workhouses shall have at least one (1) operable shower for every sixteen (16) inmates,
           which shall be accessible to inmates on a daily basis.

           Applies to Types I, and II.

   (8)     New facilities shall have at least one (1) single cell for the separation and control of
           problem inmate(s). The cell shall conform to the single-occupancy cell dimensions and
           shall have, at a minimum:

           (a)      High security light fixture;

           (b)      Unbreakable water closet and lavatory with control valve located outside the cell;

           (c)      Forced air ventilation; and,

           (d)      Concrete bed, a minimum of twelve (12) inches off of the floor and no higher than
                    sixteen (16) inches off of the floor, with rounded edges.

           The cell shall contain no structural projections or furnishings that would allow the inmate
           to harm himself/herself. The cell shall be located to allow continuous monitoring by
           detention officers.

           Applies to Types I, II, and III.

   (9)     (a)      All facilities shall have at least one (1) special purpose cell for males and one (1)
                    special purpose cell for females to provide for the temporary detention of persons
                    under the influence of intoxicants. The special purpose cells shall conform to
                    multiple-occupancy cell dimensions and capacity. These cells shall have, at a
                    minimum:

                    1.     Flushable drain or unbreakable water closet and lavatory;

                    2.     High security light fixture;

                    3.     Forced air ventilation; and,

                    4.     No structural projections.

           (b)      New facilities shall also provide a concrete bed in the special purpose cell, a
                    minimum of twelve (12) inches off of the floor and no higher than sixteen (16)
                    inches off of the floor with rounded edges.

           (c)      In new facilities, this cell shall be located so as to allow continuous monitoring by
                    detention officers.

           (d)      The requirement for one (1) special purpose cell applies only to facilities that
                    have construction plans reviewed and approved by the Tennessee Corrections

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                    Institute after June 1, 2000. The requirement for two (2) special purpose cells
                    applies to plans reviewed and approved after January 1, 2015.

           Applies to Types I, II, and III.

   (10)    New facilities shall provide space inside the security perimeter, separate from inmate
           living areas and administrative offices, for inmate processing as inmates are received and
           discharged from the facility. This space shall have the following components:

           (a)      Pedestrian and/or vehicle sally port;

           (b)      Telephone facilities for inmate use;

           (c)      Temporary holding rooms which have fixed benches to seat inmates; and,

           (d)      A shower, toilet and washbasin.

           Existing facilities shall provide space where inmates are received, searched, showered,
           and issued clothing (if provided by the facility) prior to assignment to the living quarters.

           Applies to Types I and II.

    (11)   Provisions shall be made for a visiting area which shall allow each inmate at least one (1)
           hour of visitation each week.

           Applies to Type I.

   (12)    Provisions shall be made for a private interview room for the use of attorneys and for
           interrogation of inmates by law enforcement agencies.

           Applies to Types I, II, and III.

   (13)    New facilities shall have at least one (1) multi-purpose room for conducting programs and
           for inmate exercise.

           Applies to Type I.

    (14)   New facilities shall provide a secure outdoor recreation area with dimensions of at least
           nine hundred (900) square feet. Covered/enclosed exercise areas in facilities where less
           than one hundred (100) inmates utilize one recreation area shall have fifteen (15) square
           feet per inmate for the maximum number of inmates expected to use the space at one
           time, but not less than five hundred (500) square feet of unencumbered space.

           Applies to Type I.

    (15)   Facilities shall have space where a physician may conduct sick call, examine patients in
           privacy and render routine medical treatment.

           Applies to Types I, II, and III.

   (16)    Facilities shall have a secure control center, manned twenty-four (24) hours per day,
           through which telephone and other communications are channeled. The location of the
           control center shall provide good visibility or be equipped with a monitoring device. The
           control center shall monitor the operation of various systems, including fire alarm, smoke
           and thermal detection, public address, radio and other mechanical and electrical systems
           as warranted.

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           Applies to Types I, II, and III.

    (17)   Access to potable water shall be located in all housing areas. In existing facilities, if the
           water from washbasins is potable, drinking cups must be made available.

           Applies to Types I, II, and III.

   (18)    Facilities shall have an emergency power source of sufficient capacity to operate security
           and evacuation electrical devices and equipment and to provide minimum lighting within
           the facility and its perimeter at times of power failure. The power source shall be
           checked for functional readiness quarterly and the dates logged.

           Applies to Types I, II, and III.

   (19)    Facilities shall provide that any electric locks have the capability for manual operation.

           Applies to Types I, II, and III.

    (20)   Facilities shall have exit signs at each exit which are distinctly marked and continuously
           illuminated. Exits shall be kept clear and in usable condition to insure the timely
           evacuation of inmates and staff in the event of fire or other emergency.

           Applies to Types I, II, and III.

   (21)    Facilities shall have documentation of compliance with applicable sanitation and fire
           safety standards.

           Applies to Types I, II, and III.

   (22)    All kitchens, dining rooms, multiple toilet areas and corridors shall contain operable floor
           drains.

           Applies to Types I, II, and III.

   (23)    Facilities shall have cells to accommodate the facility's classification plan. Facilities that
           house males and females, and juveniles and adults shall have provisions to separate
           accordingly. Such provisions shall not allow physical contact or sight and sound
           communication. Provisions shall also be made to separate minimum, medium, and
           maximum security inmates.

           Applies to Types I, II, and III.

    (24)   Plans for any new facility to be built and for any existing facility to be renovated shall be
           in compliance with minimum standards recorded herein and be submitted to the
           Tennessee Corrections Institute for review and the State Fire Marshal's Office for review
           and approval pursuant to Tenn. Comp. R. & Regs 0780-02-03.

           Plans for the construction of any new facility and the renovation of any existing facility
           shall state whether the facility’s function will be for temporary holding or for permanent
           confinement of inmates. The facility’s primary function may encompass both of these
           functions.

           A plan for operating the facility shall be developed in the initial stages of planning the
           facility so that the facility can be designed around the operating plan, rather than the


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                reverse. This approach will contribute to the simplification of design and effective use of
                operating controls.

                Applies to Types I, II, and III.

      (25)      Any temporary inmate housing shall meet all standards for existing facilities. Temporary
                housing for inmates shall not be in use for more than eighteen (18) months unless an
                extension is approved by the Tennessee Corrections Institute Board of Control.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.

1400-01-.05 Administration/Management.

      (1)       Facilities shall maintain fiscal records which clearly indicate the total cost for operating
                the facility according to generally accepted accounting principles. Such records shall
                have an itemized breakdown of the total operating expenses, such as wages and
                salaries, food, and operating supplies.

                Applies to Types I, II, and III.

      (2)       Facilities shall maintain written policies and procedures governing the facility’s
                operations. The policies and procedures shall be reviewed at least annually and updated
                as needed. These policies and procedures shall be approved by the sheriff, chief, or
                warden and shall be made available to all facility employees.

                Applies to Types I, II, and III.

      (3)       Facilities shall maintain written plans developed in advance for dealing with emergencies
                such as escape, inmate disturbances, assaults on facility employees, hostage taking, and
                emergency evacuation plans. The written plans shall be incorporated into the facility's
                manual. Each facility employee shall be familiar with these plans.

                Applies to Types I, II, and III.

      (4)       Facilities shall maintain a written policy and procedure to provide for fire drills every three
                (3) months for all staff members on every shift and document dates of said drills.

                Applies to Types I, II, and III.

      (5)       Facility administrators shall develop a list of articles and materials that shall be allowed in
                the cell area. Inmates shall be informed of this list upon admission.

                Applies to Types I and II.

      (6)       Facilities shall have a written and graphic evacuation plan posted in the housing area, as
                well as any other specified locations. The plan shall be approved by a contractor or local
                fire inspector trained in the application of fire safety codes and shall be reviewed
                annually.

                Applies to Types I, II, and III.

      (7)       Written policy and procedure shall ensure that inmates shall not be subjected to
                discrimination based on race, national origin, color, creed, sex, economic status or


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              political belief. When both males and females are housed in the same facility, available
              services and programs shall be comparable.

              Applies to Types I and II.

    (8)       A facility preventative maintenance program shall be in place. All equipment shall be in
              working order. Safety and security equipment shall be repaired or replaced without undue
              delay. The use of padlocks and/or chains to secure inmate cells or housing area doors is
              prohibited.

              Applies to Types, I, II, and III.

    (9)       Each facility relying on regular access to additional living space to comply with minimum
              cell size requirements under Tenn. Comp. R. & Regs. 1400-01-.04 shall maintain a
              written policy regarding the number of hours of access to additional living space outside
              an inmate’s cell that inmates will be allowed. This policy should take into consideration
              any relevant factors regarding inmates, including but not limited to inmate classifications.
              Records shall be maintained on the number of hours per day inmates have access to
              additional living areas in such facilities.

              Applies to Types I and II.

    (10)      Facilities shall provide an inmate grievance procedure to all inmates. The grievance
              procedure must include at least one (1) level of appeal.

              Applies to Types I, II, and III.

  Authority: T.C.A. § 41-4-140.




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1400-01-.06 Personnel.


     (1)       A criminal record check shall be conducted on all new facility employees, service providers with
               continuous access to restricted areas, contractors, and volunteers prior to their assuming duties
               to identify if there are criminal convictions that have a specific relationship to job performance.
               This criminal record check includes comprehensive identifier information to be collected and run
               against law enforcement indices. If suspect information on matter with potential terrorism
               connections is returned on the person, this information shall be forwarded to the local Joint
               Terrorism Task Force (JTTF) or other similar agency.

               Applies to Types I, II, and III.

     (2)       Facilities shall develop a personnel policy manual made available to each employee, and which
               provides information on the following subjects:

               (a)         Description of organizational structure;

               (b)         Position descriptions;

               (c)         Personnel rules and regulations;

               (d)         Recruitment procedures;

               (e)         Equal employment opportunity provisions;

               (f)         Work hours;

               (g)         Personnel records;

               (h)         Employee evaluation;

               (i)         In-Service training;

               (j)         Hostage policy; and,

               (k)         Use of force.

               Applies to Type I.

     (3)       Prior to assuming duties, all detention facility employees, support employees and non-facility
               support staff shall receive orientation training regarding the functions and mission of the facility
               under the supervision of a qualified detention officer. This training may be accomplished through
               classroom instruction, supervised on-the-job training, an individual review of policies and
               procedures, or any combination of the three and shall include:

                     (a)   Facility policies and procedures;

                     (b)   Suicide prevention;

                     (c)   Use-of-force;

                     (d)   Report writing;

                     (e)   Inmate rules and regulations;

                     (f)   Key control;

                     (g)   Emergency plans and procedures;
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             (h)    Cultural diversity;

             (i)    Communication skills; and,

             (j)    Sexual misconduct.

           Applies to Types I, II, and III.

   (4)     A Facility Training Officer (FTO) shall coordinate the staff development and training program.
           This person shall have specialized training for that position (assigned as a primary or additional
           duty). The FTO shall complete the Training the Trainer (3T) course and attend the annual FTO
           Conference conducted by the Tennessee Corrections Institute.

           Applies to Types I, II, and III.

    (5)    All support employees who have minimal inmate contact shall receive at least sixteen (16) hours
           of facility training during their first year of employment. All employees in this category shall
           receive an additional sixteen (16) hours of facility training each subsequent year of employment.

           Applies to Types I, II, and III.

    (6)    All non-facility support staff who have regular or daily inmate contact, shall receive a minimum of
           four (4) hours continuing annual training, which may include:

             (a)    Security procedures and regulations;

             (b)    Supervision of inmates;

             (c)    Signs of suicide risk;

             (d)    Suicide precautions;

             (e)    Use-of-force regulations and tactics;

             (f)    Report writing;

             (g)    Inmate rules and regulations;

             (h)    Key control;

             (i)    Rights and responsibilities of inmates;

             (j)    Safety procedures;

             (k)    All emergency plans and procedures;

             (l)    Interpersonal relations;

             (m)    Social/cultural lifestyles of the inmate population;

             (n)    Cultural diversity;

             (o)    CPR/first aid;

             (p)    Counseling techniques;

             (q)    Sexual harassment/sexual misconduct awareness;

             (r)    Purpose, goals, policies, and procedures for the facility and the parent agency;
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                  (s)    Security and contraband regulations;

                  (t)    Appropriate conduct with inmates;

                  (u)    Responsibilities and rights of employees;

                  (v)    Universal precautions;

                  (w)    Occupational exposure;

                  (x)    Personal protective equipment;

                  (y)    Bio-hazardous waste disposal; and,

                  (z)    Overview of the correctional field.

                Applies to Types I, II, and III

      (7)       All detention facility employees, including part-time employees, whose primary duties include the
                industry, custody, or treatment of inmates shall be required during the first year of employment to
                complete a basic training program consisting of a minimum of forty (40) hours and provided or
                approved by the Tennessee Corrections Institute.

                Applies to Types I, II, and III.

      (8)       All detention facilities employees, including part-time employees, whose primary duties include
                the industry, custody, or treatment of inmates shall be required to complete an annual in-service
                program designed to instruct them in specific skill areas of facility operations. This annual in-
                service shall consist of forty (40) hours with at least sixteen (16) of these hours provided or
                approved by the Tennessee Corrections Institute. The remaining twenty-four (24) hours may be
                provided by the facility if course content is approved and monitored by the Tennessee
                Corrections Institute.

                Applies to Types I, II, and III.

      (9)       A minimum number of hours of training and any additional courses for basic and in-service
                training shall be in compliance with the requirements established by the Tennessee Corrections
                Institute Board of Control.

                Applies to Types I, II, and III.

      (10)      All facility employees who are authorized to use firearms and less lethal weapons shall receive
                basic and ongoing in-service training in the use of these weapons. Training shall include
                decontamination procedures for individuals exposed to chemical agents. All such training shall be
                recorded with the dates completed and kept in the employee's personnel file.

                Applies to Types I and II.

      (11)      Facilities shall maintain records on the types and hours of training completed by each correctional
                employee, support employee and non-facility support staff.

                Applies to Types I, II, and III.



Authority: T.C.A. § 41-4-140.




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1400-01-.07 Security.

     (1)       Each newly admitted inmate shall be thoroughly searched for weapons and other contraband
               immediately upon arrival in the facility, regardless of whether the arresting officer previously
               conducted a search.

               Applies to Types I and II.

     (2)       A record shall be maintained on a search administered to a newly admitted inmate.

               Applies to Types I and II.

     (3)       Facilities shall maintain policy and procedures to require that all inmates, including trusties, shall
               be searched thoroughly by detention officers when the inmates enter and leave the security area.

               Applies to Type I.

      (4)      Facilities shall maintain a written policy and procedure to provide for searches of the facilities and
               inmates to control contraband.

               Applies to Type I.

     (5)       Procedure shall differentiate between the searches allowed (orifice, pat, or strip) and identify
               when these shall occur and by whom such searches may be conducted. All orifice searches shall
               be done under medical supervision. Inmates shall be searched by facility employees of the same
               sex, except in emergency situations.

               Applies to Types I,II, and III.

     (6)       Facilities shall maintain a written policy and procedure for key control, including the inventory and
               use of keys, and the operator of the control center shall have knowledge of who has the keys in
               use and the location of duplicate keys. All day-to-day operations shall be centralized and
               controlled through the control center.

               Applies to Types I.

     (7)       There shall be one (1) full set of well-identified keys, other than those in use, secured in a place
               accessible only to facility personnel for use in the event of an emergency. These keys shall be
               easily identifiable by sight and touch under adverse conditions.

               Applies to Types I.

      (8)      Written policy and procedures shall govern the availability, control, inventory, storage, and use of
               firearms, less-lethal weapons, and related security devices, and specify the level of authority
               required for their access and use. Chemical agents and electrical disablers shall be used only
               with the authorization of the facility administrator or designee. Access to storage areas shall be
               restricted to authorized facility employees and the storage space shall be located in an area
               separate from and apart from inmate housing or activity areas. A written report shall be submitted
               to the facility administrator when such weapons are used.

               Applies to Types I, II, and III.

     (9)       Facilities shall develop a written policy and procedure to require that firearms, chemical agents,
               and related security and emergency equipment are inventoried and tested at least quarterly to
               determine the condition and expiration dates. This written policy and procedure shall provide for
               regular inspection of ABC type fire extinguishers, smoke detectors, and other detection and
               suppression systems.

               Applies to Types I, II, and III.

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    (10)   All tools, toxic, corrosive and flammable substances and other potentially dangerous supplies and
           equipment shall be stored in a locked area which is secure and located outside the security
           perimeter of the confinement area. Tools, supplies and equipment which are particularly
           hazardous shall be used by inmates only under direct supervision.

           Applies to Types I and II.

   (11)    Facilities shall develop a written policy and procedure to require at least weekly inspection of all
           security facilities and documentation of the dates of inspections.

           Applies to Types I and II.

   (12)    Facilities shall develop a written policy and procedure to provide for continuous inspection,
           inventory, and maintenance of all locks, tools, kitchen utensils, toxic, corrosive, and flammable
           substances and other potentially dangerous supplies and equipment.

           Applies to Type I.

   (13)    Facilities shall develop a written plan that provides for continuing operations in the event of a
           work stoppage or other job action. Copies of this plan shall be available to all supervisory
           personnel who are required to familiarize themselves with it.

           Applies to Type I.

    (14)   Detention officer posts shall be located in close proximity to inmate living areas to permit officers
           to see or hear and respond promptly to emergency situations. There shall be written orders for
           every detention officer duty and post.

           Applies to Types I, II, and III.

    (15)   The facility administrator or designee shall visit the facility’s living and activity areas at least
           weekly.

           Applies to Types I, II, and III.

    (16)   The facility perimeter shall ensure that inmates are secured and that access by the general public
           is denied without proper authorization.

           Applies to Types I, II, and III.

    (17)   All inmate movement from one area to another shall be controlled by facility employees.

           Applies to Types I, II, and III.

    (18)   Facility employees shall maintain a permanent log and prepare shift reports that record routine
           information, emergency situations, and unusual incidents.

           Applies to Types I, II, and III.

    (19)   Facilities shall have sufficient staff, including designated supervisor, to provide, at all times, the
           performance of functions relating to the security, custody, and supervision of inmates as needed
           to operate the facility in conformance with the standards.

           Applies to Types I, II, and III.

    (20)   Restraint devices shall never be applied as punishment. Facilities shall define circumstances
           under which supervisory approval is needed prior to application.

           Applies to Types I, II, and III.

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      (21)      Four/five-point restraints shall be used only in extreme instances and only when other types of
                restraints have proven ineffective. Advance approval shall be secured from the facility
                administrator/ designee before an inmate is placed in a four/five-point restraint. Subsequently, the
                health authority or designee shall be notified to assess the inmate’s medical and mental health
                condition, and to advise whether, on the basis of serious danger to self or others, the inmate
                should be in a medical/mental health unit for emergency involuntary treatment with sedation
                and/or other medical management, as appropriate. If the inmate is not transferred to a
                medical/mental health unit and is restrained in a four/five-point restraint, the following minimum
                procedures shall be followed:

                (a)      Continuous direct visual observation by facility employees prior to an assessment by the
                         health authority or designee;

                (b)      Subsequent visual observation is made at least every fifteen (15) minutes;

                (c)      Restraint procedures are in accordance with guidelines approved by the designated
                         health authority; and

                (d)      Documentation of all decisions and actions.

                Applies to Types I, II, and III.

      (22)      The use of firearms shall comply with the following requirements:

                (a)      A written policy and procedure that governs the availability, control, and use of chemical
                         agents and firearms;

                (b)      Firearms, chemical agents, and related security and emergency equipment are
                         inventoried and tested at least quarterly;

                (c)      Weapons are subjected to stringent safety regulations and inspections;

                (d)      A secure weapons locker is located outside the secure perimeter of the facility;

                (e)      Except in emergency situations, firearms and authorized weapons are permitted only in
                         designated areas to which inmates have no access;

                (f)      Facility employees supervising inmates outside the facility perimeter follow procedures
                         for the security of weapons;

                (g)      Facility employees are instructed to use deadly force only after other actions have been
                         tried and found ineffective, unless the employee believes that a person’s life is
                         immediately threatened;

                (h)      Facility employees on duty use only firearms or other security equipment that has been
                         approved by the facility administrator;

                (i)      Appropriate equipment is provided to facilitate safe unloading and loading of firearms;
                         and,

                (j)      A written report shall be submitted to the facility administrator when such weapons are
                         used.

                Applies to Types I, II, and III.


Authority: T.C.A. § 41-4-140.




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1400-01-.08 Discipline.

      (1)       Facilities shall maintain policies and procedures to insure that written or electronic facility rules
                along with the corresponding range of sanctions for rule violations and disciplinary procedures to
                be followed shall be provided to each inmate during the booking process prior to being placed
                into the general population. A record shall be maintained of this transaction. Socially, mentally,
                or physically impaired inmates shall be assisted by facility employees in understanding the rules.
                The rules and regulations shall be available for viewing during confinement and shall be
                translated into those languages spoken by a significant number of inmates.

                Applies to Type I.

      (2)       Disciplinary reports shall be prepared by facility employees and must include, but are not limited
                to, the following information:

                (a)       Names of persons involved;

                (b)       Description of the incident;

                (c)       Specific rule(s) violated;

                (d)       Employee or inmate witnesses;

                (e)       Any immediate action taken, including use of force; and,

                (f)       Reporting staff member's signature, date and time report is made.

                Applies to Type I.

      (3)       Facilities shall maintain written policies and procedures governing disciplinary actions,
                administrative actions, and criminal offenses. Each county is required by T.C.A § 41-2-111 to
                have a disciplinary review board.

                Applies to Type I.

      (4)       Facilities shall maintain written policies and procedures to provide for disciplinary hearings to be
                held in cases of alleged violations of inmate conduct rules. Hearings shall include the following
                administrative due process guarantees:

                (a)       Inmates shall receive written notice of charges and time of hearing;

                (b)       The inmate shall be allowed time, not less than twenty-four (24) hours, to prepare for
                          appearance before an impartial officer or board;

                (c)       The inmate shall have the right to call and cross examine witnesses and present
                          evidence in his own defense, when permitting him to do so will not be unduly hazardous
                          to institutional safety or correctional goals;

                (d)       An inmate may be excluded during testimony. An inmate’s absence or exclusion shall be
                          documented;

                (e)       The reasons for any limitations placed on testimony or witnesses shall be stated in writing
                          by the hearing officer;

                (f)       There must be a written statement by the fact finders to include, at a minimum, evidence
                          relied on and reasons for the disciplinary action; and,

                (g)       Appeals process is available.

                Applies to Type I.
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      (5)       Facilities shall maintain a written policy and procedure to allow inmates to receive a hearing prior
                to segregation, except in cases where the security of the facility is threatened, as determined by
                the facility administrator or his/her designee.

                Applies to Type I.

      (6)       For segregated inmates, a disciplinary hearing must be held within seventy-two (72) hours of
                placement in segregation, excluding holidays, weekends and emergencies, and for other inmates,
                a disciplinary hearing must be held within seven (7) days of the write-up.

                Applies to Type I.

      (7)       The facility shall give the inmate a copy of the disciplinary decision and the facility shall keep a
                copy of the disciplinary decision in the inmate’s record.

                Applies to Type I.

      (8)       Facilities shall maintain a written policy and procedure to provide that the disciplinary reports are
                removed from all files on inmates found not guilty of an alleged violation.

                Applies to Type I.

      (9)       Corporal punishment is not permitted under any circumstance in a disciplinary proceeding.

                Applies to Types I, II, and III.

      (10)      Use of physical force may be used when authorized and shall be thoroughly documented with
                detailed account of who was involved, the force that was used, and justification for its use. This
                report shall be submitted to the facility administrator. Force may be used to:

                (a)      Overcome resistance;

                (b)      Repel aggression;

                (c)      Protect life; and,

                (d)      Retake inmate or property.

                Applies to Type I.

Authority: T.C.A. § 41-4-140.

1400-01-.09 Sanitation/Maintenance.

      (1)       Facilities shall be clean and in good repair. Floors throughout the facility shall be kept clean, dry,
                and free of any hazardous materials or substance.

                Applies to Types I, II, and III.

      (2)       A facility employee shall make daily sanitation and safety inspections. Dates of inspections shall
                be recorded and conditions noted. Any maintenance problems shall be recorded on a regular
                maintenance report.

                Applies to Type I.

      (3)       Facilities shall provide for regularly scheduled disposal of liquid, solid, and hazardous material
                complying with applicable government regulations.


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                Applies to Type I.

      (4)       Facilities shall provide for control of vermin and pests and shall remove inmates from treatment
                areas if there is a risk of illness.

                Applies to Types I, II, and III.

      (5)       Inmate housing area walls shall be kept clean and free of pictures or other objects which provide
                hiding places for vermin or create a fire hazard.

                Applies to Type I.

      (6)       All walls, ceilings, floors, showers, and toilets shall be kept free from mold and mildew.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.

1400-01-.10 Food Services.

      (1)       Food service guidelines and a menu pattern approved by a dietician, at least annually, shall be
                used by each facility in the preparation of meals. Menu evaluations shall be conducted, at least
                quarterly, by food service supervisory staff to verify adherence to the established basic dietary
                servings.

                Applies to Type I.

      (2)       Working inmates shall receive at least three (3) meals every twenty-four (24) hours with no more
                than fourteen (14) hours between any two (2) meals. At least two (2) of these meals shall be hot.
                Non-working inmates shall receive at least two (2) meals every twenty-four (24) hours with no
                more than fourteen (14) hours between any two (2) meals. Variations may be allowed based on
                weekend and holiday food service demands, as long as basic nutritional goals are met.

                Applies to Type I.

      (3)       All meals shall be prepared (except when catered) and served under the direct supervision of
                staff.

                Applies to Types I, II, and III.

      (4)       Inmates involved in the preparation of the food shall receive an agency-approved pre-assignment
                medical screening to ensure freedom from illness transmittable by food or utensils. Facilities shall
                have a policy to insure those currently assigned to food service preparation duties who are
                identified by food service staff as having an illness or infection shall be removed from those
                duties.

                Applies to Types I, II, and III.

      (5)       Written policy and procedure shall require that accurate records are maintained on the number of
                meals served per day, the actual food served, and meal schedule.

                Applies to Type I.

      (6)       Facilities shall inspect all food service areas on a weekly basis, including dining and food
                preparation areas and equipment by administrative, medical, or food service personnel.

                Applies to Types I, II, and III.

      (7)       Written policy shall require that food shall never be used as a reward or disciplinary measure.

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                Applies to Types I and II.

      (8)       Modified diets shall be prepared for inmates when requested by medical staff or by a physician's
                order, and all reasonable efforts shall be made to accommodate dietary needs of a religion.

                Applies to Types I and II.

      (9)       Shelf goods shall be maintained between forty-five (45) degrees and eighty (80) degrees
                Fahrenheit; refrigerated foods between thirty-five (35) degrees and forty (40) degrees Fahrenheit;
                and frozen foods at zero (0) degrees Fahrenheit or below.

                Applies to Types I, II, and III.

      (10)      The preparation or storage of open food, other than a reasonable amount of commissary food,
                shall not be permissible in the immediate housing area.

                Applies to Types I, II, and III.

      (11)      Refrigerators shall be clean and contain a thermometer.

                Applies to Types I, II, and III.

      (12)      All food products shall be stored at least six (6) to eight (8) inches off the floor on shelves or in
                shatter-proof containers with tight fitting lids.

                Applies to Types I, II, and III.

      (13)      Insecticide, cleaning agents and poisonous substances shall be plainly labeled and stored away
                from food.

                Applies to Types I, II, and III.

      (14)      Culinary equipment (knives and other sharp instruments) shall be securely stored, inventoried
                and their use controlled.

                Applies to Types I, II, and III.

      (15)      Stoves shall be equipped with operable hooded exhaust systems and the filters shall be kept
                clean.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.

1400-01-.11 Mail and Visiting.

      (1)       Facilities shall maintain a written policy outlining the facility's procedures governing inmate mail.

                Applies to Type I.

      (2)       Facilities shall develop a written policy governing the censoring of mail. Any regulation for
                censorship must meet the following criteria:

                (a)      The regulation must further an important and substantial governmental interest unrelated
                         to the suppression of expression (e.g., detecting escape plans which constitute a threat
                         to facility security and/or the well-being of employees and/or inmates); and,




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                (b)     The limitation must be no greater than is necessary for the protection of the particular
                        governmental interest involved.

                Applies to Type I.

      (3)       Both incoming and outgoing mail shall be inspected for contraband items prior to delivery, unless
                received from the courts, attorney of record, or public officials, where the mail shall be opened in
                the presence of the inmate.

                Applies to Type I.

      (4)       Outgoing mail shall be collected and incoming mail shall be delivered without unnecessary delay.

                Applies to Type I.

      (5)       An inmate shall be notified if a letter addressed to the inmate or written by the inmate is rejected.
                If the inmate wrote the rejected letter, the inmate must be given a reasonable opportunity to
                protest the rejection.

                Applies to Type I.

      (6)       Written policy and procedure shall provide that the facility permits postage for two (2) free
                personal letters per week for inmates who have less than two dollars ($2.00) in their account.
                Facilities shall also provide postage for all legal or official mail.

                Applies to Type I.

      (7)       Facilities shall maintain a written policy to define the facility's visitation policies which shall
                include, at a minimum:

                (a)     One (1) hour of visitation each week for each inmate;

                (b)     A list of possible visitors submitted by each inmate;

                (c)     Children shall be allowed to visit their parents;

                (d)     Visitors shall register before admission and may be denied admission for refusal to
                        register, for refusal to consent to search, or for any violation of posted institutional rules;
                        and,

                (e)     Probable cause shall be established in order to perform a strip or body cavity search of a
                        visitor. When probable cause exists, the search shall be documented.

                Applies to Type I.

Authority: T.C.A. § 41-4-140.

1400-01-.12 Inmate Programs And Activities.

      (1)       Library services shall be made available to all inmates.

                Applies to Type I.

      (2)       Inmates shall have access to exercise and recreation opportunities. A written plan shall provide
                that all inmates have the opportunity to participate in an average of one (1) hour of physical
                exercise per day outside the cell. Outdoor recreation may be available when weather and staffing
                permit.



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           Applies to Type I.

    (3)    Written policy and procedure requires that the facility shall provide for inmates to voluntarily
           participate in religious activity at least once each week.

           Applies to Type I.

    (4)    Policy and procedure shall provide that the inmates have reasonable access to a telephone.
           Telephone procedure, including any limitations, shall be in writing and posted so as to be
           conspicuous to inmates. The procedure shall include, at a minimum:

           (a)      The hours during which such access shall generally be provided;

           (b)      A statement regarding the privacy of telephone communication; and,

           (c)      Inmates with hearing and/or speech disabilities shall be afforded access to a
                    Telecommunications Device for the Deaf (TDD), or comparable equipment. Public
                    telephones with volume control shall be made available to inmates with a hearing
                    impairment. Information regarding the availability of TDD communication devices shall be
                    posted. Inmates with hearing and/or speech impairments shall be afforded access
                    similar to those inmates without impairments.

           Applies to Types I, II, and III.

    (5)    Release programs shall require:

           (a)      Written operational procedures;

           (b)      Careful screening and selection procedures;

           (c)      Written rules of inmate conduct;

           (d)      A system of supervision to minimize inmate abuse of program privileges;

           (e)      A complete record-keeping system;

           (f)      A system for evaluating program effectiveness; and,

           (g)      Efforts to obtain community cooperation and support.

           Applies to Type I.

   (6)     Written policy shall provide that inmates be allowed to have confidential access to attorneys and
           their authorized representatives at any reasonable hour.

           Applies to Types I, II, and III.

   (7)     Inmates shall have unrestricted and confidential access to the courts. Inmates shall have the
           right to present any issue before a court of law or governmental agency. The facility shall
           establish reasonable hours during which attorneys may visit and/ or telephonically communicate.
           Inmates shall have access to legal materials.

           Applies to Types I, II, and III.

   (8)     Written policy shall provide that pretrial detainees shall not be required to work, except to do
           personal housekeeping.

           Applies to Types I and II.


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      (9)       Foreign nationals shall have access to the diplomatic representatives of their country of
                citizenship through the State Department consular notification protocols and contact information.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.

1400-01-.13 Medical Services.

      (1)       The provision of medical services for the facility shall be the responsibility of a designated
                health authority such as a hospital, clinic, or physician. There shall be an agreement
                between the governmental funding agency responsible for the facility and the
                hospital/clinic/physician responsible for such services. The designated health authority must be
                notified in instances where an inmate may be in need of medical treatment and the facility
                shall document this notification. The health authority shall meet with the Sheriff and/ or facility
                administrator at least annually.

                Applies to Types I, II, and III.

      (2)       Medical decisions are the sole province of the responsible health care provider and shall not be
                countermanded by non-medical personnel.

                Applies to Types I, II, and III.

      (3)       All health care professional staff shall comply with applicable state and federal licensure,
                certification, or registration requirements. Verification of current credentials shall be available
                upon request from the provider. Health care staff shall work in accordance with profession-
                specific job descriptions approved by the health authority. If inmates are assessed or treated by
                non-licensed health care personnel, the care shall be provided pursuant to written standing or
                direct orders by personnel authorized to give such orders.

                Applies to Type I, II, and III.

      (4)       Continuity of care is required from admission to transfer or discharge from the facility, including
                referral to community-based providers, when indicated. When health care is transferred to
                providers in the community, appropriate information shall be shared with the new providers in
                accordance with consent requirements. Prior to release from custody or transfer, inmates with
                known serious health conditions shall be referred to available community resources by the
                facility’s health care provider currently providing treatment.

                Applies to Types I, II, and III.

      (5)       Written policy and procedure shall prohibit inmates from performing patient care services,
                scheduling health care appointments or having access to medications, health records or medical
                supplies and equipment.

                Applies to Type I.

      (6)       First aid kits shall be available and a physician shall approve the number, contents, and location
                of such kits on an annual basis. Documentation of such approval must be in the facility's
                permanent records or attached to the kit itself.

                Applies to Types I, II, and III.

      (7)       Receiving screening shall be performed on all inmates upon admission to the facility and before
                placement in the general housing area. The findings shall be recorded on a printed screening
                form. The officer performing this duty shall check for:

                (a)      A serious illness;

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           (b)      A comatose state;

           (c)      Obvious wounds;

           (d)      Prescribed medications; and,

           (e)      Suicide risk assessment, including suicidal ideation or history of suicidal behavior or other
                    mental health illness.

           Applies to Types I, II, and III.

    (8)    A more complete examination shall be completed on inmates within fourteen (14) days of the
           inmate’s initial confinement date. If the facility can document that a health appraisal was
           conducted within the previous ninety (90) days, this fourteen (14)-day physical is not required
           unless medical conditions dictate otherwise. This examination shall be performed by a physician
           or a person who has been designated by a physician as capable of performing such examination.
           If a designee performs the examination, he/she must do so under supervision of a physician and
           with a protocol or set of instructions and guidelines from the physician. This examination shall
           include:

           (a)      Inquiry into current illness and health problems, including those specific to women;

           (b)      Inquiry into medications taken and special health requirements;

           (c)      Screening of other health problems designated by the responsible physician;

           (d)      Behavioral observation, including state of consciousness and mental status;

           (e)      Notification of body deformities, trauma markings, bruises, lesions, jaundice, ease of
                    movement, etc.;

           (f)      Condition of skin and body orifices, including rashes and infestations;

           (g)      Disposition/referral of inmates to qualified medical personnel on an emergency basis;

           (h)      A review of the initial intake receiving screening; and,

           (i)      An individual treatment plan as appropriate.

           Applies to Type I.

   (9)     All intersystem transfer inmates (transferred from one confinement facility to another
           within the same county’s jurisdiction) shall receive a health screening by trained
           or qualified health care personnel, which commences on their arrival at the facility. All
           findings are recorded on a screening form approved by the health authority. At a minimum, the
           screening includes the following:

           (a)      A review of the inmate’s medical, dental, and mental health problems;

           (b)      Current medications; and,

           (c)      Current treatment plan.

           Applies to Types I, II, and III.

   (10)    Sick call, conducted by a physician or other person designated by a physician as capable of
           performing such duty, shall be available to each inmate according to written procedure for sick
           call. The inmate shall be informed of these procedures, including any copayment requirements,

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           as well as procedures for submitting grievances, upon admission.

           Applies to Types I, II, and III.

    (11)   Inmates shall have access to mental health services as clinically warranted in accordance with
           protocols established by the health authority that include:

           (a)      Screening for mental health problems;

           (b)      Referral to outpatient services, including psychiatric care;

           (c)      Crisis intervention and management of acute psychiatric episodes;

           (d)      Stabilization of the mentally ill and prevention of psychiatric deterioration in the facility;

           (e)      Referral and admission to inpatient facilities; and,

           (f)      Informed consent for treatment.

           Applies to Types I, II, and III.

    (12)   A suicide prevention program shall be approved by the health authority and reviewed by the
           facility administrator. The program must include specific procedures for handling intake,
           screening, identifying, and continually supervising the suicide-prone inmate. All facility
           employees responsible for supervising suicide-prone inmates shall be trained annually on
           program expectations.

           Applies to Types I, II, and III.

   (13)    At least one (1) person per shift, assigned to work at the facility, shall be trained in First Aid/CPR,
           as defined by the American Red Cross, and CPR, as defined by the American Heart Association.
           Training shall also cover:

           (a)      Awareness of potential emergency situations;

           (b)      Transfer to appropriate health care provider;

           (c)      Recognition of symptoms of illness most common to the facility; and,

           (d)      Giving of medication to inmates.

           In addition, the health authority shall approve policies and procedures that insure that emergency
           supplies and equipment are readily available and in working order.

           Applies to Types I, II, and III.

   (14)    Detoxification from alcohol, opiates, hypnotics, and other stimulants shall be conducted under
           medical supervision in accordance with local, state, and federal laws. When performed at the
           facility, detoxification shall be prescribed in accordance with clinical protocols approved by the
           health authority. Specific criteria shall be established for referring symptomatic inmates suffering
           from withdrawal or intoxication for more specialized care at a hospital or detoxification center.

           Applies to Types I, II, and III.

   (15)    Facilities shall provide dental treatments, not limited to extractions, when the health of the inmate
           would otherwise be adversely affected during confinement, as determined by a physician or
           dentist.

           Applies to Type I.

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   (16)    Facilities shall confiscate all medications in the possession of an inmate at the time of admission
           to the facility. The identification of and the need for such medication shall be verified by a
           physician or qualified health care personnel before it is administered.

           Applies to Types I, II, and III.

    (17)   Medications issued to inmates shall be strictly controlled and shall be kept in a secure place
           within the administrative or medical offices in the facility.

           Applies to Types I and II.

   (18)    All medications shall be prescribed by a physician or his designee at the time of use. An officer or
           qualified health care personnel shall verify that the medication is taken as directed and a
           medication receipt system established. This shall include controlled drugs and injections.

           Applies to Types I and II.

   (19)    Medical and mental health records on the inmate’s physical condition on admission, during
           confinement, and at discharge shall be kept in a separate file from the inmate’s other facility
           records. The medical record shall indicate all medical orders issued by the facility’s physician
           and/or any other health care personnel who are responsible for rendering health care services.
           These medical records shall be retained for a period of ten (10) years after the inmate’s release.

           Applies to Types I, II, and III.

    (20)   Informed consent standards of the jurisdiction shall be observed and documented for inmate care
           in a language understood by the inmate. In the case of minors, the informed consent of a parent,
           guardian, or a legal custodian applies when required by law. Inmates routinely have the right to
           refuse medical interventions. When health care is rendered against the inmate’s will, it shall be in
           accordance with state and federal laws and regulations.

           Applies to Types I, II, and III.

    (21)   Involuntary administration of psychotropic medication(s) to inmates shall be authorized by a
           physician and provided in accordance with policies and procedures approved by the health
           authority, and in accordance with applicable laws and regulations of the jurisdiction.

           Applies to Types I, II, and III.

    (22)   The use of inmates in medical, pharmaceutical, or cosmetic experiments is prohibited. This does
           not preclude inmate access to investigational medications on a case-by-case basis for
           therapeutic purposes in accordance with state and federal regulations.

           Applies to Types I, II, and III.

    (23)   In case of medical emergencies, there shall be specific information readily accessible to all
           employees, such as telephone numbers and names of persons to be contacted, so that
           professional medical care can be received. There shall also be available the names and
           telephone numbers of persons to contact in case of death.

           Applies to Types I, II, and III.

    (24)   Inmates suffering from communicable diseases and those who are sick but do not require
           hospitalization shall be housed separate from other inmates as recommended by health care
           authorities.

           Applies to Types I, II, and III.

   (25)    When an inmate is placed in segregation for health concerns, health care personnel shall

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                be informed as soon as practical and provide assessment and review as indicated by the
                protocols established by the health authority.

                Applies to Types I and II.

      (26)      Medical/dental instruments and supplies (syringes, needles, and other sharp instruments) shall
                be inventoried, securely stored, and use shall be controlled.

                Applies to Types I and II.

      (27)      Pregnant inmates shall have access to obstetrical services (prenatal, partum, and post-partum
                care) by a qualified health care provider.

                Applies to Types I and II.

      (28)      Inmates with chronic medical conditions, such as diabetes, hypertension, and mental illness shall
                receive periodic care by a qualified health care provider in accordance with individual treatment
                plans that include monitoring of medications and laboratory testing.

                Applies to Types I, II, and III.

      (29)      Information shall be provided to inmates about sexual abuse/assault including:

                (a)      Prevention/ intervention;

                (b)      Self-protection;

                (c)      Reporting sexual abuse/assault; and,

                (d)      Treatment and counseling.

                This information shall be communicated in writing or electronically, in a language clearly
                understood by the inmate, upon arrival at the facility.

                Applies to Types I, II, and III.

      (30)      Sexual conduct between facility employees, volunteers or contract personnel and inmates is
                prohibited and subject to administrative, disciplinary and criminal sanctions. The prohibition
                applies regardless of consent.

                Applies to Types I, II, and III.

      (31)      The health authority shall develop and approve protocols for identifying and evaluating major risk
                management events related to inmate health care, including inmate deaths, preventable adverse
                outcomes, and serious medication errors.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.


1400-01-.14 Admission, Records And Release.

      (1)       An intake form shall be completed for every inmate, except detainees, admitted to the facility and
                shall contain the following information, unless otherwise prohibited by statute:

                (a)      Picture;
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           (b)    Booking number;

           (c)    Date and time of intake;

           (d)    Name and aliases of person;

           (e)    Last known address;

           (f)    Date and time of commitment and authority therefore;

           (g)    Names, title, signature and authority therefore;

           (h)    Specific charge(s);

           (i)    Sex;

           (j)    Age;

           (k)    Date of birth;

           (l)    Place of birth;

           (m)    Race;

           (n)    Occupation;

           (o)    Last place of employment;

           (p)    Education;

           (q)    Name and relationship of next of kin;

           (r)    Address of next of kin;

           (s)    Driver's license and social security numbers;

           (t)    Disposition of vehicle, where applicable;

           (u)    Court and sentence (if sentenced inmate);

           (v)    Notation of cash and property;

           (w)    Bonding company;

           (x)    Amount of bond;

           (y)    Date of arrest;

           (z)    Warrant number;

           (aa)   Court date and time;

           (bb)   Cell assignment;

           (cc)   Fingerprints; and,

           (dd)   Criminal history check.


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           Applies to Types I, II, and III.

   (2)     The admitting officer shall ensure that each inmate received is committed under proper legal
           authority.

           Applies to Types I, II, and III.

   (3)     At the time of booking, a telephone shall be available within the receiving or security area. The
           detainee shall be allowed to complete at least one (1) telephone call to the person of his choice.
           Pursuant to T.C.A. § 40-7-106(b), no person under arrest by any officer or private citizen shall be
           named in any book, ledger, or any other record until after the person has successfully completed
           a telephone call to an attorney, relative, minister, or any other person that the person shall
           choose, without undue delay. One (1) hour shall constitute a reasonable time without undue
           delay.

           Applies to Types I, II, and III.

   (4)     Cash and personal property shall be taken from the inmate upon admission, listed on a receipt
           form in duplicate, and securely stored pending the inmate’s release. The receipt shall be signed
           by the receiving officer and the inmate, the duplicate given to the inmate, and the original kept for
           the record. If the inmate is in an inebriated state, there shall be at least one witness to verify this
           transaction. As soon as the inmate is able to understand what he is doing, he shall sign and be
           given the duplicate of the receipt.

           Applies to Types I, II, and III.

    (5)    Facilities shall maintain custody records on all inmates committed to or assigned to the facility,
           which shall include but are not limited to the following:

           (a)      Intake/ booking information;

           (b)      Court generated background information;

           (c)      Cash and property receipts;

           (d)      Reports of disciplinary actions, grievances, incidents, or crime(s) committed while in
                    custody;

           (e)      Disposition of court hearings;

           (f)      Records of program participation;

           (g)      Work assignments; and,

           (h)      Classification records.

           Inmates shall have reasonable access to information in their records. Access is only limited due
           to safety or security concerns for the inmate, other inmates, or the facility.

           Applies to Types I, II, and III.

   (6)     Written policy and procedure shall ensure that inmate records are current and accurate.

           Applies to Types I, II, and III.

    (7)    Inmate records shall be safeguarded from unauthorized and improper disclosure.

           Applies to Types I, II, and III.


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   (8)     As part of the inmate accounting system, facilities shall maintain on a daily basis the following
           information:

           (a)     Admissions

                   1.    Adult - Juvenile

                   2.    Male - Female

                   3.    Race

                   4.    Charge

           (b)     Releases

                   1.    Adult - Juvenile

                   2.    Male - Female

                   3.    Race

                   4.    Charge

           (c)     Inmate Population

                   1.    Sentenced - Non-sentenced

                   2.    Adult - Juvenile

                   3.    Male - Female

                   4.    Felons - Misdemeanants

                   5.    Race

           Applies to Type I.

    (9)    Facilities shall keep records on each inmate specifying:

           (a)     Date of confinement;

           (b)     Length of sentence;

           (c)     Reduction of sentences provided by statutes; and,

           (d)     Release date.

           Applies to Type I.

   (10)    The administrator of a facility or designee shall maintain a record which indicates:

           (a)     When an inmate is to be discharged and under what conditions;

           (b)     If any detainers or pending detainers are placed against the inmate and if so, the
                   appropriate authorities to be notified of his/her release date; and,

           (c)     The time when and the authority by which the inmate was released.

           Applies to Type I.

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      (11)      Facilities shall maintain written policy and procedures for releasing inmates from the facility which
                include, but are not limited to, the following:

                (a)      Identification of outstanding warrants, wants, or detainers;

                (b)      If released into the custody of another officer, appropriate credentials must be reviewed;

                (c)      Positive identification of the inmate by the releasing officer;

                (d)      Verification of release papers;

                (e)      Completion of release arrangements, including notification of the parole authorities in the
                         jurisdiction of release, if required;

                (f)      Return of personal property including cash. All items shall be inventoried on a receipt
                         and witnessed by the releasing officer. This receipt shall be kept in the permanent
                         records of the facility;

                (g)      Provision of a listing of available community resources; and,

                (h)      Provision of medication as directed by the health authority.

                Applies to Types I, II, and III.

      (12)      All inmates released from the facility shall sign a receipt for property, valuables and cash returned
                at the time of release. All items shall be carefully inventoried on the receipt and witnessed by the
                releasing officer. The receipt shall be kept in the permanent records of the facility.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.

1400-01-.15 Hygiene.

      (1)       Inmates shall be issued clothing within a reasonable time frame that is properly fitted and suitable
                for the climate and shall include the following:

                (a)      Clean socks;

                (b)      Clean undergarments;

                (c)      Clean outer garments; and,

                (d)      Footwear.

                (e)      Inmates’ personal clothing (if available and clean) may be substituted for institutional
                         clothing at the discretion of the facility administrator.

                Applies to Types I and II.

      (2)       Provisions shall be made so that inmates can regularly obtain the following minimum hygiene
                items:

                (a)      Soap;

                (b)      Toothbrush;

                (c)      Toothpaste or toothpowder;

                (d)      Comb;
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                (e)     Toilet paper;

                (f)     Hygiene materials for women; and,

                (g)     Shaving equipment.

                (h)     These items or services shall be made available at the inmate’s expense unless the
                        inmate cannot afford to pay, in which case the inmate shall be provided the item or
                        services free of charge.

                Applies to Types I and II.

      (3)       An inmate commissary may be available by which inmates can purchase approved items that are
                not furnished by the facility. The commissary operations shall be strictly controlled using standard
                accounting procedures.

                Applies to Types I and II.

      (4)       Inmates shall be allowed freedom in personal grooming except when a valid governmental
                interest justifies otherwise. Arrangements for haircuts shall be made available, at the inmate’s
                expense, on a regular basis. If an inmate cannot afford this service, it shall be provided free of
                charge.

                Applies to Type I.

      (5)       Each inmate who is detained overnight shall be provided with the following standard issue:

                (a)     One (1) clean fire-retardant mattress in good repair;

                (b)     One (1) clean mattress cover;

                (c)     If pillows are provided, they shall be fire-retardant and a clean pillowcase shall be
                        provided;

                (d)     Sufficient clean blankets to provide comfort under existing temperature conditions; and,

                (e)     One (1) clean bath-size towel.

                Applies to Types I and II.

      (6)       Facilities shall maintain an adequate supply of bedding and towels so that the following laundry or
                cleaning frequencies may be adhered to:

                (a)     Sheets, pillowcases, mattress covers, and towels shall be changed and washed at least
                        once a week;

                (b)     All mattresses shall be disinfected quarterly and documented; and,

                (c)     Blankets shall be laundered monthly and sterilized before re-issue.

                Applies to Type I.

      (7)       Inmate clothing, whether personal or institutional, shall be exchanged and cleaned at least twice
                weekly unless work, climatic conditions or illness necessitate more frequent change.

                Applies to Type I.

Authority: T.C.A. § 41-4-140.

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1400-01-.16 Supervision Of Inmates.

    (1)        All inmates shall be personally observed by a facility employee at least once every hour
               on an irregular schedule. More frequent observation shall be provided for inmates who
               are violent, suicidal, mentally ill, intoxicated, and for inmates with other special problems
               or needs. The time of all such checks shall be logged, as well as the results.

               Applies to Types I, II, and III.

     (2)       The facility shall have a system to physically count inmates and record the results on a twenty-
               four (24) hour basis. At least one (1) formal count shall be conducted for each shift.

               Applies to Types I, II, and III.

     (3)       Incidents which involve or endanger the lives or physical welfare of staff or inmates shall be
               recorded in a daily log and retained. Incidents shall include, at a minimum:

               (a)      Death;

               (b)      Attempted suicide;

               (c)      Escape;

               (d)      Attempted escape;

               (e)      Fire;

               (f)      Riot;

               (g)      Battery on a staff member or inmate;

               (h)      Serious infectious disease within facility; and,

               (i)      Sexual assault.

                        1.      An investigation shall be conducted and documented whenever a sexual assault or
                                threat is reported; and,

                        2.      Victims of sexual assault are referred under appropriate security provisions to a
                                community facility for treatment and gathering of evidence.

               Applies to Types I, II, and III.

     (4)       Facilities that are utilized for the confinement of females shall have a trained female officer on
               duty or on call when a female is confined in the facility, to perform the following functions:

               (a)      Searches; and,

               (b)      Health and welfare checks.

               Applies to Types I, II, and III.

     (5)       Inmates shall not be permitted to supervise, control, assume or exert authority over other
               inmates.

               Applies to Type I.

     (6)       Nonsmoking inmates shall not be exposed to second-hand smoke.


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                Applies to Types I, II and III.

Authority: T.C.A. § 41-4-140.

1400-01-.17 Classification

      (1)       There shall be a written plan for inmate classification specifying criteria and procedures for
                classifying inmates in terms of level of custody required, housing assignment and participation in
                correctional programs. The plan shall include a process for review and appeal of classification
                decisions.

                Applies to Types I, II, and III.

      (2)       This plan ensures total sight, sound or physical contact separation between male and female
                inmates and between adults and juveniles being tried as adults.

                Applies to Types I, II, and III.

      (3)       Inmates with disabilities, including temporary disabilities, shall be housed and managed in a
                manner that provides for their safety and security. Housing used by inmates with disabilities,
                including temporary disabilities, shall be designed for their use and shall provide for integration
                with other inmates. Program and service areas shall be accessible to inmates with disabilities.

                Applies to Types I, II, and III.

Authority: T.C.A. § 41-4-140.




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